      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 1 of 734




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                       Plaintiff,

 v.                                                     Case No. 1:25-cv-00716

 U.S. DEPARTMENT OF JUSTICE, et al.,

                       Defendants.


             DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
         IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
            AND DECLARATORY AND PERMANENT INJUNCTIVE RELIEF

         1.    I am a partner in the law firm of Williams & Connolly LLP and a member of the

Bar of this Court. I am one of the counsel of record in the above-captioned action representing the

Plaintiff, Perkins Coie LLP. I submit this declaration in support of Plaintiff’s Motion for Summary

Judgment and Declaratory and Permanent Injunctive Relief.

         2.    Attached hereto as Exhibit 1 is a true and correct copy of the webpage

https://www.elias.law/about, which upon information and belief is a website owned by Elias Law

Group.

         3.    Attached hereto as Exhibit 2 is a true and correct copy of an October 19, 2017 post

on “X” by user @realDonaldTrump, which upon information and belief is an account owned by

President Donald J. Trump.

         4.    Attached hereto as Exhibit 3 is a true and correct copy of two August 6, 2018 posts

on “X” by user @realDonaldTrump, which upon information and belief is an account owned by

President Donald J. Trump.

         5.    Attached hereto as Exhibit 4 is a true and correct copy of a document titled



                                                1
     Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25      Page 2 of 734




“Remarks by President Trump Before Marine One Departure,” posted to the White House website

on November 9, 2018.

        6.       Attached hereto as Exhibit 5 is a true and correct copy of a November 9, 2018 post

on “X” by user @realDonaldTrump, which upon information and belief is an account owned by

President Donald J. Trump.

        7.       Attached hereto as Exhibit 6 is a true and correct copy of a November 9, 2018 post

on Facebook by user Donald J. Trump, which upon information and belief is an account owned by

President Donald J. Trump.

        8.       Attached hereto as Exhibit 7 is a true and correct copy of two January 22, 2019

posts on “X” by user @realDonaldTrump, which upon information and belief is an account owned

by President Donald J. Trump.

        9.       [Paragraph 9 and Exhibit 8 are intentionally omitted.]

        10.      Attached hereto as Exhibit 9 is a true and correct copy of a transcript of a December

5, 2021 interview of Donald J. Trump by Mark Levin on Fox News Network.

        11.      Attached hereto as Exhibit 10 is a true and correct copy of a May 31, 2022 post on

Truth Social by user @realDonaldTrump, which upon information and belief is an account owned

by President Donald J. Trump.

        12.      Attached hereto as Exhibit 11 is a true and correct copy of a November 15, 2022

video of Donald J. Trump speaking at the Conservative Political Action Conference. The video is

available     here:     https://www.c-span.org/video/?c5041282/i-tonight-announcing-candidacy-

president-united-states. 1


1
 Pursuant to Local Civil Rule 5.4(e)(1), digital file copies of the video and audio exhibits to this
Declaration are being maintained by plaintiff’s counsel and will be provided to the Court and
defendants’ counsel.



                                                   2
     Case 1:25-cv-00716-BAH         Document 39-4       Filed 04/02/25         Page 3 of 734




       13.    Attached hereto as Exhibit 12 is a true and correct copy of a December 11, 2022

post on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       14.    Attached hereto as Exhibit 13 is a true and correct copy of a May 16, 2023 post on

Truth Social by user @realDonaldTrump, which upon information and belief is an account owned

by   President   Donald     J.   Trump.        The     posted    audio    is     available     here:

http://truthsocial.com/@realDonaldTrump/posts/110381617248464734.

       15.    Attached hereto as Exhibit 14 is a true and correct copy of a video of a March 4,

2023 speech Donald J. Trump gave at the Conservative Political Action Conference, posted on c-

span.org. The video is available here: https://www.c-span.org/program/campaign-2024/former-

president-trump-speaks-at-cpac/624800.

       16.    Attached hereto as Exhibit 15 is a true and correct copy of a June 21, 2023 post on

Truth Social by user @realDonaldTrump, which upon information and belief is an account owned

by President Donald J. Trump.

       17.    Attached hereto as Exhibit 16 is a true and correct copy of a March 31, 2024 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       18.    Attached hereto as Exhibit 17 is a true and correct copy of an April 23, 2024 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       19.    Attached hereto as Exhibit 18 is a true and correct copy of a May 5, 2024 post on

Truth Social by user @realDonaldTrump, which upon information and belief is an account owned

by President Donald J. Trump.




                                               3
    Case 1:25-cv-00716-BAH         Document 39-4       Filed 04/02/25     Page 4 of 734




       20.    Attached hereto as Exhibit 19 is a true and correct copy of an August 29, 2024

interview of Donald J. Trump by Monica Crowley. An audio version of the interview is available

here: https://play.cdnstream1.com/s/bahakel/the-monica-crowley-podca-3102d5/a-newsmaking-

talk-with-p-8574db.

       21.    Attached hereto as Exhibit 20 is a true and correct copy of a September 7, 2024

post on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       22.    Attached hereto as Exhibit 21 is a true and correct copy of a September 17, 2024

post on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       23.    Attached hereto as Exhibit 22 is a true and correct copy of an October 25, 2024

post on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       24.    Attached hereto as Exhibit 23 is a true and correct copy of Executive Order

Number 14151 issued by President Donald J. Trump on January 20, 2025 and titled “Ending

Radical and Wasteful Government DEI Programs and Preferencing.”

       25.    Attached hereto as Exhibit 24 is a true and correct copy of a White House Fact

Sheet titled “Fact Sheet: President Donald J. Trump Protects Civil Rights and Merit-Based

Opportunity by Ending Illegal DEI,” posted to the White House website on January 22, 2025.

       26.    [Paragraph 26 and Exhibit 25 are intentionally omitted.]

       27.    Attached hereto as Exhibit 26 is a true and correct copy of a document titled

“Remarks by President Trump in Joint Address to Congress,” posted to the White House website

on March 6, 2025.




                                              4
        Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25     Page 5 of 734




         28.      Attached hereto as Exhibit 27 is a true and correct copy of Executive Order

Number 14230 issued by President Donald J. Trump on March 6, 2025 and titled “Addressing

Risks from Perkins Coie LLP.”

         29.      Attached hereto as Exhibit 28 is a true and correct copy of a White House Fact

Sheet titled “Fact Sheet: President Donald J. Trump Addresses Risks from Perkins Coie LLP,”

posted to the White House website on March 6, 2025.

         30.      Attached hereto as Exhibit 29 is a true and correct copy of a video titled “President

Trump Signs Executive Orders,” posted on c-span.org on March 6, 2025. The video is available

here:          https://www.c-span.org/program/white-house-event/president-trump-signs-executive-

orders/656830.

         31.      Attached hereto as Exhibit 30 is a true and correct copy of a March 6, 2025

Washington Post article by Perry Stein and Michael Birnbaum titled Trump expands retribution

campaign against law firms that aided his foes.

         32.      Attached hereto as Exhibit 31 is a true and correct copy of an Office of

Management and Budget Memorandum titled “Implementation of the Executive Order on

‘Addressing Risks from Perkins Coie LLP.’”

         33.      Attached hereto as Exhibit 32 is a true and correct copy of a video of a March 6,

2025 interview of President Trump by Maria Bartiromo. The full interview, with some breaks,

aired      on       March       9,     2025.            The      video      is     available     here:

https://www.foxnews.com/video/6369823374112.

         34.      Attached hereto as Exhibit 33 is a true and correct copy of a March 10, 2025

interview of Stephen Miller, White House Deputy Chief of Staff, on Fox News. The video of the

interview is available here: https://www.youtube.com/watch?app=desktop&v=zA_7x3F5Gag.




                                                    5
     Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25    Page 6 of 734




       35.     Attached hereto as Exhibit 34 is a true and correct copy of a compendium of letters

from Andrea R. Lucas, Acting Chair of the U.S. Equal Employment Opportunity Commission, to

twenty law firms regarding their compliance with Title VII of the Civil Rights Act of 1964.

       36.     Attached hereto as Exhibit 35 is a true and correct copy of a Press Release by the

U.S. Equal Employment Opportunity Commission posted on the website https://www.eeoc.gov/

newsroom/eeoc-acting-chair-andrea-lucas-sends-letters-20-law-firms-requesting-information-

about-dei, which upon information and belief is operated by the U.S. Equal Employment

Opportunity Commission.

       37.     Attached hereto as Exhibit 36 is a true and correct copy of a March 12, 2025 post

on “X” by user @StephenM, which upon information and belief is an account owned by Stephen

Miller, White House Deputy Chief of Staff.

       38.     Attached hereto as Exhibit 37 is a true and correct copy of a March 13, 2025

Foxnews.com article by Diana Stancy, titled ‘Absurd’: White House blasts law firm that helped

fuel Russia hoax after challenging Trump order.

       39.     Attached hereto as Exhibit 38 is a true and correct copy of a video of a March 14,

2025 speech by President Trump.              The video of the speech is available here:

https://www.youtube.com/watch?v=6i41Av4eYO8.

       40.     Attached hereto as Exhibit 39 is a true and correct copy of a March 22, 2025

Presidential Memorandum addressed to the Attorney General and the Secretary of Homeland

Security entitled, “Preventing Abuses of the Legal System and the Federal Court.”

       41.     Attached hereto as Exhibit 40 is a true and correct copy of a March 25, 2025 post

on “X” by user @ChadMizelle47, which upon information and belief is an account owned by Chad

Mizelle, one of the attorneys representing defendants in this action.




                                                 6
     Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25         Page 7 of 734




       42.    Attached hereto as Exhibit 41 is a true and correct copy of a video of President

Trump speaking at a Women’s History Month Event, posted by the White House to its official

YouTube      channel   on    March     26,   2025.        The     video    is     available     here:

https://www.youtube.com/watch?v=37yfOP8cVPQ.

       43.    Attached hereto as Exhibit 42 is a true and correct copy of an October 22, 2024

NPR story, titled Trump has made more than 100 threats to prosecute or punish perceived enemies.

       44.    Attached hereto as Exhibit 43 is a true and correct copy of a January 7, 2025 letter

from Special Counsel Jack Smith to Merrick Garland, then-Attorney General of the United States,

titled Final Report of the Special Counsel Under 28 C.F.R. § 600.8, attaching a document titled

Final Report on the Special Counsel’s Investigations and Prosecutions dated January 7, 2025.

       45.    Attached hereto as Exhibit 44 is a true and correct copy of a June 30, 2023 post on

Truth Social by user @realDonaldTrump, which upon information and belief is an account owned

by President Donald J. Trump.

       46.    Attached hereto as Exhibit 45 is a true and correct copy of a Presidential

Memoranda addressed to the Secretary of Defense, Attorney General, the Secretary of Energy, the

Director of the Office of Management and Budget, the Director of National Intelligence, The

Director of the Central Intelligence Agency, and the Director of the Office of Personnel

Management entitled, “Suspension of Security Clearances and Evaluation of Government

Contracts,” posted to the White House website on February 25, 2025.

       47.    Attached hereto as Exhibit 46 is a true and correct copy of a January 26, 2023 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       48.    Attached hereto as Exhibit 47 is a true and correct copy of a February 9, 2023 post




                                               7
    Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25     Page 8 of 734




on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

        49.   Attached hereto as Exhibit 48 is a true and correct copy of an April 23, 2024 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

        50.   Attached hereto as Exhibit 49 is a true and correct copy of Executive Order

Number 14237 issued by President Donald J. Trump on March 14, 2025 and titled “Addressing

Risks from Paul Weiss.”

        51.   Attached hereto as Exhibit 50 is a true and correct copy of an Executive Order

issued by President Donald J. Trump titled “Addressing Remedial Action by Paul Weiss,” posted

to the White House website on March 21, 2025.

        52.   Attached hereto as Exhibit 51 is a true and correct copy of a video of President

Trump answering questions from reporters in the oval office, posted to KGET.com on March 21,

2025.   The video is available here:    https://www.kget.com/video/trump-suggests-law-firms-

%e2%80%98want-to-make-deals%e2%80%99-after-rescinding-paul-weiss-order/10560109/.

        53.   Attached hereto as Exhibit 52 is a true and correct copy of Executive Order 14246

issued by President Donald J. Trump on March 25, 2025 and titled “Addressing Risks from Jenner

& Block.”

        54.   Attached hereto as Exhibit 53 is a true and correct copy of a September 6, 2023

post on “X” by user @realDonaldTrump, which upon information and belief is an account owned

by President Donald J. Trump.

        55.   Attached hereto as Exhibit 54 is a true and correct copy of an Executive Order

issued by President Donald J. Trump and titled “Addressing Risks from WilmerHale,” posted to




                                                8
     Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 9 of 734




the White House website on March 27, 2025.

       56.    Attached hereto as Exhibit 55 is a true and correct copy of a transcript of a March

28, 2025 hearing before the Honorable John D. Bates in Jenner & Block LLP v. U.S. Dep’t of

Justice, et al., Case No. 1:25-cv-00916-JDB (D.D.C).

       57.    Attached hereto as Exhibit 56 is a true and correct copy of a transcript of a March

28, 2025 hearing before the Honorable Richard J. Leon in Wilmer Cutler Pickering Hale and Dorr

LLP v. Executive Office of the President, et al., Case No. 1:25-cv-00917-RJL (D.D.C.).

       58.    Attached hereto as Exhibit 57 is a true and correct copy of a White House Fact

Sheet titled “Fact Sheet: President Donald J. Trump Addresses Risks from WilmerHale,” posted

to the White House website on March 27, 2025.

       59.    Attached hereto as Exhibit 58 is a true and correct copy of a White House Fact

Sheet titled “Fact Sheet: President Donald J. Trump Addresses Risks from Jenner & Block,”

posted to the White House website on March 25, 2025.

       60.    Attached hereto as Exhibit 59 is a true and correct copy of an April 1, 2025 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       61.    Attached hereto as Exhibit 60 is a true and correct copy of the judgment of acquittal

signed by the Honorable Christopher R. Cooper in United States of America v. Michael A.

Sussmann, Case No. 1:21-cr-00582-CRC (D.D.C.).

       62.    Attached hereto as Exhibit 61 is a true and correct copy of a March 20, 2025 post

on Truth Social by user @realDonaldTrump, which upon information and belief is an account

owned by President Donald J. Trump.

       63.    Attached hereto as Exhibit 62 is a true and correct copy of a March 23, 2025 post




                                                9
 Case 1:25-cv-00716-BAH             Document 39-4            Filed 04/02/25     Page 10 of 734




on "X" by user @elonmusk, which upon information and belief is an account owned by Elon

Musk.

        64.    Attached hereto as Exhibit 63 is a true and correct copy of a March 25, 2025 video

of Donald J. Trump signing an Executive Order titled "Addressing Risks from Jenner & Block

LLP," which was posted on March 26, 2025. The video is available here: https://youtu.be/7LsV-

I0xWh4?si=7W5wjK2r_BxDnv7e.

        65.    Attached hereto as Exhibit 64 is a true and correct copy of a March 28, 2025 post

on Truth Social by user @realDonaldTrump, which upon infonnation and belief is an account

owned by President Donald J. Trump.

                                         *       *       *

        I hereby declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, infonnation and belief.

        Executed this 2d day of April, 2025.




                                                 10
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 11 of 734




                   EXHIBIT 1
          Case 1:25-cv-00716-BAH     Document 39-4    Filed 04/02/25   Page 12 of 734

ELIAS
LAW
GROUP


Elias Law Group is a mission-driven firm
committed to helping Democrats win, citizens
vote, and progressives make change.


Founded by Marc Elias in 2021, Elias Law Group is the nation’s largest law firm focused on
representing the Democratic Party, Democratic campaigns, nonprofit organizations, and
individuals committed to securing a progressive future.

As voting rights and democratic institutions have come under attack, Elias Law Group has
become the nation’s go-to law firm to fight back against voter suppression and election
subversion. By protecting voting rights in state and federal court, our attorneys have helped
millions of Americans register to vote, cast their ballot, and have that ballot counted.

Elias Law Group attorneys have collectively represented hundreds of Democratic campaigns,
organizations, and PACs—including every national Democratic Party organization, House
and Senate leadership, governors, senators, and members of Congress, and over a dozen
presidential campaigns.

The firm focuses on political law and cutting-edge, pro-democracy litigation. Elias Law Group
has earned national recognition for its aggressive litigation to protect voting rights and
advocate for fair maps during the redistricting process. Its attorneys also provide tax and
regulatory counsel to leading nonprofits that promote progressive change.

Driven by a firm-wide commitment to diversity and inclusion, more than half of all attorneys
and partners at Elias Law Group are women, and more than one third of all attorneys are
black, indigenous, and people of color.

Elias Law Group is headquartered in Washington, D.C., with an office in Seattle, WA.
        Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 13 of 734

Elias Law Group “[boasts] a deep bench of experienced practitioners able
to advise on complex election law matters. The firm offers particular
prowess in voting rights and redistricting litigation and is well placed to
assist Democratic campaigns and institutions, as well as nonprofit
organizations.” - Chambers USA
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 14 of 734




                   EXHIBIT 2
         Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 15 of 734




      Donald J. Trump
      @realDonaldTrurnp

Workers of firm involved with the discredited and Fake Dossier take the
5th. Who paid for it, Russia, the FBI or the Dems (or all)?

7:56 AM· Oct 19, 2017
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 16 of 734




                   EXHIBIT 3
        Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 17 of 734




      Donald J. Trump
      @realDonaldTrump
                                                                                   @] ...
"Collusion with Russia was very real. Hillary Clinton and her team 100%
colluded with the Russians, and so did Adam Schiff who is on tape trying
to collude with what he thought was Russians to obtain compromising
material on DJT. We also know that Hillary Clinton paid through ....

10:13 AM· Aug 6. 2018
        Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 18 of 734




      Donald J. Trump                                                              @] ...
      @realDona ldTrump

.... a law firm, eventually Kremlin connected sources, to gather info on
Donald Trump. Collusion is very real with Russia, but only with Hillary
and the Democrats, and we should demand a full investigation." Dan
Bongino on @foxandfriends Looking forward to the new IG Report!

10:25 AM · Aug 6, 2018
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 19 of 734




                   EXHIBIT 4
3/18/25, 3:59 PM   Case 1:25-cv-00716-BAH      Document
                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       20 of 734
                                                                                                  White House

 The Wayback Machine - https://web.archive.org/web/20181115151047/https://www.whitehouse.gov/briefing…




                                                                     REMARKS




           Remarks by President Trump Before
                Marine One Departure
                                                          Issued on: November 9, 2018


                                                                    ★ ★ ★



         South Lawn


         9:05 A.M. EST


         THE PRESIDENT: So we’re heading off to Europe. It should be a very beautiful period of
         time — the 100th anniversary of the ending of World War I. We have many countries; the
         leadership of many countries will be there, especially since they heard the United States
         will be there. And we look forward to that. It’ll be a great, really, commemorative service.
         I think it’s going to be something very special. I’ve seen what they have planned, and I
         think it’s going to be something very, very special.


         I just signed the proclamation on asylum. Very important. People can come in, but they
         have to come in through the ports of entry. And that, to me, is a very important thing.
         Again, I reiterate we needs Democrats’ votes. They have to pass new immigration laws,
         because they’re flooding our country. We’re not letting them in, but they’re trying to
         flood our country. We need the wall; we’re building the wall. But we need it all built at
         one time, and quickly. It’s very important.

https://web.archive.org/web/20181115151047/https:/www.whitehouse.gov/briefings-statements/remarks-president-trump-marine-one-departure-23/   1/14
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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       21 of 734
                                                                                                  White House

         We need Democrat support on new immigration laws to bring us up to date. The laws
         are obsolete and they’re incompetent. They are the worst laws any country has
         anywhere in the world. And it’s only because we don’t have the Democrats’ votes. So we
         need Democrat vote so we can change immigration, and we’ll have no trouble
         whatsoever at the border. We want people to come into our country, but they have to
         come into our country legally. They have to come into our country legally.


         We want people to come in through the merit system so that they can work for all of
         these great companies that I have coming into our country. We have many car
         companies coming in. We have many tech companies coming in. We have literally
         hundreds of companies moving back into the United States. We need people. We need
         to have — you see the unemployment numbers are at record lows. We need people in
         our country, but they have to come in legally, and they have to have merit. They have to
         come in through a system of merit. We have everything worked out. We need some votes
         from the Democrats, or we need support from the Democrats, and hopefully they see
         what’s going on.


         And the reason this is happening is we’ve created such a successful country,
         economically, that everybody is flooding into our country, or they want to. But we’re
         stopping them at the border. And that’s why we have our great military there.


         Q Mr. President, what do you say to all the criticism of Matt Whitaker and the calls for
         him to recuse himself, given what he said about the Russian (inaudible)?


         THE PRESIDENT: Well, Matt Whitaker — I don’t know Matt Whitaker. Matt Whitaker
         worked for Jeff Sessions, and he was always extremely highly thought of, and he still is.
         But I didn’t know Matt Whitaker. He worked for Attorney General Sessions. He was very,
         very highly thought of, and still is highly thought of. But this only comes up because
         anybody that works for me, they do a number on them.


         But Matt Whitaker is a very smart man. He is a very respected man in the law
         enforcement community. Very respected; at the top of the line. And actually, the choice
         was greeted with raves, initially, and it still is in some circles. You know, it’s a shame that
https://web.archive.org/web/20181115151047/https:/www.whitehouse.gov/briefings-statements/remarks-president-trump-marine-one-departure-23/   2/14
3/18/25, 3:59 PM   Case 1:25-cv-00716-BAH      Document
                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       22 of 734
                                                                                                  White House

         no matter who I put in, they go after them. It’s very sad, I have to say. But he’s Acting. I
         think he’ll do a very good job. And we’ll see what happens.


         But I will say this: Matt Whitaker is a very highly respected man, and you didn’t have any
         problems with Matt Whitaker when he worked for Jeff Sessions. He’s respected by law
         enforcement. He’s a very strong law enforcement personality and person.


         Q Mr. President, did you talk with Matt Whitaker at all about the Mueller probe before
         you appointed him?


         THE PRESIDENT: I didn’t speak to Matt Whitaker about it. I don’t know Matt Whitaker.
         Matt Whitaker has a great reputation, and that’s what I wanted. I also wanted to do
         something which, frankly, I could have brought somebody very easily from the outside. I
         didn’t want to do that. When Sessions left, what I did, very simply, is take a man who
         worked for Sessions. Again, he worked for Jeff Sessions. He’s a highly respected man,
         especially by law enforcement. And I think he’s going to do a great job. He’s there in an
         acting position. He’s a — probably, from what I hear — a very strong person, a very
         strong personality. And I think that’s what they need.


         Q Is Kellyanne’s husband’s wrong?


         THE PRESIDENT: Who?


         Q Kellyanne’s husband wrote that the appointment was unconstitutional.


         THE PRESIDENT: You mean Mr. Kellyanne Conway?


         Q He wrote that you’re unconstitutionally appointing him. He is wrong?


         THE PRESIDENT: He’s just trying to get publicity for himself. Why don’t you do this: Why
         don’t you ask Kellyanne that question, all right? She might know him better than me. I
         really don’t know the guy.


https://web.archive.org/web/20181115151047/https:/www.whitehouse.gov/briefings-statements/remarks-president-trump-marine-one-departure-23/   3/14
3/18/25, 3:59 PM   Case 1:25-cv-00716-BAH      Document
                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       23 of 734
                                                                                                  White House

         Q Given Matt Whitaker’s public comments, (inaudible) —


         THE PRESIDENT: Well, when you make a comment —


         Q (Inaudible.)


         THE PRESIDENT: First of all — let me speak, please. First of all, when you make
         comments, I see everybody on television — all these lawyers, all these law enforcement
         people making comment after comment. They never ask to get recused. They make
         comment. The fact that you go on Fox or CNN or MSNBC or anybody, and you make a
         comment, you’d have nobody left to choose. You would have absolutely nobody left.


         I see different people, at different times, going on shows. Am I supposed to say, “Oh,
         now he’s never qualified to serve in government?” So, all the time I’m watching many
         different people go on many different shows, saying many different things. That doesn’t
         mean they’re unqualified.


         Now, in all fairness to Matt Whitaker, who, again, I didn’t know — okay? — other than
         through reputation. His reputation is excellent. But in all fairness to him, he did some
         shows; so did many of the people that you’re talking about. So did everybody that —
         you’re talking about a permanent position. I think everybody looking at a permanent
         position, in any department, has done many shows. Does that mean we can’t hire
         anybody? We have to hire somebody that’s in a shell? I don’t think so.


         Q Do you foresee a federal role in the Florida recount?


         THE PRESIDENT: Say it again. You have to speak up.


         Q I’m trying to. Do you foresee a federal role in the Florida recount, which you tweeted
         about last night?


         THE PRESIDENT: Well, it could be. Because if you look at Broward — and Palm Beach, to
         a lesser extent — if you look at Broward County, they have had a horrible history. And if
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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       24 of 734
                                                                                                  White House

         you look at the person — in this case, a woman — involved, she has had a horrible
         history. And all of a sudden, they’re finding votes out of nowhere.


         And Rick Scott, who won by — you know, it was close, but he won by a comfortable
         margin — every couple of hours it goes down a little bit. And then you see the people,
         and they were involved with that fraud of the fake dossier, the phony dossier. And I
         guess I hear they were somehow involved or worked with the GPS Fusion people, who
         have committed — I mean, if you look at what they’ve done, you look at the dishonesty
         —


         Look, look, there’s — bad things have gone on in Broward County. Really bad things.
         She’s been to court. She’s had a lot of problems. She’s lost. I say this: He easily won, but
         every hour it seems to be going down. I think that people have to look at it very, very
         cautiously.


         Q You’re finishing up the written answers —


         THE PRESIDENT: What?


         Q You’re doing the written questions to Robert Mueller. Have you ruled out a sit-down,
         an in-person sit-down with Robert Mueller?


         THE PRESIDENT: I haven’t ruled out anything. I haven’t even thought about it. I’m
         thinking about the world. Right now, I’m thinking about the world. I’m not thinking
         about sit-downs or not sit-downs. There was no collusion. It’s a whole hoax. This was a
         thing set up by the Democrats, just like they set up other things — when you look at
         what’s going on Florida; when you look at what’s going on in lots of different locations.


         The Russian investigation is a hoax. It’s a phony hoax. I didn’t speak to Russians. The fact
         is, I was a much better candidate than Hillary Clinton. I worked much harder. I went to
         the right places. She went to the wrong places, because she didn’t know what the hell
         she was doing. I did a great job; I was a great candidate. She was a bad candidate.


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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       25 of 734
                                                                                                  White House

         I went to Wisconsin. I went more to Michigan. I went to Pennsylvania. She didn’t do a
         good job. This has nothing to do with Russians; it’s a Russian hoax.


         Q What do you say to Michelle Obama who says she will never forgive you for your
         birther comments in the past?


         THE PRESIDENT: Oh, Michelle Obama said that? I haven’t seen it. I guess she wrote a
         book. She got paid a lot of money to write a book. And they always insist that you come
         up with controversial.


         Well, I’ll give you a little controversy back: I’ll never forgive him for what he did to our
         United States military by not funding it properly. It was depleted. Everything was old and
         tired. And I came in, and I had to fix it. And I’m in the process of spending tremendous
         amounts of money. So I’ll never forgive him for what he did to our military. I’ll never
         forgive him for what he did in many other ways, which I’ll talk to you about in the future.


         But what he did — because she talked about safety — what he did to our military made
         this country very unsafe for you and you and you.


         Q (Inaudible) and did you meet Chris Christie here, yesterday?


         THE PRESIDENT: Well, we’re looking at other people. I did not see Chris Christie
         yesterday. I heard he was in the White House. He’s a friend of mine. He’s a good man.
         When he got out of the presidential race, as you know, the next day he supported me. He
         has good taste. So he proved one thing: He has good taste. But when he got out, he
         immediately supported me. I like Chris Christie, but I have not talked to him about it. He
         was in the White House yesterday, but I did not see him.


         Q Mr. President, how long are you going to leave Jim Acosta in the penalty box?


         THE PRESIDENT: I think Jim Acosta is a very unprofessional man. He does this with
         everybody. He gets paid to do that. You know, he gets paid to burst in. He’s a very


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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       26 of 734
                                                                                                  White House

         unprofessional guy. Whether it was me or Ronald Reagan or anybody else, he would
         have done the same thing.


         Look, I don’t think he’s a smart person, but he’s got a loud voice. And —


         Q Is it permanent?


         THE PRESIDENT: Wait, wait. David, do you mind if I answer the question?


         Q Sure. Of course.


         THE PRESIDENT: And as far as I’m concerned, I haven’t made that decision. But it could
         be others also. When you’re in the White House — this is a very sacred place to me. This
         is a very special place. You have to treat the White House with respect. You have to treat
         the presidency with respect. If you’ve ever seen him dealing with Sarah Huckabee
         Sanders, it’s a disgrace. And he does it for, you know, the reason.


         The same thing with April Ryan. I watched her get up. I mean, you talk about somebody
         that’s a loser. She doesn’t know what the hell she’s doing. She gets publicity, and then
         she gets a pay raise or she gets a contract with, I think, CNN. But she’s very nasty, and
         she shouldn’t be. She shouldn’t be.


         You’ve got to treat the White House and the Office of the Presidency with respect.


         I see her nodding very positively, so I’ll ask her — you know.


         Q (Inaudible.)


         THE PRESIDENT: You have to speak up, though. You have a helicopter raging back —


         For all the people that don’t know why, my hearing is great, but you have a helicopter
         that’s raging back there.


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3/18/25, 3:59 PM   Case 1:25-cv-00716-BAH      Document
                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       27 of 734
                                                                                                  White House

         Q I’ll help her out.


         THE PRESIDENT: In fact, do you remember Ronald Reagan? He’d always, “What? What? I
         can’t hear you.” I never — I always thought he was hard of hearing; he wasn’t. That’s the
         problem.


         Q She wants to know what’s going to happen when you meet with Putin.


         THE PRESIDENT: Well, I’ll meet with Putin at the G20. I don’t know that we’re seeing
         each other in Paris, but there may be a lunch for the leaders. I don’t know. So I would
         say, nothing. We have a good relationship. Having a good relationship with Russia and
         China, and every other country, is a good thing, not a bad thing.


         But we have a good — we have a very good relationship.


         Q Are you going to fire Ryan Zinke?


         THE PRESIDENT: No. I’m going to look into any complaints. David, if there are any
         complaints, I’ll look into it.


         Q Your thoughts about the judge’s decision to delay the XL Pipeline?


         THE PRESIDENT: Well, it was a political decision made by a judge. I think it’s a disgrace.
         It’s 48,000 jobs. I approved it; it’s ready to start. And they went — and I guess they’ll end
         up going to the Ninth Circuit, as usual. We’re slowly putting new judges in the Ninth
         Circuit. Everything goes to the Ninth Circuit. Everything.


         Now, DACA, that was actually good news yesterday, because you never win in the Ninth
         Circuit if you’re on this half of the equation. When I say “half,” it could be half or more.
         But you never win; you rarely win in the Ninth Circuit. The good news is, by rejecting
         DACA in the Ninth Circuit yesterday, finally we’ve been waiting for that. We get to the
         Supreme Court, and we want to be in the Supreme Court on DACA.


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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       28 of 734
                                                                                                  White House

         President Obama said he had no right to sign it. He had no right, but it was upheld in the
         Ninth Circuit, as usual. If you take President Obama’s statement, he knew that he
         couldn’t sign it. So this whole thing, it’s a terrible thing what’s happening with the
         courts. The DACA will now hopefully go to the Supreme Court, where we’ll be given a fair
         decision.


         Q U.N. Ambassador. Have you made a decision?


         THE PRESIDENT: We’ll be making a decision. I have so many people who want it. We are
         looking at Heather. We’re looking at numerous people. We have plenty of time. Nikki is
         staying until the end of the year. We’re working with Nikki, also. We have some very good
         people that want that job.


         I’ll make the decision over the next few weeks, but by the end of the year.


         Q On the Attorney General, what’s your timeline to make a decision? And who are the
         frontrunners?


         THE PRESIDENT: Well, I have some very, very good people. But, I mean, there’s no rush.
         You know, it has to go through a Senate process, which takes a long time. But we’ll pick
         somebody that’s great. We’re going to pick somebody that’s very good. And again, I
         think it’s very — Matt Whitaker is a highly respected man, but I didn’t know Matt
         Whitaker. But he’s a highly respected man.


         Q Mr. President, you said the Senate process. Matt Whitaker has not gone through a
         Senate process.


         THE PRESIDENT: Yeah, but neither has Mueller.


         Q (Inaudible.)


         THE PRESIDENT: Excuse me. You talk about the Senate process. Mueller is doing a
         report. He hasn’t gone through the Senate process. You’re saying Whitaker hasn’t, but
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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       29 of 734
                                                                                                  White House

         Whitaker has. Wait a minute. Because he was a really distinguished U.S. attorney in Iowa,
         and he was approved by everybody. Because to be U.S. attorney, that’s top of the line.
         He was a highly respected.


         In fact, I’ll tell you, the Ambassador to China, as you know, Terry Branstad — who used to
         the be the governor of Iowa — he told me that what a great choice that is; that he is one
         of the most respected people in all of Iowa. And that was coming from Terry Branstad,
         who was the governor.


         Look, Mueller — a big complaint people have — Mueller was not Senate confirmed. So
         he’s doing a report. He wasn’t Senate confirmed. Whitaker was Senate confirmed. Now,
         he doesn’t need this, but he was Senate confirmed at the highest level, when he was the
         U.S. attorney from Iowa. But Mueller was not Senate confirmed. Why didn’t they get him
         Senate confirmed? He should have been Senate confirmed. No — but because of all the
         conflicts, they didn’t want to bring him before the Senate because he’s very conflicted.
         So because of those conflicts, they didn’t want to bring him before the Senate.


         But don’t tell me about Whitaker. Don’t tell me about Whitaker, because Mueller was not
         Senate confirmed, and Whitaker was, actually.


         Q Mr. President, the Democrats keep picking up more seats in the House, now more than
         31 seats. Can you still describe (inaudible)?


         THE PRESIDENT: It doesn’t — whether they get a couple of more House seats, it doesn’t
         matter. It doesn’t matter. But you notice the votes never go the other way? They hire
         lawyers, and the votes don’t ever seem to go the Republican way — although I hear —


         Q Do you have evidence of fraud?


         THE PRESIDENT: Well, I don’t know, you tell me. It’s always the Democrats. It’s always
         GPS Fusion. It’s always crooked stuff.


         Q But there’s no evidence that you have, is there?
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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       30 of 734
                                                                                                  White House

         THE PRESIDENT: Look — look at what happened. How many FBI are gone? How many
         Justice Department people are gone? That I found out — that I found out. There’s a lot of
         bad stuff going on in this country, and we’re finding out, and I’m getting to the bottom of
         it. And I’ve done a hell of a job. How many people have been fired from the FBI? You got
         Comey, you got McCabe, you got Strzok, you have Lisa Page, you have Baker. You have a
         whole list of people. There’s a lot of crooked stuff going on.


         But it is interesting; it always seems to go the way of the Democrats. Now, in Arizona, all
         of a sudden, out of the wilderness, they find a lot of votes. And she’s — the other
         candidate is just winning by a hair. What’s going on in a Florida is a disgrace. Go down
         and see what happened over the last period of time — 10 years. Take a look at Broward.
         Take a look at the total dishonesty of what happened with respect to Broward County.
         Broward County — just (inaudible) — Broward County/election. There’s a lot of
         dishonesty.


         Q Why did your Press Secretary share a doctored video of the incident in the East Room?
         Of the (inaudible).


         THE PRESIDENT: The taped video of Acosta?


         Q Yes, sir.


         THE PRESIDENT: What are you talking about? All that was —


         Q The video is manipulated.


         THE PRESIDENT: Nobody manipulated it. Give me a break. See, that’s just dishonest
         reporting. All that is, is a close-up. See, that’s just — that is just dishonest reporting. I
         watched that; I heard that last night. They made it close up. They showed it up close up.


         And he was not nice to that young woman. I don’t hold him for that because it wasn’t
         overly, you know, horrible. But it was — but all that was — when you say “doctored,”


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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       31 of 734
                                                                                                  White House

         you’re a dishonest guy. Because it wasn’t doctored. They gave a close-up view. That’s
         not doctoring.


         Q Mr. President, are you thinking about more Supreme Court justices since Justice
         Ginsburg in the hospital?


         THE PRESIDENT: No, I wish her well. She said something very inappropriate during the
         campaign, but she apologized for it. I wouldn’t say she’s exactly on my side, but I wish
         her well. I hope she gets better. And I hope she serves on the Supreme Court for many,
         many years.


         Q (Inaudible) another mass shooting, this time in California.


         THE PRESIDENT: Terrible. Terrible.


         Q What are we going to do about (inaudible)?


         THE PRESIDENT: He’s a very sick — well, it’s a mental health problem. He is a very sick
         puppy. He was a very, very sick guy. Not too many people knew about it. But now that
         they’re looking, they’re starting to see he had a lot of problems, a lot of trouble. And
         we’re very much into that. As you know, I funded a lot of money toward mental health
         for that reason. And we’re continuing to do it, and we continue to look at the laws. We
         want to make sure — look, it is a problem. It’s a disastrous problem. It makes you sick to
         look at it. But he was a very, very mentally ill person.


         Q (Inaudible.)


         THE PRESIDENT: Say it?


         Q Do firearms play any part of this mental health conversation?


         THE PRESIDENT: Well, he was a war veteran. He was a Marine; he was in the war. He
         served time. He saw some pretty bad things. And a lot of people say he had the PTSD.
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3/18/25, 3:59 PM   Case 1:25-cv-00716-BAH      Document
                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       32 of 734
                                                                                                  White House

         And that’s a tough deal. We’re spending — as you know, I’ve given tremendous funding
         to the vets for the PTSD and for general health for PTSD. It’s a big problem.


         People come back. That’s why it’s a horrible thing. They come back, and they’re never
         the same.


         Q Are you prepared to fly that flag at half-mast a lot more?


         THE PRESIDENT: Well, I don’t like abusing any privilege, but when I see something that
         we should do, I always do that. Yeah, I always do that. I believe you should. When
         somebody — when it’s a worthy situation, I do believe it.


         Q Do you expect Matt Whitaker to be involved in the Russia probe? Do you want him to —


         THE PRESIDENT: It’s up to him.


         Q Do you want him to rein in Robert Mueller?


         THE PRESIDENT: What a stupid question that is. What a stupid question. But I watch you
         a lot. You ask a lot of stupid questions.


         Q (Inaudible) sign an executive order on birthright citizenship this week. Why did that
         not happen?


         THE PRESIDENT: We’re working. Well, because other things have come up, and we will
         be signing it soon.


         Q Was it a political stunt?


         THE PRESIDENT: No, no, no. Oh, we’re signing it. We’re doing it. And it’ll probably work
         its way up to the Supreme Court. Birthright citizenship probably works its way up to the
         Supreme Court. It will be signed. We wanted a perfect document. And because of the


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                                       Remarks by              39-4
                                                  President Trump        FiledOne
                                                                  Before Marine 04/02/25        Page
                                                                                  Departure | The       33 of 734
                                                                                                  White House

         election and all of the delays in the election, and whatever is going on in Broward
         County — remember the word, “Broward County.”


         Q Is there any evidence of fraud in Broward County?


         THE PRESIDENT: Wait. Well, you take a look at the past. Take a look at the past.


         Q Right now is there any?


         THE PRESIDENT: And all of a sudden, they’re finding votes? You mean after the election,
         they’re finding votes? And then you look at her past, where she’s already been convicted,
         and now they’re finding votes. And you have this guy, Elias, who represented Hillary
         Clinton and a lot of very shady things. I think what you ought to do is get smart.


         Good luck, folks. I’ll see you in Europe.


         END


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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 34 of 734




                   EXHIBIT 5
         Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 35 of 734




      Donald J. Trump                                                               @] ...
      @realDonaldTrump

As soon as Democrats sent t heir best Election stealing lawyer, Marc
Elias, to Broward County they miraculously started finding Democrat
votes. Don't worry, Florida - I am sending much better lawyers to expose
the FRAUD!

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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 36 of 734




                   EXHIBIT 6
        Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25       Page 37 of 734




       Donald J. Trump o
       November 9 2018   ~~

As soon as Democrats sen their best Election steali,ng lawyer, arc Elias, to Broward County they
miraculousl y started finding Democrat votes. Don't w orry, Florid a - I am sending m uch better lawyers
to exp ose the FRAUD!

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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 38 of 734




                   EXHIBIT 7
Case 1:25-cv-00716-BAH      Document 39-4   Filed 04/02/25   Page 39 of 734




      Donald J. Trump
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Former Bl top lawyer James Baker j ust admitted involvement in FISA
Warrant and further admitted there were IRREGULAR! IES in the way
the Russia probe was hand led. hey relied heavily on the unveri fied
Tru mp "Dossier" paid for by the DNC & Cli nton Campaign. & f unded
through a ...
Case 1:25-cv-00716-BAH            Document 39-4   Filed 04/02/25   Page 40 of 734




       Donald J. Trump
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... big Crooked Hillary law firm , represented by her law yer Michael
Sussmann (do you believe this?) who worked Baker hard &gave him
Oppo Research for "a Russia probe." This meeting, now exposed. is the
subject of Senate inquiries and much more. A n Unconstitutional Hoax.
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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 41 of 734




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 42 of 734




                   EXHIBIT 9
           Case 1:25-cv-00716-BAH                 Document 39-4      Filed 04/02/25       Page 43 of 734



                     Donald Trump Talks About His Life And His Legacy
                                 Fox News Network LIFE, LIBERTY, LEVIN 8:00 PM EST
                                                  December 5, 2021 Sunday


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Section: NEWS; Domestic
Length: 6383 words
Byline: Mark Levin
Guests: Donald Trump

Body


MARK LEVIN, FOX NEWS HOST: Hello, America. I'm Mark Levin. This is LIFE, LIBERTY & LEVIN. Part two of my
interview with President Trump.

Now, there's interviews with the President, and there's interviews with the President. This format, the long-form
format is the best because we can have the President speak for himself rather than interrupting him and rushing
around and so forth. So this is Part two.

But before we get to Part two, which will be shortly, I want to mention a few things.

We have got to reject the media narrative in this country. If you listen to the media in this country, you're going to
get all screwed up. You're not going to get the facts, you're not going to get any history, even recent history. It is a
propaganda operation and we should all know this by now.

There are a handful of real journalists in this country, a handful of news platforms in this country, and that's it. One
of the things they want to do is ensure that Donald Trump, if he chooses to run for President again in the
Republican primary and so forth, that you will oppose him. It is the same media that tried to turn the 2016 election
into a fraudulent election.

Talk about them talking about fraudulent elections.

I want to remind you that all Donald Trump wanted to do is to improve this country, unlike Barack Obama, he loved
this country and he loved the citizens of this country. He didn't view them as racist. He didn't want to fundamentally
transform America. He wanted to make America great again after Barack Obama and his ilk on the hard left.

They tried to impeach him twice. These will go down in history as two of the most outrageous acts by a Democratic
Congress. They used Russia collusion against him, which was clear to us, but it is not clear to everybody, which
was a criminal enterprise launched by Hillary Clinton, the F.B.I., the Intel Agencies, the Obama White House, in my
view, Obama and Biden as well, certain law firms and other individuals to try and take out a duly elected President.

There is no commission to investigate that, of course.

We have Twitter and Facebook and the corporate media, a cabal of pro- Democrat, pro-American Marxist entities
that oppose free speech, and have shut down the President of the United States, if not worse.

You had disloyal saboteurs around this President. He came to Washington. He had never served in Washington or
in government before, and so he needed to select people who had some experience at the bureaucratic level. Many
          Case 1:25-cv-00716-BAH             Document 39-4         Filed 04/02/25        Page 44 of 734
                                                                                                      Page 2 of 13
                                 Donald Trump Talks About His Life And His Legacy

of them turned on him. They leaked to the press, they stabbed him in the back. Some of them are trying to enrich
themselves with books and so forth.

This is a complete lack of character, and it is so disgusting to me, somebody who worked eight years in the Reagan
administration, and would never have thought of doing anything like this.

A phony whistleblower -- they go after his tax returns. The Emoluments Clause, another phony charge. Two and a
half to three years of a criminal special prosecutor -- what an outrage -- unleashed against a President of the United
States.

They called them everything -- Hitler, Stalin, Mussolini, a racist, an anti-Semite, a dictator, a man who loves his
country. Absolutely outrageous. And now, we have the Nancy Pelosi January 6th Stalinist Politburo trying to ensure
that Donald Trump will never run again.

But we have to reject this narrative, and starting this evening, right here, I'm putting a marker down. Enough is
enough, here and now.

The comparison is what Trump has done versus what Biden is doing, and reject the rest of the corrupt media
analysis, because it is all propaganda.

Let's look at COVID-19. Operation Warp Speed: Three vaccines in less than a year, therapeutics in less than a
year, stopped travel with China, built hospitals, ventilators, masks, et cetera. Under constant attack from media,
Democrats, congressional Democrats every step of the way. This was the equivalent of the Modern Manhattan
Project for domestic war against the pandemic. We have never seen anything like this before in American history.
That's what it was. That's what it is, despite what they say.

What do we have from Biden? Nothing. No new vaccines. No new therapeutics. More people have died in 2021
under Biden than died in 2020 under Trump. According to Biden, that means he shouldn't be President of the
United States. Where is the little charts on the television screens? They don't exist anymore -- and he has three
vaccines and therapeutics that were developed under Trump.

What do we get from Biden? People are fired. People are attacked. People are wearing the scarlet letter because
they are unvaccinated. They don't even take into account natural immunity, which is a scientific fact, which is even
stronger than the vaccine. They have mandates, they have threats, they have firings. They have punishment. That's
what we get from the autocratic Biden administration.

What else? Let's look at the border. Southern border, more secure than it has been in generations. Five hundred
miles of wall built under Trump despite lawsuits from Democrats trying to stop him and slow him down with support
from the media and RINOs who are weak on the border. The number of illegal alien entrants were slashed to record
lows.

He had diplomatic breakthroughs with Mexico. Nobody thought he could do it. So you had remain-in-Mexico. You
want to come into the United States, you're a refugee. You stay in Mexico until we figure this out.

Huge drop in the flow of deadly drugs. Now, we have a spike like we've never seen before. Drop in sex trafficking.
Now, we have a spike. Criminal immigrants coming into this country, MS-13, and so forth, hundreds of thousands of
unknown illegal immigrants. That is outrageous under Joe Biden.

And what has he done? A complete open border, that's what he's done. They talk about COVID. We have COVID
infected aliens, people with other disease coming from the poorest parts of the world into this country and they don't
seem to care. They are secretly released into parts of the country, particularly in Florida because they hate
DeSantis -- without telling anybody.

I have to move fast. Time is limited.
          Case 1:25-cv-00716-BAH              Document 39-4          Filed 04/02/25       Page 45 of 734
                                                                                                        Page 3 of 13
                                 Donald Trump Talks About His Life And His Legacy

Look at the economy. Under Trump, record low inflation, record low gas prices, energy independence. We were
exporting oil. Fracking, ANWR, Federal leases, pipelines -- all moving the American economic engine.

Record employment before COVID. Blacks, Hispanics, Asians, women -- everyone -- even with COVID, the
economy was recovering strongly. I would call this Trump's morning in America. People were hopeful again,
businesses were opening again, manufacturing was opening again. What do we have under Biden? Massive
inflation, massive spending.

What else? Push for more massive taxation and massive regulation. Energy independence is dead. Now, we're
begging our enemies, Russia. We're begging OPEC for oil. They say no.

What else? Skyrocketing gas and home oil prices. Supply chain disaster. We've never had that before. Shortages
of basics in food markets, for toys for Christmas. Huge price increases when they are available.

What else? He wants to massively expand the Federal government under this Build Back Better, or whatever the
hell they call it. The welfare state. They want to expand new entitlements, redistribution of wealth, subsidies for non-
work. That's not America. That's not what we believe in.

Foreign policy. Oh my God, under Trump. Iran was in a box. Iran's economy was imploding. They're our enemy. He
eliminated the Iran deal, which was a giveaway.

China was boxed in with tariffs. Trump built up our military, our Navy. They were boxed in.

Russia, the pipeline was cut off. NATO was strengthened. NATO was strengthened. He was sending offensive
weapons to Ukraine.

The Middle East. Peace breaking out everywhere. Unimaginable.

Israel, we had the Gulf Arab States, the Abraham Accords -- multiple peace deals, never imagined before.

Trust but verify. Again, this was, I think, one of Trumps beliefs. Use of economic superiority, use of military
superiority. He created the Space Force to confront China, which has satellite killing satellites in the sky. He said
enough of that.

He rebuilt the U.S. Army and he was getting us out of Afghanistan with integrity, with honor. He would never have
left hundreds of American citizens over there, our allies over there, or equipment over there, or given them that
Bagram Base. Never ever, ever.

And what do we have with Biden? The Afghanistan disaster, still hundreds of citizens over there that nobody seems
to want to talk about. Worst ever. Worst ever military defeat at least in modern times. That provokes our enemies
and it has.

Iran is moving at warp speed so to speak to build nuclear weapons. General McKenzie, Biden's General has said
they're going to have them within a month or so. What then ladies and gentlemen? And their economy is moving up
again because they are selling 500 million barrels of oil to China.

Iran, China, and now Russia, an alliance that did not exist. China is threatening to destroy Taiwan the way it
destroyed Hong Kong with multiple endless military interventions into Taiwan airspace. Russia has 100,000 troops
on the Ukrainian border today. And I already spoke about Iran. Israel is being undermined, its defenses are being
undermined because the Biden administration has told them, you are not to attack Iran.

Well, how are they going to defend themselves?

Military. Biden uses it for social experimentation, critical race theory, vax mandates. They want women in the draft.
And ladies and gentlemen, they're destroying the number one military on the face of the Earth. He doesn't even
want to increase their budget.
          Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25        Page 46 of 734
                                                                                                           Page 4 of 13
                                  Donald Trump Talks About His Life And His Legacy

Executive orders, the attacks on the independence of the courts, the attacks on separation of power, the filibuster
rule, the attacks on our voting system. The corrupt Biden Department of Justice threatening parents at School
Board meetings, using the power of the Department of Justice to destroy women's sports, and I could say more and
more.

But I can't, because I want to get to Part two of my interview with the President of the United States. But compare
the records. There is no comparison.

There is an effort by the media, the RINO, and the never Trumpers to distract you because they don't want Donald
Trump to be President again and many of you do. Here's part two.

(BEGIN VIDEOTAPE)

LEVIN: Biden, you say he will go down as the worst President in history. I look at what he has done or the people
around him have done. Do you think the election a few weeks ago was a reaction to him as well as all these crazy
Marxist ideologies?

Critical race theory. You sign an executive order banning it from the Federal government. Biden is forcing our
military members to learn it, and to --

DONALD TRUMP, FORMER PRESIDENT OF THE UNITED STATES: That's right.

LEVIN: And to digest it. Biden is in bed with the teachers unions that promote the same thing. Of course, they didn't
like you all that much, you pushed for school choice.

You also pushed for liberty and entrepreneurship in the Black community and minority communities. More than
Biden or Obama have ever done. You got an increase vote in the black community, you got an increase vote in the
Hispanic community, too.

TRUMP: And criminal justice reform.

LEVIN: Criminal justice reform.

Can you think of anything Biden has done that has united the country? That has actually helped minorities that is
positive in any way?

TRUMP: So if you look, President Obama was very divisive. But people were more quiet about it. They didn't want
to insult him, but he was very divisive. But the Biden administration is far worse. In fact, I noticed the other day
where Obama said, this is very dangerous, all of these. You know what they've done, it's too much for him.

It may be too much for Bernie Sanders, but I doubt it, okay. But when they look at his top, economic people who are
looking at this inflation and they are seeing these bills that are being passed to trillions and trillions of dollars, where
it's like, throwing money out the window.

He sees the cost of energy, and they see the cost of it. They see what's happening, and they are saying, you can't
do this. You can't do it. These are Obama people telling Biden people you can't do this. But they push forward
anyway.

Let's see what happens. We have a -- we had an election. I was very helpful. In fact, the new Governor of Virginia
called up early in the morning after the election to thank me. We were very helpful -- look, the MAGA people and
people that support Trump came out in force, far greater than anybody thought possible.

You know, you're an expert. You see what's going on. Your wife is a brilliant lawyer, she knows what's going on.

It's terrible. We have to get back to borders. We have to get back to free enterprise and we need a press that's fair
and equal, and we don't have it.
          Case 1:25-cv-00716-BAH               Document 39-4            Filed 04/02/25        Page 47 of 734
                                                                                                            Page 5 of 13
                                  Donald Trump Talks About His Life And His Legacy

What's happened with Big Tech is a disgrace. I mean, it's just an absolute disgrace. So we have things to do, but
it's going to happen.

I believe we have the people on our side, I think we really do. I think we have a large majority. Who wouldn't want
voter ID as an example? Who wouldn't want a strong military? A border? Who wants to have millions of people
flowing into our country?

How many people -- I mean, think, if you did a sample of a thousand people, typical good American people that love
our country. They are they -- can't believe what they're witnessing at the border, and some of the people are really
bad. These are stone cold killers that other countries don't want, and they're sending them in from their prisons.

Prisons are being emptied out in other countries. This is not a majority. Sanctuary cities. This is not a majority. This
stuff is really, really bad, and I think you're going to see a big, big victory for Republicans in the midterms. I think it's
going to be very hard for them to come back that fast.

They're using prosecutors all over the place to hurt people, to hurt Republicans. I will say that, Bill Barr certainly
didn't do that. He certainly didn't. But they are using their prosecutors to hurt people and hurt them very badly.
They're going after people, everybody.

I've been under investigation from the day I came down the escalator, think of it. I come down the escalator to do a
good job. And by the way, I knew that running would be a very expensive thing. I didn't know it'd be this expense.
But that's okay. I'm very happy about what happened.

I saw Bloomberg spend $2 billion. He never got past the first question. The first question, he was gone. He would
have been very good if he didn't do the debate, but he spent $2 billion.

This country has tremendous potential -- tremendous. But we're giving it away, and there will be a point -- there will
be a point where the country can't come back, and we can never allow that point to be reached.

So I think things are going to happen very big in the midterm elections, and I think in 2024, it's going to be a great
result.

LEVIN: The number of photos in the book, again the name of the book is, "Our Journey Together." People can get it
for Hanukkah, for Christmas. It's a fantastic book.

TRUMP: And we even have a picture of Mark.

LEVIN: Of me and my beautiful wife.

TRUMP: Much more importantly.

LEVIN: Thank you, yes. You can go to 45books.com, 45books.com.

You have a couple of photographs in here, you and Netanyahu, you in Israel. You're the only President to ever visit
the Western Wall -- ever. And you have our kippah on and you're there with Ivanka and others and so forth.

You did so much for the State of Israel. In fact, you did so much for peace in the Middle East, the Abraham
Accords. Nobody could believe, one after another after another, and you were choking Iran economically. Iran was
about to collapse.

Now, look at what's happening today. Iran is selling 500,000 barrels of oil to China every day. Iran is sprinting
toward nuclear weapons. Biden is begging them to come to the table and they won't.

Israel is on defense. They are threatening Israel. They vote against Israel in the United Nations.

These Arab countries that made these deals with Israel, and they've kept these deals with Israel. We haven't added
a single another country and you were close to adding Saudi Arabia and so many others.
          Case 1:25-cv-00716-BAH                Document 39-4           Filed 04/02/25         Page 48 of 734
                                                                                                             Page 6 of 13
                                  Donald Trump Talks About His Life And His Legacy

TRUMP: I would have had -- they were lined up. They were lined up.

Had we not had a rigged election, we would have had peace in the Middle East. They were lined up. We were just
waiting after the election. We were going to sign them one after another. It was happening.

Look, we had UAE, he is a leader. He is a great leader, and it is a leading country over there and respected. But I
will tell you this, Israel is in big trouble. Israel is in trouble.

LEVIN: Taiwan and Israel.

TRUMP: Nobody talked about Taiwan when I was President, and he understood that. I had a very good relationship
until COVID because after COVID, my relationship -- I didn't, you know, I just -- there's only so much you can take.

China has been ripping us off for years. I put tariffs on. We took in hundreds of billions of dollars, all of that I still go.
But when COVID came in, and came in, obviously from China. I mean, China tried to blame Italy and Europe,
initially, if you remember. People don't remember these things, but it very much hurt my relationship with President
Xi, because maybe --

I mean, who wouldn't? I mean, who can speak to somebody you're losing -- the world is dying around you. The
whole world, not just the United States, I mean, places have been hit much harder, relatively much harder. So when
you look at it, when you look at what we've done, what we've accomplished, despite all of these things that have
happened, it's incredible.

Had COVID not happened, we would have had the greatest four years of economic success in the history of the
world. COVID hit us that third -- at the end of the third year, and we did a great job, and then really handed him a
very beautiful palette. We handed it to him.

And every day, they are destroying that palette. And we have a big problem. We're going to have a big problem if it
continues.

I will say this. Israel was safe with me. Iran would have made a deal with me. They were being hurt very badly by
the sanctions. Now, most of those sanctions have been taken off, and you're right, China was buying very little. I
said, don't do it. Don't do it. Now, they're buying more than 500,000 barrels a day. Can you believe this?

But you didn't hear about Taiwan. You know, when I was President, you didn't hear bombers are flying all over
Taiwan. They will do something with Taiwan probably after the Olympics, because they don't respect the Biden
administration.

I watched them the other day sitting, it was President Xi who is at the top of his game. There is nobody in
Hollywood that could play his role. I know him very well. I had a great relationship with him.

But I told him early on, don't ever do anything with Taiwan. Don't ever do it. He understood that. Strong guy, tough
guy. He understood it. But nobody talked about Taiwan during -- they talked about someday in the future. I mean,
this is imminent when you take a look.

But I watched Biden sitting with Xi, and it didn't look like Biden really knew what was going on. And he made a very
terrible mistake. You know, the mistake I'm talking about. That was a terrible mistake.

I don't even like saying it. But what he said now, what he said was so bad, but he was sitting with Xi and you have
somebody that's at the top of his game and you have somebody else that was never really at the top of the game of
the game, and certainly is not at the top of his game and our country is in trouble.

JON SCOTT, FOX NEWS CHANNEL ANCHOR: Welcome to "FOX News Live." I'm Jon Scott.
          Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25        Page 49 of 734
                                                                                                           Page 7 of 13
                                  Donald Trump Talks About His Life And His Legacy

New restrictions for foreign travelers wishing to enter the U.S. kick in tomorrow. The new rules require international
visitors to show proof that they have tested negative for COVID. They are being enforced as the omicron variant
spreads to a third of our country.

But now health officials are saying omicron might not be as dangerous as the delta strain. Infectious disease expert
Dr. Anthony Fauci says the Biden administration might rethink its travel restrictions for some South African nation.

Americans tonight remembering Bob Dole who served his nation as a World War II hero and Republican senator
from Kansas. He was also a three-time presidential candidate. Dole revealed last February he was battling lung
cancer. He died at the age of 98.

I'm Jon Scott, now back to LIFE, LIBERTY & LEVIN.

LEVIN: Let's talk a little bit more about this Russia collusion issue. Durham has indicted this guy, Michael Sussman
who lied to the F.B.I., brought them fake information. He was working with Perkins Coie. That law firm used to have
a guy by the name of Mark Elias. They went all through the states from 2016 to 2020 trying to change the rules and
so forth, all kinds of dark money behind them from billionaires --

TRUMP: And got fired from Perkins Coie.

LEVIN: Well, he certainly left.

TRUMP: Because it's hot.

LEVIN: It's hot. Hillary Clinton was behind most of it.

TRUMP: Yes.

LEVIN: What do you want to say to Hillary Clinton?

TRUMP: Well, I think it's disgraceful. I think that I always knew it was a hoax and I tell the story. During the
campaign, people would come up to me -- different people, young people, old people, people that were working on
my campaign. So, what do you know about Russia? I said nothing. What do you know about Russia? Nothing.

Two months later, what do you know about -- sir, do you know anything about Russia? After about five times, I'd
said, what the hell is going on with Russia?

They've created a false -- it was a totally fabricated story. They made it up in either her kitchen or a law office. She
spent millions of dollars. Crooked Hillary did this -- millions and millions of dollars, gave it to Steele, who is a nut job
and he did the whole F.B.I.

And John McCain, not my favorite person, I knew him well. I knew him well. He sent a copy to the F.B.I. Great
Republican, he was, right?

Let's take down the Republican President. He sent a copy of a fake report to the F.B.I. If you did a movie.

LEVIN: Nobody will believe it.

TRUMP: Nobody will believe it. Okay, nobody would believe it. And a lot of people say to me, how you survived is
one of the most incredible things. Don't forget, I fired Comey. Had I not fired Comey, you might not be talking to me
right now about a beautiful book of four years at the White House and we'll see about the future. The future is going
to be very interesting.

But I fired Comey, that whole group, and now that group is coming back again. I mean, it's not believable. It
shouldn't be allowed to happen. It shouldn't be allowed to happen.
          Case 1:25-cv-00716-BAH             Document 39-4          Filed 04/02/25        Page 50 of 734
                                                                                                       Page 8 of 13
                                 Donald Trump Talks About His Life And His Legacy

LEVIN: You have some beautiful photographs in the book. The book is called "Our Journey Together" and you can
get it at 45books.com, 45books.com -- with Rush Limbaugh.

TRUMP: Yes.

LEVIN: He was an early supporter of yours.

TRUMP: Right. I didn't know him. I never met him. He supported me right after the --

LEVIN: Highly thought of you.

TRUMP: Yes.

LEVIN: And there is a similarity and a sense of both of you. You really are individual human beings who do what
you think is right. You're free spirits. You don't play the game with the social communities or the media or anything
else, and I think -- Rush was one of my best friends -- saw that in you, and that is what attracted him to you.

He said, "This guy is different. He speaks out. He fights he is not hiding. He takes the media on." Because, you
know, they used to come after him and so forth, but what do you make of that?

TRUMP: So Rush was interesting. Obviously, I knew he was, you know, like the biggest of all time on radio, talk
radio and all of that. And by the way, you're doing really well, too.

LEVIN: Thank you, sir.

TRUMP: You and the Great Sean Hannity are doing great.

LEVIN: He is.

TRUMP: But Rush was -- even Sean would say, irreplaceable. He was an amazing guy, but I didn't know him. I
never met him. And I came down and I made a speech. It was quickly written, I didn't have speech writers or
anything, perhaps the day before, I didn't even know if I was running.

And I came down, I talked about the wall, I talked about the horrible things. I talked about the rape and all of the
things that were going on with this tremendous migration, which by the way, is a tiny fraction of what it is now. I had
it brought to the lowest number in our country's history.

And now, it's the highest number after just a few months. It's the highest number, the worst number in our country's
history.

But I talked about immigration. I talked about the wall. I talked about a strong military. I talked about all these
different things, right? And I heard that somebody came into my office at that time in Trump Tower. They had said,
we understand, sir, that Rush Limbaugh is a big fan of yours. I said, well, that's really nice. I don't know him, but
that's really nice.

And then I'd hear more and more and more, and then eventually I got to speak to him on the phone quickly, and
then we met, and we fell in love, okay. We had a great relationship.

I mean, he was great. His wife is a great person and he was amazing. He could talk for three hours without phone
calls.

You know, it's easy to do with phone calls. What do you think of this is? What do you think of that? He would just sit
there and talk. He didn't actually like taking phone calls, you know that.

LEVIN: Right.
          Case 1:25-cv-00716-BAH              Document 39-4        Filed 04/02/25       Page 51 of 734
                                                                                                     Page 9 of 13
                                   Donald Trump Talks About His Life And His Legacy

TRUMP: He took very few phone calls. When you made a call, it was very rare, very interesting, because I think it's
much easier to do the call. Even if you hustle calls, to me, that's like easy. You know, your wrap up the three hours
or the two hours.

He would sit there for hours and just talk, and people were spellbound. I mean, it was incredible. I said, who does
this? Who could do this? And he really became a tremendous fan.

So he got sick and I have the honor of giving out the Presidential Medal of Freedom. That's the highest award you
can get outside of the Congressional Medal of Honor. This is civilian, that's for the military.

And we've given them to great people -- great people. And I said, you know what I'm going to do? Make it in the
State of the Union, it was coming up. Rush was very sick, and yet, he wasn't missing a day. He'd go to a hospital in
Boston and come back, and he'd do his show and he was going through -- he had a real tough -- he had a tough
one in terms of the various cancers.

He had one, that I guess they would say no chance, but he felt there was a great chance, all right. That's the way
he was, optimistic about everything about this country. He loved the country as much as anybody I've ever known.

But he got sick, very sick. And I said to Melania, the First Lady, who is very popular, by the way. Every time I do,
"We love our First Lady, we love our First Lady." I said to Melania, I said, you know, he is a great guy. He has had
an incredible career. People love him because he loves our country. We're going to give him the award, and I think
I'm going to do something that's never been done. I'm going to give it to him during my State of the Union, and it
was wild.

Because I did it, and you know, you have just about 50/50, right? And the side on the right happened to be in this
case, it's the right, but it was the Democrats sitting on the right, and they were like this, except for one or two
people.

I must tell you, Joe Manchin had a beautiful smile on his face. He even lightly applauded -- and a couple of others
too, because they understood the greatness of what Rush had done.

But for the most part, it was just stark cold. And the left, which in this case was the Republicans, you never saw
people go crazy like that. For five minutes, they were screaming and chanting, and Rush, you know, as you know,
he's told you, he considered it the greatest honor of his life.

But it was such an honor for me to have done it, and it wasn't even that controversial. It was very interesting. I
thought I was going to be killed on that one, like getting out of the Paris Accord where I wasn't, and doing other
things where I wasn't because the people of this country know.

But I thought with that, I'd be hit hard, and I wasn't because people understood. He was a great man. He loved the
country, and I was really honored to have his support.

And he wasn't with like anybody else. He knew a lot of the senators that were running, he knew everybody that was
running. But he just saw my first opening remarks -- speech -- I guess, you could call it a speech, it was just
remarks about what's wrong with the country and what could be right, and he loved it.

And from day one, he was a fan.

So he was just a terrific guy, and we miss Rush.

LEVIN: And what you did was very classy, because I can tell you afterward, he called me about it. We spoke about
it. He couldn't believe it.

TRUMP: Yes.

LEVIN: And it was the thrill of his life.
          Case 1:25-cv-00716-BAH              Document 39-4          Filed 04/02/25        Page 52 of 734
                                                                                                        Page 10 of 13
                                  Donald Trump Talks About His Life And His Legacy

LEVIN: The number of photos in this book with you and your wife, First Lady, Melania, you have a very tight
relationship with your wife.

When my wife and I sit with you and your wife from time to time, you commiserate, you talk to each other. You
agree or disagree in a very respectful way. Tell us about the relationship.

TRUMP: So, she is a very solid person. She is -- you're not allowed to say this anymore, so I won't say it -- that she
is a beautiful person. She's very beautiful. But today that doesn't matter. We are not allowed to talk about that.

LEVIN: But it matters to a lot of us.

TRUMP: So, I won't do that. Okay, I will not talk about beauty. But she is, she is a beautiful person inside and out --
but a beautiful person.

And she comes from a country that doesn't have too many problems. They don't know about crime, they don't know
about the kind of problems we have. You know, it's a very solid -- they are a solid people.

You look at that part of the world where they clean their sidewalks every Saturday morning, they scrub this
sidewalks. Everything is clean. You know, they have difficulties, I guess like, everybody has difficulties but she's just
-- she comes from a very good background, and it is amazing, but that background made her like this country, love
this country even more.

She was very honored to be First Lady. First Ladies of other countries, the wives of Prime Ministers, the wives of
Presidents like France, Macron, the wife, she's a wonderful woman. They all gravitated to Melania. They loved
Melania.

The press was so irrelevant to her. No matter what you -- she'd do the most beautiful Christmas ornaments and
trees and they were white, they were so beautiful on the press would say, oh, they shouldn't be white, they should
be green. Then should have them green and they said, they shouldn't be green, they should be white. It didn't
matter.

She has a lot of confidence. It didn't matter to her too much. She just wanted to do the right thing.

But she loves helping people, and she helped a lot of people while she was at the White House.

LEVIN: She speaks a lot of languages, too, right?

TRUMP: A lot of languages.

LEVIN: Incredibly intelligent.

TRUMP: Very smart. Very smart. Got a good heart. But she's also very strong, and she knows right from wrong.

LEVIN: And your kids, they went through a lot, too.

TRUMP: Yes.

LEVIN: I mean --

TRUMP: They went through a tremendous --

LEVIN: It used to be, keep your hands off the kids.

TRUMP: Yes.

LEVIN: But Don Jr. especially, Ivanka was mocked even though she was very, very successful. What was it like
when your kids would come under attack or they were dragged in front of depositions and so forth and you knew
they were lying about this Russia collusion and so forth?
          Case 1:25-cv-00716-BAH              Document 39-4          Filed 04/02/25       Page 53 of 734
                                                                                                       Page 11 of 13
                                 Donald Trump Talks About His Life And His Legacy

TRUMP: Well, it's like I said with Don, they make up a story, and then they go after these people. I mean, they go
after people, not only my kids, they were going after other people violently about Russia, and they had nothing to do
with Russia. It was so sick, but they did it. They went after my kids.

You know, my kids -- Ivanka had a very successful company, and we knew that it would cost us. You know, every
other President, they leave, they make a lot of money. They make it during their presidency. And Obama goes with
Netflix and all of that.

I mean, nobody looks at that, made millions of dollars from a book. He had more money for a book than anybody
ever even came close to. So, why do you pay so much money for a book? There is so much stuff that goes on.

I knew that I would substantially hurt my wealth. It didn't matter, because I'm very wealthy. But I knew that to do it
right, I could have made -- I am telling you, I could have made deals with everybody. I could have made deals in
Saudi Arabia, I could have made deals with everybody. They all wanted me to make deals. I said, don't do it. Don't
make deals.

I could have -- I could have made -- I could have quadrupled my fortune. I could have made it 20 times bigger, 10
times bigger. I didn't want to do it. I knew that doing this would be very expensive because I didn't want to do the
kind of things that many other people would do.

When you look at so many other -- look at the things that happened with Biden over the years, and look at what the
son is doing. Great artists don't get anywhere near what he gets for a painting. It's such a scam.

If I said about prosecutors what he said about the prosecutor in Ukraine, about the $2 billion not going to Ukraine
unless the prosecutors -- I would be excoriated. It would be over. You talk about quid pro quo, that was quid pro
quo.

LEVIN: You don't want to Hunter Biden getting in trouble.

TRUMP: I don't want to see that, no.

LEVIN: But they wanted Don, Jr. to get in trouble.

TRUMP: Yes, they did.

LEVIN: And Eric and Ivanka and people close to you, secretaries and other people had to spend a fortune on
lawyers and everything. That's the difference, I would argue between them and us.

They play to destroy.

TRUMP: Yes. Yes, they do.

LEVIN: We play to win.

TRUMP: It's wrong what they do. It's vicious and it's wrong, but they do.

Hunter Biden, if he were on the other side, well, it wouldn't happen because he would have been gone long before
he took the money from China, long before he got paid $3.5 million from the mayor of Moscow's wife.

We have a double standard. It's much harder for Republicans. Frankly, I tell people, it's a lot easier to be a
Democrat because they're protected. They have been there for a long time. You know, it's interesting, I came to
Washington, I was only there for 17 times, I think 17 times, it was reported, but not a lot. It wasn't my playground for
the most part.

I never stayed overnight. All of a sudden I'm riding down Pennsylvania Avenue in a beautiful -- in The Beast, right?
The world's most expensive car in this -- and I look at the First Lady, and I say, "Do you believe it? I am President
and you're the First Lady." We're riding, we have hundreds of motorcycles and we have everything.
          Case 1:25-cv-00716-BAH               Document 39-4              Filed 04/02/25   Page 54 of 734
                                                                                                        Page 12 of 13
                                  Donald Trump Talks About His Life And His Legacy

But the fact is, we weren't a part of that establishment. These people have been put in office for 25 to 30 years. The
Bushes, in many cases. Clinton, Obama -- so we get there, don't know -- now, I know sort of everybody. I know
every -- I know, The Good, the Bad, and the Ugly.

But they've been there for a long time. You know, they call it the Deep State. And we'll have another discussion on
the words Deep State. But they've been there for a long time. They've been in the Justice Department. They've
been in the F.B.I. They've been in C.I.A.

So you're coming into a hornet's nest. I was going to say before, if I didn't fire Comey, they were looking to take
down the President of the United States. If I didn't fire him, and some people said, he made a mistake when he fired
Comey. And now those same people said it was the most incredible instinctual moves that they've ever seen,
because I wouldn't -- I might be here with you, perhaps we'll be talking about something else.

But I don't think I could have survived if I didn't fire him, because it was like a hornet's nest. When I fired him, they
all went crazy against each other.

LEVIN: And they didn't like him before you fired him. They wanted him removed because they thought he set up
Hillary, and then you fire him and then all of a sudden they flip.

TRUMP: Well, there's two F.B.I.'s

LEVIN: Yes.

TRUMP: There's the people atop, the Comey and the McCabe, and all of these people, the two lovers, right? The
two lovers. It's just so -- but the two lovers used the public servers. They used the F.B.I. servers for their message
back and forth. Wasn't that lovely? So other people, I can imagine who they were didn't find out.

And a big moment was when they said that's the insurance policy. In other words, the insurance policy, remember,
she's going to win 100 million to one. But in case she doesn't, we have an insurance policy, and they were doing
the insurance policy.

And now, that's being found out through Durham and others. We've found out. We've had great patriots -- Jim
Jordan and Devin Nunes and many -- so many people. We've had great, great support.

And you know why I had great support on the impeachment? When I watched Cuomo, he didn't want to be
impeached -- and then he left. He didn't have support, and I had tremendous support from the Republican Party
and then outside of a few people.

LEVIN: And the people -- and the people.

TRUMP: I had great support from the people --

LEVIN: And they did not like what was taking place.

TRUMP: Yes.

LEVIN: Welcome back, America. You know, there's not many people who could do a 70-minute interview straight
through, Part one and Part two, like President Trump did, certainly not Joe Biden, but very few politicians.

I want to strongly encourage you to get a copy of this fantastic book. It's a wonderful coffee table book, "Our
Journey Together." A perfect Christmas gift. Go to 45books.com to order -- four-five books.com, 45books.com.

Again, it is a terrific book. You're going to enjoy it very, very much.

Also, if you go to Amazon right now, you can get "American Marxism." And for this book, it's right here. It's 50
percent off, 50 percent off. So, it's $14.00.
         Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25     Page 55 of 734
                                                                                            Page 13 of 13
                              Donald Trump Talks About His Life And His Legacy

And if you're on Amazon Prime, if you're one of those members, you'll get another $1.25 off, $12.75. Perfect
Christmas gift.

But again, "Our Journey Together," President Trump, 45books.com, 45books.com.

See you next time on LIFE, LIBERTY & LEVIN.


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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 56 of 734




                  EXHIBIT 10
     Case 1:25-cv-00716-BAH            Document 39-4            Filed 04/02/25          Page 57 of 734

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                  EXHIBIT 11
  Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 59 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 11

       Donald Trump announces he's running for president in 2024

                 The posted video is available here:
   https://www.c-span.org/video/?c5041282/i-tonight-announcing-
                 candidacy-president-united-states


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 60 of 734




                  EXHIBIT 12
Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25         Page 61 of 734




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                                       Coie for 'Attempt to Corrupt a
                                       Presidential Election'
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                  EXHIBIT 13
  Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 63 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 13

May 16, 2023 post on Truth Social by user @realDonaldTrump, which upon
 information and belief is an account owned by President Donald J. Trump

                    The posted audio is available here:
http://truthsocial.com/@realDonaldTrump/posts/110381617248464734


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 64 of 734




                  EXHIBIT 14
  Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 65 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 14

   March 4, 2023 speech Donald J. Trump gave at the Conservative
                    Political Action Conference

                    The video is available here:
  https://www.c-span.org/program/campaign-2024/former-president-
                   trump-speaks-at-cpac/624800


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                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 66 of 734




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         Found your collusion, @RepAdamSchiff.

         #Durham




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 69 of 734




                  EXHIBIT 16
Case 1:25-cv-00716-BAH          Document 39-4     Filed 04/02/25   Page 70 of 734




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      Marc Elias Is Scared ... And He Should Be



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                  Donald J. Trump 0
                  @realDonaldTrump

    I am being accused of Election Interference in a trial being presided over by a
    Corrupt D.A. and a ridiculously Conflicted Judge, representing people who Rigged
    and Stole the 2020 Presidential Election, and paid millions of dollars for the Fake
    and Fully Discredited Russia Dossier…..And they’re after me because a bookkeeper
    marked down “Legal Expense” in a Ledger when describing Legal Fees paid to a
    lawyer. What else would you call it? The Biden Thugs call it Falsifying Business
    Records. THIS FAKE CASE SHOULD BE DROPPED, IMMEDIATELY!
    6.69k ReTruths 22.3k Likes                                                                      Apr 23, 2024, 5:42 PM


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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 73 of 734




                  EXHIBIT 18
Case 1:25-cv-00716-BAH         Document 39-4   Filed 04/02/25      Page 74 of 734




        Donald J. Trump 0
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Andrew McCarthy: "HILLARY CLINTON, RECIDIVIST ELECTION -
THEFT CONSPIRATOR. .. Regarding 1992, the Clinton campaign
used a law firm as the intermediary for tens of thousands of dollars
in payments to a private investigator (Jack Pall adino) whose task
was to obtain the silence of women who claimed to have had
affairs with Bill Clinton .. .it turns out that this 1992 tactic -       booking
as lega l fees what might euphemistically be called 'research' -                 was
the blueprint for the 2016 Hillary Clinton campaign, in cahoots w ith
the Democratic National Committee. They paid the ir law firm,
Perkins Coie, which retained the research firm Fusion GPS and its
contractor, former British spy Christopher Steele, to generate the
farcical Steele dossier that was shared with the FBI, the State
Department, and the media to smear Trump as a clandestine agent
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                  EXHIBIT 19
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         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 19

  August 29, 2024 interview of President Trump by Monica Crowley


           An audio version of the interview is available here:
  https://play.cdnstream1.com/s/bahakel/the-monica-crowley-podca-
               3102d5/a-newsmaking-talk-with-p-8574db


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 77 of 734




                  EXHIBIT 20
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        Donald J. Trump 0
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CEASE & DESIST: 11 toget her with many Attorneys and Legal
Scholars, am watch ing the Sanctity of the 2024 Presidential
Election very cltosely because I know, better than most, the
rampant Cheating and Skullduggery that has taken place by the
Democrats in the 2020 Presidential Election. It was a Disgrace to
our Nation! Therefore, the 2024 Election, where Votes have just
started being cast, w ill be under the closest professional scrutiny
and, WHEN I WIN, tho se people that CHEATED w ill be prosecuted
to th e fulles extent of the Law, which will in clude long term prison
sentences so that this Depravity of Justice does not happen aga in.
We cannot l'et our Country further devolve into a Third World
Nation, AND WE WON'T! Please beware that this legal exposure
extends to Lawyers, Polit ica l Operatives, Donors, l:llegal Voters, &
Corrupt Election Official s. Those involved in unscrupulous behavior
will be sought out, caught, and prosecuted at levels, unfortunately,
never seen before in our Country.
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          2875 replies


                  Donald J. Trump 0
                  @realDonaldTrump

    CEASE & DESIST: I, together with many Attorneys and Legal Scholars, am watching
    the Sanctity of the 2024 Presidential Election very closely because I know, better
    than most, the rampant Cheating and Skullduggery that has taken place by the
    Democrats in the 2020 Presidential Election. It was a Disgrace to our Nation!
    Therefore, the 2024 Election, where Votes have just started being cast, will be
    under the closest professional scrutiny and, WHEN I WIN, those people that
    CHEATED will be prosecuted to the fullest extent of the Law, which will include
    long term prison sentences so that this Depravity of Justice does not happen
    again. We cannot let our Country further devolve into a Third World Nation, AND
    WE WON’T! Please beware that this legal exposure extends to Lawyers, Political
    Operatives, Donors, Illegal Voters, & Corrupt Election Officials. Those involved in
    unscrupulous behavior will be sought out, caught, and prosecuted at levels,
    unfortunately, never seen before in our Country.
    8.36k ReTruths 22.6k Likes                                                                      Sep 17, 2024, 11:56 AM


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                  Donald J. Trump 0
                  @realDonaldTrump

    CEASE & DESIST: I, together with many Attorneys and Legal Scholars, am watching
    the Sanctity of the 2024 Presidential Election very closely because I know, better
    than most, the rampant Cheating and Skullduggery that has taken place by the
    Democrats in the 2020 Presidential Election. It was a Disgrace to our Nation!
    Therefore, the 2024 Election, where Votes have just started being cast, will be
    under the closest professional scrutiny and, WHEN I WIN, those people that
    CHEATED will be prosecuted to the fullest extent of the Law, which will include
    long term prison sentences so that this Depravity of Justice does not happen
    again. We cannot let our Country further devolve into a Third World Nation, AND
    WE WON’T! Please beware that this legal exposure extends to Lawyers, Political
    Operatives, Donors, Illegal Voters, & Corrupt Election Officials. Those involved in
    unscrupulous behavior will be sought out, caught, and prosecuted at levels,
    unfortunately, never seen before in our Country.
    8.17k ReTruths 20.2k Likes                                                                       Oct 25, 2024, 1:32 PM


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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 83 of 734




                  EXHIBIT 23
                                                                 Case 1:25-cv-00716-BAH                          Document 39-4                    Filed 04/02/25           Page 84 of 734
                                                                  Federal Register / Vol. 90, No. 18 / Wednesday, January 29, 2025 / Presidential Documents                                 8339

                                                                                                     Presidential Documents



                                                                                                     Executive Order 14151 of January 20, 2025

                                                                                                     Ending Radical and Wasteful Government DEI Programs and
                                                                                                     Preferencing


                                                                                                     By the authority vested in me as President by the Constitution and the
                                                                                                     laws of the United States of America, it is hereby ordered:
                                                                                                     Section 1. Purpose and Policy. The Biden Administration forced illegal
                                                                                                     and immoral discrimination programs, going by the name ‘‘diversity, equity,
                                                                                                     and inclusion’’ (DEI), into virtually all aspects of the Federal Government,
                                                                                                     in areas ranging from airline safety to the military. This was a concerted
                                                                                                     effort stemming from President Biden’s first day in office, when he issued
                                                                                                     Executive Order 13985, ‘‘Advancing Racial Equity and Support for Under-
                                                                                                     served Communities Through the Federal Government.’’
                                                                                                     Pursuant to Executive Order 13985 and follow-on orders, nearly every Federal
                                                                                                     agency and entity submitted ‘‘Equity Action Plans’’ to detail the ways that
                                                                                                     they have furthered DEIs infiltration of the Federal Government. The public
                                                                                                     release of these plans demonstrated immense public waste and shameful
                                                                                                     discrimination. That ends today. Americans deserve a government committed
                                                                                                     to serving every person with equal dignity and respect, and to expending
                                                                                                     precious taxpayer resources only on making America great.
                                                                                                     Sec. 2. Implementation. (a) The Director of the Office of Management and
                                                                                                     Budget (OMB), assisted by the Attorney General and the Director of the
                                                                                                     Office of Personnel Management (OPM), shall coordinate the termination
                                                                                                     of all discriminatory programs, including illegal DEI and ‘‘diversity, equity,
                                                                                                     inclusion, and accessibility’’ (DEIA) mandates, policies, programs, pref-
                                                                                                     erences, and activities in the Federal Government, under whatever name
                                                                                                     they appear. To carry out this directive, the Director of OPM, with the
                                                                                                     assistance of the Attorney General as requested, shall review and revise,
                                                                                                     as appropriate, all existing Federal employment practices, union contracts,
                                                                                                     and training policies or programs to comply with this order. Federal employ-
                                                                                                     ment practices, including Federal employee performance reviews, shall re-
                                                                                                     ward individual initiative, skills, performance, and hard work and shall
                                                                                                     not under any circumstances consider DEI or DEIA factors, goals, policies,
                                                                                                     mandates, or requirements.
                                                                                                       (b) Each agency, department, or commission head, in consultation with
                                                                                                     the Attorney General, the Director of OMB, and the Director of OPM, as
                                                                                                     appropriate, shall take the following actions within sixty days of this order:
                                                                                                       (i) terminate, to the maximum extent allowed by law, all DEI, DEIA,
                                                                                                       and ‘‘environmental justice’’ offices and positions (including but not lim-
                                                                                                       ited to ‘‘Chief Diversity Officer’’ positions); all ‘‘equity action plans,’’
                                                                                                       ‘‘equity’’ actions, initiatives, or programs, ‘‘equity-related’’ grants or con-
                                                                                                       tracts; and all DEI or DEIA performance requirements for employees, con-
                                                                                                       tractors, or grantees.
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                                                                                                        (ii) provide the Director of the OMB with a list of all:
                                                                                                           (A) agency or department DEI, DEIA, or ‘‘environmental justice’’ posi-
                                                                                                        tions, committees, programs, services, activities, budgets, and expenditures
                                                                                                        in existence on November 4, 2024, and an assessment of whether these
                                                                                                        positions, committees, programs, services, activities, budgets, and expendi-
                                                                                                        tures have been misleadingly relabeled in an attempt to preserve their
                                                                                                        pre-November 4, 2024 function;


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                                                8340              Federal Register / Vol. 90, No. 18 / Wednesday, January 29, 2025 / Presidential Documents

                                                                                                         (B) Federal contractors who have provided DEI training or DEI training
                                                                                                        materials to agency or department employees; and
                                                                                                          (C) Federal grantees who received Federal funding to provide or advance
                                                                                                        DEI, DEIA, or ‘‘environmental justice’’ programs, services, or activities
                                                                                                        since January 20, 2021.
                                                                                                        (iii) direct the deputy agency or department head to:
                                                                                                          (A) assess the operational impact (e.g., the number of new DEI hires)
                                                                                                        and cost of the prior administration’s DEI, DEIA, and ‘‘environmental
                                                                                                        justice’’ programs and policies; and
                                                                                                           (B) recommend actions, such as Congressional notifications under 28
                                                                                                        U.S.C. 530D, to align agency or department programs, activities, policies,
                                                                                                        regulations, guidance, employment practices, enforcement activities, con-
                                                                                                        tracts (including set-asides), grants, consent orders, and litigating positions
                                                                                                        with the policy of equal dignity and respect identified in section 1 of
                                                                                                        this order. The agency or department head and the Director of OMB
                                                                                                        shall jointly ensure that the deputy agency or department head has the
                                                                                                        authority and resources needed to carry out this directive.
                                                                                                        (c) To inform and advise the President, so that he may formulate appro-
                                                                                                     priate and effective civil-rights policies for the Executive Branch, the Assist-
                                                                                                     ant to the President for Domestic Policy shall convene a monthly meeting
                                                                                                     attended by the Director of OMB, the Director of OPM, and each deputy
                                                                                                     agency or department head to:
                                                                                                        (i) hear reports on the prevalence and the economic and social costs
                                                                                                        of DEI, DEIA, and ‘‘environmental justice’’ in agency or department pro-
                                                                                                        grams, activities, policies, regulations, guidance, employment practices,
                                                                                                        enforcement activities, contracts (including set-asides), grants, consent or-
                                                                                                        ders, and litigating positions;
                                                                                                        (ii) discuss any barriers to measures to comply with this order; and
                                                                                                       (iii) monitor and track agency and department progress and identify poten-
                                                                                                       tial areas for additional Presidential or legislative action to advance the
                                                                                                       policy of equal dignity and respect.
                                                                                                     Sec. 3. Severability. If any provision of this order, or the application of
                                                                                                     any provision to any person or circumstance, is held to be invalid, the
                                                                                                     remainder of this order and the application of its provisions to any other
                                                                                                     persons or circumstances shall not be affected.
                                                                                                     Sec. 4. General Provisions. (a) Nothing in this order shall be construed
                                                                                                     to impair or otherwise affect:
                                                                                                       (i) the authority granted by law to an executive department or agency,
                                                                                                       or the head thereof; or
                                                                                                       (ii) the functions of the Director of the Office of Management and Budget
                                                                                                       relating to budgetary, administrative, or legislative proposals.
                                                                                                       (b) This order shall be implemented consistent with applicable law and
                                                                                                     subject to the availability of appropriations.
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                                                                  Federal Register / Vol. 90, No. 18 / Wednesday, January 29, 2025 / Presidential Documents                                 8341

                                                                                                       (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                     substantive or procedural, enforceable at law or in equity by any party
                                                                                                     against the United States, its departments, agencies, or entities, its officers,
                                                                                                     employees, or agents, or any other person.




                                                                                                     THE WHITE HOUSE,
                                                                                                     January 20, 2025.


                                                [FR Doc. 2025–01953
                                                Filed 1–28–25; 8:45 am]
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                  EXHIBIT 24
            Case 1:25-cv-00716-BAH     Document 39-4     Filed 04/02/25   Page 88 of 734

                                         The WHITE HOUSE
                                            FACT SHEETS

                         Fact Sheet: President Donald J. Trump Protects Civil
                      Rights and Merit-Based Opportunity by Ending Illegal DEI


                                          The White House


                                          January 22, 2025




PROTECTING CIVIL RIGHTS AND EXPANDING INDIVIDUAL OPPORTUNITY: Today,
President Donald J. Trump signed an historic Executive Order that protects the civil
rights of all Americans and expands individual opportunity by terminating radical DEI
preferencing in federal contracting and directing federal agencies to relentlessly combat
private sector discrimination. It enforces long-standing federal statutes and faithfully
advances the Constitution’s promise of colorblind equality before the law. This
comprehensive order is the most important federal civil rights measure in decades:
  •   It terminates “diversity, equity, and inclusion” (DEI) discrimination in the federal
      workforce, and in federal contracting and spending.
        0    Federal hiring, promotions, and performance reviews will reward individual
             initiative, skills, performance, and hard work and not, under any
             circumstances, DEI-related factors, goals, policies, mandates, or
             requirements.

  •   The order requires OMB to streamline the federal contracting process to enhance
      speed and efficiency, reduce costs, and require Federal contractors and
      subcontractors to comply with our civil rights laws.
        0    It revokes Executive Order 11246 contracting criteria mandating affirmative
             action

        0    It bars the Office of Federal Contract Compliance Programs from pushing
             contractors to balance their workforce based on race, sex, gender identity,
             sexual preference, or religion.
             Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25    Page 89 of 734
         0    It requires simple and unmistakable affirmation that contractors will not
              engage in illegal discrimination, including illegal DEI.

  •   It directs all departments and agencies to take strong action to end private sector
      DEI discrimination, including civil compliance investigations.

  •   It mandates the Attorney General and the Secretary of Education issue joint
      guidance regarding the measures and practices required to comply with the
      Supreme Court’s decision in Students for Fair Admissions v. Harvard.
RESTORING THE VALUES OF INDIVIDUAL DIGNITY, HARD WORK, AND EXCELLENCE:
Individual dignity, hard work, and excellence are fundamental to American greatness.
This Executive Order reaffirms these values by ending the Biden-Harris Administration’s
anti-constitutional and deeply demeaning “equity” mandates, terminating DEI, and
protecting civil rights:
  •   Reversing the progress made in the decades since the Civil Rights Act of 1964
      toward a colorblind and competence-based workplace, radical DEI has
      dangerously tainted many of our critical businesses and influential institutions,
      including the federal government.

  •   In the private sector, many corporations and universities use DEI as an excuse for
      biased and unlawful employment practices and illegal admissions preferences,
      ignoring the fact that DEI’s foundational rhetoric and ideas foster intergroup
      hostility and authoritarianism.
         0    Billions of dollars are spent annually on DEI, but rather than reducing bias
              and promoting inclusion, DEI creates and then amplifies prejudicial hostility
              and exacerbates interpersonal conflict.
PRESIDENT TRUMP PROMISED AND DELIVERED: President Trump promised to
terminate DEI in the federal government, protect equal opportunity, and force schools to
end discriminatory admissions policies, and he delivered. Every man and woman
should have the opportunity to go as far as their hard work, individual initiative,
and competence can take them. In America, excellence, grit, and determination is
our strength.
Case 1:25-cv-00716-BAH    Document 39-4          Filed 04/02/25   Page 90 of 734




                                 NEWS

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                           Washington, DC 20500




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Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 91 of 734

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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 92 of 734




            Exhibit 25
       Intentionally Omitted
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 93 of 734




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   8 ÿ ÿ193 5ÿ8ÿ"835ÿ8ÿ825ÿ23ÿ7ÿ8 537ÿ 23ÿ2ÿ713ÿÿ01 &ÿ724 ÿ89
      83 &ÿ23ÿ71 &ÿ837ÿ5 3ÿ7ÿÿÿ7127ÿ 237ÿ78ÿ71 ÿ#ÿ  ÿ3ÿ71 ÿ38
      83 &ÿÿÿ7127ÿ25ÿ 87237ÿ78ÿ71 ÿ25ÿ71 &ÿ37ÿ237ÿ78ÿ2&ÿ71 ÿ725ÿ58ÿ71 &
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    5ÿ515ÿÿ75ÿ41798ÿ49ÿ1ÿÿ1ÿ5ÿ5ÿ5ÿÿ1ÿ9875ÿ1ÿ4ÿ9
   8198ÿ1 ÿÿ
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   17ÿ11ÿ
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WMMPG<66ZZZ[ZWJMBWROGB[UR\6EBCDEFG68=896=56EBCDEFG]HI]PEBGJKBLM]MEOCP]JL]^RJLM]DKKEBGG]MR]_RLUEBGG6                      87655
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XNNQH=77[[[\[XKNCXSPHC\VS]7FCDEFGH79>9:7>67FCDEFGH^IJ^QFCHKLCMN^NFPDQ^KM^_SKMN^ELLFCHH^NS^`SMVFCHH7                      99766
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   6 33ÿ9 83 ÿ3 9ÿ5ÿ54ÿ5ÿ56 789ÿ7ÿ679 ÿ8ÿ ÿ!2ÿÿ"273#ÿ
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   85ÿ& 8ÿ453ÿÿ'ÿ85ÿ ÿ7& ÿ ÿ4 855ÿÿ3ÿ84 9ÿ747ÿÿ289ÿ5
   74 3ÿ ÿ7& ÿ(ÿ37 ÿ73ÿÿÿ) ÿ74 3ÿ7& ÿÿÿ289ÿ ÿ89ÿ!73ÿ3 59
      7& ÿÿ55ÿÿ$ ÿ*6+ÿÿ$ +ÿÿ"273#ÿÿ* ÿ3 59ÿ7& ÿÿ55ÿÿ!5ÿÿ78ÿ5
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   78ÿ5ÿ ÿ549ÿÿ289ÿ  ÿ58ÿ5ÿ54ÿ5ÿ4-83ÿ ÿ8 & ÿ 5 
   ÿÿÿÿÿ*5ÿ553ÿ5ÿ9 83 ÿ8937ÿ73ÿ ÿ7 ÿ735ÿ58ÿ5ÿ 3 4ÿ
   26 478ÿ3 98ÿ893ÿ8498ÿ4566 47ÿ3 98ÿ789ÿ6 7
   3 98ÿÿ"273#
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      56 ÿ5ÿ26 47ÿ ÿÿ 583ÿ
   ÿÿÿÿÿ, ÿ3 9ÿ5ÿ67 ÿ35ÿ678ÿ3 3ÿÿ, ÿ958ÿ67 ÿ 6ÿ7865 ÿ& ÿ64 ÿ
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   ÿÿÿÿÿ
   ÿÿÿÿÿ*5ÿ ÿ8 784 ÿ5ÿ87587ÿ3 4 ÿ6ÿ796 83758ÿÿ ÿ 476 8ÿ
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   8691!ÿ8ÿ12ÿ8ÿ89ÿ2ÿ91ÿ1474ÿ01696
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     813974ÿ7ÿ67 773ÿÿ*7ÿ484&9ÿ87ÿ89ÿ91ÿ8ÿÿ*7ÿ7ÿ89ÿ91ÿ!ÿ4ÿ7&7
   98ÿ89ÿ0ÿÿ+3267,
   ÿÿÿÿÿ4ÿ7ÿ7ÿ-01ÿ.281ÿ8ÿ07ÿÿ/114ÿ320!ÿ-01ÿÿ+0297ÿ4ÿ3267,ÿ
   1 ÿ7ÿ1 ÿ1ÿ91ÿ37ÿ8ÿ98ÿ176ÿ1ÿÿ+0297,ÿ
   1!ÿ-01ÿ6ÿ77ÿ18!ÿ4ÿ7&6ÿ18ÿ91ÿ41ÿÿ79ÿ%1ÿÿ8ÿ1ÿ89ÿÿ27ÿ19ÿ
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   )559ÿ6ÿ986ÿ7937!ÿ4ÿ'ÿ773ÿ7ÿ0798ÿ6ÿ61!ÿ379&6ÿ6627ÿ7ÿ19ÿ)55
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   89ÿÿ+0297,ÿ
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   ÿ12ÿÿ+3267,ÿÿÿ12ÿÿ27&6ÿ418ÿÿ79ÿ%1ÿÿ/79ÿ%1ÿ
   ÿÿÿÿÿ4ÿ'ÿ361ÿ7ÿÿ7667ÿ9189ÿ1ÿ97ÿ8074837ÿ7137ÿ1ÿ/7734ÿ
   +0297,ÿÿ*7ÿ6913ÿ6219ÿ12ÿ89ÿ91ÿ479787ÿ12ÿ1 ÿ2927!ÿ4!ÿ8ÿ12
   01167!ÿ7ÿ73017ÿ12ÿ891ÿ97ÿ78974ÿ89976ÿ1ÿ780ÿ
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\RRULA;;___`_\ORG\WTLGZ̀Wa;JGHIJKL;=B=>;B:;JGHIJKLbMNbUJGLOPGQRbRJTHUbOQbcWOQRbIPPJGLLbRWbdWQZJGLL;                      =e;::
/0/10234ÿ3678ÿ9: Case 1:25-cv-00716-BAH
                                     ;<=>?@ADocument
                                            ÿBCÿ9?<ADE<FGÿH?I39-4
                                                              =JÿDFÿKLDFGFiled
                                                                         ÿMEE?<AA04/02/25
                                                                                  ÿGLÿNLFO?<AAÿPÿHQPage
                                                                                                   <ÿRQDG<ÿ118
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   01ÿ3455ÿ6117ÿ89 ÿ 1ÿÿ01ÿ3455ÿ 61ÿ89 ÿ4ÿÿÿ911ÿ31ÿ3455ÿ61ÿ115ÿ9
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   ÿÿÿÿÿÿ7961ÿ9ÿ 8ÿ9ÿ1ÿ7 1ÿÿ591ÿ91ÿÿ181ÿ55ÿ4ÿ9 ÿ1 ÿ94ÿ
   - ÿ7961ÿ9ÿ1ÿ9ÿ1ÿ791ÿÿ01ÿ ÿÿ4ÿ 55ÿÿ.18ÿ91ÿ9ÿ1ÿ 551ÿ
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   18ÿ 778ÿ#ÿ ÿ 778ÿ ÿ89 ÿ ÿ1ÿ1ÿ9 1ÿ4  1ÿÿ14ÿ45
QGGJA600TTTUTQDG<QLIA<UOLV0?<=>?@A0272307/0?<=>?@AWBCWJ?<ADE<FGWG?I=JWDFWXLDFGW>EE?<AAWGLWYLFO?<AA0                      230//
78798:;<ÿ;>?@ÿAB Case 1:25-cv-00716-BAH
                                     CDEFGHIDocument
                                            ÿJKÿAGDILMDNOÿPGQ39-4
                                                              ERÿLNÿSTLNOFiled
                                                                         ÿUMMGDII04/02/25
                                                                                  ÿOTÿVTNWGDIIÿXÿPYPage
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    83ÿÿ$525ÿ4 5 3ÿ055 ÿ39ÿ02 3ÿ34 3ÿ82ÿ 4ÿ35ÿ934ÿ551349ÿ29ÿ2
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YOORI>88\\\]\YLODYTQID]WT^8GDEFGHI8:?:;8?78GDEFGHI_JK_RGDILMDNO_OGQER_LN_T̀LNO_FMMGDII_OT_aTNWGDII8                      :b877
:;:<;=>?ÿ>ABCÿDE Case 1:25-cv-00716-BAH
                                     FGHIJKLDocument
                                            ÿMNÿDJGLOPGQRÿSJT39-4
                                                              HUÿOQÿVWOQRFiled
                                                                         ÿXPPJGLL04/02/25
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   759345ÿÿ95!4ÿ4ÿ!3498ÿ94 ÿ8 132ÿ/934ÿ38ÿ9 2ÿ ÿ8354ÿ3ÿ9ÿ942
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   ÿÿÿÿÿ63!1 94 182ÿÿ9 ÿ8318ÿ38188348ÿ3ÿ718839ÿ94 ÿ9ÿ 3
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78798:;<ÿ;>?@ÿAB Case 1:25-cv-00716-BAH
                                     CDEFGHIDocument
                                            ÿJKÿAGDILMDNOÿPGQ39-4
                                                              ERÿLNÿSTLNOFiled
                                                                         ÿUMMGDII04/02/25
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   ÿÿÿÿÿ434ÿ34ÿ9  ÿ9ÿ  39ÿ58464 ÿ34ÿ86ÿ'ÿ8ÿ ÿÿ396684ÿ9  ÿ'ÿ3964
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YOORI>88\\\]\YLODYTQID]WT^8GDEFGHI8:?:;8?78GDEFGHI_JK_RGDILMDNO_OGQER_LN_T̀LNO_FMMGDII_OT_aTNWGDII8                      :b877
12132456ÿ589:ÿ;< Case 1:25-cv-00716-BAH
                                     =>?@ABCDocument
                                            ÿDEÿ;A>CFG>HIÿJAK39-4
                                                              ?LÿFHÿMNFHIFiled
                                                                         ÿOGGA>CC04/02/25
                                                                                  ÿINÿPNHQA>CCÿRÿJSPage
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   63ÿÿ5 ÿ8315ÿ 58ÿ 580ÿ3ÿ56 65ÿ563ÿ383ÿ 3ÿ1ÿ563ÿ383ÿ01239ÿ
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                  EXHIBIT 27
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                                                 Federal Register                                    Presidential Documents
                                                 Vol. 90, No. 46

                                                 Tuesday, March 11, 2025



                                                 Title 3—                                            Executive Order 14230 of March 6, 2025

                                                 The President                                       Addressing Risks From Perkins Coie LLP

                                                                                                     By the authority vested in me as President by the Constitution and the
                                                                                                     laws of the United States of America, it is hereby ordered:
                                                                                                     Section 1. Purpose. The dishonest and dangerous activity of the law firm
                                                                                                     Perkins Coie LLP (‘‘Perkins Coie’’) has affected this country for decades.
                                                                                                     Notably, in 2016 while representing failed Presidential candidate Hillary
                                                                                                     Clinton, Perkins Coie hired Fusion GPS, which then manufactured a false
                                                                                                     ‘‘dossier’’ designed to steal an election. This egregious activity is part of
                                                                                                     a pattern. Perkins Coie has worked with activist donors including George
                                                                                                     Soros to judicially overturn popular, necessary, and democratically enacted
                                                                                                     election laws, including those requiring voter identification. In one such
                                                                                                     case, a court was forced to sanction Perkins Coie attorneys for an unethical
                                                                                                     lack of candor before the court.
                                                                                                     In addition to undermining democratic elections, the integrity of our courts,
                                                                                                     and honest law enforcement, Perkins Coie racially discriminates against
                                                                                                     its own attorneys and staff, and against applicants. Perkins Coie publicly
                                                                                                     announced percentage quotas in 2019 for hiring and promotion on the
                                                                                                     basis of race and other categories prohibited by civil rights laws. It proudly
                                                                                                     excluded applicants on the basis of race for its fellowships, and it maintained
                                                                                                     these discriminatory practices until applicants harmed by them finally sued
                                                                                                     to enforce change.
                                                                                                     My Administration is committed to ending discrimination under ‘‘diversity,
                                                                                                     equity, and inclusion’’ policies and ensuring that Federal benefits support
                                                                                                     the laws and policies of the United States, including those laws and policies
                                                                                                     promoting our national security and respecting the democratic process. Those
                                                                                                     who engage in blatant race-based and sex-based discrimination, including
                                                                                                     quotas, but purposefully hide the nature of such discrimination through
                                                                                                     deceiving language, have engaged in a serious violation of the public trust.
                                                                                                     Their disrespect for the bedrock principle of equality represents good cause
                                                                                                     to conclude that they neither have access to our Nation’s secrets nor be
                                                                                                     deemed responsible stewards of any Federal funds.
                                                                                                     Sec. 2. Security Clearance Review. (a) The Attorney General, the Director
                                                                                                     of National Intelligence, and all other relevant heads of executive departments
                                                                                                     and agencies (agencies) shall immediately take steps consistent with applica-
                                                                                                     ble law to suspend any active security clearances held by individuals at
                                                                                                     Perkins Coie, pending a review of whether such clearances are consistent
                                                                                                     with the national interest.
                                                                                                        (b) The Office of Management and Budget shall identify all Government
                                                                                                     goods, property, material, and services, including Sensitive Compartmented
                                                                                                     Information Facilities, provided for the benefit of Perkins Coie. The heads
                                                                                                     of all agencies providing such material or services shall, to the extent per-
                                                                                                     mitted by law, expeditiously cease such provision.
                                                                                                     Sec. 3. Contracting. (a) To prevent the transfer of taxpayer dollars to Federal
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                                                                                                     contractors whose earnings subsidize, among other things, racial discrimina-
                                                                                                     tion, falsified documents designed to weaponize the Government against
                                                                                                     candidates for office, and anti-democratic election changes that invite fraud
                                                                                                     and distrust, Government contracting agencies shall, to the extent permissible
                                                                                                     by law, require Government contractors to disclose any business they do
                                                                                                     with Perkins Coie and whether that business is related to the subject of
                                                                                                     the Government contract.


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                                                                                                       (b) The heads of all agencies shall review all contracts with Perkins
                                                                                                     Coie or with entities that disclose doing business with Perkins Coie under
                                                                                                     subsection (a) of this section. To the extent permitted by law, the heads
                                                                                                     of agencies shall:
                                                                                                       (i) take appropriate steps to terminate any contract, to the maximum
                                                                                                       extent permitted by applicable law, including the Federal Acquisition
                                                                                                       Regulation, for which Perkins Coie has been hired to perform any service;
                                                                                                        (ii) otherwise align their agency funding decisions with the interests of
                                                                                                        the citizens of the United States; with the goals and priorities of my
                                                                                                        Administration as expressed in executive actions, especially Executive
                                                                                                        Order 14147 of January 20, 2025 (Ending the Weaponization of the Federal
                                                                                                        Government); and as heads of agencies deem appropriate. Within 30 days
                                                                                                        of the date of this order, all agencies shall submit to the Director of
                                                                                                        the Office of Management and Budget an assessment of contracts with
                                                                                                        Perkins Coie or with entities that do business with Perkins Coie effective
                                                                                                        as of the date of this order and any actions taken with respect to those
                                                                                                        contracts in accordance with this order.
                                                                                                     Sec. 4. Racial Discrimination. (a) The Chair of the Equal Employment Oppor-
                                                                                                     tunity Commission shall review the practices of representative large, influen-
                                                                                                     tial, or industry leading law firms for consistency with Title VII of the
                                                                                                     Civil Rights Act of 1964, including whether large law firms: reserve certain
                                                                                                     positions, such as summer associate spots, for individuals of preferred races;
                                                                                                     promote individuals on a discriminatory basis; permit client access on a
                                                                                                     discriminatory basis; or provide access to events, trainings, or travel on
                                                                                                     a discriminatory basis.
                                                                                                        (b) The Attorney General, in coordination with the Chair of the Equal
                                                                                                     Employment Opportunity Commission and in consultation with State Attor-
                                                                                                     neys General as appropriate, shall investigate the practices of large law
                                                                                                     firms as described in subsection (a) of this section who do business with
                                                                                                     Federal entities for compliance with race-based and sex-based non-discrimi-
                                                                                                     nation laws and take any additional actions the Attorney General deems
                                                                                                     appropriate in light of the evidence uncovered.
                                                                                                     Sec. 5. Personnel. (a) The heads of all agencies shall, to the extent permitted
                                                                                                     by law, provide guidance limiting official access from Federal Government
                                                                                                     buildings to employees of Perkins Coie when such access would threaten
                                                                                                     the national security of or otherwise be inconsistent with the interests of
                                                                                                     the United States. In addition, the heads of all agencies shall provide guidance
                                                                                                     limiting Government employees acting in their official capacity from engaging
                                                                                                     with Perkins Coie employees to ensure consistency with the national security
                                                                                                     and other interests of the United States.
                                                                                                        (b) Agency officials shall, to the extent permitted by law, refrain from
                                                                                                     hiring employees of Perkins Coie, absent a waiver from the head of the
                                                                                                     agency, made in consultation with the Director of the Office of Personnel
                                                                                                     Management, that such hire will not threaten the national security of the
                                                                                                     United States.
                                                                                                     Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                                                                                                     to impair or otherwise affect:
                                                                                                        (i) the authority granted by law to an executive department or agency,
                                                                                                        or the head thereof; or
                                                                                                       (ii) the functions of the Director of the Office of Management and Budget
                                                                                                       relating to budgetary, administrative, or legislative proposals.
                                                                                                       (b) This order shall be implemented consistent with applicable law and
                                                                                                     subject to the availability of appropriations.
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                                                                     Federal Register / Vol. 90, No. 46 / Tuesday, March 11, 2025 / Presidential Documents                                  11783

                                                                                                       (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                     substantive or procedural, enforceable at law or in equity by any party
                                                                                                     against the United States, its departments, agencies, or entities, its officers,
                                                                                                     employees, or agents, or any other person.




                                                                                                     THE WHITE HOUSE,
                                                                                                     March 6, 2025.


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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 131 of 734




                  EXHIBIT 28
3/11/25, 8:40 AM   Case 1:25-cv-00716-BAH       Document
                                       Fact Sheet:              39-4
                                                   President Donald J. TrumpFiled  04/02/25
                                                                             Adresses               Page
                                                                                      Risks from Perkins Coie132
                                                                                                              LLP –of
                                                                                                                    ] 734

                                  Fact Sheet: President Donald J. Trump Addresses Risks from Perkins Coie LLP
                                                         The White HouseMarch 6, 2025




  STOPPING ABUSES THAT UNDERMINE THE NATION: Today, President Donald J. Trump signed an Executive Order to
  suspend security clearances held by individuals at Perkins Coie LLP, pending a review of whether their access to sensitive
  information is consistent with the national interest.
     • Security clearances held by Perkins Coie LLP employees will be immediately suspended, pending a review of whether
        their access to sensitive information is consistent with the national interest.
          0    The Federal Government will halt all material and services, including sensitive compartmented information facility
               (SCIF) access provided to Perkins Coie LLP and restrict its employees’ access to government buildings.
          0    Federal Agencies will also refrain from hiring Perkins Coie LLP employees unless specifically authorized.
     •   To ensure taxpayer dollars no longer go to contractors whose earnings subsidize partisan lawsuits against the United
         States, the Federal Government will prohibit funding contractors that use Perkins Coie LLP.
           0  All Federal Government contracts with Perkins Coie LLP will undergo rigorous scrutiny, with agency heads directed
              to terminate engagements to the maximum extent permitted by law.
     • The practices of Perkins Coie LLP will be reviewed under Title VII to ensure compliance with civil rights laws against
       racial bias.
  ENSURING GOVERNMENT SERVES THE AMERICAN PEOPLE: President Trump’s Administration will not tolerate Perkins
  Coie LLP’s unethical and discriminatory actions that threaten our elections, military strength, and national security.
    • In 2016, Perkins Coie LLP hired Fusion GPS to manufacture a false “dossier” designed to steal an election while
       representing failed presidential candidate Hillary Clinton.
     •   Perkins Coie LLP pushed debunked claims of secret Trump-Russia communications via Alfa Bank, with attorney Michael
         Sussmann indicted for lying to the FBI about this scheme.
     •   Perkins Coie LLP has worked with activist donors, including George Soros, to judicially overturn enacted election laws,
         such as those requiring voter identification.
           0  A court was forced to sanction Perkins Coie attorneys for unethical lack of candor before the court.
     •   Perkins Coie LLP has been accused of racially discriminating against its own attorneys, staff, and applicants.
           0  Perkins Coie has publicly announced racial percentage quotas for hiring and promotions, violating civil rights laws,
              and excluded applicants from fellowships based on race until lawsuits forced change.
     •   Perkins Coie LLP hosted an FBI workspace, raising concerns about partisan misuse of sensitive data during
         investigations targeting President Trump.
     •  Perkins Coie LLP has filed lawsuits against the Trump Administration, including one designed to reduce military
        readiness.
  A RETURN TO ACCOUNTABILITY: President Trump is delivering on his promise to end the weaponization of government and
  protect the nation from partisan actors who exploit their influence.
    • President Trump is refocusing government operations to their core mission—serving the citizens of the United States.
     •   President Trump signed an Executive Order to end the weaponization of the Federal Government on his first day in office
         after promising to “end forever the weaponization of government and the abuse of law enforcement against political
         opponents.”
     •   President Trump revoked security clearances held by dozens of intelligence officials who falsely claimed in a 2020 letter,
         during the height of the U.S. presidential election season, that Hunter Biden’s laptop was tantamount to Russian
         disinformation.




https://www.whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-adresses-risks-from-perkins-coie-llp/              1/1
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 133 of 734




                  EXHIBIT 29
 Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 134 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 29

      President Trump Signs Executive Orders on March 6, 2025


                     The video is available here:
 https://www.c-span.org/program/white-house-event/president-trump-
                   signs-executive-orders/656830


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 135 of 734




                  EXHIBIT 30
            Case 1:25-cv-00716-BAH             Document 39-4         Filed 04/02/25       Page 136 of 734




                                                Democracy Dies in Darkness




Trump expands retribution campaign against law firms that
aided his foes
Trump hit another major law firm that worked for his political rivals with an executive order
seeking to limit its ability to work for the U.S. government.
Updated March 6, 2025


By Perry Stein and Michael Birnbaum


President Donald Trump on Thursday targeted another elite law firm that has represented clients he considers his
political enemies, sending a forceful message that he is willing to punish firms who work for people or groups that
oppose his administration’s agenda.


In an Oval Office ceremony, the president signed an executive order hitting the large international law firm Perkins
Coie with a sweeping directive that bans the federal government from hiring it, or from using contractors who work
with it, except in limited circumstances. The order also bars Perkins Coie employees from entering federal buildings
and suspends their security clearances.


The firm represented Hillary Clinton’s campaign and the Democratic National Committee during the 2016 presidential
race, and it also contracted with the research firm that produced the now-discredited opposition dossier that alleged
extensive contacts between Trump and Russia.


The move could have a chilling effect on law firms’ willingness to take on clients and cases that run counter to the
Trump administration, challenging a fundamental tenet of the rule of law in the United States that everyone should
have access to legal representation, experts said.


“This is an absolute honor to sign,” Trump said from his Oval Office desk.


A spokesman for Perkins Coie said in a statement that the executive order is “patently unlawful, and we intend to
challenge it.”


A White House official said the move targeted Perkins Coie because of its track record on Trump.


“The president doesn’t believe they should have the privileges afforded to companies of their stature to work and
operate with the federal government, since they have made it very clear they are vehemently against the president of
the United States, and their work proves that,” a senior administration official said, speaking on the condition of
anonymity to talk frankly about the sensitive decision-making behind the order.
            Case 1:25-cv-00716-BAH              Document 39-4         Filed 04/02/25        Page 137 of 734
“If this case was retribution or anti-Democrat, anti-liberal, then we would basically pull the security clearance
clearances of every law firm on K Street, because they all hate the president,” the official said. “This law firm in
particular has shown a level of bias in which their coordination with the federal government was done so in an illegal
fashion that was purposely intended on undermining the president of the United States and really locking him up.”


Perkins Coie is the second law firm Trump has taken action against or decried as engaging “in the weaponization of the
judicial process.”


Last week, he ordered the suspension of security clearances of some attorneys at Covington & Burling, which has
                               ----------------------------
represented special counsel Jack Smith pro bono. Smith led the federal investigations of Trump for allegedly
mishandling classified materials and trying to block the 2020 election results.


Trump’s orders targeting the law firms called for limiting their access to federal resources and could have the effect of
dissuading other private law firms from battling the Trump administration in court.


The American legal system relies on attorneys representing all sorts of clients, including violent criminals, and the
president’s appearing to punish firms for their choice of clients could do grave damage to that system, said Mark Zaid,
a national security lawyer who often represents whistleblowers.


“By taking these actions against these major law firms, it is effectively sending a message to all the lawyers that you
best not challenge this administration, or you, your lawyers and your clients will suffer,” Zaid said. “It is the most un-
American thing I’ve ever heard.”


Other experts said the order was part of Trump’s broader campaign against the legal system.


“He doesn’t like judges who rule against him. He doesn’t like prosecutors who prosecuted against him. He doesn’t like
lawyers who’ve undertaken measures against him,” said Thomas Carothers, the director of the Democracy, Conflict,
and Governance Program at the Carnegie Endowment for International Peace. “This is part of a broader questioning,
and in many cases, an attack on the core institutions of the rule of law.”


But Carothers said that he did not think Trump’s order would bring the U.S. legal system to a halt.


“I don’t think a peer law firm will think, ‘Oh, we shouldn’t bring this enforcement action against this government
entity, because we can no longer challenge the U.S. government.’ I think that would be overreading it.”


Perkins Coie became embroiled in what Trump and his allies have repeatedly described as the “Russia hoax” when it
contracted with a firm that conducted research about Trump’s connections to Russia during the 2016 presidential
campaign. That contract resulted in the now-famous Steele dossier, a document full of unverified allegations assembled
by former British intelligence officer Christopher Steele.


But the two main attorneys involved in that work — Marc E. Elias and Michael Sussmann — are no longer employed by
Perkins Coie. Both attorneys are named in a fact sheet explaining Trump’s executive order.


Elias retained Fusion GPS, the Washington firm that ultimately produced the Steele dossier.
            Case 1:25-cv-00716-BAH              Document 39-4          Filed 04/02/25        Page 138 of 734
Years later, special counsel John Durham — who was assigned to look into possible wrongdoing among federal agents
who investigated Trump’s 2016 campaign — charged Sussmann with lying to a senior FBI official during that
investigation.


Sussmann was accused of bringing allegations to the FBI of a secret computer communications channel between the
Trump organization and Russia-based Alfa Bank. FBI agents investigated the data but concluded that there was
nothing suspicious about it.


In 2022, a jury found Sussmann not guilty.


Perkins Coie is one of eight big law firms involved in lawsuits against Trump, according to an American Bar Association
Journal article published last week that cited the law firm’s representation of transgender service members who are
challenging the administration’s ban on joining the military.


Trump also signed a separate order that could make it harder for opponents to seek injunctions against his
administration’s actions by holding them accountable for legal costs if they lose. The Justice Department will ask
judges to require plaintiffs who are seeking injunctions and restraining orders against the Trump administration to
post a bond to cover court costs should they fail, raising the bar for legal challenges.


When presenting the Perkins Coie executive order to Trump to sign, White House staff secretary Will Scharf said the
firm has engaged in “unlawful DEI practices,” referring to diversity, equity and inclusion programs, and accused it of
using racial quotas for hiring and promotions.


Scharf said the executive order calls for a “holistic review of unlawful DEI in some of the nation’s largest law firms.”


Although the Supreme Court has banned affirmative action in college admissions, and federal law prohibits workplace
discrimination on the basis of race, sex and certain other criteria, no law bans diversity and equity efforts within
private companies.


Scharf did not explain what the government’s review would entail, which law firms would be examined and what
criteria the federal government would use to determine whether a law firm engaged in wrongdoing.


The Trump administration’s move to penalize law firms for their DEI practices when no court has said such programs
are illegal “is extraordinary,” said Walter Olson, a senior fellow at the Cato Institute, a libertarian think tank.


“There is no legal definition of excessive DEI. The law itself is so unsettled,” Olson said. “The administration can take
positions, but it’s not as if the courts have taken a position and given them a green light and said, ‘Yes, you are right.’”



    CORRECTION

    An earlier version of this article misspelled the last name of a former Perkins Coie attorney. He is
    Michael Sussmann. This article has been corrected.
         Case 1:25-cv-00716-BAH Document 39-4 Filed 04/02/25 Page 139 of 734
What readers are saying
The comments overwhelmingly criticize the Trump administration's decision to target Perkins Coie,
viewing it as an abuse of power and a threat to the rule of law. Many commenters express concern that
this action represents authoritarian behavior, likening it to tactics used by... Show more
This summary is AI-generated. AI can make mistakes and this summary is not a replacement for reading the comments.

                                                                                                                     I
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 140 of 734




                  EXHIBIT 31
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25   Page 141 of 734



                       EXECUTIVE OFFICE OF THE PRESIDENT
                           OFFICE OF MANAGEMENT AND BUDGET
                                     WASHINGTON, D.C. 20503


THE DIRECTOR


                                          March 7, 2025

 M-25-17

 MEMORANDUM TO THE HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

 FROM:         Russell T. Vought
               Director

 SUBJECT:      Implementation of the Executive Order on “Addressing Risks From Perkins Coie
               LLP”

       In accordance with direction provided by the President in an Executive Order dated
 March 6, 2025 entitled, “Addressing Risks From Perkins Coie LLP,” I am issuing this
 memorandum to all executive Departments and Agencies.

         Agencies must review all Government contracts and subcontracts with Perkins and Coie
 LLP, as well as provision to Perkins and Coie LLP of goods, property, material, and services,
 including any Sensitive Compartmented Information Facilities. Agencies shall complete the
 review, perform all duties required by the aforementioned Executive Order, and report back to
 the Office of Management of Budget by emailing MBX.OMB.OFPPv2@omb.eop.gov no later
 than April 5, 2025, which should include contract type, scope, period of performance, and value,
 along with any action taken.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 142 of 734




                  EXHIBIT 32
 Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 143 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 32

   March 9, 2025 interview of President Trump by Maria Bartiromo


                     The video is available here:
           https://www.foxnews.com/video/6369823374112


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 144 of 734




                  EXHIBIT 33
 Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 145 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 33

  March 10, 2025 interview of Stephen Miller, White House Deputy
                    Chief of Staff, on Fox News


                   The video is available here:
  https://www.youtube.com/watch?app=desktop&v=zA_7x3F5Gag


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 146 of 734




                  EXHIBIT 34
      Case 1:25-cv-00716-BAH               Document 39-4                 Filed 04/02/25              Page 147 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Perkins Coie LLP
c/o Dane H. Butswinkas
Williams & Connolly LLP
680 Maine Avenue, SW
Washington, DC 20024
dbutswinkas@wc.com

Re:     Review of Perkins Coie LLP’s Compliance with Title VII of the Civil Rights Act of 1964

Dear Mr. Butswinkas:

         Based on public statements and court filings 1 by Perkins Coie LLP (“Perkins Coie”), I am
seeking information about the firm’s employment practices. Title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. § 2000e, et seq. (Title VII) prohibits an employer from discriminating
against an individual because of race, color, religion, sex, or national origin. 2 Under Title VII, an
employer initiative, policy, program, or practice may be unlawful if it involves an employer, or
other covered entity, taking an employment action motivated—in whole or in part—by race, sex,
or another protected characteristic. 3 Title VII also bars employers from limiting, segregating, or
classifying employees based on race, sex, or other protected characteristics in a way that affects
their status or deprives them of employment opportunities, including in voluntary employee groups
and activities which are employer sponsored. 4 It is the responsibility of the EEOC to enforce the
provisions of Title VII with respect to private employers.

       Perkins Coie publicly has touted its hiring practices, including its diversity fellowships,
which have historically been limited to “students of color,” 5 as “help[ing] create and foster one of


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; public statements by Perkins Coie in court filings;
and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).
5
  See AAER v. Perkins Coie LLP, Case No. 3:23-cv-01788 (N.D. Tex. 2023), Dkt. 1 at 1.

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
    Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25      Page 148 of 734




the strongest and most diverse talent pipelines in the legal profession” 6 and “designed to increase
the representation of racially diverse lawyers at the firm.” 7 Merely five months ago, Perkins Coie
announced it had “achieved Mansfield 7.0 Certification Plus status for another year from Diversity
Lab, which measures how leading law firms have affirmatively considered women, lawyers of
color, [and] LGBTQ+ lawyers . . . for recruitment, partnership promotions, and management
positions, among other significant benchmarks.” 8

         In addition, in 2020, Microsoft’s Law Firm Diversity Program recognized Perkins Coie as
its “top performing law firm” when it came to meeting Microsoft’s diversity goals, demonstrating
a five year plan that “achieved impressive progress . . . growing diverse attorney hours on
Microsoft matters by 12.3 percentage points (from 56.7% to 69%);” a 10.3 point increase in overall
diverse partner representation at the firm (from 33.6% to 43.9%);” and “great progress in diverse
representation on its management committee, with over 64% of their committee members
identifying as women, minorities, LGBTQ+ people, people with disabilities and veterans.” 9 In
fact, since at least 2012, Perkins Coie has been a leader in a third-party diversity scorecard that
scores law firms based on their “percentile ranking of the representation of underrepresented racial
and ethnic groups, gender and LBGTQ+ per level and the overall disclosure of DEI data versus
firms of a similar size.” 10

       Further, Perkins Coie provides several “Resource Groups,” divided on, among other bases,
Title VII-protected bases, including race, color, religion, sex, and national origin. For example,
Perkins Coie’s “South Asian/Middle Eastern (SAME) Lawyers Resource Group consists of
attorneys with backgrounds from South Asian and Middle Eastern nations . . . .” 11 The group
“seeks to attract, welcome, retain, and promote attorneys that identify as South Asian or Middle
Eastern” and provide those attorneys with other advancement opportunities. 12 Similarly, the
“Asian Pacific Islander Resource Group” seeks to “create business opportunities with clients . . .
.” 13

        I am concerned that Perkins Coie’s “diversity and inclusion” or other employment
programs, policies, and practices may entail unlawful disparate treatment in terms, conditions, and
privileges of employment, or unlawful limiting, segregating, and classifying based—in whole or

6
  See id., Dkt. 29 at 7.
7
  See id., Dkt. 29 at 30.
8
  Perkins Coie, “Perkins Coie Awarded Mansfield 7.0 Certification Plus in Diversity Leadership
for a Consecutive Year,” https://perma.cc/3UNE-39PG.
9
  Dev Stahlkopf, Microsoft’s Law Firm Diversity Program 2020 Awards and the Next Evolution
of the Program, Microsoft On the Issues, https://blogs.microsoft.com/on-the-
issues/2020/09/30/microsoft-law-firm-diversity-program-2020-awards (last accessed Mar. 13,
2025).
10
   See MCCA Scorecard, 2022 Law Firm Diversity Survey Participants,
https://mccascorecard.com (last visited Mar. 13, 2025).
11
   Perkins Coie, “Diversity & Inclusion,” https://perma.cc/8S7C-6DQQ.
12
   Id.
13
   Id.

                                                 2
     Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25      Page 149 of 734




in part—on race, sex, or other protected characteristics, in violation of Title VII. I believe you can
be of assistance in helping to identify all relevant information I might consider. As an initial
request, please provide responses to the questions outlined below. Please also preserve all relevant
records.


Internships, Fellowships, and Scholarships

In public statements and court filings, Perkins Coie has acknowledged that it has had a 1L Diversity
Fellowship Program since 1991 and a similar 2L Diversity Fellowship Program since 2021.
Perkins Coie also admitted in court filings that, at least until 2023, those hiring programs had a
“requirement that participants belong to a group historically underrepresented in the legal
profession” and appears to concede that those programs previously limited participation by race
and “asked or required [applicants] to identify their race when applying.” 14 Perkins Coie also has
asserted in court filings that it changed the criteria for its diversity fellowship programs in 2023.15

1.     Please describe the application and selection criteria used by Perkins Coie for its 1L
       Diversity Fellowship Program from: (a) 2015 to 2023; and (b) from 2023 to the present.

2.     Please describe the application and selection criteria used by Perkins Coie for its 2L
       Diversity Fellowship Program from: (a) 2021 to 2023; and (b) from 2023 to the present.

3.     Does Perkins Coie hire any 1L law students as summer associates other than participants
       in the firm’s 1L Diversity Fellowship Program?

4.     At any point since 2015, did participation in either the 1L or 2L Diversity Fellowship
       Program provide participants with an accelerated interview, consideration, or selection
       process for the firm’s regular summer associate program or full-time associate attorney
       positions? If so, please describe the policy or practice in detail and provide all related
       documentation.

5.     In court filings, Perkins Coie admitted that it engaged in disparate treatment in
       compensation between summer associates who solely participated in the firm’s regular
       summer associate program and summer associates who were admitted into the firm’s 1L
       and 2L Diversity Fellowship Program. The firm admitted that in addition to a “paid
       summer associate position,” in “recent years, Perkins Coie’s 1L and 2L diversity fellows
       received an additional stipend, both at the end of the summer and if they returned after
       graduation for full-time employment at the firm.” 16 Please provide documents and
       information regarding compensation for the firm’s summer associate program as well as
       the two “additional stipends” received by all diversity fellows.



14
   See AAER v. Perkins Coie LLP, Case No. 3:23-cv-01788 (N.D. Tex. 2023), Dkt. 1 at 7, 9.
15
   Id., Dkt. 1 at 9.
16
   Id., Dkt. 1 at 10.

                                                  3
     Case 1:25-cv-00716-BAH        Document 39-4       Filed 04/02/25     Page 150 of 734




6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 1L Diversity Fellowship Program (Y/N)

        If selected:
        i. Compensation for 1L Diversity Fellowship Program
        j. Received offer for 2L Diversity Fellowship Program (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in Diversity
             Fellowship Program (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L Diversity Fellowship Program (Y/N)

        If selected:
        i. Compensation for 2L Diversity Fellowship Program
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

                                               4
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 151 of 734




Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school).17
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are
invited to apply” for the the SEO Law Fellowship. 18 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 19 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women.20
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 21 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 22 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 23 If your firm had SEO Fellows placed at your firm at any point since 2019, please
answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?



17
   SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
18
   SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
19
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
20
   Id.
21
   See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
22
   SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
23
   SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
                                                  5
      Case 1:25-cv-00716-BAH        Document 39-4       Filed 04/02/25     Page 152 of 734




11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?

13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting

                                                6
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 153 of 734




        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired

                                                   7
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 154 of 734




        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title
        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

           i.    Name
           ii. Sex
           iii. Race
           iv. Phone number
           v.    Email address
           vi. Office location
           vii. Year that candidate was considered for LCLD program
           viii. Selected by your firm to participate in LCLD program (Y/N)
           ix. Job position at time of consideration for LCLD program
           x.    Current job position
           xi. Whether, at the time of consideration for LCLD program, candidate held a
                 leadership position at your firm (Y/N)
           xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.



                                                 8
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 155 of 734




25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.     The client
        b.     The date of disclosure
        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 24 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.



24
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   9
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 156 of 734




31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Office location
        g.   Member of firm affinity group (Y/N)
        h.   Name of affinity group(s) in which attorney participates
        i.   Previously participated in LCLD program (Y/N)
        j.   Previously was SEO Fellow (Y/N)
        k.   Previously participated in firm diversity internship or fellowship (Y/N)
        l.   Elevated to partner (Y/N)

                                                 10
      Case 1:25-cv-00716-BAH        Document 39-4       Filed 04/02/25      Page 157 of 734




        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of a firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates / participated
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in a firm diversity internship or fellowship (Y/N)
        l. Hired as lateral partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

                                               ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

        Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                                11
      Case 1:25-cv-00716-BAH                Document 39-4                 Filed 04/02/25              Page 158 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Cooley LLP
c/o Rachel Proffitt, Chief Executive Officer
3175 Hanover Street
Palo Alto, CA 94304-1130
rproffitt@cooley.com

Re:     Review of Cooley LLP’s Compliance with Title VII of the Civil Rights Act of 1964

Dear Ms. Proffitt:

        Based on public statements 1 by Cooley LLP (Cooley), I am seeking information about the
firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual because
of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy,
program, or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

       Cooley has publicly touted its hiring goals, including “targets for greater representation of
women in the partnership, diversity among lawyers and diversity in business professionals’
leadership.” 5 According to your public website, Cooley’s board of director approved a Diversity,
Equity and Inclusion Action Plan (“DEI Action Plan”) on August 18, 2020, and updated the DEI


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).
5
  Cooley LLP, DEI Snapshot 2024, dei-snapshot-2024.pdf (last accessed Mar. 14, 2025).

                     131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
    Case 1:25-cv-00716-BAH             Document 39-4               Filed 04/02/25          Page 159 of 734




Action Plan on September 30, 2021. 6 Your landing page on March 13, 2025 summarized the DEI
Action Plan and outlined specific metrics such as “increase[ing] the percentage of ethnic, racial,
and LGBTQ+ diversity among all lawyers to at least 32%” and “increase[ing] the percentage of
ethnic, racial and LGBTQ+ diversity among all managers and directors to at least 37%” by January
1, 2026. 7 Also on that page, Cooley defined “diversity” as “ethnic/racial diversity and LGBTQ+,”
while celebrating its “progress” with the following graphic: 8



    Women in                          Diversity                           Diversity among
    the partnership                   among lawyers                       managers + directors

    11-friMM 2s%                      E+HMM 26%                            2020 baseline    29%
     Firmwide       31%                 Firmwide                  35%      Firmwide            33%
     20269001              35%          20269001                  32%      2026 goal                 37%

                          Diversity defined as ethnic/racial diversity and LGBTQ +
                                        Firmwic', &           ·ii 1, 2023
                                                   "'l'IIW'IIIP




However, as of March 14, 2025, Cooley’s DEI Action Plan landing page is no longer available to
the public. Cooley’s sudden, overnight removal of its “board approved DEI plan” from its public
facing landing page gives me pause.

        The chair of Cooley’s diversity committee is “extremely proud that we continue to make
meaningful strides toward achieving our ambitious representation goals,” 9 goals that the Chicago
Committee recognized with a 2024 Diversity Award for Commitment and Investment “based on
the firm’s racially/ethnically diverse associate hiring, partnership ranks, diversification of client
teams, and inclusive succession planning.” 10

       As reflected in the graphic above, in only approximately two years (from 2020 to April
2023), Cooley increased its percentage of “ethnic/racial diversity and LGBTQ+” “diversity among


6
  Cooley LLP, Diversity, Equity and Inclusion Action Plan, cooley.com/diversity/dei-action-plan
(This page was available on your website on March 13, 2025, but was no longer available on
March 14, 2025). Please preserve this and any other records relevant to this inquiry.
7
  Id.
8
  Id.
9
  Cooley LLP, “Cooley Welcomes New Chief Diversity Officer Kelly Batts,” Press Release, Oct.
10, 2023, https://www.cooley.com/news/coverage/2023/2023-10-10-cooley-welcomes-new-
chief-diversity-officer-kelly-batts (last accessed Mar. 14, 2025) (emphasis added).
10
     Chicago Committee on Minorities in Large Law Firms, 2024 Annual Report,
https://chicagocommittee.org/wp-content/uploads/2024/10/Chicago-Committee-Annual-Report-
2024.pdf (last accessed Mar. 14, 2025).
                                                        2
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25      Page 160 of 734




lawyers” by nine percentage points. 11 That rapid increase resulted in “diversity” representation
that is three percentage points above even the firm’s own six-year goal for “diversity among
lawyers.” 12 It is unclear how much more that representation percentage may have increased in the
approximately two additional years since April 1, 2023, but it is reasonable to assume that this
trend has continued, causing the firm to even further exceed its own “ambitious” 2026 goal.

        Cooley directly (and likely significantly) financially benefited from the employment
decisions the firm took that led to such a rapid increase in racial, ethnic, and LGBTQ+
representation in its lawyer ranks. In 2021 and 2022, Microsoft’s Law Firm Diversity Program
recognized Cooley as one of five law firms meeting Microsoft’s diversity “goals,” “earning the
full program bonus” 13 of 3% of annual fees 14 in 2021 and meeting “goals of increasing diversity
on the teams that work on Microsoft matters” in 2022. 15

        In addition, a few months ago, Cooley announced it had “achieved Mansfield Rule
Certification status” which “measures whether law firms have affirmatively considered women,
underrepresented racial and ethnic groups, LGBTQ+ lawyers and lawyers with disabilities for
leadership and governance roles, equity partner promotions, formal client pitch opportunities and
senior lateral positions.” 16 Diversity Lab has named Cooley an “Inclusion Blueprint Champion,”
an honor Cooley achieved by showing “diversity representation based on average or above-
average thresholds, year-over-year diversity representation progress,” and “diversity tracking.” 17

        In fact, since at least 2012, Cooley has been ranked by a third-party diversity scorecard that
scores law firms based on their “percentile ranking of the representation of underrepresented racial
and ethnic groups, gender and LBGTQ+ per level and the overall disclosure of DEI data versus




11
   Cooley LLP, “Diversity, Equity and Inclusion Action Plan, cooley.com/diversity/dei-action-
plan”
12
   Id.
13
    Hossein Nowbar, Recognizing Partner Law Firms for Furthering Diversity in the Legal
Profession, Microsoft On the Issues, https://blogs.microsoft.com/on-the-issues/2021/12/14/lfdp-
law-firm-diversity-program-2021-results (last accessed Mar. 14, 2025).
14
       Microsoft,    Law      Firm      Diversity   Program        Overview  and    FAQ,     4,
https://aka.ms/LFDP_ProgramOverviewandFAQ (last accessed Mar. 14, 2025).
15
    Hossein Nowbar, Microsoft’s Law Firm Diversity Program: Celebrating Top Performers in
2022, Microsoft On the Issues, https://blogs.microsoft.com/on-the-issues/2022/12/08/microsoft-
law-firm-diversity-program-lfdp-2022/ (last accessed Mar. 14, 2025).
16
    Cooley LLP, “Cooley Achieves US, UK Mansfield Rule Certification Status,” Press Release,
Oct. 28, 2024, https://www.cooley.com/news/coverage/2024/2024-10-28-cooley-achieves-us-uk-
mansfield-rule-certification-status (last accessed Mar. 14, 2025).
17
    Cooley LLP, “Diversity Lab Names Cooley an Inclusion Blueprint Champion,” Press Release,
Dec. 17, 2021, https://www.cooley.com/news/coverage/2021/2021-12-17-diversity-lab-names-
cooley-an-inclusion-blueprint-champion (last accessed Mar. 14, 2025).
                                                  3
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 161 of 734




firms of a similar size.” 18 Last year, Cooley was ranked among the top three of all participating
law firms. 19

        It appears likely that Cooley disparately provides access to certain privileges of
employment (training and leadership development) based on its employees’ race or other protected
characteristics. Cooley advertises that it is a member of the Leadership Council on Legal
Diversity; that through its “membership in the program, we nominate a diverse set of lawyers for
leadership development programs each year;” and that “Cooley is recognized as a key law firm
partner by LCLD.” 20 Cooley has provided “diverse” lawyers access to these unique leadership
development program and training since 2013. 21 Cooley does not indicate how it defines “diverse”
for purposes of selecting lawyers for access to these unique LCLD programs, but it is reasonable
to assume that Cooley consistently defines “diversity” as “ethnic/racial diversity and LGBTQ+,”
as it does in its DEI Action Plan.

          In its press releases touting its lawyers’ participation in LCLD programs following their
nomination by Cooley, Cooley describes the LCLD “Pathfinders Program [as] connect[ing] high-
potential, early-career lawyers of diverse backgrounds and perspectives from LCLD member
organizations with foundational leadership skills and relationship-building resources during a
seven-month professional development program.” 22 Cooley describes the LCLD “Fellows
Program [as] prepar[ing] high-potential, mid-career lawyers of diverse backgrounds and
perspectives at LCLD member organizations with professional and personal development
opportunities, leadership training, relationship-building resources and access to LCLD members
(including managing partners and general counsel).” 23 Cooley’s selection of a Cooley lawyer for
the LCLD Pathfinders Program allows that lawyer to receive access to LCLD-provided “train[ing]
. . . in critical career-development strategies including leadership and the building of professional
networks,” and indicates that that Cooley lawyer is “recognized as emerging leaders within their
organization,” that is, within Cooley. 24 Cooley’s selection of a Cooley lawyer for the LCLD
Fellows Program is designed to “increase diversity at the [firm’s] leadership levels” and places
that lawyer “on a trajectory towards leadership positions” at Cooley. 25

18
        See MCCA Scorecard, 2022 Law Firm Diversity Survey Participants,
https://mccascorecard.com (last visited Mar. 14, 2025).
19
   MCCA Scorecard, 2024 Law Firm Diversity Survey Rankings, https://mccascorecard.com (last
visited Mar. 14, 2025).
20
          Cooley LLP, Racial and Social Justice, https://www.cooley.com/diversity/racial-and-
social-justice.
21
   Cooley LLP, Press Release, Cooley Lawyers Join Leadership Council on Legal Diversity’s
Fellows and Pathfinders Programs (Feb. 26, 2024),
https://www.cooley.com/news/coverage/2024/2024-02-26-cooley-lawyers-join-leadership-
council-on-legal-diversitys-fellows-and-pathfinders-programs.
22
   Id.
23
   Id.
24
    Cooley LLP, Press Release, “Cooley Lawyers Set to Join LCLD Fellows + Pathfinders
Programs” (March 11, 2021), https://www.cooley.com/news/coverage/2021/2021-03-11-cooley-
lawyers-set-to-join-lcld-fellows-pathfinders-programs.
25
    Id.
                                                 4
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25      Page 162 of 734




        Cooley also provides several “Affinity Groups,” divided on, among other bases, Title VII-
protected bases, including race, color, religion, sex, and national origin. For example, Cooley’s
“Black Business Professionals Affinity Group provides a safe space for engagement on various
issues, including equity and inclusion, for members who self-identify as Black or of African
descent.” 26 Similarly, the “Latinx Affinity Group” “The group is dedicated to recruiting,
mentoring, supporting and retaining Latinx and other diverse business professionals, law students
and lawyers throughout their careers. Further, it serves an integral role in advocating for all Latinx
employees . . . .” 27

        I am concerned that Cooley’s “diversity, equity, and inclusion” or other employment
programs, policies, and practices may entail unlawful disparate treatment in terms, conditions, and
privileges of employment, or unlawful limiting, segregating, and classifying based—in whole or
in part—on race, sex, or other protected characteristics, in violation of Title VII. I believe you can
be of assistance in helping to identify all relevant information I might consider. As an initial
request, please provide responses to the questions outlined below. Please also preserve all relevant
records.

Internships, Fellowships, and Scholarships

Cooley has publicly acknowledged that it has a 1L Diversity Fellowship Program 28 and a 2L
Diversity Fellowship Program. 29

1.     Please describe the application and selection criteria used by Cooley for its 1L Diversity
       Fellowship Program from 2019 to the present.

2.     Please describe the application and selection criteria used by Cooley for its 2L Diversity
       Fellowship Program from 2019 to the present.

3.     Does Cooley hire any 1L law students as summer associates other than participants in the
       firm’s 1L Diversity Fellowship Program?

4.     At any point since 2019, did participation in either the 1L or 2L Diversity Fellowship
       Program provide participants with an accelerated interview, consideration, or selection

26
   Cooley       LLP,         Black    Business        Professionals       Affinity     Group,
https://www.cooley.com/diversity/black-business-professionals-affinity-group,
[https://web.archive.org/web/20231001114916/https://www.cooley.com/diversity/black-business-
professionals-affinity-group].
27
    Cooley LLP, Latinx Affinity Group, https://www.cooley.com/diversity/latinx-affinity-group,
[https://web.archive.org/web/20231001121716/https://www.cooley.com/diversity/latinx-affinity-
group].
28
   Cooley LLP, US 1L Diversity Fellowship (2025), https://www.cooley.com/careers/law-
students/us-1l-diversity-fellowship.
29
   Cooley LLP, US 2L Diversity Fellowship (2025), https://www.cooley.com/careers/law-
students/us-2l-diversity-fellowship.
                                                  5
     Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 163 of 734




       process for the firm’s regular summer associate program or full-time associate attorney
       positions? If so, please describe the policy or practice in detail and provide all related
       documentation.

5.     On its website, Cooley admits that it engages in disparate treatment in compensation
       between summer associates who solely participate in the firm’s regular summer associate
       program and summer associates who were “recipients” of the firm’s “US Diversity
       Fellowship.” The firm admits that US 1L Diversity Fellowship “recipients will receive a
       paid 1L summer associate position and an award of up to $50,000 to assist with law school
       tuition,” 30 and US 2L Diversity Fellowship “will receive a paid 2L summer associate
       position and an award of up to $40,000 to assist with law school tuition.” 31 Please provide
       documents and information regarding compensation for the firm’s summer associate
       program as well as any additional funds received by all “US Diversity Fellowship
       recipients.”

6.     From 2019 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 1L Diversity Fellowship Program (Y/N)

        If selected:
        i. Compensation for 1L Diversity Fellowship Program
        j. Received offer for 2L Diversity Fellowship Program (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2019 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:


30
   Cooley LLP, US 1L Diversity Fellowship, https://www.cooley.com/careers/law-students/us-1l-
diversity-fellowship; see also Cooley LLP, Racial and Social Justice,
https://www.cooley.com/diversity/racial-and-social-justice.
31
   Cooley LLP, US 2L Diversity Fellowship (2025), https://www.cooley.com/careers/law-
students/us-2l-diversity-fellowship.
                                                6
     Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25      Page 164 of 734




        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L Diversity Fellowship Program (Y/N)

        If selected:
        i. Compensation for 2L Diversity Fellowship Program
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 32
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are
invited to apply” for the the SEO Law Fellowship. 33 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 34 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 35
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused




32
   SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
33
   SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
34
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
35
   Id.
                                                  7
      Case 1:25-cv-00716-BAH       Document 39-4        Filed 04/02/25     Page 165 of 734




on, or restricted to, “students of color.” 36 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 37 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 38

SEO Law’s website indicates that SEO Fellows were placed at four of Cooley LLP’s offices in
Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?

13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Office location


36
   See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
37
   SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
38
   SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
                                                8
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 166 of 734




        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.



                                                   9
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 167 of 734




20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title
        o. Date of promotion
        p. Office location

Reduction in Force

23.     In 2022, Cooley announced a Reduction in Force (RIF) for 150 employees (“2022 RIF”).
        Provide all documents and memorandum Cooley issued to its employees, shareholders, and
        partners regarding its decision to RIF employees or what criteria Cooley was considering
        when making its RIF decisions.

24.     Provide all documents upon which Cooley relied to make its determination on whom to
        RIF, including any internal memorandums, data, metrics, directives, and responsive reports
        from managers.




                                                  10
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 168 of 734




25.     Provide a copy of the form severance agreement issued to employees as result of the 2022
        RIF.

26.     In a searchable spreadsheet, for each employee discharged pursuant the to the 2022 RIF,
        provide the following:

        a. Name
        b. Sex
        c. Race
        d. Date of Birth
        e. Phone number
        f. Email address
        g. Date hired
        h. Hours billed for each year 2019, 2020, 2021, and 2022
        i. Date hired
        j. Title
        k. Affinity group membership
        l. Practice group
        m. Office location

Other Terms, Conditions, and Privileges of Employment

27.     Cooley touts that for the past 11 years, it has selected Cooley lawyers to receive access to
        the Leadership Council on Legal Diversity Pathfinders Program or Fellows Program.
        Provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The definition of “diverse” lawyers that Cooley used when selecting candidates for the
           programs and written documentation of that definition;

        c. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        d. Information on all candidates that your firm considered selecting to receive access to
           these programs:

           i.    Name
           ii. Sex
           iii. Race
           iv. Phone number
           v.    Email address
           vi. Office location
           vii. Year that candidate was considered for LCLD program
           viii. Selected by your firm to participate in LCLD program (Y/N)

                                                11
      Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25       Page 169 of 734




             ix.  Job position at time of consideration for LCLD program
             x.   Current job position
             xi.  Whether, at the time of consideration for LCLD program, candidate held a
                  leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

28.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

29.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.         The client
        b.         The date of disclosure
        c.         The client’s response
        d.         Whether the disclosure was client mandated/requested

30.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 39 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

31.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

32.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer

39
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                  12
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 170 of 734




        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

33.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

34.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

35.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

36.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

37.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

38.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

39.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.



                                                 13
      Case 1:25-cv-00716-BAH        Document 39-4       Filed 04/02/25      Page 171 of 734




40.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

41.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of a firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates / participated
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in a firm diversity internship or fellowship (Y/N)
        l. Hired as lateral partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

                                               ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.




                                                14
   Case 1:25-cv-00716-BAH        Document 39-4      Filed 04/02/25   Page 172 of 734




       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                             15
      Case 1:25-cv-00716-BAH               Document 39-4                 Filed 04/02/25              Page 173 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Reed Smith LLP
c/o Casey Ryan, Global Managing Partner
225 5th Ave., Ste 1200
Pittsburgh, PA 15222
cryan@reedsmith.com

Re:     Review of Reed Smith’s Compliance with Title VII of the Civil Rights Act of 1964

Dear Ms. Ryan:

        Based on public statements 1 by Reed Smith LLP (“Reed Smith”), I am seeking information
about the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual
because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative,
policy, program, or practice may be unlawful if it involves an employer, or other covered entity,
taking an employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

       Reed Smith has publicly touted its commitment to diversity, equity, and inclusion in its
annual reports, outlining the composition of this workforce and summer associates. In 2020, and
in response to the George Floyd incident, Reed Smith created its “Race Equity Action Plan”
(“REAP”). 5 According its REAP, Reed Smith outlined the following “goals” for the firm to meet
by 2024:

1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).
5
  Reed Smith LLP, ANNUAL REPORT 2021, Diversity, Equity & Inclusion, 6.

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
    Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25      Page 174 of 734




    •   Increase the number of Black lawyers across the firm by 50%;
    •   Improve Black lawyer and staff attrition rate to be consistent with the firmwide attrition
        rate by 2024;
    •   Increase the percentage of Black leadership by 30%; and
    •   Expand engagement with clients to uncover opportunities for Black lawyer development. 6

   Expanding on this initiative, Reed Smith created a series of YouTube videos, which have since
been removed. 7 An initiative with overt specific racial “goals,” coupled with the removal of related
public facing documents, is concerning.

    These concerns are amplified after reviewing Reed Smith’s reported REAP progress from
2021. In just one quarter, Reed Smith increased its Black lawyers on its Global Leadership Team
from 4.76% to 7.41% — a 55% increase in 3 months. 8 By the end of 2021, this figure grew to
8.64% — an 81% increase from 2020.




6
  Id.
7
  See id. (“View our REAP video series”)
https://www.youtube.com/playlist?list=PLcdzLBBmHfIwWalzjIcrC5CwZS4vEBG5A                        (The
playlist does not exist).
8
   Id. at 7.
                                                 2
    Case 1:25-cv-00716-BAH             Document 39-4                   Filed 04/02/25             Page 175 of 734




                        IRIEAP progress -
                         Internal well -being and learning
                        REAP goal - leadership
                        (30 percent increase in Black lea.dership by 2024)

                          % of Black leadership




                           YE 2020       10 2021        20 2021       30 2021       40 2021
                          ■ Lawyers - Qobal Leadership Tearn       ■ Staff - Managers and above


                          % of Black lawyers

                                                           4.49%

                             U.S.                                       5.11 %




                              UK --
                                                                                       6.74~




                          ■ 2020               ■ 2021                ■ 2024 Goal




       In 2024, 37.2% of Reed Smith’s workforce was “diverse,” 9 compared to 35.4% in 2023. 10
Similarly, in 2024 Reed Smith also announced that 84% of its summer associates were women or
“diverse,” 11 a remarkable 2% increase from 2023’s 82%. 12 Currently, Reed Smith highlights that
74% of its new associates are “diverse.” 13

        These astonishing “gains” are likely attributable in part to employer required scorecards
for practice group leaders and managing office partners. According to its 2021 Annual Report,

9
    Reed Smith LLP, ANNUAL REPORT 2024, Diversity, Equity & Inclusion, 6,
https://www.reedsmith.com/-/media/documents/2025/deiannualreport2024.pdf (last accessed
Mar. 17, 2025).
10
    Reed Smith LLP, ANNUAL REPORT 2023, Diversity, Equity & Inclusion, 3
https://interactive.reedsmith.com/articulate/65b3cd9aed827d739320613e?pwd=Z0QBSEbuE9H2
l5E1TyAQ5TLuktdO41X0-G7L5xT8Kb8 (last accessed March 16, 2025)
11
   Reed Smith, ANNUAL REPORT 2024, p. 6
12
   Reed Smith, ANNUAL REPORT 2023, p. 3
13
   See, Reed Smith LLP, Diversity, Equity & Inclusion, https://www.reedsmith.com/en/diversity
(“60 percent of the executive committee is diverse, 69% of our managing partners are diverse, and
74% of our new U.S. associates are diverse.”)
                                                          3
     Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25     Page 176 of 734




Reed Smith’s score cards “aim …. to incentivize and motivate [its] leaders to focus on the
recruitment, retention, and promotion of diverse lawyers within their office/group.” Leaders are
required “to create scorecards which measure diversity metrics for each group and office, including
headcount by title, year to date attrition, year to date hires, and year to date promotions.” 14

Additionally, Reed Smith has initiated several DEI programs, including:

     •   “RISING”: a facially race-restricted “program designed to support an inaugural cohort of
         32 Black lawyers in accelerating progress toward their practice growth goals and
         prospective opportunities.” Specifically, “each participant is matched with a ‘connector,’
         who is a senior firm lawyer, and a Senior Management Team sponsor…Connectors work
         proactively to put their connectees into the path of opportunity;” 15

     •   STAARS: “Sustaining and Training African Americans at Reed Smith,” a facially race-
         restricted program that focuses on the development of “African Americans throughout the
         firm.” 16 Members are invited to attend career development conferences, retreats, 17 and
         training such as the “Associate Academy” which provides “coaching, community building,
         and training;” 18

     •   DEI Leadership Development Program: a program that “provides training and
         opportunities to [its] partners, counsel and senior professional staff. Of those who
         participated in the 2022/2023 program, 67% were eligible for promotion;” 19and

     •   Various 1L and 2L Diversity Fellowship programs that historically required the candidate
         be “diverse:” 20

            o The Reed Smith / McKesson 1L Diversity Fellowship Program provides “an
              award in the amount of $5,000 and a summer associate position to a diverse, first-
              year law student;”

            o The Reed Smith/Citizens Financial Group Diversity Fellowship Program
              provides “an award in the amount of $5,000 and a summer associate position to a
              diverse, first-year law student;”


14
   Reed Smith, ANNUAL REPORT 2021, p. 16
15
   Reed Smith, ANNUAL REPORT 2022, p. 17
16
   YouTube, Reed Smith, Driving Progress Through Diversity & Inclusion, featuring STAARS
Chair Regina Speed-Bost, https://www.youtube.com/watch?v=oBk-c-TsLD0 (last visited March
16, 2025)
17
   Reed Smith, ANNUAL REPORT 2022, p. 67
18
   Reed Smith, ANNUAL REPORT 2023, p. 21
19
   Reed Smith, ANNUAL REPORT 2023, p. 7
20
    Reed Smith, Diversity Fellowship Programs, https://www.law.upenn.edu/live/files/11291-
diversity-fellowship-document (last visited March 16, 2025); see also Reed Smith, ANNUAL
REPORT 2022, p. 35; Reed Smith, ANNUAL REPORT 2021, pp. 29-30
                                                 4
     Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25     Page 177 of 734




            o The Philadelphia Diversity Law Group (PDLG) Fellows Program (formerly
              known as the PDLG Summer 1L Program) “offers diverse first year law students a
              route to summer employment at outstanding law firms and legal departments;”

            o The Reed Smith/BNY Mellon Diversity Fellowship Program -- provides “an
              award in the amount of $5,000 and a summer associate position to a diverse,
              second-year law student;”

            o Reed Smith 2L Managed Care Diversity Fellowship Program – “provides an
              award in the amount of $5,000 and a summer associate position to a diverse,
              second-year law student interested in pursuing a career in managed care litigation.”

            o 1L Leadership Council on Legal Diversity (LCLD) – “The 1L LCLD Scholars
              program is designed to strengthen the legal pipeline by expanding the number of
              opportunities for diverse first-year law students. The program offers students the
              opportunity to work side by side with [Reed Smith] lawyers as part of our summer
              associate program.” Notably, Reed Smith is a co-founder of LCLD. 21

As a result of the totality its efforts, Reed Smith has proudly proclaimed numerous accolades:

     •   Mansfield Certified Plus 7.0 status – an award giving to firms “that have reached at least
         30% diverse lawyer representation in a notable number of leadership roles and
         committees.” 22

     •   Leadership Council on Legal Diversity (LCLD) – a 2023 and 2024 top performer and
         compass award winner 23

     •   Moved to #26 from #43 in The America’s Lawyer 2023 Diversity Scorecard 24

     •   Recognized by Bloomberg Law’s 2023 DEI Framework 25

        I am concerned that Reed Smith’s diversity, equity, and inclusion initiatives, including
REAP, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant
information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



21
   Reed Smith, ANNUAL REPORT 2021, p. 30
22
   Reed Smith, ANNUAL REPORT 2024, p 11
23
   Id. at 12; see also Reed Smith, ANNUAL REPORT 2023, p. 5
24
   Id.
25
   Id.
                                                 5
     Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25     Page 178 of 734




Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” In public statements, Reed Smith has acknowledged that it has
1L Diversity Fellowship Programs and 2L Diversity Fellowship Programs, and that these programs
offered some form of additional funds to summer associates characterized as a scholarship, bonus,
stipend, award, or something similar. Please answer the following questions regarding those
programs.

1.     Please describe the application and selection criteria used by Reed Smith for each of its 1L
       Diversity Fellowship Program(s) from 2015 to the present. For each year, provide
       documentation reflecting the described criteria.

2.     Please describe the application and selection criteria used by Reed Smith for each of its 2L
       Diversity Fellowship Program(s) from 2015 to the present. For each year, provide
       documentation reflecting the described criteria.

3.     Does Reed Smith hire any 1L law students as summer associates other than participants in
       any of the firm’s Diversity Fellowship Programs?

4.     At any point since 2015, did participation in either the 1L or 2L Diversity Fellowship
       Program(s) provide participants with an accelerated interview, consideration, or selection
       process for the firm’s regular summer associate program or full-time associate attorney
       positions? If so, please describe the policy or practice in detail and provide all related
       documentation.

5.     At any point since 2015, did the firm provide participants in the 1L or 2L Diversity
       Fellowship Program(s) with additional funds beyond the regular compensation for the
       diversity fellowship programs or the firm’s regular summer associate program? For
       example, a bonus, stipend, diversity “scholarship,” or other additional monetary
       compensation. Please provide documents and information regarding compensation for the
       firm’s summer associate program as well as any additional funds received by all diversity
       fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L Diversity Fellowship Program(s):

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 1L Diversity Fellowship Program (Y/N)

                                                6
     Case 1:25-cv-00716-BAH        Document 39-4       Filed 04/02/25     Page 179 of 734




        i. Name of 1L Diversity Fellowship Program

        If selected:
        j. Compensation for 1L Diversity Fellowship Program
        k. Received offer for a 2L Diversity Fellowship Program (Y/N)
        l. Received offer for regular summer associate position (Y/N)
        m. Received offer for full-time associate attorney position (Y/N)
        n. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        o. Amount of additional funds
        p. Reason for receipt of additional funds
        q. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program(s):

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L Diversity Fellowship Program (Y/N)
        i.   Name of 2L Diversity Fellowship Program

        If selected:
        j. Compensation for 2L Diversity Fellowship Program
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

SEO Law Fellowship

       Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO)
Law’s SEO Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate
program for incoming law students (students who have been admitted but have not yet started law
school). 26 The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that



26
  SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               7
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25     Page 180 of 734




“[a]ll are invited to apply” for the the SEO Law Fellowship. 27 However, the website emphasizes
“SEO Law encourages applicants from underserved backgrounds, broadly defined, including but
not limited to: race or ethnicity; gender identity or sexual orientation; immigration or veteran
status; disability or first-generation status; socioeconomic background or experiences with the
criminal justice/child welfare systems.” 28 And, the website’s main photo displays a picture of 20
law students, at least 14 of whom are black students, one of whom is an Asian student, and 8 of
whom are women. 29 Moreover, certain law schools indicate that the SEO Law Fellowship
effectively remains focused on, or restricted to, “students of color.” 30 According to SEO Law,
participants in this program receive an eight-week to ten-week “paid internship at a top law firm
with a salary of up to $1,625 per week” and “[a]lmost all of our partner firms actively recruit and
regularly hire former SEO Law Fellows for future summer associate positions and full-time
associate positions.” 31 “While the SEO Law Fellows’ corporate law firm experiences may vary
from firm to firm, Fellows can expect to work full-time during the 10-week internship alongside
with other 1L and 2L summer associates.” 32 If your firm had SEO Fellows placed at your firm at
any point since 2019, please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?




27
   SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
28
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
29
   Id.
30
   See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
31
   SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
32
   SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
                                                8
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 181 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.



                                                   9
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 182 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title
        o. Date of promotion

                                                  10
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 183 of 734




        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)


Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                11
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 184 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 33 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

28.     Provide all documentation related to the firm’s “REAP” initiative, including how the firm’s
        goals were decided upon, how each component of the plan would be effectuated, metrics
        to be measured each quarter, benchmarks since the initiative began, whether the firm has
        achieved any of the goals outlined, and any reports created related to REAP.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation, including all scorecards.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe

33
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                             AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                 12
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 185 of 734




        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:

        a. Name
        b. Sex
        c. Race

                                                 13
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 186 of 734




       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               14
      Case 1:25-cv-00716-BAH               Document 39-4                 Filed 04/02/25              Page 187 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

A & O Shearman
c/o Doreen Lilienfeld
599 Lexington Avenue
New York, NY 10022
dlilienfeld@aoshearman.com

Re:     Review of A & O Shearman’s Compliance with Title VII of the Civil Rights Act of 1964

Dear Ms. Lilienfeld:

         Based on public statements 1 by A & O Shearman, I am seeking information about the firm’s
employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e,
et seq. (Title VII) prohibits an employer from discriminating against an individual because of race,
color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy, program,
or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that A & O Shearman’s “diversity, equity, and inclusion,” “DEI,” diversity,
or other employment programs, policies, and practices may entail unlawful disparate treatment in
terms, conditions, and privileges of employment, or unlawful limiting, segregating, and classifying
based—in whole or in part—on race, sex, or other protected characteristics, in violation of Title
VII. I believe you can be of assistance in helping to identify all relevant information I might


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 188 of 734




consider. As an initial request, please provide responses to the questions outlined below. Please
also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If A & O Shearman (a) operated a diversity internship, diversity
fellowship, or related diversity program (hereinafter “diversity internship”) for law students to
work as summer associates at the firm, and/or (b) offered some form of additional funds to summer
associates characterized as a scholarship, bonus, stipend, award, or something similar, please
answer the following questions.

1.     Please describe the application and selection criteria used by A & O Shearman for its 1L
       diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by A & O Shearman for its 2L
       diversity internship from 2019 to the present.

3.     Does A & O Shearman hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 189 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 190 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at A & O Shearman’s offices in
Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 191 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 192 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

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      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 193 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 194 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

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      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 195 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



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   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 196 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 197 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Debevoise & Plimpton LLP
c/o Peter A. Furci
66 Hudson Boulevard
New York, NY 10001
pafurci@debevoise.com

Re:    Review of Debevoise & Plimpton LLP’s Compliance with Title VII of the Civil Rights
Act of 1964

Dear Mr. Furci:

        Based on public statements 1 by Debevoise & Plimpton LLP, I am seeking information
about the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual
because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative,
policy, program, or practice may be unlawful if it involves an employer, or other covered entity,
taking an employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Debevoise & Plimpton LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant

1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 198 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Debevoise & Plimpton LLP (a) operated a diversity internship,
diversity fellowship, or related diversity program (hereinafter “diversity internship”) for law
students to work as summer associates at the firm, and/or (b) offered some form of additional funds
to summer associates characterized as a scholarship, bonus, stipend, award, or something similar,
please answer the following questions.

1.     Please describe the application and selection criteria used by Debevoise & Plimpton LLP
       for its 1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Debevoise & Plimpton LLP
       for its 2L diversity internship from 2019 to the present.

3.     Does Debevoise & Plimpton LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 199 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 200 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Debevoise & Plimpton LLP’s
offices in Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 201 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 202 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

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      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 203 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 204 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 205 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 206 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 207 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Freshfields Bruckhaus Deringer LLP
c/o Sarah K. Solum
855 Main Street
Redwood City, CA
sarah.solum@freshfields.com

Re:    Review of Freshfields Bruckhaus Deringer LLP’s Compliance with Title VII of the Civil
Rights Act of 1964

Dear Ms. Solum:

         Based on public statements 1 by Freshfields Bruckhaus Deringer LLP, I am seeking
information about the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. § 2000e, et seq. (Title VII) prohibits an employer from discriminating against
an individual because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer
initiative, policy, program, or practice may be unlawful if it involves an employer, or other covered
entity, taking an employment action motivated—in whole or in part—by race, sex, or another
protected characteristic. 3       Title VII also bars employers from limiting, segregating, or
classifying employees based on race, sex, or other protected characteristics in a way that affects
their status or deprives them of employment opportunities, including in voluntary employee groups
and activities which are employer sponsored. 4 It is the responsibility of the EEOC to enforce the
provisions of Title VII with respect to private employers.

        I am concerned that Freshfields Bruckhaus Deringer LLP’s “diversity, equity, and
inclusion,” “DEI,” diversity, or other employment programs, policies, and practices may entail
unlawful disparate treatment in terms, conditions, and privileges of employment, or unlawful
limiting, segregating, and classifying based—in whole or in part—on race, sex, or other protected
characteristics, in violation of Title VII. I believe you can be of assistance in helping to identify

1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 208 of 734




all relevant information I might consider. As an initial request, please provide responses to the
questions outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Freshfields Bruckhaus Deringer LLP (a) operated a diversity
internship, diversity fellowship, or related diversity program (hereinafter “diversity internship”)
for law students to work as summer associates at the firm, and/or (b) offered some form of
additional funds to summer associates characterized as a scholarship, bonus, stipend, award, or
something similar, please answer the following questions.

1.     Please describe the application and selection criteria used by Freshfields Bruckhaus
       Deringer LLP for its 1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Freshfields Bruckhaus
       Deringer LLP for its 2L diversity internship from 2019 to the present.

3.     Does Freshfields Bruckhaus Deringer LLP hire any 1L law students as summer associates
       other than participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 209 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 210 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Freshfields Bruckhaus Deringer
LLP’s offices in Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
                                                  4
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 211 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 212 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 213 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
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        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 214 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
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        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

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      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 215 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 216 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 217 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Goodwin Procter LLP
c/o Mark T. Bettencourt
100 Northern Avenue, Boston, MA 02210
mbettencourt@goodwinlaw.com

Re:  Review of Goodwin Procter LLP’s Compliance with Title VII of the Civil Rights Act of
1964

Dear Mr. Bettencourt:

        Based on public statements 1 by Goodwin Procter LLP, I am seeking information about the
firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual because
of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy,
program, or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Goodwin Procter LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 218 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Goodwin Procter LLP (a) operated a diversity internship,
diversity fellowship, or related diversity program (hereinafter “diversity internship”) for law
students to work as summer associates at the firm, and/or (b) offered some form of additional funds
to summer associates characterized as a scholarship, bonus, stipend, award, or something similar,
please answer the following questions.

1.     Please describe the application and selection criteria used by Goodwin Procter LLP for its
       1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Goodwin Procter LLP for its
       2L diversity internship from 2019 to the present.

3.     Does Goodwin Procter LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 219 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 220 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Goodwin Procter LLP’s offices in
Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
                                                  4
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 221 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

                                                   5
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 222 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 223 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 224 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 225 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



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   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 226 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                  Document 39-4                 Filed 04/02/25              Page 227 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Hogan Lovells LLP
c/o Miguel A. Zaldivar, Jr.
555 Thirteenth Street, NW, Washington, DC 20004
miguel.zaldivar@hoganlovells.com

Re:  Review of Hogan Lovells LLP’s Compliance with Title VII of the Civil Rights Act of
1964

Dear Mr. Zaldivar:

        Based on public statements 1 by Hogan Lovells LLP, I am seeking information about the
firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual because
of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy,
program, or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Hogan Lovells LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                     131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 228 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Hogan Lovells LLP (a) operated a diversity internship, diversity
fellowship, or related diversity program (hereinafter “diversity internship”) for law students to
work as summer associates at the firm, and/or (b) offered some form of additional funds to summer
associates characterized as a scholarship, bonus, stipend, award, or something similar, please
answer the following questions.

1.     Please describe the application and selection criteria used by Hogan Lovells LLP for its 1L
       diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Hogan Lovells LLP for its 2L
       diversity internship from 2019 to the present.

3.     Does Hogan Lovells LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 229 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 230 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Hogan Lovells LLP’s offices in
Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 231 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 232 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 233 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 234 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 235 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 236 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 237 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Kirkland & Ellis LLP
c/o Jon A. Ballis
333 West Wolf Point Plaza, Chicago, IL 60654
jon.ballis@kirkland.com

Re:  Review of Kirkland & Ellis LLP’s Compliance with Title VII of the Civil Rights Act of
1964

Dear Mr. Ballis:

        Based on public statements 1 by Kirkland & Ellis LLP, I am seeking information about the
firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual because
of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy,
program, or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Kirkland & Ellis LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 238 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Kirkland & Ellis LLP (a) operated a diversity internship,
diversity fellowship, or related diversity program (hereinafter “diversity internship”) for law
students to work as summer associates at the firm, and/or (b) offered some form of additional funds
to summer associates characterized as a scholarship, bonus, stipend, award, or something similar,
please answer the following questions.

1.     Please describe the application and selection criteria used by Kirkland & Ellis LLP for its
       1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Kirkland & Ellis LLP for its
       2L diversity internship from 2019 to the present.

3.     Does Kirkland & Ellis LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 239 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




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 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
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                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 240 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Kirkland & Ellis LLP’s offices in
Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 241 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 242 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

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      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 243 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 244 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 245 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 246 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 247 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Latham & Watkins LLP
c/o Richard M. Trobman
1271 Avenue of the Americas, New York, NY 10020
richard.trobman@lw.com

Re:  Review of Latham & Watkins LLP’s Compliance with Title VII of the Civil Rights Act of
1964

Dear Mr. Trobman:

        Based on public statements 1 by Latham & Watkins LLP, I am seeking information about
the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
§ 2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual
because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative,
policy, program, or practice may be unlawful if it involves an employer, or other covered entity,
taking an employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Latham & Watkins LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 248 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Latham & Watkins LLP (a) operated a diversity internship,
diversity fellowship, or related diversity program (hereinafter “diversity internship”) for law
students to work as summer associates at the firm, and/or (b) offered some form of additional funds
to summer associates characterized as a scholarship, bonus, stipend, award, or something similar,
please answer the following questions.

1.     Please describe the application and selection criteria used by Latham & Watkins LLP for
       its 1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Latham & Watkins LLP for
       its 2L diversity internship from 2019 to the present.

3.     Does Latham & Watkins LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 249 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 250 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Latham & Watkins LLP’s offices
in Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
                                                  4
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 251 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 252 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

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      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 253 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 254 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 255 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



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   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 256 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 257 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

McDermott Will & Emery
c/o Ira J. Coleman
444 West Lake Street, Chicago, IL 60606-0029
icoleman@mwe.com

Re:    Review of McDermott Will & Emery’s Compliance with Title VII of the Civil Rights Act
of 1964

Dear Mr. Coleman:

        Based on public statements 1 by McDermott Will & Emery, I am seeking information about
the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
§ 2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual
because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative,
policy, program, or practice may be unlawful if it involves an employer, or other covered entity,
taking an employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that McDermott Will & Emery’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 258 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If McDermott Will & Emery (a) operated a diversity internship,
diversity fellowship, or related diversity program (hereinafter “diversity internship”) for law
students to work as summer associates at the firm, and/or (b) offered some form of additional funds
to summer associates characterized as a scholarship, bonus, stipend, award, or something similar,
please answer the following questions.

1.     Please describe the application and selection criteria used by McDermott Will & Emery for
       its 1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by McDermott Will & Emery for
       its 2L diversity internship from 2019 to the present.

3.     Does McDermott Will & Emery hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 259 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 260 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at McDermott Will & Emery’s offices
in Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 261 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

                                                   5
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 262 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 263 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 264 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 265 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



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   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 266 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
      Case 1:25-cv-00716-BAH               Document 39-4                 Filed 04/02/25              Page 267 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Milbank LLP
c/o Scott A. Edelman
55 Hudson Yards, New York, NY US 10001-2163
sedelman@milbank.com

Re:     Review of Milbank LLP’s Compliance with Title VII of the Civil Rights Act of 1964

Dear Mr. Edelman:

         Based on public statements 1 by Milbank LLP, I am seeking information about the firm’s
employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e,
et seq. (Title VII) prohibits an employer from discriminating against an individual because of race,
color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy, program,
or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Milbank LLP’s “diversity, equity, and inclusion,” “DEI,” diversity, or
other employment programs, policies, and practices may entail unlawful disparate treatment in
terms, conditions, and privileges of employment, or unlawful limiting, segregating, and classifying
based—in whole or in part—on race, sex, or other protected characteristics, in violation of Title
VII. I believe you can be of assistance in helping to identify all relevant information I might
consider. As an initial request, please provide responses to the questions outlined below. Please
also preserve all relevant records.

1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 268 of 734




Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Milbank LLP (a) operated a diversity internship, diversity
fellowship, or related diversity program (hereinafter “diversity internship”) for law students to
work as summer associates at the firm, and/or (b) offered some form of additional funds to summer
associates characterized as a scholarship, bonus, stipend, award, or something similar, please
answer the following questions.

1.     Please describe the application and selection criteria used by Milbank LLP for its 1L
       diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Milbank LLP for its 2L
       diversity internship from 2019 to the present.

3.     Does Milbank LLP hire any 1L law students as summer associates other than participants
       in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 1L diversity internship (Y/N)



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     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 269 of 734




        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are
invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited


5
  SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 270 of 734




to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Milbank LLP’s offices in Summer
2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?

13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?



7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 271 of 734




14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other

                                                   5
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 272 of 734




        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title
        o. Date of promotion
        p. Office location




                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 273 of 734




Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure
        c.      The client’s response
        d.      Whether the disclosure was client mandated/requested



                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 274 of 734




26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 275 of 734




        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:

        a. Name
        b. Sex
        c. Race

                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 276 of 734




       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 277 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Morgan, Lewis & Bockius LLP
c/o Jami McKeon
2222 Market St., Philadelphia, PA 19103-3007
jami.mckeon@morganlewis.com

Re:    Review of Morgan, Lewis & Bockius LLP’s Compliance with Title VII of the Civil
Rights Act of 1964

Dear Ms. McKeon:

        Based on public statements 1 by Morgan, Lewis & Bockius LLP, I am seeking information
about the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual
because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative,
policy, program, or practice may be unlawful if it involves an employer, or other covered entity,
taking an employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

       I am concerned that Morgan, Lewis & Bockius LLP’s “diversity, equity, and inclusion,”
“DEI,” diversity, or other employment programs, policies, and practices may entail unlawful
disparate treatment in terms, conditions, and privileges of employment, or unlawful limiting,
segregating, and classifying based—in whole or in part—on race, sex, or other protected
characteristics, in violation of Title VII. I believe you can be of assistance in helping to identify


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 278 of 734




all relevant information I might consider. As an initial request, please provide responses to the
questions outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Morgan, Lewis & Bockius LLP (a) operated a diversity
internship, diversity fellowship, or related diversity program (hereinafter “diversity internship”)
for law students to work as summer associates at the firm, and/or (b) offered some form of
additional funds to summer associates characterized as a scholarship, bonus, stipend, award, or
something similar, please answer the following questions.

1.     Please describe the application and selection criteria used by Morgan, Lewis & Bockius
       LLP for its 1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Morgan, Lewis & Bockius
       LLP for its 2L diversity internship from 2019 to the present.

3.     Does Morgan, Lewis & Bockius LLP hire any 1L law students as summer associates other
       than participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
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        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 279 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
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        m. Amount of additional funds
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SEO Law Fellowship

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incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




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 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 280 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
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Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
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SEO Law’s website indicates that SEO Fellows were placed at Morgan, Lewis & Bockius LLP’s
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9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 281 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 282 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

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      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 283 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 284 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

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      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 285 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



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   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 286 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 287 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Morrison & Foerster LLP
c/o Eric T. McCrath
425 Market Street, San Francisco, CA 94105-2482
emccrath@mofo.com

Re:    Review of Morrison & Foerster LLP’s Compliance with Title VII of the Civil Rights Act
of 1964

Dear Mr. McCrath:

        Based on public statements 1 by Morrison & Foerster LLP, I am seeking information about
the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
§ 2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual
because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative,
policy, program, or practice may be unlawful if it involves an employer, or other covered entity,
taking an employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Morrison & Foerster LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 288 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Morrison & Foerster LLP (a) operated a diversity internship,
diversity fellowship, or related diversity program (hereinafter “diversity internship”) for law
students to work as summer associates at the firm, and/or (b) offered some form of additional funds
to summer associates characterized as a scholarship, bonus, stipend, award, or something similar,
please answer the following questions.

1.     Please describe the application and selection criteria used by Morrison & Foerster LLP for
       its 1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Morrison & Foerster LLP for
       its 2L diversity internship from 2019 to the present.

3.     Does Morrison & Foerster LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 289 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 290 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Morrison & Foerster LLP’s offices
in Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 291 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 292 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

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      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 293 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 294 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

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      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 295 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 296 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 297 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Ropes & Gray LLP
c/o Julie H. Jones
800 Boylston Street, Boston, MA 02199-3600
Julie.Jones@ropesgray.com

Re:  Review of Ropes & Gray LLP’s Compliance with Title VII of the Civil Rights Act of
1964

Dear Ms. Jones:

        Based on public statements 1 by Ropes & Gray LLP, I am seeking information about the
firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual because
of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy,
program, or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Ropes & Gray LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 298 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Ropes & Gray LLP (a) operated a diversity internship, diversity
fellowship, or related diversity program (hereinafter “diversity internship”) for law students to
work as summer associates at the firm, and/or (b) offered some form of additional funds to summer
associates characterized as a scholarship, bonus, stipend, award, or something similar, please
answer the following questions.

1.     Please describe the application and selection criteria used by Ropes & Gray LLP for its 1L
       diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Ropes & Gray LLP for its 2L
       diversity internship from 2019 to the present.

3.     Does Ropes & Gray LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 299 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 300 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Ropes & Gray LLP’s offices in
Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
                                                  4
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 301 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 302 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 303 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 304 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
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        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
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        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

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      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 305 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 306 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
      Case 1:25-cv-00716-BAH               Document 39-4                 Filed 04/02/25              Page 307 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Sidley Austin LLP
c/o Michael J. Schmidtberger
One South Dearborn, Chicago, Illinois 60603
mschmidtberger@sidley.com

Re:     Review of Sidley Austin LLP’s Compliance with Title VII of the Civil Rights Act of 1964

Dear Mr. Schmidtberger:

        Based on public statements 1 by Sidley Austin LLP, I am seeking information about the
firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual because
of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy,
program, or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that Sidley Austin LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant
information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.

1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 308 of 734




Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Sidley Austin LLP (a) operated a diversity internship, diversity
fellowship, or related diversity program (hereinafter “diversity internship”) for law students to
work as summer associates at the firm, and/or (b) offered some form of additional funds to summer
associates characterized as a scholarship, bonus, stipend, award, or something similar, please
answer the following questions.

1.     Please describe the application and selection criteria used by Sidley Austin LLP for its 1L
       diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Sidley Austin LLP for its 2L
       diversity internship from 2019 to the present.

3.     Does Sidley Austin LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 1L diversity internship (Y/N)



                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 309 of 734




        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are
invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited


5
  SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 310 of 734




to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Sidley Austin LLP’s offices in
Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?

13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?



7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 311 of 734




14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other

                                                   5
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 312 of 734




        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title
        o. Date of promotion
        p. Office location




                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 313 of 734




Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure
        c.      The client’s response
        d.      Whether the disclosure was client mandated/requested



                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 314 of 734




26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 315 of 734




        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:

        a. Name
        b. Sex
        c. Race

                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 316 of 734




       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




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    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 317 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Simpson Thacher & Bartlett LLP
c/o Alden Millard
425 Lexington Avenue, New York, NY 10017
jmillard@stblaw.com

Re:    Review of Simpson Thacher & Bartlett LLP’s Compliance with Title VII of the Civil
Rights Act of 1964

Dear Mr. Millard:

        Based on public statements 1 by Simpson Thacher & Bartlett LLP, I am seeking information
about the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual
because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative,
policy, program, or practice may be unlawful if it involves an employer, or other covered entity,
taking an employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

       I am concerned that Simpson Thacher & Bartlett LLP’s “diversity, equity, and inclusion,”
“DEI,” diversity, or other employment programs, policies, and practices may entail unlawful
disparate treatment in terms, conditions, and privileges of employment, or unlawful limiting,
segregating, and classifying based—in whole or in part—on race, sex, or other protected
characteristics, in violation of Title VII. I believe you can be of assistance in helping to identify


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 318 of 734




all relevant information I might consider. As an initial request, please provide responses to the
questions outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Simpson Thacher & Bartlett LLP (a) operated a diversity
internship, diversity fellowship, or related diversity program (hereinafter “diversity internship”)
for law students to work as summer associates at the firm, and/or (b) offered some form of
additional funds to summer associates characterized as a scholarship, bonus, stipend, award, or
something similar, please answer the following questions.

1.     Please describe the application and selection criteria used by Simpson Thacher & Bartlett
       LLP for its 1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Simpson Thacher & Bartlett
       LLP for its 2L diversity internship from 2019 to the present.

3.     Does Simpson Thacher & Bartlett LLP hire any 1L law students as summer associates other
       than participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 319 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 320 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
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to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
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receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Simpson Thacher & Bartlett LLP’s
offices in Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 321 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 322 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 323 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 324 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 325 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 326 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 327 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

Skadden, Arps, Slate, Meagher & Flom LLP
c/o Jeremy D. London
One Manhattan West, New York, NY 10001
jeremy.london@skadden.com

Re:    Review of Skadden, Arps, Slate, Meagher & Flom LLP’s Compliance with Title VII of
the Civil Rights Act of 1964

Dear Mr. London:

         Based on public statements 1 by Skadden, Arps, Slate, Meagher & Flom LLP, I am seeking
information about the firm’s employment practices. Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. § 2000e, et seq. (Title VII) prohibits an employer from discriminating against
an individual because of race, color, religion, sex, or national origin. 2 Under Title VII, an employer
initiative, policy, program, or practice may be unlawful if it involves an employer, or other covered
entity, taking an employment action motivated—in whole or in part—by race, sex, or another
protected characteristic. 3       Title VII also bars employers from limiting, segregating, or
classifying employees based on race, sex, or other protected characteristics in a way that affects
their status or deprives them of employment opportunities, including in voluntary employee groups
and activities which are employer sponsored. 4 It is the responsibility of the EEOC to enforce the
provisions of Title VII with respect to private employers.

        I am concerned that Skadden, Arps, Slate, Meagher & Flom LLP’s “diversity, equity, and
inclusion,” “DEI,” diversity, or other employment programs, policies, and practices may entail
unlawful disparate treatment in terms, conditions, and privileges of employment, or unlawful
limiting, segregating, and classifying based—in whole or in part—on race, sex, or other protected
characteristics, in violation of Title VII. I believe you can be of assistance in helping to identify


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 328 of 734




all relevant information I might consider. As an initial request, please provide responses to the
questions outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If Skadden, Arps, Slate, Meagher & Flom LLP (a) operated a
diversity internship, diversity fellowship, or related diversity program (hereinafter “diversity
internship”) for law students to work as summer associates at the firm, and/or (b) offered some
form of additional funds to summer associates characterized as a scholarship, bonus, stipend,
award, or something similar, please answer the following questions.

1.     Please describe the application and selection criteria used by Skadden, Arps, Slate,
       Meagher & Flom LLP for its 1L diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by Skadden, Arps, Slate,
       Meagher & Flom LLP for its 2L diversity internship from 2019 to the present.

3.     Does Skadden, Arps, Slate, Meagher & Flom LLP hire any 1L law students as summer
       associates other than participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

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     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 329 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




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 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 330 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
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welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
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per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at Skadden, Arps, Slate, Meagher &
Flom LLP’s offices in Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 331 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
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14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 332 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
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        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 333 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 334 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

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      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 335 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 336 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
    Case 1:25-cv-00716-BAH                 Document 39-4                 Filed 04/02/25              Page 337 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

White & Case LLP
c/o Heather K. McDevitt
1221 Avenue of the Americas, New York, NY 10020-1095
hmcdevitt@whitecase.com

Re:  Review of White & Case LLP’s Compliance with Title VII of the Civil Rights Act of
1964

Dear Ms. McDevitt:

        Based on public statements 1 by White & Case LLP, I am seeking information about the
firm’s employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e, et seq. (Title VII) prohibits an employer from discriminating against an individual because
of race, color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy,
program, or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that White & Case LLP’s “diversity, equity, and inclusion,” “DEI,”
diversity, or other employment programs, policies, and practices may entail unlawful disparate
treatment in terms, conditions, and privileges of employment, or unlawful limiting, segregating,
and classifying based—in whole or in part—on race, sex, or other protected characteristics, in
violation of Title VII. I believe you can be of assistance in helping to identify all relevant


1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 338 of 734




information I might consider. As an initial request, please provide responses to the questions
outlined below. Please also preserve all relevant records.



Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If White & Case LLP (a) operated a diversity internship, diversity
fellowship, or related diversity program (hereinafter “diversity internship”) for law students to
work as summer associates at the firm, and/or (b) offered some form of additional funds to summer
associates characterized as a scholarship, bonus, stipend, award, or something similar, please
answer the following questions.

1.     Please describe the application and selection criteria used by White & Case LLP for its 1L
       diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by White & Case LLP for its 2L
       diversity internship from 2019 to the present.

3.     Does White & Case LLP hire any 1L law students as summer associates other than
       participants in the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)

                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 339 of 734




        h. Selected for 1L diversity internship (Y/N)

        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are




5
 SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 340 of 734




invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited
to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at White & Case LLP’s offices in
Summer 2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?


6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
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      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 341 of 734




13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?

14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 342 of 734




18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title

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      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 343 of 734




        o. Date of promotion
        p. Office location

Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure

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      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 344 of 734




        c.     The client’s response
        d.     Whether the disclosure was client mandated/requested

26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
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        provide information regarding (a) if the firm achieved or exceeding those representation
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        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
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        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
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        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
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        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

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      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 345 of 734




32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe
        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:



                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 346 of 734




       a. Name
       b. Sex
       c. Race
       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
      Case 1:25-cv-00716-BAH               Document 39-4                 Filed 04/02/25              Page 347 of 734

              U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                               Washington, D.C.




Office of the Chair
Andrea R. Lucas, Acting Chair

March 17, 2025

Via Electronic Mail

WilmerHale
c/o Anjan Sahni
7 World Trade Center, 250 Greenwich Street, New York, NY 10007
anjan.sahni@wilmerhale.com

Re:     Review of WilmerHale’s Compliance with Title VII of the Civil Rights Act of 1964

Dear Mr. Sahni:

         Based on public statements 1 by WilmerHale, I am seeking information about the firm’s
employment practices. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e,
et seq. (Title VII) prohibits an employer from discriminating against an individual because of race,
color, religion, sex, or national origin. 2 Under Title VII, an employer initiative, policy, program,
or practice may be unlawful if it involves an employer, or other covered entity, taking an
employment action motivated—in whole or in part—by race, sex, or another protected
characteristic. 3 Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their status or deprives
them of employment opportunities, including in voluntary employee groups and activities which
are employer sponsored. 4 It is the responsibility of the EEOC to enforce the provisions of Title
VII with respect to private employers.

        I am concerned that WilmerHale’s “diversity, equity, and inclusion,” “DEI,” diversity, or
other employment programs, policies, and practices may entail unlawful disparate treatment in
terms, conditions, and privileges of employment, or unlawful limiting, segregating, and classifying
based—in whole or in part—on race, sex, or other protected characteristics, in violation of Title
VII. I believe you can be of assistance in helping to identify all relevant information I might
consider. As an initial request, please provide responses to the questions outlined below. Please
also preserve all relevant records.

1
  This letter is exclusively based on publicly available information regarding your firm, including
but not limited to documents and information published on your firm’s public website; public
statements by your firm and its leadership; and news reporting.
2
  42 U.S.C. § 2000e-2.
3
  42 U.S.C. § 2000e-2(m).
4
  42 U.S.C. § 2000e-2(a)(2).

                    131 M Street, N. E. Phone (202) 921-3250 FAX (202) 868-5366 OfficeoftheChair@EEOC.GOV
     Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25     Page 348 of 734




Internships, Fellowships, and Scholarships

Many major law firms operate 1L and 2L diversity internship or diversity fellowship programs, or
provide certain summer associates with additional funds characterized as a diversity “scholarship,”
“bonus,” “stipend,” or “award.” If WilmerHale (a) operated a diversity internship, diversity
fellowship, or related diversity program (hereinafter “diversity internship”) for law students to
work as summer associates at the firm, and/or (b) offered some form of additional funds to summer
associates characterized as a scholarship, bonus, stipend, award, or something similar, please
answer the following questions.

1.     Please describe the application and selection criteria used by WilmerHale for its 1L
       diversity internship from 2019 to the present.

2.     Please describe the application and selection criteria used by WilmerHale for its 2L
       diversity internship from 2019 to the present.

3.     Does WilmerHale hire any 1L law students as summer associates other than participants in
       the firm’s 1L diversity internship?

4.     At any point since 2019, did participation in either the 1L or 2L diversity internship provide
       participants with an accelerated interview, consideration, or selection process for the firm’s
       regular summer associate program or full-time associate attorney positions? If so, please
       describe the policy or practice in detail and provide all related documentation.

5.     At any point since 2019, did the firm provide participants in the 1L or 2L diversity
       internship with additional funds beyond the regular compensation for the diversity
       fellowship programs or the firm’s regular summer associate program? For example, a
       bonus, stipend, diversity “scholarship,” or other additional monetary compensation. Please
       provide documents and information regarding compensation for the firm’s summer
       associate program as well as any additional funds received by all diversity fellows.

6.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 1L diversity internship:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 1L diversity internship (Y/N)



                                                 2
     Case 1:25-cv-00716-BAH        Document 39-4          Filed 04/02/25   Page 349 of 734




        If selected:
        i. Compensation for 1L diversity internship
        j. Received offer for 2L diversity internship (Y/N)
        k. Received offer for regular summer associate position (Y/N)
        l. Received offer for full-time associate attorney position (Y/N)
        m. Received any additional funds related to, or following, participation in a diversity
             internship (Y/N)
        n. Amount of additional funds
        o. Reason for receipt of additional funds
        p. Office location

7.     From 2015 to the present, in a searchable Excel spreadsheet, please provide the following
       respective sets of data for applicants to the 2L Diversity Fellowship Program:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Selected for 2L diversity internship (Y/N)

        If selected:
        i. Compensation for 2L diversity internship
        j. Received offer for regular summer associate position (Y/N)
        k. Received offer for full-time associate attorney position (Y/N)
        l. Received any additional funds related to, or following, participation in a Diversity
             Fellowship Program (Y/N)
        m. Amount of additional funds
        n. Reason for receipt of additional funds
        o. Office location

SEO Law Fellowship

Dozens of major law firms partner with Sponsors for Educational Opportunity (SEO) Law’s SEO
Law Fellowship and employ SEO Fellows at their firms for a 0L summer associate program for
incoming law students (students who have been admitted but have not yet started law school). 5
The SEO Law website for the SEO 2025 Law Fellowship Program currently claims that “[a]ll are
invited to apply” for the the SEO Law Fellowship. 6 However, the website emphasizes “SEO Law
encourages applicants from underserved backgrounds, broadly defined, including but not limited


5
  SEO Law, Partners, https://www.seo-usa.org/law/partners/ (listing partner law firms at which
SEO Law Fellows were placed in Summer 2024).
6
  SEO Law, Apply to the SEO Law Fellowship, Frequently Asked Questions, https://www.seo-
usa.org/law/our-program/apply-to-fellowship/.
                                               3
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 350 of 734




to: race or ethnicity; gender identity or sexual orientation; immigration or veteran status; disability
or first-generation status; socioeconomic background or experiences with the criminal justice/child
welfare systems.” 7 And, the website’s main photo displays a picture of 20 law students, at least
14 of whom are black students, one of whom is an Asian student, and 8 of whom are women. 8
Moreover, certain law schools indicate that the SEO Law Fellowship effectively remains focused
on, or restricted to, “students of color.” 9 According to SEO Law, participants in this program
receive an eight-week to ten-week “paid internship at a top law firm with a salary of up to $1,625
per week” and “[a]lmost all of our partner firms actively recruit and regularly hire former SEO
Law Fellows for future summer associate positions and full-time associate positions.” 10 “While
the SEO Law Fellows’ corporate law firm experiences may vary from firm to firm, Fellows can
expect to work full-time during the 10-week internship alongside with other 1L and 2L summer
associates.” 11

SEO Law’s website indicates that SEO Fellows were placed at WilmerHale’s offices in Summer
2024. Please answer the following questions:

8.      Since 2019, in what years have SEO Fellows been placed at your firm for an internship?

9.      The SEO Fellowship is a paid internship. Did your firm pay the SEO Fellows? If so, how
        much?

10.     During their placement at your firm for their summer internship, at what location did the
        interns work? Did they work in your firms’ office(s) or other firm premises?

11.     Did the SEO Fellows placed at your firm use computers and other technology provided by
        your firm during the internship?

12.     Did your firm or its attorneys have the right to control when, where, and how the SEO
        Fellows performed their internship duties during their placement at your firm?

13.     Did your firm or its attorneys assign projects, tasks, and other work duties to the SEO
        Fellows during their placement at your firm? Did those duties relate to your firm’s work?



7
   Id. (emphasis added). “Generally, employers should not express a racial preference in job
advertisements. Employers can indicate that they are “equal opportunity employers.”” EEOC,
“Questions and Answers about Race and Color Discrimination in Employment,” EEOC-NVTA-
2006-1 (Apr. 2006), https://www.eeoc.gov/laws/guidance/questions-and-answers-about-race-and-
color-discrimination-employment.
8
  Id.
9
  See, e.g., Columbia University, Undergraduate Research & Fellowships, SEO Law Fellowship
Program (webpage dated 2025), https://urf.columbia.edu/fellowship/seo-law-fellowship-program
(listing application deadline of February 28, 2025 for Summer 2025 program).
10
    SEO Law, “Practice and Prep,” https://www.seo-usa.org/law/our-program/practice-and-prep/.
11
    SEO Law, “Fast-Track Your Legal Career with the SEO Law Fellowship,” https://www.seo-
usa.org/law/our-program/fellowship/.
                                                  4
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25       Page 351 of 734




14.     Does your firm hire any 0L summer associates other than SEO Fellows?

15.     For each year in which SEO Fellows were placed at your firm, provide the following
        information about all SEO Fellows placed at your firm:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Total compensation paid to SEO Fellow for internship at your firm
        h. Applied for 1L summer associate program (Y/N)
        i. Selected for 1L summer associate program (Y/N)
        j. Applied for 2L summer associate program (Y/N)
        k. Selected for 2L summer associate program (Y/N)
        l. Applied for full-time associate attorney position (Y/N)
        m. Selected for full-time associate attorney position (Y/N)

16.     For each year since 2019 in which your firm had any summer associate programs:

        a. What was the total number of law students or pre-law students who were summer
           associates nationwide in the United States in any category of summer associate
           program operated by your firm?
        b. How many of the 0L participants in your firm’s summer associate programs were SEO
           Fellows?
        c. How many of the 1L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        d. How many of the 2L participants in your firm’s summer associate programs previously
           had been SEO Fellows?
        e. How many of the incoming class of associate attorneys previously had been SEO
           Fellows?

Other Hiring and Compensation Practices

17.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other
        third-party organization sourcing attorney candidates for the firm, that the firm was seeking
        black, Hispanic, or female candidates, “diverse” candidates, or candidates of another
        particular race(s), ethnicities, sex, or another protected characteristic? If so, please describe
        the policy or practice in detail and provide all related documentation.

18.     At any point since 2019, did any member of the firm indicate, orally or in writing, to any
        firm employee (including the firm’s human resources personnel, attorney recruiting
        personnel, and attorneys), to any recruiter working with or for the firm, or to any other

                                                   5
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25      Page 352 of 734




        third-party organization sourcing attorney candidates for the firm, that the firm was not
        seeking male or white candidates or candidates of any other particular race, ethnicity, sex,
        or another protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

19.     At any point since 2019, did the firm provide retention bonuses or other bonuses to black,
        Hispanic, or other “diverse” attorneys at the firm that were not provided to other similarly
        situated attorneys, or were a higher amount than bonuses provided to other similarly
        situated attorneys? If so, please describe the policy or practice in detail and provide all
        related documentation.

20.     At any point since 2019, did the firm use GPA cutoffs or ranges for considering attorney
        applicants (including but not limited to applicants for the diversity fellowship programs,
        the regular summer associate program, and full-time associate attorney hiring)? If so,
        please describe the policy or practice in detail and provide all related documentation.

21.     If the firm used GPA cutoffs or ranges, did these GPA cutoffs or ranges for similarly situated
        applicants (e.g., applicants from the same law school) differ based on an applicant’s race,
        sex, or other protected characteristic? If so, please describe the policy or practice in detail
        and provide all related documentation.

22.     In a searchable Excel spreadsheet, fully identify all law students or attorneys who applied
        to be hired by the firm (including as a regular summer associate, associate attorney, of
        counsel, or partner) since 2019. A complete response to this answer will include the
        applicant’s:

        a.   Name
        b.   Sex
        c.   Race
        d.   Phone number
        e.   Email address
        f.   Law school
        g.   Law school GPA (as of date of application)
        h.   Hired (Y/N)

        If hired:
        i. Date hired
        j. Date discharged (indicating voluntary or involuntary)
        k. Starting compensation
        l. Compensation as of the date of response
        m. Tuition repayment assistance
        n. Title
        o. Date of promotion
        p. Office location




                                                  6
      Case 1:25-cv-00716-BAH        Document 39-4        Filed 04/02/25      Page 353 of 734




Other Terms, Conditions, and Privileges of Employment

23.     At any point since 2019, has your firm selected any of your lawyers for access to the
        Leadership Council on Legal Diversity “Pathfinders Program” or “Fellows Program”? If
        so, provide the following information and all related documents:

        a. The years on which your firm selected attorneys to participate in those training and
           leadership development programs;

        b. The process by which your firm selected attorneys to participate, including but not
           limited to the selection criteria your firm used;

        c. Information on all candidates that your firm considered selecting to receive access to
           these programs:

             i.    Name
             ii. Sex
             iii. Race
             iv. Phone number
             v.    Email address
             vi. Office location
             vii. Year that candidate was considered for LCLD program
             viii. Selected by your firm to participate in LCLD program (Y/N)
             ix. Job position at time of consideration for LCLD program
             x.    Current job position
             xi. Whether, at the time of consideration for LCLD program, candidate held a
                   leadership position at your firm (Y/N)
             xii. Whether individual currently holds a leadership position at your firm (Y/N)

Data Disclosures, Staffing Decisions, and Other Actions Taken in Response to Client Requests

24.     Since 2019, fully identify all clients that have “diversity requirements,” “diversity
        preferences,” or any demographic-related requirements for matters, including but not
        limited to race or sex requirements for the employees staffed on their matters. Identify the
        clients, the respective clients’ specific requirements, and all actions you have taken in
        response to those requirements, including compliance certifications. Produce any related
        documents.

25.     Since 2019, fully identify all times you provided the race or sex of your employees staffed
        on a matter to a client, including:

        a.      The client
        b.      The date of disclosure
        c.      The client’s response
        d.      Whether the disclosure was client mandated/requested



                                                 7
      Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 354 of 734




26.     Since 2019, have any of your clients provided an incentive-based program that provides
        bonuses or other monetary incentives to your firm (for example, calculated as percentage
        of your firm’s annual fees) for achieving or exceeding representation goals? 12 If so, please
        provide information regarding (a) if the firm achieved or exceeding those representation
        goals; (b) if so, the amount of money received for achieving or exceeding those
        representation goals; and (c) all actions taken to achieve or exceed any such representation
        goals.

Other Policies and Processes Incentivizing Decisions Motivated by Protected Characteristics

27.     At any point since 2019, did your firm have an annual report or plan (whether shared
        internally or externally) related to the firm’s goals, policies, processes, practices, programs,
        or any action related to DEI, diversity, demographic representation, or other related topics
        as it relates to the firm’s own workforce? For example, the type of reports, plans, or other
        documents encompassed by this request include, but are not limited to, documents framed
        as a diversity, equity, and inclusion (DEI) report; diversity, equity, and inclusion (DEI)
        action plan, etc. If so, produce all copies of such reports, plans, or documents.

28.     At any point since 2019, did your firm set race, sex, or other demographic or “diversity”
        representation goals for any employees, including with respect to hiring of summer
        associates, associate attorneys, or lateral partner; elevation to partner or shareholder;
        associate attorney representation; partner representation; or retention of associates or
        partners? If so, please describe the policy or practice in detail and provide all related
        documentation.

29.     At any point since 2019, did your firm tie a component of partner or associate performance
        reviews to DEI or diversity efforts, including but not limited to race, sex, or other
        demographic or “diversity” representation goals? If so, please describe the policy or
        practice in detail and provide all related documentation.

30.     At any point since 2019, did your firm tie a component of partner or associate compensation
        to DEI or diversity efforts, including but not limited to race, sex, or other demographic or
        “diversity” representation goals? If so, please describe the policy or practice in detail and
        provide all related documentation.

31.     Any point since 2019, for any process for hiring, promotion, or selection for management
        or leadership roles, did your firm use any form of a diverse slate policy (requiring a certain
        number or percentage of candidates to be candidates of a particular race, ethnicity, sex, or
        other protected characteristic)? If so, please describe the policy or practice in detail and
        provide all related documentation.

32.     At any point since 2019, has the firm provided recruitment bonuses to firm employees who
        refer an attorney candidate who subsequently is hired by the firm? If so, please describe

12
    See, e.g., MICROSOFT LAW FIRM DIVERSITY PROGRAM OVERVIEW                               AND    FAQ,
https://aka.ms/LFDP_ProgramOverviewandFAQ, (last visited Mar. 13, 2025).

                                                   8
      Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 355 of 734




        the recruitment bonus policy and the amount of the bonuses, and provide all related
        documentation. Please indicate whether the availability or amount of any such bonuses
        varied depending on the race, sex, or any other protected characteristic of the referred
        candidate.

Partnership Decisions

33.     At any point since 2019, have any partnership decisions been made motivated—in whole
        or in part—by a candidates’ race or sex? If so, please describe the policy or practice in
        detail and provide all related documentation.

34.     At any point since 2019, did your firm include any DEI or diversity considerations in
        putting lawyers in your firm up for partner, or selecting any lawyers for partner? If so,
        describe in detail. If so, please describe the policy or practice in detail and provide all
        related documentation.

35.     At any point since 2019, did a lawyer’s participation in a firm-sponsored or third-party
        affinity group (groups organized around a single race, ethnicity, sex, or other protected
        characteristics, or groups organized around multiple aspects of “diversity”) play any role
        in (a) whether that lawyer was eligible for or considered for elevation to partnership at your
        firm; or (b) whether that lawyer was selected for elevation to partnership at your firm? If
        so, please describe the policy or practice in detail and provide all related documentation.

36.     For each year since 2019, please provide the following data for lawyers in your firm who
        were considered for elevation for partner:

        a. Name
        b. Sex
        c. Race
        d. Phone number
        e. Email address
        f. Office location
        g. Member of firm affinity group (Y/N)
        h. Name of affinity group(s) in which attorney participates
        i. Previously participated in LCLD program (Y/N)
        j. Previously was SEO Fellow (Y/N)
        k. Previously participated in firm diversity internship or fellowship (Y/N)
        l. Elevated to partner (Y/N)
        m. Equity or non-equity partner (Equity / Non-Equity)

37.     For each year since 2019, please provide the following data for lawyers in your firm who
        applied or were recruited as potential lateral partners:

        a. Name
        b. Sex
        c. Race

                                                  9
   Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 356 of 734




       d. Phone number
       e. Email address
       f. Office location
       g. Member of a firm affinity group (Y/N)
       h. Name of affinity group(s) in which attorney participates / participated
       i. Previously participated in LCLD program (Y/N)
       j. Previously was SEO Fellow (Y/N)
       k. Previously participated in a firm diversity internship or fellowship (Y/N)
       l. Hired as lateral partner (Y/N)
       m. Equity or non-equity partner (Equity / Non-Equity)

                                              ***

       Please submit your responses and any supporting documentation by April 15, 2025, to
lawfirmDEI@eeoc.gov. If certain information is unavailable or requires additional time to
compile, please indicate this in your response and provide an estimated timeline for submission.

       Thank you in advance for your cooperation.

Sincerely,



Andrea R. Lucas
Acting Chair
U.S. Equal Employment Opportunity Commission




                                               10
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 357 of 734




                  EXHIBIT 35
 Case 1:25-cv-00716-BAH       Document 39-4       Filed 04/02/25    Page 358 of 734




      U.S. Equal Employment Opportunity Commission




Press Release
03-17-2025




EEOC Acting Chair Andrea
Lucas Sends Letters to 20 Law
Firms Requesting
Information About DEI-
Related Employment
Practices
WASHINGTON – Today, U.S. Equal Employment Opportunity Commission (EEOC)
Acting Chair Andrea Lucas sent letters to 20 law firms requesting information about
their diversity, equity and inclusion (DEI) related employment practices.

Based on publicly available information, the letters note concerns that some firms’
employment practices, including those labeled or framed as DEI, may entail
unlawful disparate treatment in terms, conditions, and privileges of employment, or
unlawful limiting, segregating, and classifying based on race, sex, or other protected
characteristics, in violation of Title VII of the Civil Rights Act of 1964 (Title VII)
(https://www.eeoc.gov/statutes/title-vii-civil-rights-act-1964) .

“The EEOC is prepared to root out discrimination anywhere it may rear its head,
including in our nation’s elite law firms,” Lucas said. “No one is above the law—and
certainly not the private bar.”
 Case 1:25-cv-00716-BAH        Document 39-4       Filed 04/02/25     Page 359 of 734

Title VII prohibits an employer from discriminating against an individual because of
race, color, religion, sex, or national origin. Under Title VII, an employer initiative,
policy, program, or practice may be unlawful if it involves an employer taking an
employment action motivated—in whole or in part—by race, sex, or another
protected characteristic.

Title VII also bars employers from limiting, segregating, or classifying employees
based on race, sex, or other protected characteristics in a way that affects their
status or deprives them of employment opportunities, including in voluntary
employee groups and activities which are employer sponsored. There is no
“diversity” exception to these prohibitions. It is the responsibility of the EEOC to
enforce the provisions of Title VII with respect to businesses and other private sector
employers.

The law firms that received letters from Acting Chair Lucas include:

 1. A & O Shearman

 2. Debevoise & Plimpton LLP

 3. Cooley LLP

 4. Freshfields Bruckhaus Deringer LLP

 5. Goodwin Procter LLP

 6. Hogan Lovells LLP

 7. Kirkland & Ellis LLP

 8. Latham & Watkins LLP

 9. McDermott Will & Emery

10. Milbank LLP

11. Morgan, Lewis & Bockius LLP

12. Morrison & Foerster LLP

13. Perkins Coie

14. Reed Smith

15. Ropes & Gray LLP
 Case 1:25-cv-00716-BAH        Document 39-4      Filed 04/02/25    Page 360 of 734

16. Sidley Austin LLP

17. Simpson Thacher & Bartlett LLP

18. Skadden, Arps, Slate, Meagher & Flom LLP

19. White & Case LLP

20. WilmerHale

You can read the letters here: https://www.eeoc.gov/sites/default/files/2025-
03/Law_Firm_Letters_-_03.17.2025.pdf
(https://www.eeoc.gov/sites/default/files/2025-03/Law_Firm_Letters_-
_03.17.2025.pdf)

The EEOC has established an email where whistleblowers can submit information to
the EEOC about potentially unlawful DEI practices at law firms:
lawfirmDEI@eeoc.gov. Whistleblowers should be aware that emailing allegations of
unlawful discrimination, harassment, or retaliation to the lawfirmDEI@eeoc.gov
email address, does not constitute filing a charge of discrimination. If you
suspect you have experienced or witnessed DEI-related discrimination at a law firm,
and you wish to file a charge of discrimination, contact the EEOC promptly because
there are strict time limits for filing a charge—you can learn more about the process
to file a charge at https://www.eeoc.gov/filing-charge-discrimination
(https://www.eeoc.gov/filing-charge-discrimination) .

Information obtained from individuals who contact the EEOC is confidential
(https://www.eeoc.gov/confidentiality) and will not be revealed to the employer
until the individual files a charge of discrimination. Your employer may not fire,
demote, harass, or otherwise retaliate against you for filing a charge or cooperating
with the EEOC. The laws the EEOC enforces make it illegal for an employer to
retaliate (https://www.eeoc.gov/laws/guidance/enforcement-guidance-
retaliation-and-related-issues) against someone who files a charge or someone
who takes part in an EEOC process, investigation, or lawsuit.

The EEOC is the federal agency authorized to investigate and litigate against private
companies and other private employers for violations of Title VII and other federal
laws prohibiting employment discrimination. For public employers, the EEOC
shares jurisdiction with the Department of Justice’s Civil Rights Division; the EEOC is
responsible for investigating public sector charges before referring them to DOJ for
potential litigation. The EEOC also is responsible for coordinating the federal
 Case 1:25-cv-00716-BAH      Document 39-4     Filed 04/02/25   Page 361 of 734

government’s employment antidiscrimination effort. More information about the
EEOC is available at www.eeoc.gov
                               --(http://www.eeoc.gov/)
                                  -- ----------            . Stay connected with
 the latest EEOC news by subscribing to our email updates
.(https://public.govdelivery.com/accounts/USEEOC/subscriber/new)
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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 362 of 734




                  EXHIBIT 36
3/22/25, 3:03 AM Case(10)
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                          Stephen Miller on X: "Lawless judicial           39-4have Filed
                                                                 tyranny. Judges           04/02/25
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                                                                                                                            to provide


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     ~
                      Stephen Miller
                      @StephenM         •                                                  ~ -··                   Relevant people

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               Lawless judicial tyranny. Judges have no authority to force the executive
               branch to provide classified secrets to Democrat activist law firms.
                                                                                                                          Stephen Miller
                                                                                                                          @StephenM           •
                                                                                                                          @WhiteHouse Deputy Chief of Staff
                                                                                                                                                              Follow


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                     Nick Sortor
                                   •   @nicksortor · Mar 12
                    #BREAKING: A federal judge has BLOCKED President Trump from revoking
                 the security clearance of Perkins Coie, the law firm which helped develop the
                                                                                                                          for Policy and Homeland Security
                                                                                                                          Advisor | 45 & 47



     f;1
                 Russia Hoax

                 WTF?…
                                                                                                                          Nick Sortor
                                                                                                                          @nicksortor     •
                                                                                                                          On-scene covering stories MSM won’t.
                                                                                                                                                              Follow


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     ca                                                                                                                   News, Newsmax, Timcast, etc. •
                                                                                                                          #EastPalestine #Maui #WNC
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                                                                                                                      Al Jazeera English

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                                                                                                                   What’s happening

                                                                                                                                  From the Desk of Anthony
                                                                                                                                  Pompliano
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                     Readers added context

                 Howell’s restraining order prevents the Trump administration from barring                         Trending in Canada
                 Perkins Coie employees from accessing government buildings. However, it                           Goodbye
                 does not apply to the security clearance reviews called for in Trump’s order,                     64K posts
                 the judge noted.
                                                                                                                   Music · Trending
                 democracydocket.com/news-alerts/tr…                                                               Selena Gomez
                                                                                                                   78.2K posts
                 Do you find this helpful?                                               Rate it
                                                                                                                   Trending in Canada

               5:20 PM · Mar 12, 2025 · 791.2K Views                                                               #MarkCarney2025

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               0 1.9K                ti. 6.3K           0 20K                    304                               #severance
                                                                                                                   113K posts

                      Post your reply                                                      Reply
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                      Wall Street Apes
                                             •
                                            @WallStreetApes · Mar 12                     f2f •••
                      The GOP has started the impeachment of exactly 0 activist judges. So
                      they’ll continue to do whatever they want
                                                                                                                   Terms of Service Privacy Policy Cookie Policy
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                      0 98               u 760                3.1K         11,1 23K            l:::J     .t
                      Nick Sortor
                                    •@nicksortor · Mar 12
                      We’re no longer a Republic. We’re a judicial autocracy.
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                     What can Trump do about this? He can’t spend his entire presidency in
     X               appellate courts and at SCOTUS.
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                     SOLUTION: Trump must ignore the lawfare judges and simultaneously get
     ~               Mike Johnson to impeach them.

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          9          J Kerner
                             •    @JKernerOT · Mar 12                                      0···
                     all court orders attempting to block Trump are in complete violation of the
                     Constitution and must be ignored by Trump and his administration.
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                     The Constitution and Bill of Rights are the Supreme Law of the Land - not
                     acts of Congress, presidents’ executive orders or court
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                     Josiah Lippincott
                                        •@jlippincott_ · Mar 12
                     The President must assert executive prerogative against these courts
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                     - MAGA Michelle S         @MAGAMichelleS69 · Mar 12
                     When will something be done with these rogue judges?
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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 366 of 734




                  EXHIBIT 37
              Case 1:25-cv-00716-BAH                           Document 39-4                  Filed 04/02/25           Page 367 of 734
                                                                                                                       Print     Close




'Absurd': White House blasts law firm that helped fuel Russia
hoax after challenging Trump order
By Diana Stancy

Published March 13, 2025

Fox News


The White House said a lawsuit filed by a law firm with ties to the FBI's Russia investigation during President Donald Trump's first
term – known among conservatives as the "Russia collusion hoax" – is "absurd," after a federal judge blocked the Trump
administration from cutting off the firm's access to federal resources Wednesday.

Perkins Coie, the firm that hired the company responsible for composing the so-called "Steele dossier" released in 2017 about
Trump’s alleged connections to Russia that was used to obtain a surveillance warrant against former Trump campaign advisor
Carter Page, filed a motion in a federal court in Washington Tuesday requesting a temporary restraining order to block the Trump
administration from rescinding its access to federal resources.

U.S. Judge Beryl Howell approved the request Wednesday afternoon.

"The Trump Administration is working efficiently to eliminate waste, fraud and abuse in the federal government," White House
spokesman Harrison Fields said in a Wednesday evening statement to Fox News Digital. "It is absurd that a billion-dollar law firm is
suing to retain its access to government perks and handouts."

Perkins Coie and Attorney General Pam Bondi's chief of staff, Chad Mizelle, appeared before U.S. Judge Beryl Howell Wednesday
afternoon.

Attorney Dane Butswinkas, who is representing Perkins Coie, said roughly a quarter of the firm's revenue stems from clients with
government contracts, and compared Trump's order to "a tsunami waiting to hit the firm."

Additionally, Howell said Wednesday that the order "sends little chills down my spine."

Trump signed an executive order March 6 suspending security clearances for Perkins Coie employees until a further review
evaluating its access to sensitive information is complete to determine if it aligns with national interests.

The order also pulled access to sensitive information facilities for Perkins Coie employees and limits the company's access to
government employees. The order also prevents the federal government from hiring Perkins Coie employees without specific
authorization.

JUDGE DISMISSES TRUMP'S LAWSUIT ALLEGING INFAMOUS DOSSIER AND ITS ‘SCANDALOUS CLAIMS’ DAMAGED HIS
              Case 1:25-cv-00716-BAH                           Document 39-4                  Filed 04/02/25               Page 368 of 734
REPUTATION




President Donald Trump signs an executive order March 6 suspending security clearances for Perkins Coie employees until a
further review. (Evelyn Hockstein/Reuters)


As a result, Perkins Coie’s lawsuit claims that the Trump administration’s executive order is an "affront to the Constitution and our
adversarial system of justice" and that the order means the firm's ability to represent its clients is "under direct and imminent
threat."

Likewise, the lawsuit asserts the order violated procedural due process because it failed to give Perkins Coie the opportunity to
contest accusations included in the executive order.

"The order violates core constitutional protections, including the rights to free speech and due process, and undermines all clients’
right to select counsel of their choice," a Perkins Coie spokesperson said in a Tuesday statement. "We were compelled to take this
step to protect our firm and safeguard the interests of our clients."

Attorneys general from states including California, Arizona, Massachusetts and Rhode Island filed an amicus brief Wednesday
voicing support for Perkins Coie "to underscore the bedrock rule of law principles and free speech imperatives at issue in this case."

"Through official action, the President has attempted to exclude certain lawyers and certain viewpoints from reaching a court of law
at all," the coalition of attorneys general wrote in the brief. "It is a menacing message to attorneys nationwide: unless they advance
positions or represent clients favorable to the current administration, their livelihood may be at risk and their patriotism will be called
into question."

Perkins Coie represented Hillary Clinton’s campaign and the Democratic National Committee in the 2016 election and former
President Joe Biden after Trump challenged Biden’s 2020 election win.

Marc Elias, the former chair of the firm's political law practice, hired opposition research firm Fusion GPS to conduct opposition
research into presidential candidate Trump in April 2016 on behalf of Trump's opponent, Clinton, and the Democratic National
Committee.

CARTER PAGE FISA WARRANT LACKED PROBABLE CAUSE, DOJ ADMITS IN DECLASSIFIED ASSESSMENT




Christopher Steele, a former British intelligence officer, crafted the dossier after Fusion GPS hired him. (Getty Images)


Fusion GPS then hired former British intelligence officer Christopher Steele, who authored the so-called "Steele dossier." The
document, which BuzzFeed News published in 2017, included shocking and mostly unverified allegations, including details that
Trump engaged in sex acts with Russian prostitutes.

CLICK HERE TO GET THE FOX NEWS APP

Trump, who repeatedly denied the allegations included in the dossier, filed a lawsuit in September 2023 against Orbis Business
Intelligence, a company Steele co-founded, claiming that the dossier led to personal and reputational damage. A judge tossed the
                    Case 1:25-cv-00716-BAH                                      Document 39-4                           Filed 04/02/25                        Page 369 of 734
case in February 2024.

Meanwhile, Trump said Thursday it was an "honor" to sign the executive order.

"What they’ve done, it’s just terrible," Trump said. "It’s weaponization. You could say weaponization against a political opponent, and
it should never be allowed to happen again."

Fox News' Breanne Deppisch contributed to this report.

Diana Stancy is a politics reporter with Fox News Digital covering the White House.

                                                                                                                                                              Print         Close


URL
https://www.foxnews.com/politics/absurd-white-house-blasts-law-firm-helped-fuel-russia-hoax-after-challenging-trump-order



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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 370 of 734




                  EXHIBIT 38
Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 371 of 734




       DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
          IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
               MOTION FOR SUMMARY JUDGMENT




                             Exhibit 38

            March 14, 2025 speech by President Trump

                   The video is available here:
        https://www.youtube.com/watch?v=6i41Av4eYO8

  Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this
   exhibit is being maintained by plaintiff’s counsel and will be
          provided to the Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 372 of 734




                  EXHIBIT 39
          Case 1:25-cv-00716-BAH    Document 39-4     Filed 04/02/25   Page 373 of 734

                                       The WHITE HOUSE




                                    PRESIDENTIAL ACTIONS

                   Preventing Abuses of the Legal System and the Federal Court


                                     Presidential Memoranda


                                         March 22, 2025




MEMORANDUM FOR THE ATTORNEY GENERAL
THE SECRETARY OF HOMELAND SECURITY


SUBJECT:     Preventing Abuses of the Legal System and the Federal Court


Lawyers and law firms that engage in actions that violate the laws of the United States or
rules governing attorney conduct must be efficiently and effectively held accountable.
Accountability is especially important when misconduct by lawyers and law firms
threatens our national security, homeland security, public safety, or election integrity.


Recent examples of grossly unethical misconduct are far too common. For instance, in
2016, Marc Elias, founder and chair of Elias Law Group LLP, was deeply involved in the
creation of a false “dossier” by a foreign national designed to provide a fraudulent basis
for Federal law enforcement to investigate a Presidential candidate in order to alter the
outcome of the Presidential election. Elias also intentionally sought to conceal the role
of his client — failed Presidential candidate Hillary Clinton — in the dossier.


The immigration system — where rampant fraud and meritless claims have supplanted
the constitutional and lawful bases upon which the President exercises core powers
under Article II of the United States Constitution — is likewise replete with examples of
          Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 374 of 734
unscrupulous behavior by attorneys and law firms. For instance, the immigration bar,
and powerful Big Law pro bono practices, frequently coach clients to conceal their past
or lie about their circumstances when asserting their asylum claims, all in an attempt to
circumvent immigration policies enacted to protect our national security and deceive
the immigration authorities and courts into granting them undeserved relief. Gathering
the necessary information to refute these fraudulent claims imposes an enormous
burden on the Federal Government. And this fraud in turn undermines the integrity of
our immigration laws and the legal profession more broadly — to say nothing of the
undeniable, tragic consequences of the resulting mass illegal immigration, whether in
terms of heinous crimes against innocent victims like Laken Riley, Jocelyn Nungaray, or
Rachel Morin, or the enormous drain on taxpayer resources intended for Americans.


Federal Rule of Civil Procedure 11 prohibits attorneys from engaging in certain unethical
conduct in Federal courts. Attorneys must not present legal filings “for improper
purpose[s],” including “to harass, cause unnecessary delay, or needlessly increase the
cost of litigation.” FRCP 11(b)(1). Attorneys must ensure that legal arguments are
“warranted by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law or for establishing new law.” FRCP 11(b)(2). And attorneys must
ensure that their statements about facts are “reasonably based” on evidentiary support,
or a belief that such evidence actually exists. FRCP 11(b)(3)-(b)(4). When these
commands are violated, opposing parties are authorized to file a motion for sanctions.
FRCP 11(c). The text of the rule specifically addresses and provides for sanctions for
attorneys and their firms as well as for recalcitrant parties given the solemn obligation
that attorneys have to respect the rule of law and uphold our Nation’s legal system with
integrity. Furthermore, Rule 3.1 of the Model Rules of Professional Conduct provides
that, “A lawyer shall not bring or defend a proceeding, or assert or controvert an issue
therein, unless there is a basis in law and fact for doing so that is not frivolous, which
includes a good faith argument for an extension, modification or reversal of existing law.”


Unfortunately, far too many attorneys and law firms have long ignored these
requirements when litigating against the Federal Government or in pursuing baseless
partisan attacks. To address these concerns, I hereby direct the Attorney General to
seek sanctions against attorneys and law firms who engage in frivolous, unreasonable,
and vexatious litigation against the United States or in matters before executive
           Case 1:25-cv-00716-BAH     Document 39-4     Filed 04/02/25   Page 375 of 734
departments and agencies of the United States.


I further direct the Attorney General and the Secretary of Homeland Security to
prioritize enforcement of their respective regulations governing attorney conduct and
discipline. See, e.g., 8 C.F.R. 292.1 et seq.; 8 C.F.R. 1003.101 et seq.; 8 C.F.R. 1292.19.


I further direct the Attorney General to take all appropriate action to refer for disciplinary
action any attorney whose conduct in Federal court or before any component of the
Federal Government appears to violate professional conduct rules, including rules
governing meritorious claims and contentions, and particularly in cases that implicate
national security, homeland security, public safety, or election integrity. In complying
with this directive, the Attorney General shall consider the ethical duties that law
partners have when supervising junior attorneys, including imputing the ethical
misconduct of junior attorneys to partners or the law firm when appropriate.


I further direct that, when the Attorney General determines that conduct by an attorney
or law firm in litigation against the Federal Government warrants seeking sanctions or
other disciplinary action, the Attorney General shall, in consultation with any relevant
senior executive official, recommend to the President, through the Assistant to the
President for Domestic Policy, additional steps that may be taken, including
reassessment of security clearances held by the attorney or termination of any Federal
contract for which the relevant attorney or law firm has been hired to perform services.


I further direct the Attorney General, in consultation with any relevant senior executive
official, to review conduct by attorneys or their law firms in litigation against the Federal
Government over the last 8 years. If the Attorney General identifies misconduct that
may warrant additional action, such as filing frivolous litigation or engaging in fraudulent
practices, the Attorney General is directed to recommend to the President, through the
Assistant to the President for Domestic Policy, additional steps that may be taken,
including reassessment of security clearances held by the attorney, termination of any
contract for which the relevant attorney or law firm has been hired to perform services,
or any other appropriate actions.


Law firms and individual attorneys have a great power, and obligation, to serve the rule of
          Case 1:25-cv-00716-BAH    Document 39-4          Filed 04/02/25   Page 376 of 734
law, justice, and order. The Attorney General, alongside the Counsel to the President,
shall report to the President periodically on improvements by firms to capture this
hopeful vision.




                                           NEWS

                                   A D M I N I S T R AT I O N

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Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 377 of 734



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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 378 of 734




                  EXHIBIT 40
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                                                            @ChadMizelle47
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                                                  Mike Luttig is the Perkins Coie of judges.

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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 380 of 734




                  EXHIBIT 41
  Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 381 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 41

President Trump speaking at a Women’s History Month Event, posted by the
      White House to its official YouTube channel on March 26, 2025

                   The posted video is available here:
          https://www.youtube.com/watch?v=37yfOP8cVPQ

Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 382 of 734




                  EXHIBIT 42
            Case 1:25-cv-00716-BAH      Document 39-4      Filed 04/02/25    Page 383 of 734
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 INVESTIGATIONS

Trump has made more than 100 threats to prosecute or
punish perceived enemies
OCTOBER 22, 2024 · 7:00 AM ET

HEARD ON ALL THINGS CONSIDERED

       Tom Dreisbach



           7-Minute Listen                                        PLAYLIST      TRANSCRIPT



                                       With just two weeks remaining until the
                                       presidential election, former President Donald
                                       Trump has used his most recent appearances on
                                       podcast and cable interviews to escalate attacks
                                       on fellow Americans whom he calls "the enemy
                                       from within."
Former President Donald Trump
speaks to supporters during a          In one recent interview, Trump said that if
campaign event at Saginaw Valley
State University on Oct. 3 in          "radical left lunatics" disrupt the election, "it
Saginaw, Mich.                         should be very easily handled by — if necessary,
Scott Olson/Getty Images
                                       by National Guard, or if really necessary, by the
                                       military."

That statement, on Fox News, was not the first time Trump has expressed support
for using government force against domestic political rivals. Since 2022, when he
began preparing for the presidential campaign, Trump has issued more than 100
threats to investigate, prosecute, imprison or otherwise punish his perceived
opponents, NPR has found.


                                             Sponsor Message
                                                      EROM NRAEL




                           I]
A review of Trump's rally speeches, press conferences, interviews and social
media posts shows that the former president has repeatedly indicated that he
would use federal law enforcement as part of a campaign to exact "retribution."
                                                                                      Case 1:25-cv-00716-BAH




Vice President Kamala Harris "should be impeached and prosecuted," Trump said
at a rally last month.

"I will appoint a real special prosecutor to go after the most corrupt president in
the history of the United States of America, Joe Biden, and the entire Biden crime
                                                                                      Document 39-4




family," Trump said last year.

"ELIZABETH LYNNE CHENEY IS GUILTY OF TREASON," reads one post Trump
reposted on his social media site, Truth Social, regarding the former Republican
congresswoman. "RETRUTH IF YOU WANT TELEVISED MILITARY TRIBUNALS."
                                                                                      Filed 04/02/25
                                                                                      Page 384 of 734
         Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25       Page 385 of 734
 .t\1\ Donald J. Trump 0
 '111 @realDonaldTrump
  She should go to Jail along with the rest of tine Unselect Committee!


           John Solomon 0
           @jsolomonreports · Mar 11
    Updated: Liz Cheney sat in interview with Secret Service driver who denied story Trump tried
    to commandeer presidential limo on Jan. 6 but did not include in final report.
    justthenews.com/government/con ...


                                           <? Justthenews.com
                                               Democrats' Jan. 6 panel withheld crucial
                                               evidence, including denial from Trump driver:
                                               new report
                                               For the first time, the report released information
                                               from the Secret Service driver who took Trump to
                                               his Jan. 6, 2021, speech on the Ellipse and back to
                                               the White House. The driver directly contradicted ...



 1.76k ReTruths 5.74k Likes                                                      Mar 17, 2024, 10:33 AM




Journalists who decline to identify the sources of leaked information would also
face imprisonment, Trump said.

"If the reporter doesn't want to tell you, it's 'bye-bye,' the reporter goes to jail,"
Trump said in 2022. He appeared to suggest that the reporter could also face
sexual assault while in custody.

Trump and his allies have either downplayed these threats, or said that these
actions would be justified, in part, because of the four criminal prosecutions
brought against Trump since he left office. In one of those cases, a New York jury
found Trump guilty of 34 felony counts in connection with hush money he paid to
keep an alleged affair with adult film actress Stormy Daniels secret. He is
appealing that verdict.
            Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 386 of 734




When right-wing radio host Glenn Beck asked Trump if he would lock up his
opponents in a second term, Trump responded, "The answer is you have no choice
because they're doing it to us."

Legal experts said that there are few guardrails preventing Trump from pursuing
his plans to prosecute opponents and noted that Trump pressured the Department
of Justice to investigate rivals during his first term. In about a dozen cases, the
Justice Department followed through and initiated investigations, according to one
analysis.

If Trump follows through on his stated plans in a second term, these experts said,
his actions could endanger Americans' civil liberties and cause a chilling effect on
criticism of the president. The threats he's made have already led some of his
targets to prepare for the worst by saving money and considering whether to leave
the country if Trump wins the election.

"This is how autocrats cement their permanent grip on power," said Ian Bassin, the
executive director of the nonprofit group Protect Democracy, which advocates for
protections against authoritarianism.

Many of Trump's threats relate to his persistent false claims about election fraud
and the lie that he won the 2020 election.

"START ARRESTING THE POLL WORKERS AND WATCH HOW FAST THEY TELL
YOU WHO TOLD THEM TO CHEAT," reads a message Trump reposted on social
media in 2023.

He has also repeatedly targeted the prosecutors, judges and even courtroom staff
connected to the prosecutions against him for alleged election interference,
improperly holding classified documents and business fraud.
            Case 1:25-cv-00716-BAH     Document 39-4    Filed 04/02/25   Page 387 of 734
                                      New York Attorney General Letitia James and
                                      Judge Arthur Engoron "should be arrested and
                                      punished accordingly," Trump said at a rally in
                                      January. James successfully brought a civil fraud
                                      case against Trump, which Engoron presided
                                      over. Trump is appealing the judgment against
Attorney General Letitia James sits   him. He also reposted a message attacking a
in the courtroom during the civil
fraud trial of former President
                                      member of the Georgia grand jury that indicted
Donald Trump at the New York          him.
Supreme Court on Jan. 11 in New
York City.
Pool/Getty Images




            Donald J . Trump
            @realDonaldTrump

   Judge Engoron should end the ridiculous Political Witch Hunt against me. I have
  TOTALLY WON THIS CASE, which should never have been brought. The only Fraud
  was committed by A.G. Letitia James in convincing the Judge that Mar- a-Lago
  was only worth $18,000,000 (in order to make my "numbers" look bad), when it is
   worth 50 to 100 times that amount. She campaigned on "getting Trump." She
   should be prosecuted!
  6 .12k ReTruths 22.3k Likes                                            Nov 10, 2023, 10:42 AM




Among the other targets of Trump's threats are former President Barack Obama
("RETRUTH IF YOU WANT PUBLIC MILITARY TRIBUNALS"), members of the U.S.
Capitol Police who defended the Capitol during the Jan. 6, 2021, riot ("The cops
should be charged and the protesters should be freed"), members of the Jan. 6
Select Committee in Congress ("They should be prosecuted for their lies and, quite
frankly, TREASON!"), Facebook founder Mark Zuckerberg ("We are watching him
closely, and if he does anything illegal this time he will spend the rest of his life in
prison"), people who criticize the Supreme Court ("These people should be put in
jail, the way they talk about our judges and our justices") and protesters who burn
the American flag ("You should get a one-year jail sentence if you desecrate the
American flag").
          Case 1:25-cv-00716-BAH   Document 39-4     Filed 04/02/25   Page 388 of 734




In one instance, Trump suggested that Gen. Mark Milley, who served as chairman
of the Joint Chiefs of Staff in his administration, could face execution for calling
officials in China to try and defuse tensions in the chaotic aftermath of the Jan. 6
attack.

"This is an act so egregious that, in times gone by, the punishment would have
been DEATH!" Trump wrote on Truth Social.

Milley, who retired in 2023, has since told journalist Bob Woodward that Trump is
"fascist to the core" and "the most dangerous person to this country."

 ~ Donald J. Trump 0
 . , .,   @realDonaldTrump

 Mark Milley, who led perhaps the most embarrassing moment in American history
 with his grossly incompetent implementation of the withdrawal from Afghanistan,
 costing many lives, leaving behind hundreds of American citizens, and handing
 over BILLIONS of dollars of the finest military equipment ever made, will be leaving
 the military next week. This will be a time for all citizens of the USA to celebrate!
 This guy turned out to be a Woke train wreck who, if the Fake News reporting is
 correct, was actually dealing with China to give them a heads up on the thinking of
 the President of the United States. This is an act so egregious that, in times gone
 by, the punishment would have been DEATH! A war between China and the United
 States could have been the result of this treasonous act. To be continued!!!
 6.9k Re Truths 20.Sk Likes                                           Sep 22, 2023, 7:59 PM




In addition to using the powers under criminal law, Trump has also promised to
take greater control of agencies like the Federal Communications Commission,
        Case 1:25-cv-00716-BAH     Document 39-4     Filed 04/02/25   Page 389 of 734
which regulates broadcast television and radio, including NPR's network of
member stations.

After his presidential debate against Harris on ABC News, Trump called for the
FCC to revoke ABC's broadcast license, due to his perception of the moderators'
bias. He also called for an investigation of CBS News for campaign finance
violations after it aired an interview with Vice President Harris. He's previously
floated pulling the license for NBC, as well, over criticisms of its news coverage.

"I absolutely think he will follow up on those threats," said Stephanie Grisham,
who worked for Trump's 2016 presidential campaign and served as his White
House press secretary. Grisham resigned in the aftermath of the Jan. 6, 2021,
attack on the U.S. Capitol and has since become a vocal critic of her former boss.

"I just know that once he's in office with no guardrails, no reason to worry about
reelection, and only the most fervent, loyal people surrounding him," Grisham said,
"he will absolutely make sure his enemies pay for what he perceives to be their
crimes."

John Bolton, who served as national security adviser in the Trump White House,
said at an event earlier this year that he believed Trump would use the
Department of Justice to enact a "retribution presidency."




In response to NPR's reporting, the Republican National Committee issued a
statement.
        Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 390 of 734
"Kamala Harris is the threat to democracy," said RNC spokesperson Anna Kelly.
"She and Joe Biden weaponized our justice system in order to sway an election."
       Case 1:25-cv-00716-BAH             Document 39-4         Filed 04/02/25      Page 391 of 734


                Trump has made at least 109 threats since 2022
                    Click on the buttons below to filter by category of person targeted


        Show all      Current and former government officials            Democratic district attorneys


             Election workers and administrators          Journalists and media organizations


            Participants in Trump's court cases         Political opponents       Private citizens
           ~ - - ~ [~- ~ ] [ ~ -
                      Tech companies and executives         U.S. Capitol Police     Other
            ' - - - - - - - ' -----I_ ___,] D

                                              Target: Emily Kohrs
                                      Participants in Trump's court cases


                   "Thats literally a felony, will she be prosecuted?"

                   –– Feb. 22, 2023, Statement reposted by Trump on Truth Social (source)


                                         Target: Politico journalists
                                     Journalists and media organizations


"The Supreme Court has just announced it is not able to find out, even with the help of our 'crack' FBI,
who the leaker was on the R v Wade scandal. They’ll never find out, & it’s important that they do. So, go
to the reporter & ask him/her who it was. If not given the answer, put whoever in jail until the answer is
given. You might add the publisher and editor to the list. Stop playing games, this leaking cannot be
allowed to happen. It won’t take long before the name of this slime is revealed!"

–– Jan. 19, 2023, Trump post on Truth Social (source)


                                           Target: Jamaal Bowman
                                             Political opponents


Trump posted "100% correct!" in response to a statement that Rep. Jamaal Bowman should be charged
with a felony.

–– Oct. 26, 2023, Trump post on Truth Social (source)


                                              Target: Jack Smith
                                      Participants in Trump's court cases


"Speaking of LEAKS, Special 'Prosecutor' Jack Smith (What did his name used to be?) leaked massive
amounts of information to The Washington ComPost. This is illegal, and I assume this Radical Left
         Case 1:25-cv-00716-BAH           Document 39-4      Filed 04/02/25    Page 392 of 734
  Lunatic, much to the chagrin of his Trump Hating wife and family, will be PROSECUTED? He is a totally
  biased Thug who should be let loose on the Biden Documents hidden in Chinatown, and the 1,850 BOXES
  secretly stored in Delaware, which Biden REFUSES to give up. Biden is guilty of Obstruction, I am not!"

  –– April 3, 2023, Trump post on Truth Social (source)


                                            Target: Michael Byrd
                                             U.S. Capitol Police


             “THIS NEEDS TO BE POSTED DAILY UNTIL THAT SOB IS ARRESTED & STANDS TRIAL”

             –– Jan. 13, 2023, Statement reposted by Trump on Truth Social (source)


Trump's claims of a "witch hunt"
Amid this flood of threats against his opponents, Trump has repeatedly accused
the Biden administration of "weaponizing" the Justice Department and subjecting
him to "political persecution" and a "witch hunt."

Judges presiding over Trump's criminal cases have rejected those arguments.

Biden did state publicly that subjects of the Jan. 6 Select Committee's
investigation should face prosecution for defying subpoenas. He later said that
comment was "inappropriate." But there's no evidence that Biden has directed the
federal cases against Trump. Those cases are being led by special counsel Jack
Smith.

During Biden's presidency, the Justice Department has also brought prosecutions
against several high-profile Democrats, including former New Jersey Sen. Robert
Menendez and New York Mayor Eric Adams, as well as the president's son, Hunter
Biden.

Vice President Harris has generally avoided commenting on Trump's federal
criminal cases. When supporters at recent campaign rallies started chanting "lock
him up," she told the crowd, "We're gonna let the courts handle that."


Could Trump actually order prosecutions of his enemies?
After the widespread abuses of presidential power by Richard Nixon, subsequent
administrations generally sought to give the Department of Justice more
independence from the White House, in part to insulate the agency from electoral
politics.
        Case 1:25-cv-00716-BAH      Document 39-4    Filed 04/02/25   Page 393 of 734
But legal experts and former government officials said those rules and norms can
be overturned or ignored.

"There are not really legal restrictions or even structural restrictions that would
stop the president, if he were to appoint loyalists to be the lead prosecutors in all
93 jurisdictions around the country, from simply directing them to go and
investigate his perceived opponents," said Bassin, who also served as associate
White House counsel in the Obama administration. "If he appointed a loyal
director of the FBI, he would be able to make life pretty miserable for the people
he is targeting."




Trump has said he will appoint the "most ferocious legal warriors against crime
and Communist corruption that this country has ever seen."

Trump's allies have also promised to weaken or even end the Justice Department's
independence from the White House if he returns to office, which would give
Trump and his political appointees greater ability to direct the federal
prosecutions.

"The president has the authority under the Constitution to conduct law
enforcement," Russ Vought, a former Trump administration official and a leader of
the Heritage Foundation's Project 2025 blueprint, told NPR last year. Vought
added that "I think you can absolutely trust Donald Trump" not to use the Justice
Department for partisan purposes.
         Case 1:25-cv-00716-BAH     Document 39-4    Filed 04/02/25   Page 394 of 734
The Supreme Court also recently removed one potential guardrail preventing
political prosecutions in its ruling on Trump's claim of presidential immunity.


             INVESTIGATIONS
             Trump's Bedminster club hosted an alleged Nazi sympathizer who stormed
             the Capitol



             INVESTIGATIONS
             The Trump campaign embraces Jan. 6 rioters with money and pardon
             promises



"One of the most remarkable lines in that Supreme Court opinion is that a sitting
president could order their Justice Department to engage in a 'sham' investigation,"
said Ryan Goodman, a law professor at New York University. "So a president
would not have to fear criminal accountability for ordering a sham investigation of
their perceived enemies."

One final check against political prosecutions is the judicial branch. Judges can
refuse to authorize search and arrest warrants. If an investigation leads to an
actual prosecution, judges can also dismiss charges and juries can acquit
defendants. But the process alone can do significant damage to a target's
reputation and finances, regardless of the final outcome. And both Trump and
running mate JD Vance have suggested they might ignore the judiciary's decisions.

Trump posted on Truth Social that "massive fraud" in the 2020 election justified
"the termination of all rules, regulations, and articles, even those found in the
Constitution." In a 2021 interview, Vance said Trump should ignore court rulings if
they constrain the administration's ability to replace career officials with political
loyalists.
           Case 1:25-cv-00716-BAH      Document 39-4     Filed 04/02/25   Page 395 of 734




"Much of this depends upon the character of the individual in the White House
and the character of those surrounding them," said Goodman, "because there's so
many levers of power that they can use."


Trump's actions in his first term
Trump made the prosecution of Hillary Clinton, his Democratic rival in the 2016
election, a centerpiece of his first presidential campaign. "Lock her up" became a
perennial call-and-response between Trump and his supporters at rallies.

And while the Justice Department under Trump did not ultimately charge Clinton,
there's substantial evidence that his pressure on prosecutors did have an impact
in some cases.

"President Trump treated the Department of Justice like his own personal law
firm, and he put people in charge there who did his bidding," said Geoffrey
Berman, who served as U.S. attorney for the Southern District of New York during
the Trump administration, in a 2022 interview with WHYY's Fresh Air. "The
Justice Department targeted political enemies of the president and assisted
political allies of the president."

One of Trump's most frequent targets in his first term was Andrew McCabe, a
longtime FBI official who became the bureau's acting director when Trump fired
James Comey in 2017.

                                      While in office, Trump attempted to "purge" the
                                      FBI of people he perceived as disloyal, McCabe
                                      said in an interview.

                                      Trump repeatedly attacked McCabe, because he
                                      was in the leadership of the FBI during the
Andrew McCabe, then-acting            investigation into Russian interference with the
director of the Federal Bureau of     2016 election and because he perceived McCabe
Investigation, speaks during a
Senate Intelligence Committee         as a partisan enemy. McCabe considered himself
hearing in Washington, D.C., on May   a moderate Republican, but Trump seized on the
11, 2017.
            Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 396 of 734
Andrew Harrer/Getty Images
                                     fact that McCabe's wife had run unsuccessfully
                                     for the Virginia state Senate in 2015 as a
                                     Democrat.

Trump publicly pressured the department to fire McCabe before he would be
eligible to receive retirement benefits, writing on Twitter, "FBI Deputy Director
Andrew McCabe is racing the clock to retire with full benefits. 90 days to go?!!!"




"It was clear to me, he was basically saying, 'I'm going to do whatever I can to fire
this guy before he can retire,'" McCabe said.

Department of Justice leaders demoted and then fired McCabe just hours before
that deadline.

"Andrew McCabe FIRED, a great day for the hard working men and women of the
FBI," Trump posted. "A great day for Democracy."

Internal investigators at the Justice Department said that McCabe "lacked candor"
about his contacts with journalists — an allegation McCabe denies — and federal
prosecutors opened a criminal investigation into McCabe that dragged on for
nearly two years.

McCabe said he was with his wife and two children when the news of the criminal
investigation leaked.
        Case 1:25-cv-00716-BAH     Document 39-4    Filed 04/02/25   Page 397 of 734
"It was just an incredibly sad moment and really scary for them, because it was
the first time that I think they had ever considered that what had been political
nonsense might actually cost me my liberty," McCabe said. "And it's also
humiliating. It's embarrassing."

Federal Judge Reggie Walton, a George W. Bush appointee, questioned prosecutors
over their handling of the case and Trump's apparent influence over it.

"I don't think people like the fact that you got somebody at the top basically trying
to dictate whether somebody should be prosecuted," Walton said. "I just think it's
a banana republic when we go down that road."

Prosecutors ultimately dropped the case without bringing charges.

McCabe sued the Department of Justice over his firing. After Trump left office, he
received a settlement that restored his back pay, retirement benefits and rank.

McCabe was not the only target, according to an analysis co-written by Goodman.
He found 11 other cases in which Trump pushed the Justice Department to
investigate his rivals.

"There is an established track record of Trump having done this before," said
Goodman of NYU. "It's not pure rhetoric."




In one instance described in the Mueller report and cited by Goodman, Trump
urged then-Attorney General Jeff Sessions to prosecute Hillary Clinton. (Trump
            Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 398 of 734
also urged prosecution publicly on Twitter.) Federal prosecutors in Utah later
opened an investigation into Clinton and the Clinton Foundation without bringing
charges. Hillary Clinton remained one of Trump's most frequent targets even after
he left office. Last year, he reposted a video with calls to "lock her up" for alleged
treason.

The Jan. 6 Select Committee in Congress presented additional evidence of Trump
putting pressure on prosecutors to say they found widespread fraud in the 2020
election, despite a lack of evidence.


  6zk Donald J. Trump 0
  ~     ,   @realDonaldTrump

  Tucker Carlson a MUST WATCH tonight. Releasing more VIDEO which was
  "HIDDEN BY THE CROOKED J 6 UNSELECT COMMITTEE." They should be
  prosecuted for their lies and, quite frankly, TREASON!
  8.38k ReTruths 24.lk Likes                                            Mar 07, 2023, 9:21 AM




"What I'm just asking you to do is to say it was corrupt and leave the rest to me
and the Republican congressmen," Trump told officials in his Justice Department,
according to testimony obtained by the select committee.

"Trump was absolutely willing to use the Justice Department for his ends," former
Republican Congressman Adam Kinzinger, a member of the select committee, told
NPR.


                                     Preparing for the worst
                                     Trump continues to threaten McCabe.

                                     Steve Bannon, who served as Trump's chief
                                     strategist in the White House and remains a
A supporter holds up a sign as       prominent supporter, said on his podcast that
Trump speaks at a town hall at the   McCabe "should be worried" that Trump would
Lancaster County Convention Center
                                     go after him if he returns to the White House.
on Oct. 20 in Lancaster, Pa.
Evan Vucci/AP
                                     "You should be very worried," Bannon said. "But
                                  also understand this, brother, we have extradition
treaties with virtually every country in the world. And you go ahead and run and
        Case 1:25-cv-00716-BAH     Document 39-4    Filed 04/02/25   Page 399 of 734
run as far as you want. We're going to come and get you." (Bannon is currently
serving a four-month prison sentence for contempt of Congress and is due to be
released at the end of October.)

Trump reposted Bannon's comments on Truth Social.

"It shows you, I think, and in serious terms, a persistent commitment to this idea
of 'we are going on the revenge tour,'" McCabe said in response to those
comments.




McCabe said he has had difficult conversations with his family about what Trump
might do if he returns to the White House, and he knows other former officials
who are also contemplating leaving the country.

"I don't intend to leave the country that I served for 21 years," McCabe said. "But
this kind of pits you against your children and your spouses who just want you to
be safe."

Grisham said she is also making preparations in case Trump returns to the White
House — and saving up money.

Trump has not threatened her with jail time or prosecution, but did attack her in
personal terms after she published a book critical of the administration.

"I'm definitely fearful for myself and for many of my friends who have spoken out,
too," Grisham said. "It's a terrifying thought, because that is literally the most
          Case 1:25-cv-00716-BAH                Document 39-4            Filed 04/02/25         Page 400 of 734
 powerful person in the world that knows you and wants only bad for you. It's truly
 a terrifying thought."

  donald trump    2024 election     department of justice




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 401 of 734




                  EXHIBIT 43
 Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25       Page 402 of 734

                                                       U.S. Department of Justice

                                                       Jack Smith
                                                       Special Counsel




                                                       January 7, 2025




 DELIVERY BY HAND
 The Honorable Merrick B. Garland
 Attorney General of the United States
 Robert F. Kennedy Department of Justice Building
 950 Pennsylvania Avenue NW
 Washington, D.C. 20530

        Re:    Final Report of the Special Counsel Under 28 C.F.R. § 600.8

Dear Mr. Attorney General:

         In the fall of 2022, former President Donald J. Trump was a subject of two separate criminal
investigations by the Department of Justice. The first was an investigation into whether any person
violated the law in connection with efforts to interfere with the lawful transfer of power following
the 2020 presidential election. The second investigation focused on the possession of highly
classified documents at Mr. Trump's Mar-a-Lago social club following his presidency.

        On November 15, 2022, Mr. Trump declared his candidacy to unseat President Joseph R.
Biden, Jr. , who had previously stated his intention to stand for reelection. Mr. Trump's
announcement created a highly unusual situation, in which the Department, an agency within the
Executive Branch headed by President Biden, was conducting criminal investigations regarding
his newly declared challenger. Based on a longstanding recognition that " in certain extraordinary
cases, it is in the public interest to appoint a special prosecutor to independently manage an
investigation and prosecution," you, as the Attorney General, promptly did so here to " underscore[]
the Department's commitment to both independence and accountability in particularly sensitive
matters." Attorney General Merrick B. Garland, Remarks on the Appointment of a Special
Counsel, Washington, D.C. (Nov. 18, 2022).

        On the day that I was appointed, I pledged that I would exercise independent judgment,
follow the best traditions of the Department of Justice, and conduct my work expeditiously and
thoroughly to reach whatever outcome the facts and law dictated. With the aid of an outstanding
team, that is what I did. Upon my appointment, I organized a staff of experienced career federal
prosecutors, and together we conducted the investigations and subsequent prosecutions under our
mandate, consistent with the Department's traditions of integrity and nonpartisanship that have
guided all of us throughout our careers.
Case 1:25-cv-00716-BAH            Document 39-4          Filed 04/02/25       Page 403 of 734




      Attorney General Edward H. Levi, who assumed the Department's helm in the wake of
Watergate, summed up those traditions best:

       [O]ne paramount concern must always guide our way. This is the keeping of the
       faith in the essential decency and even-handedness in the law, a faith which is the
       strength of the law and which must be continually renewed or else it is lost. In a
       society that too easily accepts the notion that everything can be manipulated, it is
       important to make clear that the administration of federal justice seeks to be
       impartial and fair ....

Address to the Los Angeles County Bar Association, Los Angeles, CA (Nov. 18, 1976). Attorney
General Levi's remarks, shared 46 years to the day before my appointment, ring as true now as
they did then.

        I have been a career prosecutor in local, national, and international settings over the last
three decades, working shoulder to shoulder with hundreds of prosecutors in that time. The
prosecutors and staff of the Special Counsel's Office are, in my estimation, without peer in terms
of accomplishment, capability, judgment, and work ethic. More importantly in my book, they are
people of great decency and the highest personal integrity. The intense public scrutiny of our
Office, threats to their safety, and relentless unfounded attacks on their character and integrity did
not deter them from fulfilling their oaths and professional obligations. These are intensely good
people who did hard things well. I will not forget the sacrifices they made and the personal
resilience they and their families have shown over the last two years. Our country owes them a
debt of gratitude for their unwavering service and dedication to the rule of law. Without pause
they have upheld the Department's commitment to the impartial and independent pursuit of justice.
For that, I am grateful-as I know you are as well.

        Staffed by some of the most experienced prosecutors in the Department, my Office
operated under the same Department policies and procedures that guide all federal prosecutors.
The regulations under which I was appointed required that we do so, see 28 C.F.R. § 600.7(a), and
our work benefited from those processes. The Department has long recognized that proceeding
with "uniformity of policy ... is necessary to the prestige of federal law." Robert H. Jackson,
"The Federal Prosecutor" (April 1, 1940). As a result, throughout our work we regularly consulted
the Justice Manual, the Department's publicly available guidebook on policies and procedures,
and adhered to its requirements.

        Our work rested upon the fundamental value of our democracy that we exist as "a
government of laws, and not of men." John Adams, Novanglus, No. VII at 84 (Mar. 6, 1775). In
making decisions as Special Counsel, I considered as a first principle whether our actions would
contribute to upholding the rule of law, and acted accordingly. Our committed adherence to the
rule of law is why we not only followed Department policies and procedures, but strictly observed
legal requirements and dutifully respected the judicial decisions and precedents our prosecutions
prompted. That is also why, in my decision-making, I heeded the imperative that "[n]o man in this
country is so high that he is above the law," UnUed States v. Lee, I 06 U.S. 196,220 (1882). Simply


                                                  2
 Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25      Page 404 of 734




 put: the Department of Justice's guiding mandate, which my Office strove to uphold, is that power,
 politics, influence, status, wealth, fear, and favor should not impede justice under the law.

         When I assumed responsibility for the matters you assigned to me, I came to the work with
 no preconceived notion of what the just outcome of the investigations would be. I was not yet
 familiar with all of the relevant facts and had not yet researched the relevant law. Depending upon
 what the investigations revealed, I was equally comfortable closing the investigations or moving
 forward with prosecutions in one or both of the matters, having done both in high profile matters
 throughout my career.

        To make prosecutorial determinations, my Office gathered relevant evidence and examined
whether that evidence established violations of federal criminal law. In doing so I was guided by
the Principles of Federal Prosecution, a series of considerations designed to promote the fair and
evenhanded application of the law. As set forth in my Report, after conducting thorough
investigations, I found that, with respect to both Mr. Trump's unprecedented efforts to unlawfully
retain power after losing the 2020 election and his unlawful retention of classified documents after
leaving office, the Principles compelled prosecution. Indeed, Mr. Trump's cases represented ones
"in which the offense [was] the most flagrant, the public haim the greatest, and the proof the most
certain." Jackson, "The Federal Prosecutor."

        As directed by the Principles, I made my decision in these cases without regard to Mr.
Trump's "political association, activities, or beliefs," or the possible personal or professional
consequences of a prosecution for me or any member of my Office. Justice Manual § 9-27.260.
"[T]he likelihood of an acquittal due to unpopularity of some aspect of the prosecution or because
of the overwhelming popularity of the defendant or his cause," or the converse, were not factors
in my prosecutive decisions. Id. § 9-27.220 (Comment). My Office also adhered at all times to
the Department's policy against interfering in elections. As a former Chief of the Department's
Public Integrity Section, it was important to me, as it is to you, that we adhere to both the letter
and spirit of this policy. I can assure you that neither l nor the prosecutors on my team would have
tolerated or taken part in any action by our Office for partisan political purposes. Throughout my
service as Special Counsel, seeking to influence the election one way or the other, or seeking to
interfere in its outcome, played no role in our work. My Office had one north star: to follow the
facts and law wherever they led. Nothing more and nothing less.

        While I relied greatly on the counsel, judgment, and advice of our team, I want it to be
clear that the ultimate decision to bring charges against Mr. Trump was mine. It is a decision I
stand behind fully. To have done otherwise on the facts developed during our work would have
been to shirk my duties as a prosecutor and a public servant. After nearly 30 years of public
service, that is a choice I could not abide.

        It is equally important for me to make clear that nobody within the Department of Justice
ever sought to interfere with, or improperly influence, my prosecutorial decision making. The
regulations under which I was appointed provided you with the authority to countermand my
decisions, 28 C.F.R. § 600.7, but you did not do so. Nor did you, the Deputy Attorney General, or
members of your staff ever attempt to improperly influence my decision as to whether to bring


                                                 3
Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25       Page 405 of 734




charges against Mr. Trump. And to all who know me well, the claim from Mr. Trump that my
decisions as a prosecutor were influenced or directed by the Biden administration or other political
actors is, in a word, laughable.

        While we were not able to bring the cases we charged to trial, I believe the fact that our
team stood up for the rule of law matters. I believe the example our team set for others to fight for
justice without regard for the personal costs matters. The facts, as we uncovered them in our
investigation and as set forth in my Report, matter. Experienced prosecutors know that you cannot
control outcomes, you can only do your job the right way for the right reasons. I conclude our
work confident that we have done so, and that we have met fully our obligations to the Department
and to our country.

        Accompanying this letter, I am providing you "a confidential report explaining the
prosecution or declination decisions reached by the Special Counsel." 28 C.F.R. § 600.8 . The
Report consists of two volumes: Volume One addresses the Election Case, and Volume Two
addresses the Classified Documents Case. I understand that you are considering whether all or
part of my Report can be made public, consistent with applicable legal restrictions. See 28 C.F.R.
§ 600.9(c). Both volumes minimize the identification of witnesses and co-conspirators, consistent
with accepted Department practice, and we have provided a redacted version of Volume Two that
identifies certain information that remains under seal or is restricted from public disclosure by
Federal Rule of Criminal Procedure 6(e). Because Volume Two discusses the conduct of Mr.
Trump's alleged co-conspirators in the Classified Documents Case, Waltine Nauta and Carlos De
Oliveira, consistent with Department policy, Volume Two should not be publicly released while
their case remains pending.

        Though not required, prior to finalizing the Report, my Office provided an opportunity for
counsel for Mr. Trump to review both volumes, and for counsel for his former co-defendants in
the Classified Documents Case, Mr. Nauta and Mr. De Oliveira, to review Volume Two. After
their review, counsel for Mr. Trump wrote a letter to you, and we have provided a written response
to you, both of which you will find as an Addendum to the Report.

        With this Report, my service and the service of my staff is complete. I thank you for the
trust you placed in me and my team and for affording us the independence necessary to conduct
our work. Public service is a privilege, and we deeply appreciate the opportunity to serve our
Nation in seeking to uphold the rule of law.

                                                      Since¼
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Case 1:25-cv-00716-BAH    Document 39-4       Filed 04/02/25   Page 406 of 734




              FINAL REPORT ON THE SPECIAL COUNSEL'S
                INVESTIGATIONS AND PROSECUTIONS




                 VOLUME ONE: THE ELECTION CASE

   REPORT ON EFFORTS TO INTERFERE WITH THE LAWFUL TRANSFER
     OF POWER FOLLOWING THE 2020 PRESIDENTIAL ELECTION OR
       THE CERTIFICATION OF THE ELECTORAL COLLEGE VOTE
                    HELD ON JANUARY 6, 2021




                        Special Counsel Jack Smith
                 Submitted Pursuant to 28 C.F.R. § 600.8(c)




                             Washington, D.C.
                             January 7, 2025
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 407 of 734
       Case 1:25-cv-00716-BAH                      Document 39-4                  Filed 04/02/25               Page 408 of 734



                                              TABLE OF CONTENTS

 VOLUME ONE: THE ELECTION CASE ..................................................................................... 1

 I.      THE RESULTS OF THE INVESTIGATION ..................................................................... 2

         A.         Mr. Trump's Pressure on State Officials ................................................................. 8

         B.         Mr. Trump's Fraudulent Elector Plan .................................................................... 11

         C.         Mr. Trump's Misuse of Official Power Through the Justice Department.. ........... 16

         D.         Mr. Trump's Pressure on the Vice President.. ....................................................... 20

         E.         Mr. Trump's Supporters Attack the United States Capitol.. .................................. 23

II.      THE LAW ......................................................................................................................... 33

         A.         Conspiracy to Defraud the United States (18 U.S.C. § 371) ................................ 34

         B.         Obstruction and Conspiracy to Obstruct (18 U.S.C. § 1512(k) and (c)(2)) .......... 45

         C.         Conspiracy Against Rights (18 U.S.C. § 241) ...................................................... 49

         D.        Defenses ................................................................................................................ 53

         E.        Other Charges ....................................................................................................... 61

         F.        Co-Conspirator Liability ....................................................................................... 67

III.    THE PRINCIPLES OF FEDERAL PROSECUTION ...................................................... 68

        A.         Prosecuting Mr. Trump Served Multiple Substantial Federal Interests ................ 69

                   1.         The substantial federal interest in protecting the integrity of the
                              electoral process and the peaceful transfer of power was served by
                              Mr. Trump's prosecution ........................................................................... 69

                   2.         The substantial federal interest in counting every citizen's vote was
                              served by Mr. Trump's prosecution .......................................................... 74

                   3.         The substantial federal interest in protecting election officials and
                              other government officials from violence was served by Mr.
                              Trump's prosecution ................................................................................. 75

                  4.         The substantial federal interest in the evenhanded administration of
                             the law was served by Mr. Trump's prosecution ....................................... 83
     Case 1:25-cv-00716-BAH                     Document 39-4                  Filed 04/02/25                Page 409 of 734



        B.         Mr. Trump Was Not Subject to Effective Prosecution in Another
                   Jurisdiction ............................................................................................................ 87

        C.         There Was No Adequate Non-Criminal Alternative to Prosecution ..................... 88

        D.         Mr. Trump's Conduct Had No Historical Analogue ............................................. 90

IV.     INVESTIGATIVE PROCEDURE AND POLICY ........................................................... 92

        A.         The Investigative Process ..................................................................................... 92

        B.         Investigative and Prosecutive Procedures in an Election Year ............................. 95

                   1.         The Department's Election Year Sensitivities Policy ............................... 96

                   2.         Pre-Indictment Procedures ........................................................................ 99

                   3.         Post-Indictment Procedures .................................................................... 100

V.      INVESTIGATIVE CHALLENGES AND LITIGATION ISSUES ................................ 107

        A.         Pre-Indictment Litigation with Third Parties ...................................................... 108

                   1.         The Twitter/X Search Warrant ................................................................ 108

                   2.         Legislative Privilege Under the Speech or Debate Clause ...................... 110

        B.         Threats and Harassment ofWitnesses .................................................................. 112

         C.        Mr. Trump's Claims of Executive Privilege ........................................................ 116

        D.         Presidential Immunity ......................................................................................... 122

                   1.         Prosecutorial Decisions During the Charging Stage ............................... 123

                   2.         Immunity Litigation ................................................................................ 126

                   3.         Unresolved Issues Regarding Presidential Immunity ............................. 132

VI.      CONCLUSION ............................................................................................................... 136

APPENDIX: KEY FILINGS IN SIGNIFICANT LITIGATION ................................................ 138




                                                                     11
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25     Page 410 of 734



                            VOLUME ONE: THE ELECTION CASE

        On November 18, 2022, the Attorney General appointed the Special Counsel to oversee

 an ongoing investigation into "whether any person or entity violated the law in connection with

 efforts to interfere with the lawful transfer of power following the 2020 presidential election or

 the certification of the Electoral College vote held on or about January 6, 2021." See Office of

 the Attorney General, Order No. 5559-2022, Appointment of John L. Smith as Special Counsel

 (Nov. 18, 2022). As a result of that investigation, on August 1, 2023, a federal grand jury in the

District of Columbia charged Donald J. Trump with four felony offenses arising from his efforts

to unlawfully retain power by using fraud and deceit to overturn the 2020 election results. After

the Supreme Court held last summer that Mr. Trump was immune from prosecution for certain

misuse of official power alleged in the indictment, a second grand jury found probable cause to

return a superseding indictment charging the same offenses based on his non-immunized

conduct. Mr. Trump was thereafter reelected as President of the United States, and as a result, on

November 25, 2024, the Special Counsel moved to dismiss the case against Mr. Trump because

of the Department of Justice's longstanding position that the Constitution forbids the federal

indictment and prosecution of a sitting President.

       This Volume focuses on the Election Case against Mr. Trump and, consistent with the

applicable regulations, provides an explanation of the prosecution decisions reached by the

Special Counsel. See 28 C.F.R. § 600.8(c). The first section of this Volume sets forth a summary

of key facts gleaned from the investigation, a vast majority of which are already a matter of

public record through the litigation that occurred before the district court. The second section

discusses the statutes that Mr. Trump was charged with violating, applying the facts developed

during the investigation to the law as the Special Counsel's Office (the Office) understood it.

This section also addresses other charges that the Office considered but did not pursue, and the
     Case 1:25-cv-00716-BAH              Document 39-4           Filed 04/02/25          Page 411 of 734



defenses that the Office expected Mr. Trump to raise at trial. The third section explains why the

Special Counsel's decision to prosecute Mr. Trump was fully consistent with and indeed was

compelled by the Principles of Federal Prosecution. The fourth section describes the Office's

investigative procedures and policies. Finally, the fifth section of this Volume discusses a series

of investigative and prosecutive issues that the Office confronted in the Election Case.

I.      THE RESULTS OF THE INVESTIGATION 1

        In 2020, then-President Donald J. Trump ran for reelection against Joseph R. Biden, Jr.

Mr. Trump lost. 2 As alleged in the original and superseding indictments, substantial evidence

demonstrates that Mr. Trump then engaged in an unprecedented criminal effort to overturn the

legitimate results of the election in order to retain power. 3 Although he did so primarily in his

private capacity as a candidate, and with the assistance of multiple private co-conspirators, Mr.

Trump also attempted to use the power and authority of the United States Government in

furtherance of his scheme.

        As set forth in the original and superseding indictments, when it became clear that Mr.

Trump had lost the election and that lawful means of challenging the election results had failed,

he reso1ied to a series of criminal efforts to retain power. This included attempts to induce state

1 This section of the Report summarizes the evidence uncovered by the Office's investigation, and therefore includes

conduct for which the Supreme Court later held Mr. Trump to be immune from prosecution, see Trump v. United
States, 603 U.S. 593, 597 (2024). That conduct is not included in the superseding indictment that the Office
obtained after the Supreme Court's decision, see ECF No. 226, nor is that conduct included in the discussion below
regarding why the evidence warranted criminal charges under the Principles of Federal Prosecution. Unless
otherwise noted, all ECF citations in this Volume of the Report are to the docket in United States v. Trump, No.
23-cr-257 (D.D.C.).
2 SC0-00701211 at 7 (Federal Election Commission, Election Results for 2020 Federal Elections).

3 An indictment is an allegation, not a verdict; a person accused of a crime is presumed innocent until proven guilty

beyond a reasonable doubt. The Office was prepared to present the evidence of Mr. Trump's alleged crimes in a
public adversarial trial and to accept any verdicts rendered by a jury of his peers. As explained below, the Office
commenced prosecution of Mr. Trump in the Election Case under both the original and superseding indictments
because it concluded that the admissible evidence would be sufficient to obtain and sustain a conviction. See Justice
Manual § 9-27 .220 and infra at Section III.




                                                         2
     Case 1:25-cv-00716-BAH                  Document 39-4         Filed 04/02/25   Page 412 of 734



 officials to ignore true vote counts; to manufacture fraudulent slates of presidential electors in

 seven states that he had lost; to force Justice Department officials and his own Vice President,

 Michael R. Pence, to act in contravention of their oaths and to instead advance Mr. Trump's

 personal interests; and, on January 6, 2021, to direct an angry mob to the United States Capitol to

 obstruct the congressional certification of the presidential election and then leverage rioters'

 violence to further delay it. 4 In service of these efforts, Mr. Trump worked with other people to

 achieve a common plan: to overturn the election results and perpetuate himself in office. These

 individuals included Co-Conspirator 1, a private attorney who was willing to spread knowingly

 false claims and pursue strategies that Mr. Trump's Campaign attorneys would not;

 Co-Conspirator 2, a private attorney who devised and attempted to implement a strategy to

leverage the Vice President's ministerial role in the certification proceeding to obstruct the

certification; Co-Conspirator 3, a private attorney whose unfounded claims of election fraud Mr.

Trump privately acknowledged were "crazy," but which he embraced and publicly amplified

nonetheless; Co-Conspirator 4, a Justice Department official who worked on civil matters and

who, with Mr. Trump, attempted to use the Justice Department to open sham election crime

investigations and influence state legislatures with knowingly false claims of election fraud;

Co-Conspirator 5, a private attorney who assisted in devising and attempting to implement a plan

to submit fraudulent slates of presidential electors to obstruct the certification proceeding; and

Co-Conspirator 6, a private political consultant who helped implement a plan to submit

fraudulent slates of presidential electors to obstruct the certification proceeding. 5           The

throughline of all of Mr. Trump's criminal efforts was deceit-knowingly false claims of election


4 ECF No.   l at 110; ECF No. 226 at 1 11; see ECF No. 252 at 3.
5 ECF No.   l at 1 8; ECF No. 226 at 19; see ECF No. 252 at 4.




                                                         3
    Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25         Page 413 of 734



fraud-and the evidence shows that Mr. Trump used these lies as a weapon to defeat a federal

government function foundational to the United States' democratic process. 6

        Mr. Trump's false claims included dozens of specific claims regarding certain states, such

as that large numbers of dead, non-resident, non-citizen, or otherwise ineligible voters had cast

ballots, or that voting machines had changed votes for Mr. Trump to votes against him. 7 These

claims were demonstrably and, in many cases, obviously false. 8 The Office investigated whether

Mr. Trump believed the claims he made. Evidence from a variety of sources established that Mr.

Trump knew that there was no outcome-determinative fraud in the 2020 election, that many of

the specific claims he made were untrue, and that he had lost the election. He knew this because

some of the highest-ranking officials in his own Administration, including the Vice President,

told him directly that there was no evidence to support his claims. 9                     Mr. Trump's private



6See ECF No. I; ECF No. 226. Mr. Trump's conduct with Co-Conspirator 4 was charged in the original indictment,
ECF No. I, but not in the superseding indictment, ECF No. 226, because the Supreme Court held in the interim that
Mr. Trump's conduct regarding the Department of Justice was immunized. Trump, 603 U.S. at 597.
7See, e.g., ECF No. 252 at 10; SCO-02244118 at 11-12, 14-19 (Remarks by Mr. Trump at Save America Rally
01/06/2021); SCO-04949418 at 04: 15:22-04:31:46 (Video of Save America Rally O1/06/2021); SCO-04976462 at
18:34-19: 12 (Video of Speech at White House 12/02/2020); SCO-00455939 (Donald J. Trump Tweet 11/19/2020);
SCO-04976283 at 01:00:43-01:14:24 (Video of Dalton, GA speech 01/04/2021); SCO-04976275 at 22:00-22:40
(Video of Valdosta, GA speech 12/05/2020); SCO-00455041 (Donald J. Trump Tweet 01/02/2021); SCO-00456153
(Donald J. Trump Tweet 11/12/2020); SCO-00456144 (Donald J. Trump Tweet 11/13/2020); SCO-00456102
(Donald J. Trump Tweet I 1/14/2020); SCO-00456066 (Donald J. Trump Tweet 11/15/2020); SCO-00455969
(Donald J. Trump Tweet 11/18/2020); SCO-04976266 at 20: 10-37:50 (Video of Thanksgiving Call to Troops
11/26/2020).
8 Compare SCO-02244118 at 11, 19 (Remarks by Mr. Trump at Save America Rally O1/06/202 I) (Mr. Trump
asserting on January 6 that there were 205,000 more votes than voters in Pennsylvania) with SCO-00709557 at 156
(SJC Tr.) (stating that Mr. Trump was told on January 3 that the allegation that there were more votes than voters in
Pennsylvania was untrue); see also SCO-04976459 at 02:06:23-02:07:00 (Video of Arizona State Hearing
11/30/2020) (Co-Conspirator 1 stating that there could have been "five million illegal aliens in Arizona," and "a few
hundred thousand" of those who fraudulently voted, even though the state had a total population of approximately
7.4 million).
9See, e.g., ECF No. I at ,r 11; see ECF No. 252 at 10-14 & nn.29-53; SCO-00014655 at 37-44; SCO-00689680
(Michael Balsamo, Disputing Trump, Barr says no widespread election fraud, ASSOCIATED PRESS, Dec. 1, 2020);
SCO-00764172 at 21-25 (HSC Tr.); SCO-11506911 at 96-97, 116, 125 (Int. Tr.); SCO-04957448 at 28-31 (SJC Tr.);
SCO-00775937 at 57-64 (HSC Tr.); SCO-04952679 (Tweet 11/17/2020); SCO-12929351 (Tweet 11/12/2020); SCO-




                                                         4
       Case 1:25-cv-00716-BAH                 Document 39-4           Filed 04/02/25         Page 414 of 734



 advisors, both within and outside of his Campaign, told him the same. 10 On November 13, his

 own Campaign conceded its litigation in Arizona, a state pivotal to his reelection prospects. 11

 State officials and legislators whom Mr. Trump pressured to change vote tallies or stop

 certifications of results rebuffed him and informed him that his fraud claims were wrong, both

 privately and through public statements. 12               Mr. Trump also monitored legal developments


 03036930 (Joint Statement on Election Security 11/12/2020); SCO-00003294 at 37, 39-43; SCO-00015002 at 22-24;
 SCO-12920242 at l-7 (Int. Rep.); SCO-00006256 at 46-47, 59, 74-76.
 10 See, e.g., ECF No. 252 at 9-14 &   nn.29-53, 17-18 & n.69, 21 & n.95, 25; SCO-12920242 at 1-7 (Int. Rep.).
 11 See ECF No. 252 at 9 & n.24; Donald J.  Trump for President, Inc. v. Hobbs, No. CV 2020-014248, Transcript of
 Proceedings (Maricopa County, Az. Super. Ct. Nov. 13, 2020); Hobbs, No. CV 2020-014248, Docket Code 042
 (Maricopa County, Az. Super. Ct. Nov. 13, 2020).
 12 See ECF No. 252 at 14 & nn.52-53; see also, e.g., SCO-00829361 at 17 (HSC Tr.) (state legislator told Mr. Trump
 that "he primarily lost Michigan because of two counties that are routinely Republican counties ... and more
 specifically he underperformed with educated females"); SCO-11509450 at 25 (Int. Tr.) (state legislator told Mr.
 Trump that state officials had not seen evidence of widespread fraud); SCO-04953053 (Joint Statement l l/20/2020)
 (state legislators' statement that they are unaware of"any information that would change the outcome of the election
 in Michigan" and noting legislative review of the state's elections process); SCO-04952823 (Statement 12/04/2020)
 (state legislator citing U.S. Attorney General's statement that he had not seen outcome-determinative election fraud);
 SCO-06730226 (Letter to Maricopa County Voters l l/ l 7/2020) (noting "no evidence of fraud or misconduct or
 malfunction" in the over two million ballots cast); SCO-006 l 4161 at 1335 (Tweets 12/01/2020) ( describing Arizona
 election security measures, including poll ID and hand-conducted signature review); SCO-0495728 l (Georgia
 Secretary of State News Release 10/23/2020) (refuting that electronic ballot marking is particularly vulnerable to
 cyberattack); SCO-04957309 (Georgia Secretary of State News Release 11/05/2020) (noting ballot count progress
 and listing voting security measures); SCO-12876768 (Video of Georgia Secretary of State Press Conference
 11/06/2020) (giving numbers of rejected ballots from unregistered and non-citizen voters, and partially counted
 ballots from out-of-precinct voters); SCO-12876769 (Video of Georgia Secretary of State Press Conference
 11/09/2020) (refuting allegations about ballot counting at State Farm Arena, software malfunctions, more votes than
voters, and ballot harvesting, among others); SCO-1287677 l (Video of Georgia Secretary of State Press Conference
 11/12/2020) (addressing decision to conduct risk-limiting audit, explaining under-voting in presidential race,
refuting allegations that computers and software flipped votes); SCO-04957154 (Georgia Secretary of State News
Release 11/18/2020) ( explaining that 2020 election absentee ballot rejection rate was equivalent to that in the 2018
general election); SCO-04957157 (Georgia Secretary of State News Release 11/19/2020) (risk-limiting audit results
confirmed machine ballot count results); SCO-04957179 (Georgia Secretary of State News Release 12/07/2020)
(hand recount and formal recount requested by Mr. Trump's campaign confirmed original election results;
Co-Conspirator 3's lawsuit dismissed); SCO-04976277 (Video of Georgia Secretary of State Press Conference
l 2/07/2020) (refuting allegations about vote-switching algorithms and "secret suitcases" of ballots at State Farm
Arena and noting that in-person voting always requires identification); SCO-12896570 (Video of Georgia Secretary
of State Press Conference 12/16/2020) (stating that hand vote count confirmed machine count, signature matching
was performed, "there were no votes flipped," and full video of vote counting at State Farm Arena confirmed no
wrongdoing); SCO-04957276 (Georgia Secretary of State News Release 12/29/2020) (recounts and signature audit
confirmed original Georgia election results, and signature matching in Cobb County found no fraudulent ballots);
SCO-0497628 l (Video of Interview 0 1/02/2021) (election audit and full recount confirmed that Mr. Trump lost in




                                                          5
  Case 1:25-cv-00716-BAH                 Document 39-4           Filed 04/02/25         Page 415 of 734



regarding the election and was on notice that state and federal courts rejected every post-election

lawsuit that Mr. Trump and his allies filed claiming outcome-determinative election fraud. 13 Mr.

Trump and co-conspirators could not have believed the specific fraud claims that they were


Georgia election); SCO-12998394 (Tr. of Georgia Secretary of State Call O1/02/2021); SCO-04976282 (Video of
Georgia Secretary of State Press Conference O1/04/2021) (among other issues, refuting specific allegations about:
Dominion voting machines; State Farm Arena ballot counting; convicted felons voting-74 at most, not 2,506;
underage voters-zero, not 66,248; unregistered voters-zero, not 2,423; voting past the registration deadline-
zero, not 4,926); SCO-04955691 (Michigan Secretary of State web page 11/06/2020) (voting machine software did
not malfunction, no ballots were backdated); SCO-12876350 (Michigan Secretary of State web page 12/08/2020)
(noting that Antrim County reporting error was accidental human error and citing U.S. Attorney General, FBI, and
CISA view that 2020 election was "the most secure election in our nation's history and, despite unprecedented
scrutiny, there has been no evidence of widespread fraud identified whatsoever"); SCO-02243762 (Michigan
Attorney General and Secretary of State News Release 12/14/2020) (affirming that the "general election in Michigan
and across the country was the most secure in the nation's history"); SCO-04957382 (Michigan Secretary of State
web page 12/17/2020) (hand audit confirmed Antrim County election results and showed Dominion machines
accurately calculated results); SCO-12839140 (Michigan Secretary of State web page 12/18/2020) (stating that final
numbers from "Antrim County hand-tallied audit yesterday continue to affirm the accuracy of the Nov. 3 general
election certified results"); SCO-02963078 (Video of Statement by City Clerk in Rochester Hills, Michigan) (stating
that "[t]here were no missing ballots" and "[t]he accusation that 2,000 ballots were found is categorically false");
SCO-04957413 (New Mexico Secretary of State News Release 12/14/2020) (announcing that New Mexico's
electoral votes went to Mr. Biden and that the 2020 election was "the most secure in American history"); SCO-
12876770 (Video of Interview of Philadelphia City Commissioner with CNN 11/11/2020) (stating that there were no
dead voters and no provisional ballots cast by ineligible voters and confirming that "[w]e just had the most
transparent and secure election in the history of Philadelphia"); SCO-12929345 (Tweet 11/27/2020) (Philadelphia
City Commissioner responding to Mr. Trump's 11/27/2020 Tweet and confinning, "Not only is there no evidence of
'massive' voter fraud in Philadelphia, but there haven't been *any* documented instances in the many lawsuits filed
in Pennsylvania"); SCO-04956023 (Pennsylvania Department of State Public Response Statement 12/29/2020)
(refuting misinformation in letter from Republican lawmakers that state data was contradicted by county-level data
and explaining the state's risk-limiting audit to ensure accurate vote counts); SCO-12837952 (Wisconsin Elections
Commission web page 11/05/2020) (impossible to have more votes than voters, and no absentee ballots were found
in the middle of the night); SCO-12848641 (Wisconsin Elections Commission web page 11/10/2020) (no credible
evidence to undermine unofficial election results or support allegations of widespread election issues, only
registered voters can request absentee ballots, and ballot signatures can never be added by poll workers); SCO-
 12838580 (Wisconsin Elections Commission web page 12/16/2020) (Dominion machines did not flip votes, 200,000
people did not illegally vote without identification, and absentee ballots were not issued without a ballot
application); SCO-12845421 (Nevada Secretary of State Facts vs. Myths Release 12/18/2020) ("we have yet to see
any evidence of wide-spread fraud"; "we have not been presented with evidence of non-citizens voting in the 2020
election").
13 See, e.g., ECF No. 252 at 18, 36-37 & nn.181-183, 41 & nn.207-208, 44-45 & nn.227-230; SCO-00455873,

SCO- I 2987569 (Donald J. Trump Tweet I 1/21/2020) (about failed Pennsylvania lawsuit); SCO-00455356,
SCO-12858834 (Donald J. Trump Tweet 12/12/2020) (about failed Supreme Court lawsuit); SCO-00455197,
SCO-00455196, SCO-00455195, SCO-12987423, SCO-12987422, SCO-12987421 (Donald J. Trump Tweets
12/21/2020) (about failed Wisconsin lawsuit); SCO-00790949 at 170-171 (HSC Tr.) (Senior Advisor noting that, in
Mr. Trump's presence, he challenged Co-Conspirator 3 about losing lawsuits across the country); SCO-00014205 at
7-8,




                                                         6
         Case 1:25-cv-00716-BAH              Document 39-4           Filed 04/02/25      Page 416 of 734



     making because the numbers they touted-for instance, of dead voters in a particular state-

     frequently vacillated wildly from day to day or were objectively impossible, 14 including, for

     example, Co-Conspirator 3 's claims about voting machines that Mr. Trump privately

 acknowledged sounded "crazy" 15 before he publicly amplified them. 16 Finally, at times, Mr.

 Trump made comments implicitly acknowledging that he knew he had lost the election. For

 example, in a January 3, 2021 Oval Office meeting regarding a national security matter, Mr.

 Trump stated in part, "[I]t's too late for us. We're going to give that to the next guy," meaning

 President-elect Biden. 17

            Mr. Trump aimed his deceit at the United States' process of collecting, counting, and

 certifying votes, which flows from the Constitution and a federal law enacted in 1887 called the

 Electoral Count Act (ECA).             The Constitution provides that the United States President is

 selected through the votes of individuals called electors and that each state determines how to

appoint its electors. 18 Through state laws, all fifty states and the District of Columbia have

chosen to select electors based on the popular vote. 19 Therefore, after election day, pursuant to


14See, e.g., ECF No. 252 at 15 & nn.55-59 (Arizona); id. at 21 & n.96, 30 & n.142, 122-123 & n.592 (Georgia). For
Arizona, see, e.g., SCO-04976384 at 20:47 (Common Sense episode 89 11/25/2020) ("36,000"); SCO-04976459 at
02:06:23-02:07:00 (Video of Arizona State Hearing 11/30/2020) ("a few hundred thousand"); SCO-06628641 at
18:52-19:42 (War Room episode 608 12/24/2020) ("about 250,000"); SCO-06628646 at 35:19-35:45 (War Room
episode 625 01/02/2021) ("32,000"); SCO-02244118 at 17 (Remarks by Mr. Trump at Save America Rally
01/06/2021) ("36,000"). Additional examples are discussed below. See, e.g., infra at nn.155-158 (Georgia).
15   See ECF No. 252 at 44 & n.224; SCO-115234 77 at 94-103 (Int. Tr.).
16 See ECF No. 252 at 44-45 & nn.227-229; SCO-00455825 (Donald J. Trump Retweet 11/24/2020);
SCO-12858284 (Tweet 11/24/2020) (showing Donald J. Trump Retweet); SCO-00455769, SCO-12858342 (Donald
J. Trump Retweet 11/26/2020); SCO-04949395 at 3 (Remarks by Mr. Trump on the Presidential Election
12/02/2020); SCO-02244118 at 18-19 (Remarks by Mr. Trump at Save America Rally 01/06/2021).
17 See ECF No. 1 at   ,r 83.
18 U.S. CONST. art. II, § 1.


19  ECF No. 1 at if 9; ECF No. 226 at ,r 10; see ECF No. 252 at 4; About the Electors, NATIONAL ARCHIVES,
https://www.archives.gov/electoral-college/electors; see also Chiafalo v. Washington, 591 U.S. 578, 581, 584-85 &
n. l (2020).




                                                          7
     Case 1:25-cv-00716-BAH                 Document 39-4         Filed 04/02/25         Page 417 of 734



the ECA, each state formally determines-or "ascertains"-its electors based on the popular

vote; the ascertained electors meet on a day determined by the ECA and cast their votes based on

their state's popular vote; and the ascertained electors mail their electoral votes, along with a

certification from the state executive that they are the state's legitimate electors, to the United

States Congress to be counted and certified in an official proceeding. 20 The Constitution and

ECA provide that on the sixth of January following election day, the Congress meets for that

certification proceeding, which is presided over by the Vice President as President of the Senate;

the legitimate electors' votes are opened and counted; and the winner is certified. 21 Until Mr.

Trump obstructed it, this democratic process had operated in a peaceful and orderly manner for

more than 130 years.

        A.       Mr. Trump's Pressure on State Officials

         One of Mr. Trump's efforts to change the results of the election involved targeting the

electoral process at the state level through politically aligned state officials.                      Mr. Trump

contacted state legislators and executives, pressured them with false claims of election fraud in

their states, and urged them to take action to ignore the vote counts and change the results. 22

Significantly, he made election claims only to state legislators and executives who shared his

political affiliation and were his political supporters, and only in states that he had lost. 23




20 Electoral Count Act, 3 U.S.C. §§ 5-11.

21 U.S. CONST. amend. XII; Electoral Count Act, 3 U.S.C. § 15.

22 See ECF No. 252 at I 6-35; see, e.g., SCO- I 2733339 at 3-6,I 3- I 5 (Int. Rep.); SCO-00767550 at I 0-18 (HSC Tr.);
SCO- I 29983 94 (Tr. of Georgia Secretary of State Call O1/02/2021); SCO-0082936 I at 8-1 I, 15-24 (HSC Tr.).
23 See ECF No. 252 at 16; SCO-12733339 at 3-5 (Int. Rep.); SCO-02296394 at 6 (Presidential Daily Diary
I 1/09/2020); SCO-0082936 I at 9-10 (HSC Tr.); SCO-00767550 at 9-12, 18 (HSC Tr.); SCO-02295943 at 3
(Presidential Daily Diary II/22/2020); SCO-02301680 at 3 (Presidential Daily Diary 12/08/2020); SCO-11509251
at 38-39, 43 (Int. Tr.); SCO- 12998394 (Tr. of Georgia Secretary of State Call O1/02/2021).




                                                          8
        Case 1:25-cv-00716-BAH             Document 39-4          Filed 04/02/25        Page 418 of 734



            For instance, Mr. Trump and Co-Conspirator 1 called the Speaker of the Arizona House

 of Representatives on November 22 and used false fraud claims to try to convince the Speaker to

 call the state legislature into session and replace Arizona's legitimate electors with Mr. Trump's

 illegitimate ones. 24 Co-Conspirator 1 tried to coerce the Arizona Speaker, including by telling

 him, "we're all kind of Republicans and we need to be working together." 25 The Arizona

 Speaker refused to do what he was asked and requested that Co-Conspirator 1 provide evidence

 to support his fraud claims. 26 Co-Conspirator 1 not only failed to ever provide such evidence,

 but he conceded to the Arizona Speaker at an in-person meeting a week later that "[w]e don't

have the evidence, but we have lots of theories." 27 Despite this lack of fraud evidence, Mr.

Trump and others continued to pressure the Arizona Speaker to overturn the election results. 28

           Mr. Trump similarly leaned on other state officials-always those of the same political

party. On January 2, 2021, just days before the election results were to be certified, he called

Georgia's Secretary of State and pressed him to "find 11,780 votes"-Mr. Biden's margin of

victory in the state. 29 When the Secretary of State refuted Mr. Trump's false fraud claims, Mr.

Trump issued a threat, stating that because the Secretary of State knew "what they did and you're

24See ECF No. 252 at 19 & nn.77-79; SCO-02295943 at 3 (Presidential Daily Diary 11/22/2020); SCO-00767550 at
9-12, 18 (HSC Tr.).
25   See ECF No. 252 at 19 & n.80; SCO-00767550 at 15-16 (HSC Tr.).
26 See ECF No. 252 at 19 & n.81; SCO-00767550 at 10-12, 15-16 (HSC Tr.); SCO-00715584 (Arizona House
Speaker News Release 12/04/2020) ("I and my fellow legislators swore an oath to support the U.S. Constitution and
the constitution and laws of the state of Arizona. It would violate that oath, the basic principles of republican
government, and the rule of law if we attempted to nullify the people's vote based on unsupported theories of
fraud.").
27 See ECF No. 252 at 19 & nn.82, 84; SCO-00767550 at 12-13, 35-36 (HSC Tr.).

28 See ECF No. 252 at 20-21 & nn.88-91; SCO-00455536, SCO-12987478 (Donald J. Trump Retweet 12/06/2020);

SCO-00455538, SCO-12858634 (Donald J. Trump Tweet 12/06/2020); SCO-00767550 at 43-49 (HSC Tr.);
SCO-11540788 at 51-53 (Int. Tr.).
29 See ECF No. 252 at 29 & nn.134, 137; SCO-00825967 at 105-107, 123-124 (HSC Tr.); SCO-12998394 at 12 (Tr.

of Georgia Secretary of State Call 0 1/02/2021).




                                                       9
     Case 1:25-cv-00716-BAH               Document 39-4             Filed 04/02/25      Page 419 of 734



not reporting it ... that's a criminal offense. And you know, you can't let that happen. That's a

big risk to you .... " 30 Mr. Trump also pressed state legislators in Michigan by inviting them to

the White House on November 20, raising false claims of election fraud, and bringing

Co-Conspirator 1 into the meeting by phone. 31 Michigan's Senate Majority Leader told Mr.

Trump that he had lost the election not because of fraud, but because he had underperformed

with educated females-an assessment that displeased Mr. Trump. 32

           Mr. Trump engaged in these efforts even though trusted state and party officials had told

him from the outset that there was no evidence of fraud in the election. In Arizona, Mr. Trump

called the Governor on November 9-a week after election day, and after both Fox News and the

Associated Press had projected that Mr. Trump had lost the state. 33 Using a baseball metaphor,

the Governor told Mr. Trump that "it was the ninth inning, two outs and he was several runs

down." 34 During the call, Mr. Trump raised false claims of election fraud; the Governor asked

Mr. Trump to send evidence of the alleged fraud, and Mr. Trump suggested he would do so. 35

He never did. 36 In Pennsylvania, just two days after the election, the Chairman of the state's

Republican Party, who had represented Mr. Trump in previous election litigation, refuted Mr.




30   See ECF No. 252 at 30 & n.144; SCO-12998394 at 12 (Tr. of Georgia Secretary of State Call 01/02/2021).
31   See ECF No. 252 at 32 & nn.157-159; SCO-11532925 at 53-56 (Int. Tr.); SCO-00829361 at 15-24 (HSC Tr.).
32   See ECF No. 252 at 32-33 & nn.160-161; SCO-00829361 at 16-18 (HSC Tr.).
33See ECF No. 252 at 17 & n.63; SCO-12733339 at 3-5 (Int. Rep.); SCO-02296394 at 6 (Presidential Daily Diary
11/09/2020); see also Democrats flip Arizona as Eiden, Kelly score key election wins, Fox NEWS (Nov. 3, 2020),
https://www.foxnews.com/video/6206934979001; Jonathan J. Cooper and Anita Snow, Eiden wins Arizona, flips
longtime Republican stronghold, APNEWS.COM (Nov. 4, 2020), https://apnews.com/article/election-2020-joe-biden-
donald-trump-race-and-ethnicity-legislature-218ad4d596e87c6b 1a223fl 9f8 l 7776e.
34   See ECF No. 252 at 17 & n.66; SCO-12733339 at 14 (Int. Rep.).
35 See ECF No. 252 at 17 & nn.67-68; SCO-12733339 at 4 (Int. Rep.).

36   See ECF No. 252 at 17 & n.68; SCO-12733339 at 4 (Int. Rep.).
         Case 1:25-cv-00716-BAH            Document 39-4           Filed 04/02/25        Page 420 of 734



 Trump's claim that it was suspicious that his early lead was slipping away. 37 The Chairman

 explained that there were still roughly 1,750,000 mail-in ballots being counted, which were

 expected to weigh heavily in Mr. Biden's favor. 38 In the course of conversations like these, state

 officials-better positioned than Mr. Trump to know the facts in their states-repeatedly told Mr.

 Trump that his fraud claims were unfounded and that there was no evidence of substantial

 election fraud in their states. And apart from Georgia's Secretary of State, Mr. Trump never

 contacted other election officials to determine whether there was merit to any specific allegation

 of election fraud in their states-even though they would have been the best sources to confirm

 or refute such claims.

           B.     Mr. Trump's Fraudulent Elector Plan

          As December 14-the date the ECA required each state's electors to vote and send their

certificates of vote to Congress-approached, Mr. Trump and co-conspirators launched another

plan. Under this plan, they would organize the people who would have served as Mr. Trump's

electors, had he won the popular vote, in seven states that Mr. Trump had lost-Arizona,

Georgia, Michigan, Nevada, New Mexico, Pennsylvania, and Wisconsin-and cause them to

sign and send to Washington false certifications claiming to be the legitimate electors. 39

Ultimately, as explained below, Mr. Trump and co-conspirators used the fraudulent certificates to



37 SeeECF No. 252 at 37-38 & nn.187-190; SCO-00016926 at 10-11, 19-23; SCO-02300357 at 3-4 (Presidential
Daily Diary 11/06/2020).
38 See ECF No. 252 at 3 8 & n.190; SCO-00016926 at 21.


39 See ECF No. 252 at 48, 56 & n.301; SCO-02341381 (Fraudulent "Arizona's Electoral Votes for President and

Vice President"); SCO-02341386 (Fraudulent "Georgia's Electoral Votes for President and Vice President");
SCO-02341398 (Fraudulent "Michigan's Electoral Votes for President and Vice President"); SCO-02341415
(Fraudulent "Nevada's Electoral Votes for President and Vice President"); SCO-02341409 (Fraudulent "New
Mexico's Electoral Votes for President and Vice President"); SCO-02341435 (Fraudulent "Pennsylvania's Electoral
Votes for President and Vice President"); SCO-02341449 (Fraudulent "Wisconsin's Electoral Votes for President and
Vice President").




                                                       11
     Case 1:25-cv-00716-BAH           Document 39-4          Filed 04/02/25       Page 421 of 734



try to obstruct the congressional certification proceeding. The fraudulent elector plan's arc is

reflected in a series of memoranda drafted in late November and early December by

Co-Conspirator 5, who initially portrayed it as a contingency to preserve the possibility that Mr.

Trump's electors' votes would be counted on January 6 if he prevailed in ongoing election

litigation. 40 But as described below, the plan quickly transformed into a corrupt strategy to

obstruct the certification proceeding and overturn the valid election results. 41

          Mr. Trump set the fraudulent elector plan into motion in early December, ensured that it

was carried out by co-conspirators and Campaign agents in the targeted states, and monitored its

progress. On December 6, for instance, Mr. Trump and Co-Conspirator 2 called the Chairwoman

of the Republican National Committee and told her that it was important for the RNC to help

organize Mr. Trump's elector nominees in the targeted states. 42                       During the call,

Co-Conspirator 2 told a lie that the co-conspirators would use to induce the cooperation of many

of the fraudulent electors: that Mr. Trump's electors' votes would be used only if ongoing

litigation in their state proved successful for Mr. Trump. 43          From that point on, Mr. Trump

communicated with Co-Conspirators 1 and 2 about the plan, and they in tum communicated with

Co-Conspirators 5 and 6. 44 At Co-Conspirator 1's direction, Co-Conspirator 5 generated and



40See ECF No. 252 at 48-49 & nn.250-253; SCO-00310619 (Co-Conspirator 5 memo 11/18/2020); SCO-00310626
(Co-Conspirator 5 memo 12/06/2020); SCO-00039311 (Co-Conspirator 5 memo 12/09/2020).
41   See ECF No. 252 at 48-49 & nn.250-253; SCO-00310626 (Co-Conspirator 5 memo 12/06/2020); SCO-00039311
(Co-Conspirator 5 memo 12/09/2020); SCO-00039408 (Email from Co-Conspirator 5 12/08/2020).
42 See ECF No. 252 at 50 & nn.258-260; SCO-00009955 at 8-1 0; SCO-00806514 at 7-10 (HSC Tr.).

43 See ECF No. 252 at 50 & nn.258-260; SCO-00009955 at 10; SCO-00806514 at 9-10 (HSC Tr.).

44 See ECF No. 252 at 50-51 & nn.266-267, 64 & nn.344-345, 65 & n.353; SCO-00245354 (Email among Campaign

staff 12/14/2020); SCO-11572270 (Email from Co-Conspirator 6 12/09/2020); SCO-04858082 (Text messages
between Campaign staff and Senior Advisor 12/13/2020); SCO-03661463 (Email from Co-Conspirator 5
12/11/2020); SCO-00039102 (Email from Co-Conspirator 6 to Co-Conspirator 5 12/10/2020); SCO-00039461
(Email from Co-Conspirator 5 to Co-Conspirator 6 and others 12/11/2020); SCO-00309939 (Email from




                                                     12
          Case 1:25-cv-00716-BAH          Document 39-4          Filed 04/02/25        Page 422 of 734



 sent directions to the Trump electors in each targeted state on how best to mimic the manner in

 which the state required valid electors to gather and vote, 45 and Campaign staff and agents

 helped carry out Co-Conspirator 5 's plans. 46

            For the most part, the co-conspirators deceived Mr. Trump's elector nominees in the

 targeted states by falsely claiming that their electoral votes would be used only if ongoing

 litigation were resolved in Mr. Trump's favor. 47              Indeed, the co-conspirators deliberately




 Co-Conspirator 5 to Co-Conspirator 1 12/13/2020); SCO-02296764 (Presidential Daily Diary 12/23/2020);
 SCO-02296763 at 7 (Presidential Daily Diary, Flight Manifest 12/23/2020); SCO-11618747 at 115, 156-158, 166-
 169 (Text messages including Co-Conspirator 6); SCO-0230 l 0 15 at 4 (Presidential Daily Diary 0 1/04/2021).
45 See ECF No. 252 at 51-52 & n.274; SCO-000393 I l (Co-Conspirator 5 memo 12/09/2020); SCO-03660671

(Email from Co-Conspirator 6 to Co-Conspirator 5 12/11/2020); SCO-03661463 (Email from Co-Conspirator 5
12/11/2020); SCO-00039412 (Email from Co-Conspirator 5 to others, including Co-Conspirator l and
Co-Conspirator 6 12/10/2020); SCO-00310094 (Email from Co-Conspirator 5 to Co-Conspirator l 12/10/2020);
SCO-00039381 (Email from Co-Conspirator 5 12/10/2020); SCO-03660648 (Email from Co-Conspirator 5
12/10/2020); SCO-03660731 (Email from Co-Conspirator 5 12/10/2020); SCO-00039442 (Email from
Co-Conspirator 5 12/10/2020); SCO-05396682 (Text message from Co-Conspirator 6 12/13/2020);
SCO-05389962-SCO-05389971 (Text messages between Campaign staffer and Co-Conspirator 5 12/13/2020).
46 See  ECF No. 252 at 51 & n.268; SCO-00310140 (Email from Co-Conspirator 6 12/09/2020); SCO-03660557
(Email from Co-Conspirator 6 to others, including Co-Conspirator l and Co-Conspirator 5 12/10/2020);
SCO-00039412 (Email from Co-Conspirator 5 to others, including Co-Conspirator 1 and Co-Conspirator 6
 12/10/2020); SCO-0539013l-SCO-05390136 (Text messages between Co-Conspirator 6, Co-Conspirator 5, and
Campaign staffer 12/11/2020); SCO-00430180 (Text messages between Co-Conspirator 6 and Campaign staffer
 12/11/2020); SCO-00309359 (Email to Co-Conspirator 1 and Co-Conspirator 6 12/14/2020); SCO-00405057 (Email
among Campaign staff 12/15/2020); SCO-06452193 (Email among Campaign staff 12/12/2020); SCO-00312444
(Text messages among Co-Conspirator 1, Co-Conspirator 6, and others 12/12/2020); SCO-12185268 (Email from
Co-Conspirator 6 to Co-Conspirator l and others 12/13/2020); SCO-03656456 (Email from Co-Conspirator 5 to
Campaign staffer 01/05/2021); SCO-00039215 (Email to Co-Conspirator 5 01/05/2021); SCO-04022107 (Email to
Co-Conspirator 5 01/05/2021); SCO-04022176 (Text messages from Co-Conspirator 5 01/05/2021); SCO-12804411
(Text messages from Co-Conspirator 5 0 l /06/2021 ); SCO-12804414 (Text messages between Co-Conspirator 5 and
Campaign staffer 0 1/05/2021); SCO-03666178 (Email from Co-Conspirator 5 01/05/2021); SCO-00038522,
SCO-00038523, SCO-00038527 (Email with attachments 01/07/2021).
47 See,e.g., ECF No. 252 at 53 & n.282; see, e.g., SCO-12949797 at 82-83 (Int. Tr.); SCO-11547433 at 4, 6 (Int.
Rep.); SCO-00009540 at 15-16; SCO-00017495 at 42-45; SCO-11551879 at 51-55 (Int. Tr.); SCO-00017100 at 53-
55; SCO-11548772 at 75-85 (Int. Tr.); SCO-11568208 at 107-109; SCO-11514688 at 6-7 (Int. Tr.); SCO-12832045
at 75-78 (Int. Tr.); SCO-12808771 at 24-30, 40-41 (Int. Tr.); SCO-11523905 at 153-154 (Int. Tr.); SCO-12741405
(Email from Co-Conspirator 5 12/14/2020); see also SCO-00310647 (Email to Co-Conspirator 1, Co-Conspirator 5,
Co-Conspirator 6, and others 12/11/2020).




                                                      13
     Case 1:25-cv-00716-BAH              Document 39-4            Filed 04/02/25          Page 423 of 734



withheld from the elector nommees information showing otherwise. 48                         This deception was

crucial to the conspiracy, as many who participated as fraudulent electors would not have done

so had they known the true extent of the co-conspirators' plans. 49 Not all of Mr. Trump's elector

nominees were persuaded, forcing the co-conspirators to recruit substitutes in some of the

                   °
targeted states. 5 For example, one Trump elector nominee in Pennsylvania recognized the plan

as "illegal" and an attempt "to overthrow the Government," and he declined to participate. 51

Conversely, a select few of Mr. Trump's agents and elector nominees had insight into the


48See ECF No. 252 at 53 & n.282; SCO-03660393 (Email from Co-Conspirator 5 to Campaign staff 12/10/2020);
SCO-03660734 (Co-Conspirator 5 streamlined memo 12/10/2020); SCO-11509937 at 257-260 (Int. Tr.).
49 See, e.g., SCO-12949797 at 121 (Int. Tr.) (Trump Elector: "Nobody-nobody suggested, hey, you know what,
let's just get this signed because we're gonna put pressure on ... Pence on the 6th. Cause if I had known that was
the plan, I wouldn't have signed a contingent on it."); SCO-00017495 at 57-58; SCO-11551879 at 89-90 (Int. Tr.)
("Q: [W]ould you have agreed to this plan if you knew that the forms you were signing might be used to delay or
prevent the certification of the election on January 6, [2021]? Trump Elector: Nobody told me, and I don't
remember anything, so no. And I would not agree for-if somebody else use this ... for some other reasons. Q:
And ... did anyone ever inform you that the documents you were signing on December 14, 2020 might be used as a
reason not to count Georgia's electoral votes during the certification of the election on January 6, 2021? A: No,
nobody told me. Q: Would you have agreed to that? Trump Elector: No."); SCO-00017 l 00 at 54-55;
SCO-11548772 at 79 (Int. Tr.) (Trump Elector: "[M]y expectation was that the electoral votes that were cast were,
were in the event that President Trump won New Mexico . . . and not to be used for any other purpose.");
SCO-11568208 at 108; SCO-12832045 at 75 (Int. Tr.) ("Q: [W]ould you have wanted to know, before you cast that
vote, if somebody else intended to use your vote to delay the certification, regardless of the outcome of the
certification? Trump Elector: I never thought about that. Q: Is that something that would've mattered to you when
you were deciding whether or not to cast the vote if, if they were gonna use it that way? Trump Elector: Yes, it
would've mattered. . . . Because that's unethical. Q: Okay. And would it have mattered to you if somebody was
going to try to convince Vice President Pence that he could just pick between these things, regardless of litigation?
Would you have wanted to know that before you cast your vote? Trump Elector: ... I hadn't thought of something
that high up, quite frankly. But my vote was not cast to be used for anything that was unethical, illegal, immoral, or
not justified."); SCO-12808771 at 29, 40 (Int. Tr.) (Q: "[The certificates] were only to be used in the case that ...
something actually changed the outcome of the election in New Mexico? Trump Elector: That's correct. Q: And
that was important to you? Trump Elector: Yes. . . . Q: And were you surprised by [how the certificates were used
on January 6th]? Trump Elector: Extremely surprised.").
50 See, e.g., SCO-00016926 at 61-69; SCO-11531008 at 9- 10 (Int. Tr.); SCO-11524990 at 14 (Int. Tr.);
SCO-00312444 (Text messages among Co-Conspirator 1, Co-Conspirator 6, and others 12/12/2020); see also
SCO-023413 86 at 6-9 (Fraudulent "Georgia's Electoral Votes for President and Vice President") (noting substitute
"electors"); SCO-02341398 at 4-5 (Fraudulent "Michigan's Electoral Votes for President and Vice President")
(same); SCO-02341435 at 4- 10 (Fraudulent "Pennsylvania's Electoral Votes for President and Vice President")
(same).
51 SC0-11531008 at 10, 79 (Int. Tr.).




                                                         14
          Case 1:25-cv-00716-BAH           Document 39-4           Filed 04/02/25        Page 424 of 734



     ultimate plan to use the fraudulent elector certificates to disrupt the congressional certification on

     January 6 and willingly assisted. 52 On December 9, after a phone call with Co-Conspirator 5,

 one of the Campaign's agents wrote in an email that Co-Conspirator S's plan for the electors to

 "send[] in 'fake' electoral votes to Pence" was "[k]ind ofwild/creative." 53 Two and a half hours

 later, he replied to his own email and, as cover, wrote that '"alternative' votes is probably a better

 term than 'fake' votes" and that he agreed with a suggestion "to keep [the plan] under wraps until

 Congress counts the vote on Jan. 6th." 54 In each of the targeted states, Mr. Trump and his co-

 conspirators successfully organized enough elector nominees and substitutes to gather on

 December 14, cast fraudulent electoral votes on his behalf, and send them to Washington, D.C.,

 for the congressional certification 55-a fact that the RNC Chairwoman relayed to Mr. Trump on

 the evening of December 14. 56

             At the same time that Mr. Trump's elector nominees in the targeted states were preparing

 to gather and cast fraudulent votes, his co-conspirators were planning to use them to overturn the

election results at the January 6 certification.             On December 13, Co-Conspirator 5 sent

Co-Conspirator 1 a memorandum that envisioned a scenario in which the Vice President would

use the fraudulent slates to claim that there were dueling slates of electors from the targeted

52See ECF No. 252 at 53 & n.283; SCO-12876963 at 03: 15-05 :09 (Audio of Interview 12/16/2020); SCO-11572270
(Email from Co-Conspirator 6 12/09/2020).
53 SCO- I 1572270 at 2 (Email to Co-Conspirator 6 12/08/2020).

54 Id.   at 1.
55 See ECF No. 252 at 56 & n.301; SCO-02341381      (Fraudulent "Arizona's Electoral Votes for President and Vice
President"); SCO-02341386 (Fraudulent "Georgia's Electoral Votes for President and Vice President");
SCO-02341398 (Fraudulent "Michigan's Electoral Votes for President and Vice President"); SCO-02341415
(Fraudulent "Nevada's Electoral Votes for President and Vice President"); SCO-02341409 (Fraudulent "New
Mexico's Electoral Votes for President and Vice President"); SCO-02341435 (Fraudulent "Pennsylvania's Electoral
Votes for President and Vice President"); SCO-02341449 (Fraudulent "Wisconsin's Electoral Votes for President and
Vice President"); SCO-00405057 (Email to Campaign staff 12/15/2020).
56See ECF No. 252 at 57-58 & nn.308-3 IO; SCO-00009955 at 64-66; SCO-00806514 at 18 (HSC Tr.);
SCO-02270392 (Emails between RNC Chairwoman and Trump Executive Assistant 12/14/2020).




                                                       15
     Case 1:25-cv-00716-BAH            Document 39-4           Filed 04/02/25      Page 425 of 734



states and negotiate a solution for Mr. Trump to seize power. 57                And on December 16,

Co-Conspirator 5 traveled to Washington with a group of private attorneys who had done work

for Mr. Trump's Campaign in Wisconsin for a meet-and-greet with Mr. Trump in the Oval

Office; 58 as the group left, Co-Conspirator 5 had a direct, private conversation with Mr. Trump. 59

        Days later, on December 19, Mr. Trump publicly posted a Tweet demonstrating his own

focus on the certification proceeding and directing his supporters to gather in Washington, D.C.,

to oppose it. At 1:42 a.m., he posted a copy of a report falsely alleging outcome-determinative

election fraud and wrote, "Statistically impossible to have lost the 2020 Election. Big protest in

D.C. on January 6th.       Be there, will be wild!" 60 That same day, Co-Conspirator 5 notified

another attendee of the December 16 Oval Office meeting of Mr. Trump's Tweet, and he

indicated that Mr. Trump had privately foreshadowed his plans for January 6, writing, "Wow.

Based on 3 days ago, I think we have unique understanding of this." 61

         C.      Mr. Trump's Misuse of Official Power Through the Justice Department

         As his efforts to directly pressure state officials to discount legitimate votes failed and the

fraudulent elector plan unfolded, Mr. Trump also tried another tack: he attempted to wield federal

power to perpetuate his fraud claims and retain office. Mr. Trump was frustrated with the Justice




57 See ECF No. 252 at 58 & n.312; SCO-05390160 (Text message from Co-Conspirator 6 to Co-Conspirator 5 and

Campaign staffer 12/12/2020); SCO-00309946 (Email from Co-Conspirator 5 to Co-Conspirator 1 12/13/2020).
58See ECF No. 252 at 58 & n.315; SCO-00039255 (Email to Co-Conspirator 5 and others 12/15/2020);
SCO-02337874, SCO-02337893, SCO-02337993 (Photographs of Oval Office Meeting 12/16/2020);
SCO-02297155 at 2 (Presidential Daily Diary 12/16/2020); SCO-02297163 at 12-13 (Presidential Daily Diary
12/16/2020); SCO-115 I 0314 at 86-90 (Int. Tr.).
59 See ECF No. 252 at 59 & n.317; SCO-11621981 at 48-52 (Int. Tr.).

60See ECF No. 252 at 60 & n.319, 136 & n.632; SCO-00455253, SCO-12987427 (Donald J. Trump Tweet
12/19/2020).
61 See ECF No. 252 at 60 & n.320; SCO-12982941 at 2 (Text messages from Co-Conspirator 5 12/19/2020).




                                                       16
          Case 1:25-cv-00716-BAH            Document 39-4          Filed 04/02/25    Page 426 of 734



 Department because its criminal investigations had identified no evidence of substantial fraud 62

 and the Attorney General had publicly acknowledged this fact in an interview on December 1 by

 saying, among other things, "to date, we have not seen fraud on a scale that could have effected a

 different outcome in the election." 63              As a result, Mr. Trump considered appointing

 Co-Conspirator 4-a Justice Department attorney who worked on civil matters-to be the Acting

 Attorney General, because as described below, Co-Conspirator 4 was willing to use the Justice

 Department to spread Mr. Trump's lies and pressure targeted states to overturn election results. 64

            Throughout the post-election period, Justice Department officials reviewed Mr. Trump's

 claims of election fraud, found no support for any of them, and informed him of such. 65 In one

 such discussion, when the Acting Attorney General advised Mr. Trump that the Justice

Department could not just "snap its fingers" and change the election outcome, 66 Mr. Trump told

the Acting Attorney General and Acting Deputy Attorney General that they should "just say that

the election was corrupt and leave the rest to me and the Republican congressmen." 67 In the

same call, alluding to replacing Justice Department leadership if they did not do as he directed,

Mr. Trump also said, "people tell me [Co-Conspirator 4] is great. I should put him in." 68 Mr.

Trump knew about Co-Conspirator 4 because he had been introduced to Co-Conspirator 4 by a



62 See, e.g., ECF No. 252 at 158-159; SCO-04957448 at 139-140 (SJC Tr.); SCO-00775937 at 59-63, 106-108 (HSC

Tr.); SCO-12263324 at 5-12 (Handwritten notes 12/27/2020); SCO-00764172 at 18-19 (HSC Tr.).
63 See ECF No. 252 at 158-159 & n.705; SCO-00689680 at 2 (Michael Balsamo, Disputing Trump, Barr says no

widespread election fraud, ASSOCIATED PRESS, Dec. 1, 2020).
64SCO-00775937 at 62, 107 (HSC Tr.); SCO-04957448 at 46-51 (SJC Tr.); SCO-11522446 at 23-24 (Int. Rep.);
SCO-11511407 at 177-183 (Int. Tr.); SCO-11542142 at 90-98 (Int. Tr.); SCO-115173 80 at 96-99 (Int. Tr.).
65 See,   e.g., SCO-00775937 at 47-58 (HSC Tr.); SCO-00764172 at 18-19 (HSC Tr.).
66 SCO-00775937 at 58 (HSC Tr.); SCO-12263324 at 8 (Handwritten notes 12/27/2020).

67 SCO-00775937 at 58 (HSC Tr.); SCO-12263324 at 9 (Handwritten notes 12/27/2020).

68 SCO-12264603 at 88 (SJC Tr.); see also SCO-0077593 7 at 62 (HSC Tr.).




                                                        17
     Case 1:25-cv-00716-BAH            Document 39-4          Filed 04/02/25      Page 427 of 734



Member of Congress and had been secretly engaging with Co-Conspirator 4, who was

communicating with Mr. Trump in contravention of policies designed to protect the

independence of the Justice Department. 69

          On December 28, as his secret communications with Mr. Trump continued,

Co-Conspirator 4 emailed the Acting Attorney General and Acting Deputy Attorney General a

proposed letter that falsely claimed that the Justice Department had "identified significant

concerns that may have impacted the outcome of the election in multiple States" and

recommended that those state legislatures convene in special session to reconsider certification

of their electoral votes. 7  ° Co-Conspirator 4 proposed to "send it to the Governor, Speaker, and
President pro temp of each relevant state to indicate that in light of time urgency and sworn

evidence of election irregularities presented to courts and to legislative committees, the

legislatures thereof should each assemble and make a decision about elector appointment in light

of their deliberations." 71 Within about an hour of receiving the draft letter, the Acting Deputy

Attorney General pointedly rejected Co-Conspirator 4's proposal, writing, "I know of nothing

that would support the statement, 'we have identified significant concerns that may have

impacted the outcome of the election in multiple states. "' 72 He also observed that the Justice

Department had no role in states' administration of their own elections, writing, "I cannot

imagine a scenario in which the Department would recommend that a State assemble its

69SCO-02270007 (Email from Co-Conspirator 4 12/22/2020) (coordinating arrival); SCO-04957448 at 84-86 (SJC
Tr.); SCO-12420899, SCO-12420900 (Email with attachment 11/11/2020) (memo regarding White House
communications); SCO-00827266 at 54-58 (HSC Tr.); SCO-12941569 (Signal messages between Co-Conspirator 4
and Member of Congress 12/21/20); SCO-12947964 (Signal messages between Co-Conspirator 4 and Member of
Congress 12/22/20); SCO-12947874, SCO-12947878 (Signal messages between Co-Conspirator 4 and Member of
Congress, with attachment 12/21/20).
70   SCO-12481890, SCO-12481891 (Email from Co-Conspirator 4, with attachment 12/28/2020).
11 Id.

72 SCO-12392895 (Email to Co-Conspirator 4 12/28/2020).




                                                      18
           Case 1:25-cv-00716-BAH            Document 39-4          Filed 04/02/25        Page 428 of 734



     legislature to determine whether already-certified election results should somehow be overridden

     by legislative action." 73

             Nonetheless, Mr. Trump continued to circumvent Justice Department leadership and

     engage directly with Co-Conspirator 4.            With Mr. Trump's intervention, Co-Conspirator 4

     obtained a highly classified briefing on foreign interference in the 2020 election on January 2,

     2021-a briefing that yielded nothing to support the conspirators' allegations, as demonstrated

 by contemporaneous electronic messages between Co-Conspirator 4 and the same Member of

 Congress who had introduced Co-Conspirator 4 to Mr. Trump. 74 Yet the following day, Mr.

 Trump attempted to install Co-Conspirator 4 as the Acting Attorney General. On January 3, after

 Mr. Trump offered the position to Co-Conspirator 4 and Co-Conspirator 4 informed Justice

 Department senior leadership that he was accepting it, 75 Mr. Trump, Co-Conspirator 4, and

 senior officials from the Justice Department and White House Counsel's Office gathered for a

 hastily scheduled meeting in the Oval Office. 76 Mr. Trump made clear that he wanted to appoint

 Co-Conspirator 4 because Co-Conspirator 4 would cause the Justice Department to send to the

targeted states the false letter that the Acting Attorney General and the Acting Deputy Attorney

General had rejected as inaccurate and improper. 77 Mr. Trump ultimately did not do so only

because he was informed that if he did, mass resignations within the Justice Department and the




73   Id.
74 SCO-12946533 at 2 (Signal messages between Co-Conspirator 4 and Member of Congress 01/02/2021) ("Bottom

line is there is nothing helpful to P.").
75 SCO-04957448 at 157-159 (SJC Tr.).

76SCO-12264603 at 47-48 (SJC Tr.); SCO-04957448 at 46-48 (SJC Tr.); SCO-11522446 at 23-24 (Int. Rep.);
SCO-11542142 at 95 (Int. Tr.).
77   SCO-12264603 at 49, 152-153 (SJC Tr.); SCO-04957448 at 48-52 (SJC Tr.); SCO-11542142 at 97- 100 (Int. Tr.).




                                                         19
     Case 1:25-cv-00716-BAH              Document 39-4         Filed 04/02/25          Page 429 of 734



White House would result in Co-Conspirator 4 "leading a graveyard." 78 Near the end of the

meeting, when Co-Conspirator 4 raised the idea of the Justice Department opining on the Vice

President's role during the congressional certification, Mr. Trump told all those assembled that

no one other than him should be talking to the Vice President. 79

          D.     Mr. Trump's Pressure on the Vice President

          Mr. Trump wanted no one else speaking with Vice President Pence because he and

co-conspirators were already implementing a secret plan to use Mr. Pence's ministerial role as

President of the Senate to Mr. Trump's advantage.                  Co-Conspirator 2, with assistance from

Co-Conspirators 5 and 6, spearheaded the execution of a strategy-which Co-Conspirator 2 had

recently conceded was not supported by the Constitution or federal law 80-for Mr. Pence to

decline to count the legitimate electoral certificates in the targeted states where Mr. Trump's

electors had signed fraudulent ones. 81 In the weeks before the certification, Mr. Trump began

pressuring Mr. Pence to cooperate, both directly and by mobilizing Mr. Trump's supporters.

          In repeated conversations, day after day, Mr. Trump pressed Mr. Pence to use his

ministerial position as President of the Senate to change the election outcome, often by citing

false claims of election fraud as justification; he even falsely told Mr. Pence that the "Justice

Department [was] finding major infractions." 82 When Mr. Pence repeatedly refused to act as Mr.



78 SCO-00709557 at 159 (SJC Tr.); SCO-11542142 at 99 (Int. Tr.);   see also SCO-0077593 7 at 125 (HSC Tr.).
79 SCO-11517380 at 101-104 (Int. Tr.).


80 See ECF No. 252 at 61 & n.324; SCO-01576281 at 2, SCO-01576283 at 2 (Email from Co-Conspirator 2, with
attachment 10/16/2020); SCO-1298630 I.
81See ECF No. 252 at 65 & n.352; SCO-12184337, SCO-12184338 (Email and memo from Co-Conspirator 2 to
Co-Conspirator 5 and Co-Conspirator 6 12/23/2020); SCO-12101300, SCO-12101301 (Email and memo from
Co-Conspirator 2 to Co-Conspirator 601/03/2021 ).
81 See,
      e.g., ECF No. 1 at~ 90; see ECF No. 252 at 62-74; see, e.g., SCO-00014655 at 157-182; SCO-00014442 at
29-43 (Pence, So Help Me God pp. 441-455); SCO-04982306 (Handwritten notes 12/25/2020); SCO-04982309




                                                       20
          Case 1:25-cv-00716-BAH         Document 39-4          Filed 04/02/25        Page 430 of 734



 Trump wanted, 83 Mr. Trump told him that "hundreds of thousands" of people would "hate his

 guts" and think he was "stupid," and that Mr. Pence was "too honest." 84 Surrounding these

 communications, Mr. Trump frequently took to Twitter to exhort supporters to travel to

 Washington for January 6, such as when he tweeted on January 1, "The BIG Protest Rally in

 Washington, D.C., will take place at 11.00 A.M. on January 6th. Locational details to follow.

 StopTheSteal!" 85

            On January 4, two days before the certification proceeding, Mr. Trump arranged for Mr.

 Pence to meet with Co-Conspirator 2 in the Oval Office, in hopes that Co-Conspirator 2 could

 convince Mr. Pence to accede. 86 During the meeting, Co-Conspirator 2 outlined two ways that

 he claimed Mr. Pence could affect the election outcome using his role in the certification: he

could reject the legitimate electors outright-denying Mr. Biden an electoral majority and likely

sending the selection of the President to the House of Representatives, where fellow Republicans

controlled the majority of state delegations-or he could send the elector slates to targeted states'

legislatures for them to choose which electoral votes should be counted-affording Republican-

controlled legislatures the opportunity to reject Mr. Biden's electors and replace them with Mr.

Trump's. 87      In response to Mr. Pence's questioning, Co-Conspirator 2 admitted that both


(Handwritten notes 12/29/2020); SCO-049823 13 (Handwritten notes 0 l /02/2021 ); SCO-04982315 (Handwritten
notes 0 1/03/2021); SCO-04982330 (Handwritten notes 0 1/04/2021).
83 See,e.g., ECF No. 252 at 62 & nn.332-333, 63 & n.338, 65 & nn.349-350, 71 & nn.394-395; SCO-00014655 at
157-182; SCO-00014442 at 29-43 (Pence, So Help Me God pp. 441-455); SCO-04982330 (Handwritten notes
01/04/2021); SCO-04982320 at 2 (Handwritten notes 0 1/06/2021) (noting "I don't have the authority").
84 See ECF No. 252 at 63 & n.338; SCO-00014442 at 34 (Pence, So Help Me Godp. 446).

85 See, e.g., ECF No. 252 at 64 & n.340; SCO-00455068, SCO-12987393 (Donald J. Trump Tweet 01/01/2021); see
also, e.g., SCO-00455147, SCO-12987408 (Donald J. Trump Tweet 12/26/2020).
86 See ECF No. 252 at 64 & nn.344-345, 65 & n.353; SCO-11618747 at 156-158, 166-169 (Text messages from
Co-Conspirator 601/02/2021-01/05/2021); SCO-02301015 at 4 (Presidential Daily Diary 0 1/04/2021).
87 See ECF No. 252 at 66 & n.362; SCO-00007167 at 50-51; SCO-11527024 at 187-189 (Int. Tr.); SCO-00016118 at

73-74; SCO-00014442 at 38-39 (Pence, So Help Me God pp. 450-451 ).




                                                    21
     Case 1:25-cv-00716-BAH              Document 39-4          Filed 04/02/25       Page 431 of 734



proposals violated the ECA and were untested. 88 When Mr. Pence turned to Mr. Trump and

pointed out that even "[Mr. Trump's] lawyer," Co-Conspirator 2, did not think Mr. Pence had the

authority to return electoral votes to the states, Mr. Trump responded that he "like[d] the other

thing better," which Mr. Pence understood to mean Mr. Pence simply rejecting the electoral votes

outright. 89 In the end, Mr. Pence again stated that he did not believe he could do what he was

being asked. 90

          That night, Mr. Trump used a speech in Dalton, Georgia, to focus the crowd on the idea

that Mr. Pence could change the results of the election, saying, "I hope Mike Pence comes

through for us, I have to tell you. I hope that our great Vice President, our great Vice President

comes through for us. . . . Of course, if he doesn't come through, I won't like him quite as

much." 91 The next day, on January 5, when Mr. Trump again failed to make headway with Mr.

Pence in a private conversation, Mr. Trump warned that he would have to publicly criticize Mr.

Pence. 92 Mr. Trump then (in response to a New York Times report on the conversation between

Mr. Trump and Mr. Pence) issued a false statement claiming, "The Vice President and I are in

total agreement that the Vice President has the power to act." 93




88 See ECF No. 252 at 67 & n.363; SCO-00014442 at 38-39 (Pence, So Help Me God pp. 450-451); SCO-00007167
at 52-53; SCO-00016118 at 75-76.
89See ECF No. 252 at 67 & n.364; SCO-00014442 at 39 (Pence, So Help Me God p. 451); SCO-00007167 at 51;
SCO-00016118 at 74-78.
90   See ECF No. 252 at 67 & n.366; SCO-00014442 at 39 (Pence, So Help 1\;fe Godp. 451); SCO-00007167 at 55-56.
91See ECF No. 252 at 68 & n.371; SCO-02235176 at 3 (Remarks by Mr. Trump at Victory Rally in Dalton, GA
01/04/2021); SCO-04976283 at 10:56-11: 15 (Video of Dalton, GA speech 0 1/04/2021).
92See ECF No. 252 at 71 & nn.392-396; SCO-00016118 at 107-110; SCO-00014655 at 189, 193-200;
SCO-00014442 at 41-42 (Pence, So Help 1v!e God pp. 453-454); SCO-04982319 (Handwritten notes 0 1/05/2021).
93See ECF No. 252 at 72 & n.404; SCO-00444946 (Donald J. Trump Campaign Statement 0 1/05/2021);
SCO-00016118 at 134-136; SCO-11545613 at 152-153 (Int. Tr.); SCO-00829440 at 222-225 (HSC Tr.); SCO-
00810832 at 172-177 (HSC Tr.).




                                                        22
         Case 1:25-cv-00716-BAH         Document 39-4         Filed 04/02/25       Page 432 of 734



           E.     Mr. Trump's Supporters Attack the United States Capitol

           Mr. Trump's efforts to remain in power converged and culminated on January 6, the day

 that Mr. Biden was to be certified President. That day, Mr. Trump was scheduled to speak at the

 Ellipse to the crowd of supporters he had summoned to Washington with false claims of election

 fraud. 94 At around I :00 a.m. on the morning of January 6, Mr. Trump tweeted: "If Vice President

 @Mike_Pence comes through for us, we will win the Presidency. Many States want to decertify

 the mistake they made in certifying incorrect & even fraudulent numbers in a process NOT

 approved by their State Legislatures (which it must be). Mike can send it back!" 95 Just before

 he left the White House to give his speech at the Ellipse, Mr. Trump phoned Mr. Pence one last

time; 96 when Mr. Pence told Mr. Trump that he planned to issue a public statement making clear

that he lacked the authority to do what Mr. Trump wanted, Mr. Trump expressed anger at him. 97

He then directed staffers to re-insert into his planned Ellipse speech some language that he had

drafted earlier targeting Mr. Pence. 98




94 See ECF No. 252 at 136 & nn.631-632, 139-140 & nn.642-645; SCO-00454954, SCO-12987365 (Donald J.

Trump Tweet 0 1/05/2021); SCO-0045514 7, SCO-12987408 (Donald J. Trump Tweet 12/26/2020); SCO-00455067,
SCO-12987392 (Donald J. Trump Tweet 01/01/2021); SCO-00454979, SCO-12987370 (Donald J. Trump Tweet
0 l/04/2021).
95 See ECF No. 252 at 72-73 & n.405, 137 & n.636; SCO-00454942, SCO-12987357 (Donald J. Trump Tweet

0 l/06/2021 ).
96 See ECF No. 252 at 73 &  n.410, 140 & n.646; SCO-00014442 at 47-48 (Pence, So Help Me God pp. 459-460);
SCO-11532623 at 203 (Int. Tr.); SCO-11534332 at 211 (Int. Tr.).
     ECF No. 252 at 73-74 & n.411, 140 & n.647; SCO-11522446 at 25 (Int. Rep.); SCO-00014655 at 206-207;
97 See

SCO-00014442 at 47-48 (Pence, So Help Me God pp. 459-460); SCO-04982320 (Handwritten notes 0 l/06/2021).
98 SeeECF No. 252 at 74 & n.412, 140 & n.648; SCO-00013901 at 59-60; SCO-02241925 (Save America Rally
Draft Speech 0l/06/2021); SCO-00017298 at 135-139; SCO-00842413 at 163-165 (HSC Tr.); SCO-02343119
(Email among Speechwriting staff 0l/06/2021); SCO-02343413 (Email from Speechwriter 0l/06/2021);
SCO-00006256 at 160; SCO-11522446 at 26 (Int. Rep.).




                                                   23
     Case 1:25-cv-00716-BAH             Document 39-4           Filed 04/02/25         Page 433 of 734



        During his speech at the Ellipse, 99 Mr. Trump made one more attempt to retain power. In

his remarks, Mr. Trump repeated many of the same lies he had been telling for months-

regarding dead voters, non-citizen voters, and vote dumps-and he told newer ones: lies that

targeted states wanted to change their electors and that Mr. Pence had the authority, and might be

persuaded, to change the election results. 100           The lie regarding Mr. Pence was particularly

deceptive because Mr. Trump knew what his supporters in the crowd did not: that Mr. Pence had

just told him in no uncertain terms that he would not do what Mr. Trump was demanding.

        Mr. Trump told the crowd-a crowd of his supporters that he had remarked to advisors

the night before was "angry" 101 -that the election had been stolen and the country would no

longer exist if this purported crime were not stopped; and that the discovery of "fraud" licensed

them to "go by very different rules." 102 Although Mr. Trump at one point also told his supporters

to "peacefully and patriotically make [their] voices heard," 103 he used the word "fight" more than

ten times in the speech before concluding by directing his supporters to march to the Capitol to

give allied Members of Congress "the kind of pride and boldness they need to take back our




99 Mr. Trump's speech at the Ellipse on January 6, 2021, was a Campaign event. The rally at which Mr. Trump
spoke was planned and executed by private political supporters, and it was completely funded by a $2.1 million
private donation. Mr. Trump promoted the event using the word "rally," a word connoting a private political effort,
and Mr. Trump's White House staff recognized the event to be a private, unofficial exercise. Finally, the speech
itself used campaign language and closely resembled Mr. Trump's other campaign speeches, including one he had
given in Dalton, Georgia, for the Senate runoff election just two days earlier. See ECF No. 252 at 118-126 &
nn.577-598.
100 See ECF No. 252 at 75-76 & nn.423-428; SCO-02244118 at 3, 6, 11-12, 16-17 (Remarks by Mr. Trump at Save

America Rally 0 1/06/2021).
101 See ECF No. 1 at~ 98; SCO-00015613 at 155-156.

102 See ECF No. 252 at 77 & nn.432-436; SCO-02244118 at 19-20 (Remarks by Mr. Trump at Save America Rally

01/06/2021).
103 See SCO-02244118 at 6 (Remarks by Mr. Trump at Save America Rally 0 1/06/2021).




                                                        24
      Case 1:25-cv-00716-BAH            Document 39-4          Filed 04/02/25        Page 434 of 734



  country." 104 He also told the angry crowd that "if you don't fight like hell, you're not going to

  have a country anymore." 105 Throughout the speech, Mr. Trump gave his supporters false hope

 that through such action, they could cause Mr. Pence to overturn the election results, even

 improvising new lines directed at Mr. Pence as the speech went on. 106

         At Mr. Trump's urging, thousands of his supporters marched from the Ellipse to the

 Capitol building. 107 There, Mr. Pence began the certification at around 1:00 p.m. 108 Outside the

 building, the crowd swelled and broke through barriers cordoning off the grounds. 109 The crowd

 that attacked the Capitol was filled with Mr. Trump's supporters, as made clear by their Trump

 shirts, signs, and flags. 110 As described in detail below, the crowd violently attacked the law

 enforcement officers attempting to secure the building. 111




104 See ECF No. 252 at 77-78 & nn.432-443; SCO-02244118 at 5, 6, 9, 22 (Remarks by Mr. Trump at Save America

Rally 0 1/06/2021).
105See ECF No. 252 at 77-78 & nn.432-443; SCO-02244118 at 22 (Remarks by Mr. Trump at Save America Rally
01/06/2021).
106  See ECF No. 252 at 76 & nn.430-431; SCO-02244118 at 3 (Remarks by Mr. Trump at Save America Rally
0 l /06/2021 ); compare SCO-02244118 at 16 (Remarks by Mr. Trump at Save America Rally 0 1/06/2021) with SCO-
00745151 at 12 (Save America Rally teleprompter speech 01/06/2021).
107 See ECF No. 252 at 78 & n.444; see also, e.g., SCO-11506080 at 01:09:30 (Video of Save America Rally

01/06/2021); SCO-12918852 (Video of March to Capitol 01/06/2021); SCO-12919559 at 01:30-02:52 (Video of
March to Capitol 0 1/06/2021); SCO-066146 I 9 at 21: 13-22:07 (Video ofFox News Coverage 0 1/06/2021).
108 See ECF No. 252 at 78 & n.445; SCO-12945127 at 20:47 (Video of House Floor 01/06/2021); SCO-03666330 at

2 (Congressional Record 0 1/06/2021).
109 See ECF No. 252 at 78 & n.448; see also, e.g., SCO-12876233 at 02:20-03:50 (Video of Capitol Riot
01/06/2021).
110See ECF No. 252 at 78-79 & n.450, 82 & n.477; SCO-12806961 at 56:56, SCO-12919902 at 38:59,
SCO-00029113, SCO-12738292, SCO-12806977 at 04:30 (Videos of Capitol Riot 01/06/2021); see also
SCO-11506096 at 61-63 (Int. Tr.).
111See ECF No. 252 at 82 & nn.475-477; see also, e.g., SCO-12919902 at 38:48, SCO-12738292, SCO-12806977 at
04:30, SCO-12738332, SCO-12919680 at 54:30 (Videos of Capitol Riot 01/06/2021).




                                                    25
      Case 1:25-cv-00716-BAH           Document 39-4           Filed 04/02/25         Page 435 of 734




                      Photograph of the Capitol on January 6, 2021 (John Manchilto/AP) 112




                       Photograph of the Capitol on January 6, 2021 (Ken Cedeno/UPI) 113


112
    Perry Stein, Aaron C. Davis, Spencer S. Hsu, and Tom Jackman, FBI did not hm·e underco\.·er agents at Jan. 6
riots,   watchdog says, WASH. POST (Dec. 12, 2024), https://w-ww.washingtonpost.com/national-
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INTERNATIONAL, INC.     (June 2, 2023). https://ww-w.upi.com/Top_News/US/2023/06/02/Jan-6-rioters-sentences-
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                                                       26
      Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25           Page 436 of 734




                    Photograph of the Capitol on January 6, 2021 (Shannon Stapleton/Reuters) 114




                         Photograph of the Capitol on January 6, 202 l (Lev Radin/Pacific
                                      Press/LightRocket/Getty Images) 115




114
      Hanvwing scenes fivm the Jan 6 U S. Capitol attack. REUTER.s (Oct.                              13,   2022),
https://\vww.reuters.com/news/picture/harrowing-scenes-from-the-jan-6-rn;-capit-idUSRTSC60V8/.
115
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https://www.w ashingtonpost.com/politic.s/2022/07/07/many-republicans-no-longer-call-jan-6-an-insurrection-or-
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                                                        27
  Case 1:25-cv-00716-BAH                Document 39-4           Filed 04/02/25          Page 437 of 734




                      Photograph of the Capitol on January 6, 2021 (David Butow/R.edux) 116




            Photograph of the Capitol on January 6, 2021 (Roberto Schmidt/AFP via Getty Images) 117



116
  Statement from Leaders, Updated: 'Our Children Are Watching': Nonprofit and Formdation Leaders Respond to
Capitol Hill Violence, THE CHRONICLE OF PHil.ANTHROPY (Jan. 7, 2021), https://www.philanthropy.com/article/how-
nonprofit-and-foundation-leaders-are-responding-to-capitol-hill-violence.
117 Eric Westervelt, Off-Duty Police Officers Jm:estigated, Charged With Participating In Capitol Riot, NPR (Jan.
15,    2021 ),   https://w-v,w.npr.org/2021/01 / 15/956896923/police-officers-across-nation-face-federal-charges-for-
involvement-in-capitol-ri.




                                                        28
        Case 1:25-cv-00716-BAH              Document 39-4            Filed 04/02/25         Page 438 of 734



            After his speech, Mr. Trump returned to the White House and, at around 1:30 p.m.,

 settled in the dining room off of the Oval Office. 118 There, he watched television news coverage

 of events at the Capitol and reviewed Twitter on his phone. 119 When the angry crowd advanced

 on the Capitol building and breached it at around 2: 13 p.m., forcing the Senate to recess, 120

 several of Mr. Trump's advisors rushed to the dining room and told him that a riot had started at

 the Capitol and that rioters were in the building. 121             Over the course of the afternoon, they

 forcefully urged Mr. Trump to issue calming messages to his supporters. 122 Mr. Trump resisted,

 repeatedly remarking that the people at the Capitol were angry because the election had been

 stolen. 123

           Just before 2:24 p.m., the news channel playing on the television in the dining room

where Mr. Trump was sitting aired an interview with an individual marching from the Ellipse to

the Capitol, who expressed his anger at Mr. Pence and stated, "But I still believe President

118   See ECF No. 252 at 79 & n.452; SCO-00783547 at 36-39 (HSC Tr.); SCO-00015613 at 180.
119See ECF No. 252 at 79 & nn.451-452; SCO-00783547 at 38-39 (HSC Tr.); SCO-11528445 at 52-53 (Int. Tr.);
SCO-00015613 at 183-185; SCO-00006256 at 164, 168; SCO-11522446 at 26 (Int. Rep.); SCO-00481112
(Spreadsheet of Data from Mr. Trump's White House Phone).
120See ECF No. 252 at 79 & n.453; SCO-12881998 at 01:04-01:25 (Video of Senate Wing Door CCTV
01/06/2021); SCO-12945145 at 44: 16-44:36 (Video of Senate Floor 0 1/06/2021).
121See ECF No. 252 at 141 & n.653; SCO-00006256 at 163-166; SCO-00015002 at 37-38; SCO-00686662 at 117-
119 (HSC Tr.) (recalling entering the dining room with Mr. Trump and conveying "this was a situation now out of
control" while they were "all fixated on the television set"); SCO-11532623 at 222-228, 235 (Int. Tr.) (recalling Mr.
Trump being told about riot at Capitol); SCO-00003294 at 114.
122 See, e.g., ECF No. 252 at 141-142 & nn.653, 663; SCO-00015613 at 194-201; SCO-00003294 at 115-116, 121-
123, 131-132; SCO-11511407 at 227-228 (Int. Tr.); SCO-00006256 at 164-166, 174; SCO-11522446 at 26 (Int.
Rep.) (recalling presenting Mr. Trump with draft language for a statement that was never published); SCO-00015002
at 38; SCO-11542142 at 134-135 (Int. Tr.) ("I thought that the President had to issue a strong statement, quickly,
telling everybody to leave the Capitol, and condemning what was going on there."); SCO-11532623 at 240, 262-265
(Int. Tr.) (recalling a staffer entering the dining room and telling Mr. Trump to "call for calm" and asking Mr.
Trump's daughter to "come in to help advocate with the President").
123See ECF No. 252 at 141 & n.654; SCO-00006256 at 164-166; SCO-00015613 at 189, 202-203; SCO-00011109
at 179-182; SCO-11534332 at 193-194 (Int. Tr.) (recalling Mr. Trump commenting to House Minority Leader that
"a lot of these people are upset with the election ... they felt like it was stolen from him" and that "maybe these
people are more upset about the election results than you are").




                                                        29
      Case 1:25-cv-00716-BAH            Document 39-4            Filed 04/02/25     Page 439 of 734



Trump has something else left." 124 Then, at 2:24 p.m., sitting alone, Mr. Trump issued a Tweet

attacking Mr. Pence and fueling the riot: "Mike Pence didn't have the courage to do what should

have been done to protect our Country and our Constitution, giving States a chance to certify a

corrected set of facts, not the fraudulent or inaccurate ones which they were asked to previously

certify. USA demands the truth!" 125 One minute later, the United States Secret Service was

forced to evacuate Mr. Pence to a secure location at the Capitol. 126 When an advisor at the White

House learned this, he rushed to the dining room and informed Mr. Trump, who replied

"So what?" 127

           The rioters at the Capitol had been motivated and directed by Mr. Trump, and he

continued to resist advisors' requests to direct them to leave. Throughout the afternoon, crowds

at the Capitol hunted for Mr. Pence and other lawmakers, with some chanting, "Hang Mike

Pence!" 128 At 2:38 p.m. and 3:30 p.m., Mr. Trump issued two Tweets falsely suggesting that

events at the Capitol were "peaceful" and asking individuals there (whom he termed "WE") to

remain that way: "Please support our Capitol Police and Law Enforcement. They are truly on the

side of our Country. Stay Peaceful!" and, "I am asking for everyone at the U.S. Capitol to

remain peaceful. No violence! Remember, WE are the Party of Law & Order-respect the Law




124 See ECF No. 252 at 79-80 & nn.452, 460; SCO-06614619 at 21:45-22:42 (Video of Fox News Coverage

01/06/2021).
125 See ECF No. 252 at 80 &n.462, 141 & nn.655, 657; SCO-00456476, SCO-12987690 (Donald J. Trump Tweet
01/06/2021); SCO-00015613 at 188-189, 196-198; SCO-00011109 at 160-161.
126 See ECF No. 252 at 81 &   n.465, 141 & n.658; SCO-00029459 (Video of Pence Evacuation 01/06/2021).
127   See ECF No. 252 at 142 & n.662; SCO-00009250 at 214-220.
128See ECF No. 252 at 81 & n.466; SCO-12876211, SCO-12738313, SCO-12738317, SCO-12738306,
SCO-12738312 at 00:59-0 l :40 (Videos of Capitol Riot 0 l/06/2021).




                                                       30
      Case 1:25-cv-00716-BAH                 Document 39-4           Filed 04/02/25          Page 440 of 734



 and our great men and women in Blue. Thank you!" 129 At 4: 17 p.m., he tweeted a video

 message in which he for the first time asked his supporters to leave the Capitol-while at the

 same time falsely claiming that "[w]e had an election that was stolen from us ... a landslide

 election," and embracing the people who had attacked the Capitol, telling them "we love you,

 you're very special." 130 And at 6:01 p.m., he tweeted, "These are the things and events that

 happen when a sacred landslide election victory is so unceremoniously & viciously stripped

 away from great patriots who have been badly & unfairly treated for so long. Go home with love

 & in peace. Remember this day forever!" 131

          At around the same time as he issued his 6:01 p.m. Tweet, Mr. Trump tried to reach two

United States Senators, and he also directed Co-Conspirator 1 to call Members of Congress and

attempt to enlist them to further delay the certification. 132 When Mr. Trump's White House

Counsel called him at around 7:00 p.m. and asked him to withdraw any objections to the

certification, Mr. Trump refused. 133 Nonetheless, the certification resumed late in the evening of




119See ECF No. 252 at 142 & nn.664-665; SCO-00454933, SCO-04963517, SCO-00454932, SCO-04963518
(Donald J. Trump Tweets O1/06/2021).
130 See ECF No. 252 at 143 & n.666; SCO-00456473 (Video of Rose Garden Speech 01/06/2021); SCO-12876968

(Draft Tr. of Rose Garden Speech O1/06/2021).
131 See ECF No. 252 at 143 & n.667; SCO-00456472, SCO-12987689 (Donald J. Trump Tweet 01/06/2021).

132  See ECF No. 226 at 1 97(c) and (d); ECF No. 252 at 83-84 & nn.485-492; SCO- 12706940 at row 1383
(Spreadsheet of Executive Assistant's text messages); SCO-02131850 at 2392 (Toll Records O1/06/2021);
SCO-00009250 at 234-235; SCO-11616952 (Email from Executive Assistant 01/06/2021); SCO-00404535 (Text
Message from Co-Conspirator 6 01/06/2021); SCO-11520423 ( Co-Conspirator 1 Toll Analysis O1/06/2021);
SCO-02035182 at 5396-5397 (Co-Conspirator I Toll Records 01/06/2021); SCO-02054919 at 71 (Co-Conspirator I
Toll Records 01/06/2021); SCO-04134777 (Voicemail from Co-Conspirator 1 01/06/2021) (telling Senator, "We
need you, our Republican friends, to try to just slow it down so we can get these legislatures to get more information
to you. And I know they're reconvening at eight tonight but the only strategy we can follow is to object to numerous
states and raise issues so that we get ourselves into tomorrow-ideally until the end of tomorrow."); SCO-06475675
(Voicemail from Co-Conspirator 1 01/06/2021) (asking Senator to "object to every state and kind of spread this out a
little bit like a filibuster").
133 See ECF No.   1 at 1 120; SCO-00003294 at 141-143; SCO-02301375 at 4 (Presidential Daily Diary 01/06/2021).




                                                         31
      Case 1:25-cv-00716-BAH             Document 39-4          Filed 04/02/25         Page 441 of 734



January 6 and, at 3:41 a.m. on January 7, Mr. Pence announced the certified results of the 2020

presidential election in favor of Mr. Biden. 134

           As he did in his 4:17 p.m. and 6:01 p.m. Tweets on January 6, Mr. Trump has provided

additional evidence of his intent by continuing to support and ally himself with the people who

attacked the Capitol.        He has called them "patriots" 135 and "hostaoes
                                                                         b   '
                                                                               " 136 reminisced about

January 6 as a "beautiful day," 137 and championed the "January 6 Choir," 138 a group of January 6

defendants who, because of their dangerousness, are detained at the District of Columbia jail. 139




134 See ECF No. 252 at 85 & n.495; SCO-04955950 at 19:14-20:34 (Video of Congress Joint Session 01/06/2021);

SCO-03666330 at 41 (Congressional Record 0 1/06/2021).
135 See ECF No. 252 at 83 & n.478; SCO-04976301 at 16:52-17:02 (Video of Waco Rally 03/25/2023);

SCO-04976442 at 48:29-48:44 (Video of Mr. Trump at Faith and Freedom Coalition 06/17/2022); SCO-04976291 at
16:42-16:58 (Video of Trump Interview 02/01/2022).
136   See ECF No. 252 at 83 & n.479; SCO-12982756 at 35:50-36:22 (Video of Greensboro Rally 03/02/2024).
137 See ECF No. 252 at 83 & n.481; SCO-12851309 at 45:18-45:40 (Video of Trump Interview 08/23/2023);

SCO-04958191 at7 (CNN Town Hall Tr. 05/10/2023).
138 See ECF No. 252 at 83 & nn.482-483; SCO-04976301 at 03:00-05:35 (Video of Waco Rally 03/25/2023);

SCO-12982756 at 35:50-36:21 (Video of Greensboro Rally 03/02/2024).
139 See United States v. Nichols, No. 21-mj-29, ECF No. 9 (E.D. Tex. Jan. 25, 2021) (ordering pretrial detention in
prosecution of defendant who later became a member of the "January 6 choir"); United States v. Nichols, No. 2 l-cr-
117, ECF No. 75 (D.D.C. Dec. 23, 2021) (denying defendant's motion for pretrial release); id, ECF No. 307 at 27
n. IO, 35-36 (D.D.C. Apr. 30, 2024) (government sentencing memorandum referencing defendant's involvement in
"January 6 choir"); see also United States v. Mink, No. 21-mj-105, ECF No. 19 (W.D. Pa. Jan. 29, 2021) (in
prosecution of defendant who later became a member of the "January 6 choir," ordering defendant's pretrial
detention); United States v. 1vfink, No. 21-cr-25, ECF No. 45 (D.D.C. Dec. 13, 2021) (court order denying
defendant's motion to revoke pretrial detention); United States v. Sandlin, No. 21-mj-110, ECF No. 8 (D. Nev. Feb.
3, 2021) (ordering pretrial detention in prosecution of defendant who later became a member of the "January 6
choir"); United States v. Sandlin, No. 2 l-cr-88, ECF No. 31 (D.D.C. Apr. 13, 2021) (denying defendant's motion for
release on bond); id, ECF Nos. 44, 44-1 (D.D.C. Aug. 31, 2021) (mandate return following denial of defendant's
appeal of pretrial detention order); United States v. Shively, No. 21-cr-151, ECF No. 42 (D.D.C. May 9, 2022) (in
prosecution of defendant who later became a member of the "January 6 choir," revoking conditions of release and
ordering pretrial detention); United States v. Khater, No. 21-cr-222, ECF No. 25 (D.D.C. May 12, 2021) (in
prosecution of defendant who later became a member of the "January 6 choir," denying defendant's motion for
release from custody); United States v. McGrew, No. 21-cr-398, ECF No. 40 (D.D.C. Nov. 2, 2021) (order of
detention pending trial in prosecution of defendant who later became a member of the "January 6 choir").




                                                        32
       Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25        Page 442 of 734



 II.     THE LAW

         Based on the above facts, and after analyzing the relevant criminal statutes, the Office

 sought, and a grand jury found probable cause for, an indictment of Mr. Trump on four federal

 charges: conspiring to obstruct the governmental function of selecting and certifying the

 President of the United States, in violation of 18 U.S.C. § 371; obstructing and attempting to

 obstruct the official proceeding on January 6, 2021, in violation of 18 U.S.C. § 1512(c)(2);

 conspiring to obstruct the official proceeding, in violation of 18 U.S.C. § 1512(k); and conspiring

to violate the federal rights of citizens to vote and have their votes counted, in violation of 18

U.S.C. § 241. Because of the unprecedented facts and the variety of legal issues that would be

litigated in this case, the Office was aware that the case would involve litigation risks, as would

any case of this scope and complexity. However, after an exhaustive and detailed review of the

law, the Office concluded that the charges were well supported and would survive any legal

challenges absent a change in the law as it existed at the time of indictment.

        As set forth in Section VD below, after the original indictment was returned, the Supreme

Court ruled in Trump v. United States, 603 U.S. 593 (2024), that Mr. Trump had absolute

immunity for core presidential conduct, enjoyed a rebuttable presumption of immunity for other

official presidential acts, and had no immunity for unofficial conduct. Id. at 606, 609, 614-615.

        The Supreme Court's decision required the Office to reanalyze the evidence it had

collected. The original indictment alleged that Mr. Trump, as the incumbent President, used all

available tools and powers, both private and official, to overturn the legitimate results of the

election despite notice, including from official advisors, that his fraud claims were false and he

had lost the election. Given the Supreme Court's ruling, the Office reevaluated the evidence and

assessed whether Mr. Trump's non-immune conduct-either his private conduct as a candidate or

official conduct for which the Office could rebut the presumption of immunity-violated federal


                                                33
  Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25     Page 443 of 734



law. The Office concluded that it did. After doing so, the Office sought, and a new grand jury

issued, a superseding indictment with identical charges but based only on conduct that was not

immune because it was either unofficial or any presumptive immunity could be rebutted. This

section reviews the federal laws violated by Mr. Trump's non-immunized conduct.

       A.     Conspiracy to Defraud the United States (18 U.S.C. § 371)

       The defraud clause of the general conspiracy statute makes it a crime "[i]f two or more

persons conspire ... to defraud the United States, or any agency thereof in any manner or for any

purpose, and one or more of such persons do any act to effect the object of the conspiracy." 18

U.S.C. § 371. The defraud clause applies not just to schemes to cheat the government out of

money or property, but also to schemes "to interfere with or obstruct one of its lawful

governmental functions by deceit, craft or trickery, or at least by means that are dishonest."

Hammerschmidt v. United States, 265 U.S. 182, 188 (1924 ). Under longstanding, established

precedent, the government must prove the following elements to establish a violation of the

defraud clause: (1) the defendant "entered into an agreement, (2) to obstruct a lawful function of

the government or an agency of the government, (3) by deceitful or dishonest means, and (4) at

least one overt act was taken in furtherance of that conspiracy." United States v. Concord Mgmt.

& Consulting LLC, 347 F. Supp. 3d 38, 46 (D.D.C. 2018) (citation and quotations omitted); see

also Hammerschmidt, 265 U.S. at 188; United States v. Dean, 55 F.3d 640,647 (D.C. Cir. 1995).

The Office concluded that Mr. Trump's conduct satisfied each of these established elements of a

defraud-clause offense.

       The process of selecting and certifying the President, as described above and prescribed

by the Constitution and federal law, is plainly a lawful function of the federal government. Cf

Ray v. Blair, 343 U.S. 214,224 (1952) (noting that "[t]he presidential electors exercise a federal

function"); Burroughs v. United States, 290 U.S. 534, 545 (1934) (stating that electors "exercise


                                               34
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25      Page 444 of 734



 federal functions under, and discharge duties in virtue of authority conferred by, the Constitution

 of the United States"); United States v. Brock, 94 F.4th 39, 51 (D.C. Cir. 2024) (noting the

 "unique congressional function of certifying electoral college votes"). Indeed, Mr. Trump never

 challenged the indictment on that basis, though he filed more than 100 pages in support of

 dismissal motions. As the court of appeals found in the context of the immunity litigation in this

case, "[f]ormer President Trump's alleged efforts to remain in power despite losing the 2020

election were, if proven, an unprecedented assault on the structure of our government." United

States v. Trump, 91 F.4th 1173, 1199 (D.C. Cir. 2024), vacated and remanded on other grounds,

603 U.S. 593 (2024). Mr. Trump also sought to obstruct the certification; his sole objective was

to ensure that no one other than himself was certified as the President. Nor is there any doubt

that Mr. Trump conspired with others to achieve his goal, and that at least one overt act was

committed.

        With three of the four elements of a Section 371 violation established, the Office

anticipated that a central dispute at trial would be whether Mr. Trump pursued his obstructive

purpose by "deceit, craft or trickery, or at least by means that are dishonest." Hammerschmidt,

265 U.S. at 188. The Office concluded that the evidence established beyond a reasonable doubt

that he did.

        The core of Mr. Trump's obstructive scheme was a false narrative of outcome-

determinative voter fraud, which he and his surrogates frequently repeated and widely

disseminated over the course of two months. Crucially, not only was Mr. Trump's voter-fraud

narrative objectively false-he knew that it was false. Mr. Trump's false claims were repeatedly

debunked, often directly to him by the very people best positioned to ascertain their truth.

Campaign personnel told Mr. Trump his claims were unfounded; so did state officials, a White




                                                35
      Case 1:25-cv-00716-BAH            Document 39-4           Filed 04/02/25        Page 445 of 734



House official who engaged with Mr. Trump in his capacity as a candidate, and even his own

running mate. 14   ° For example, Mr. Trump's Campaign Manager informed him that a claim that
had been circulating-that a substantial number of non-citizens had voted in Arizona-was

false. 141 State officials issued public statements dispelling Mr. Trump's claims of widespread

election fraud. 142 Georgia's Secretary of State refuted multiple false claims of election fraud

directly to Mr. Trump, including the false allegation that 5,000 dead people had voted in

Georgia. 143 When Mr. Trump raised various fraud allegations with Michigan's Senate Majority

Leader, he was told that he had lost because he had underperformed with educated females. 144

Vice President Pence told Mr. Trump that he had seen no evidence of outcome-determinative

fraud in the election. 145 Arid, tellingly, a Senior Advisor reiterated to Mr. Trump that Co-

Conspirator 1 would be unable to prove his false fraud allegations in court, to which Mr. Trump

responded, "The details don't matter." 146

         Courts in which Mr. Trump brought numerous lawsuits all rebuffed his claims, which in

some instances prompted him to issue public rebukes acknowledging those decisions. 147 Still


140 See ECF No. 252 at 11-12 & nn.34-40, 13-14 & nn.45-51, 17-18 & n.69, 24 & nn.112-113, 29-30 & nn.136-144,

32-33 & nn.159-160, 38 & nn.189-191, 39 & n.200, 46-47 & nn.241-244; see also SCO-00006256 at 46-50, 70-77;
SCO-12920242 at 1-7 (Int. Rep.); SCO-00014655 at 38-44, 63-66, 91-96, 98-102; SCO-00016750 at 58-63;
SCO-11509251 at 40-42 (Int. Tr.); SCO-12998394 at 4, 6-10 (Tr. of Georgia Secretary of State Call 01/02/2021);
SCO-00829361 at 15-17 (HSC Tr.); SCO-00016926 at 20-22; SCO-00003548 at 171; SCO-00009955 at 109-112.
141 See ECF No. 226 at ,r 18; ECF No. 252 at 17-18 & n.69; SCO-00016750 at 58-63.
142 See ECF No. 226 at ,r 13; ECF No. 252 at 14 & nn.52-53; see also supra at n.12.

143See ECF No. 252 at 29-30 & nn.136-144; SCO-12998394 at 4, 6-10 (Tr. of Georgia Secretary of State Call
01/02/2021).
144 See ECF No. 252 at 32-33 & nn.159-160; SCO-00829361 at 15-17 (HSC Tr.).

145 See ECF No. 252 at 12 & n.40; SCO-00014655 at 38-44.

146 See ECF No. 252 at 11-12 & nn.34-35; SCO-00006256 at 46-49; SCO-12920242 at 1, 4 (Int. Rep.).

147 See ECF No. 252 at 36 & nn.181-182, 41 & nn.208-210, 44-45 & nn.225-230; see also, e.g., Law v. Whitmer, No.

20OC00163 IB, Order at 13-24, 28-34 (Nev. Dist. Ct. Dec. 4, 2020), https://electioncases.osu.edu/wp-
content/uploads/2020/11/Law-v-Gloria-Order-Granting-Motion-to-Dismiss.pdf       [https://perma.cc/32U2-BTA6];




                                                       36
         Case 1:25-cv-00716-BAH             Document 39-4          Filed 04/02/25       Page 446 of 734



 other federal and state officials-some appointed by Mr. Trump, and others who publicly

 supported and voted for him-publicly debunked allegations of outcome-determinative voter

 fraud. 148 Mr. Trump did not reach out to an:y of these officials to ask relevant questions about the

 election because he was not seeking honest answers. This was a pattern revealed throughout the

 investigation: Mr. Trump unquestioningly accepted at face value and amplified election fraud

 claims that benefited his quest to retain power. Conversely, he avoided consulting informed

 sources, such as state election officials, who possessed evidence that could debunk his claims.

 The Office concluded that this consistent pattern would constitute powerful proof at trial that Mr.

 Trump knew the claims he was making were false.

            Mr. Trump's false claims were often divergent from one day to the next and otherwise

internally inconsistent. 149 For example, in Arizona, the conspirators started with the allegation

that 36,000 non-citizens voted in that state; 150 five days later, it was "beyond credulity that a few

hundred thousand didn't vote"; 151 three weeks later, "the bare minimum [was] 40 or 50,000. The

reality is about 250,000"; 152 days after that, the assertion was 32,000; 153 and ultimately, the


Trump v. Eiden, 394 Wis. 2d 629, 633 (Wis. 2020); SCO-00455197, SCO-00455196, SCO-00455195,
SCO- 12987423, SCO-12987422, SCO- l 2 987 42 l (Donald J. Trump Tweets 12/21/2020).
148See ECF No. 252 at 14 & nn.52-53, 20 & nn.86-87, 23 & n.106, 33 & n.165, 38 & n.192, 42 & n.212, 42-43 &
n.216, 46 & nn.238-239; see also supra at n.12; SCO-04976277 (Video of Georgia Secretary of State Press
Conference l 2/07/2020); SCO-11509450 at 103- I 04 (Int. Tr.); SCO-03036930 (Joint Statement on Election Security
11/12/2020); SCO-04952679 (Tweet ll/17/2020); SCO-07167983 (Email from GOP Comms Alert circulating
Associated Press article titled "Barr: No evidence of fraud that'd change election outcome" 12/01/2020).
149 See ECF No. 252 at15 & nn.55-59; SCO-04976384 at 20:46-2 l :05 (Common Sense episode 89 11/25/2020);
SCO-04976459 at 02:06:23-02:07:00 (Video of Arizona State Hearing 11/30/2020); SCO-06628641 at 18:52-19:42
(War Room episode 608 12/24/2020); SCO-06628646 at 35:19-35:45 (War Room episode 625 01/02/2021).
150   See ECF No. 252 at 15 & n.55; SCO-04976384 at 20:46-2 l :05 (Common Sense episode 89 11/25/2020).
151See ECF No. 252 at 15 & n.56; SCO-04976459 at 02:06:23-02:07:00 (Video of Arizona State Hearing
11/30/2020).
152   See ECF No. 252 at 15 & n.57; SCO-06628641 at 18:52-19:42 (War Room episode 608 12/24/2020).
153   See ECF No. 252 at 15 & n.58; SCO-06628646 at 35: 19-35:45 (War Room episode 625 01/02/2021).




                                                        37
  Case 1:25-cv-00716-BAH                Document 39-4           Filed 04/02/25         Page 447 of 734



conspirators landed back where they started, at 36,000-a false figure that they never verified or

corroborated. 154 And in Georgia, the conspirators initially suggested that a large enough number

of dead voters had cast ballots to overcome Mr. Trump's losing margin of about 12,000 voters; 155

one month later, the number was 10,315; 156 three days after that, the assertion was "close to

5,000 people"; 157 and then two days later, the number bounced back to 10,315. 158 Mr. Trump

bears legal responsibility for each of these false claims because they were made by him and his

co-conspirators in furtherance of the conspiracy that he led. See Salinas v. United States, 522

U.S. 52, 63-64 (1997) ("The partners in the criminal plan must agree to pursue the same criminal

objective and may divide up the work, yet each is responsible for the acts of each other."); see

also Fed. R. Evid. 80l(d)(2)(E) (statement by an opposing party's "conspirator during and in

furtherance of the conspiracy" is admissible against that party); United States v. Brockenborrugh,

575 F.3d 726, 735 (D.C. Cir. 2009); United States v. Tarantino, 846 F.2d 1384, 1411-1412 (D.C.

Cir. 1988).

        The Office developed further evidence of Mr. Trump's knowledge that his claims were

untrue from witnesses who reported that he planned to use fraud claims before the election had

even happened.       For instance, in advance of the election, advisors told Mr. Trump that the

election would be close and that initial returns might be misleading, showing an early lead for

Mr. Trump that would diminish as mail-in ballots were counted.                      In response, Mr. Trump

suggested that if that prediction were true-which it ultimately was-he would simply declare

154 See ECF No. 252 at 15 & n.59; SCO-04976283 at 0 1:04:04-01 :04: 13 (Video of Dalton, GA speech 0 1/04/202 l);

SCO-02244118 at 17 (Remarks by Mr. Trump at Save America Rally 0 1/06/2021).
155 See ECF No. 252 at 21 & n.96; SCO-04976323 at 22:43-23:51 (Video of Trump Interview 11/29/2020).

156 SCO-04976407 at 03:29:00-03:29:34 (Video of Georgia Senate Judiciary Subcommittee Hearing 12/30/2020).

157 See ECF No. 252 at 30 & n.142; SCO-12998394 at 3 (Tr. of Georgia Secretary of State Call 0 1/02/2021).

158 See ECF No. 252 at 122-123 & n.592; SCO-04976283 at 53 :25-53 :59 (Video of Dalton, GA speech 0 1/04/2021).




                                                       38
      Case 1:25-cv-00716-BAH              Document 39-4          Filed 04/02/25        Page 448 of 734



 victory before all ballots were counted and a winner was projected. 159 He also made repeated

 public statements in the lead-up to election day in which he sowed public doubt in the election

 results, setting the stage for his later fraud claims. 160 And Mr. Trump made his first statement

 claiming fraud in the election only hours after polls closed-when no investigations had begun,

 much less concluded. 161

          Mr. Trump's intent in spreading knowing falsehoods was further evidenced by statements

 he made to those around him. In private-in contrast with his public false claims-Mr. Trump

 made admissions that reflected his understanding that he had lost. In a private moment, Mr.

Trump confessed to his family members that "it doesn't matter if you won or lost the election.

You still have to fight like hell." 162       When President-elect Biden appeared on television in

November, Mr. Trump said to a staffer, "can you believe I lost to this f'ing guy?" 163 And when

his own Vice President declined to join the conspiracy, Mr. Trump berated him for being "too

honest." 164

         Because the evidence showed that Mr. Trump knew his claims were false, it amply

satisfied the mens rea standard for a Section 371 charge, which would be satisfied by evidence

that Mr. Trump either knew his fraud claims were false or that he acted with deliberate disregard

for their truth or falsity. The concept of deliberate disregard-sometimes referred to as reckless

159 See ECF No. 252 at 5 & nn.2-4; SCO-11621981 at 74-83, 92-93 (Int. Tr.); SCO-00016750 at 14-18, 27-30;

SCO-00006819 at 9-12, 19-20; SCO-00003548 at 8-29; SCO-00016118 at 144-145.
160 See ECF No. 252 at 6 & nn.5-10; SCO-00712149 at 37:20 (Video of Trump Interview on Fox News 07/19/2020);

SCO-12998418 (Donald J. Trump Tweet 07/30/2020); SCO-12992141 at 57:33 (Video of Oshkosh, WI Rally
08/17/2020); SCO-12992142 at 22:08 (Video of Trump Speech 08/24/2020); SCO-12992143 at 03: 11-03:28 (Video
of Trump Statement 10/27/2020).
161 See ECF No. 252 at 7-8 & n. 16; SCO-04976258 (Video of White House Speech 11/04/2020).

162 See ECF No. 252 at 14-15 & n.54; SCO-00009250 at 156; SCO-11529771 at 99-102 (Int. Tr.).

163 SCO-11521307 at 88 (Int. Tr.).

164 See ECF No. 252 at 63 & n.338; SCO-00014442 at 34 (Pence, So Help Me Godp. 446).




                                                     39
  Case 1:25-cv-00716-BAH                Document 39-4            Filed 04/02/25         Page 449 of 734



disregard, or reckless or deliberate indifference-has deep roots in the law of fraud. See US. ex

rel. Schutte v. Super Valu Inc., 598 U.S. 739, 750-752 (2023); 1 J. Story, Commentaries on Equity

Jurisprudence § 193 (10th ed. 1870) ("Whether the party, thus misrepresenting a material fact,

knew it to be false, or made the assertion without knowing whether it were true or false, is

wholly immaterial; for the affirmation of what one does not know or believe to be true is equally,

in morals and law, as unjustifiable as the affirmation of what is known to be positively false.").

That concept is reflected in case law and jury instructions for the District of Columbia, as well as

precedent from every other circuit. See, e.g., United States v. Philip Morris USA Inc., 566 F.3d

1095, 1121 (D.C. Cir. 2009); 1 Criminal Jury Instructions for the District of Columbia 5.200

(2024). 165 Here, the evidence showed that Mr. Trump decided, even before the election, that he

would allege outcome-determinative fraud, whether it occurred or not, if he were not declared

the winner, and he adhered to that plan-repeating false claims that he knew to be untrue.

        Although Mr. Trump's conduct fell comfortably within the established elements of a

defraud-clause offense, the Office noted that the Supreme Court has in several recent decisions

limited the reach of other federal fraud and obstruction statutes. See, e.g., Ciminelli v. United

States, 598 U.S. 306 (2023) (reversing conviction of construction contractor for wire fraud, 18

U.S.C. § 1343, for scheming with public official to tailor bid requirements for government

contracts to favor himself because the government did not prove the defendant deprived the

victim of a traditional property interest); Kelly v. United States, 590 U.S. 391 (2020) (reversing

165 See also, e.g., United States v. Correia, 55 F.4th 12, 26 (1st Cir. 2022); Knickerbocker Merchandising Co. v.

United States, 13 F.2d 544, 546 (2d Cir. 1926); United States v. Coyle, 63 F.3d 1239, 1243 (3d Cir. 1995); United
States v. Hester, 880 F.2d 799, 803 (4th Cir. 1989); United States v. Dillman, 15 F.3d 384, 392-393 (5th Cir. 1994);
United States v. Kennedy, 714 F.3d 951,958 (6th Cir. 2013); United States v. Schwartz, 787 F.2d 257,265 (7th Cir.
1986); United States v. Marley, 549 F.2d 561, 563-564 (8th Cir. 1977) ("It must also be noted that the courts have
long recognized that scienter may be established where reckless disregard of truth or falsity is present."); United
States v. Dearing, 504 F.3d 897,903 (9th Cir. 2007); United States v. Cochran, 109 F.3d 660,665 (10th Cir. 1997);
United States v. Clay, 832 F.3d 1259, 1311 (I Ith Cir. 2016).




                                                        40
     Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25      Page 450 of 734



 convictions for wire fraud, 18 U.S.C. § 1343, and federal program fraud, 18 U.S.C. § 666, where

 defendants aimed to inflict political retribution on mayor by closing lanes of a bridge that served

 the mayor's city because the object of the scheme was not to obtain money or property); Skilling

 v. United States, 561 U.S. 358 (2010) (paring back honest-services fraud statute, 18 U.S.C.

 § 1346, to reach only core bribery and kickbacks and reversing conviction of executive who was

 convicted of making false statements to inflate his company's value but was not alleged to have

 taken bribes or kickbacks for his efforts); Arthur Andersen LLP v. United States, 544 U.S. 696

 (2005) (requiring showing of knowingly corrupt conduct under obstruction of justice statute, 18

 U.S.C. § 1512(b)(2), and reversing conviction of accounting firm convicted of shredding

documents in advance of an SEC investigatory demand based on failure of jury instructions to

convey the requisite consciousness of wrongdoing). Given these decisions restricting the reach

of other fraud and corruption statutes, the Office considered whether the Supreme Court might

also adopt a new construction of the defraud clause in Section 371, such as one that would for

the first time limit it to money or property fraud.

        The Office concluded, however, that the creation of such a new rule would not be

supported in the law given that the well-established elements of a defraud-clause offense are

firmly grounded in the statute's text, history, and longstanding judicial precedent. For more than

a hundred years, the Supreme Court has "stated repeatedly that the fraud covered by the statute

reaches any conspiracy for the purpose of impairing, obstructing, or defeating the lawful function

of any department of Government" and that this branch of liability is distinct from money-or-

property limitations in other areas of fraud law. Tanner v. United States, 483 U.S. 107, 128

(1987) (citation and quotations omitted); see Dennis v. United States, 384 U.S. 855, 861 (1966)

("It has long been established that this statutory language is not confined to fraud as that term has




                                                 41
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25      Page 451 of 734



been defined in the common law.       It reaches any conspiracy for the purpose of impairing,

obstructing, or defeating the lawful function of any department of government.") (citation and

quotations omitted); Glasser v. United States, 315 U.S. 60, 66 (1942) (upholding prosecution of a

federal prosecutor for conspiring to receive bribes to influence his official duties; no financial

fraud against the United States alleged: "The indictment charges that the United States was

defrauded by depriving it of its lawful governmental functions by dishonest means; it is settled

that this is a 'defrauding' within the meaning of Section 37 of the Criminal Code," the

predecessor to Section 371); Hammerschmidt, 265 U.S. at 188 ("To conspire to defraud the

United States . . . also means to interfere with or obstruct one of its lawful governmental

functions by deceit, craft or trickery, or at least by means that are dishonest. It is not necessary

that the government shall be subjected to property or pecuniary loss by the fraud, but only that its

legitimate official action and purpose shall be defeated by misrepresentation, chicane, or the

overreaching of those charged with carrying out the governmental intention."); Haas v. Henkel,

216 U.S. 462, 4 79 (1910) ("[I]t is not essential that such a conspiracy shall contemplate a

financial loss or that one shall result. The statute is broad enough in its terms to include any

conspiracy for the purpose of impairing, obstructing, or defeating the lawful function of any

department of government.").

       Against the backdrop of that Supreme Court precedent, Congress has reenacted-and

indeed expanded the scope of-the defraud clause, reflecting congressional ratification of the

Court's construction of it. See, e.g., Forest Grove Sch. Dist. v. TA., 557 U.S. 230, 239-240

(2009) ("Congress is presumed to be aware of an administrative or judicial interpretation of a

statute and to adopt that interpretation when it re-enacts a statute without change.") (citation and

quotations omitted).    In 1948, for instance, when Congress codified the general conspiracy




                                                 42
         Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25         Page 452 of 734



  statute, 18 U.S.C. § 371, where the defraud clause currently resides, see Pub. L. No. 80-772, 62

  Stat. 701, it was already "settled" that "defraud[ing]" the United States "by depriving it of its

 lawful governmental functions by dishonest means ... is a 'defrauding' within the meaning of"

 the defraud clause, Glasser, 315 U.S. at 66, and at that time, Congress added the words "or any

 agency thereof' in the defraud clause after "United States." Pub. L. No. 80-772, 62 Stat. 701.

 The House Report from the Judiciary Committee accompanying the pertinent bill specifically

 stated that the amendment was designed "[t]o reflect the construction placed upon [the

 predecessor statute] by the courts."              H.R. Rep. No. 80-304, at A28 (1947).                 And it has

 consistently been the Department's position in litigation that the defraud clause proscribes

 conspiracies to obstruct a lawful function of the federal government through deceit. See, e.g.,

 Gas Pipe, Inc. v. United States, No. 21-183, 2021 WL 5193105, Brief in Opp'n (U.S. Oct. 8,

2021) (stating petitioners' contention that defraud clause is limited to money and property

schemes is "inconsistent with over a century of [Supreme Court] precedent"); Flynn v. United

States, No. 20-1129, 2021 WL 7210413, Brief in Opp'n (U.S. May 19, 2021) (stating defraud

clause is not unconstitutionally vague in part because of the Supreme Court's longstanding

interpretation that interference or obstruction must be by deceit or dishonest means); Coplan v.

United States, No. 12-1299, 2013 WL 3324197, Brief in Opp'n (U.S. July 1, 2013) (explaining

that petitioner's claim that the decisions in mail- and wire-fraud cases like McNally v. United

States, 483 U.S. 350 (1987), and Skilling undermine "longstanding, congressionally adopted

construction of the defraud clause" is erroneous and misplaced, and "disregards important

limitations inherent in the defraud clause," including the requirement that "a conspiracy under

the defraud clause must be deceptive or deceitful"). 166 Accordingly, the Office concluded that


166   The Supreme Court denied certiorari in each of these cases. See Gas Pipe, Inc. v. United States, 142 S. Ct. 484




                                                          43
  Case 1:25-cv-00716-BAH               Document 39-4            Filed 04/02/25        Page 453 of 734



Mr. Trump's conduct fell within the scope of Section 371 given the statute's longstanding,

congressionally ratified construction, and its historic use by the Justice Department.

        The Office also recognized various limiting principles in the application of Section 371

that separate Mr. Trump's conduct from mere hardscrabble politics. A defraud-clause violation,

as honed by years of judicial decisions, including repeated applications by the Supreme Court,

requires not only an agreement among co-conspirators, but identification of a specific function of

the federal government, the intent to obstruct that function through deceit, and an overt act. See,

e.g., United States v. Johnson, 383 U.S. 169, 172, 184-185 (1966) (in exchange for undisclosed

"campaign contributions" and "legal fees," congressman conspired to defeat the lawful functions

of the Department of Justice by urging dismissal of pending indictments). First, a defraud clause

conspiracy must be targeted at a lawful function of the United States or any agency thereof. See,

e.g., United States v. Haldeman, 559 F.2d 31, 121 (D.C. Cir. 1976) ("The unlawful agreement to

attempt to use the CIA to interfere with the investigation of the Watergate break-in was thus

fairly charged in Count 1 of the indictment as one of the means by which the defendants intended

to accomplish one of the principal objects of their conspiracy defrauding the United States of its

right to have its officials and agencies transact their business honestly, impartially, and free from

corruption or undue influence or obstruction."). In contrast, a conspiracy targeted at a private

party or at a state or local government does not suffice, even if the entity receives federal funds

or "serve[s] as an intermediary performing official functions on behalf of the Federal

Government." Tanner, 483 U.S. at 130-131. Second, obstruction of the governmental function

must be "a purpose or object of the conspiracy, and not merely a foreseeable consequence of the

conspiratorial scheme." United States v. Goldberg, 105 F.3d 770, 773 (1st Cir. 1997) (emphasis


(2021); Flynnv. United States, 141 S. Ct. 2853 (2021); Coplanv. United States, 571 U.S. 819 (2013).




                                                       44
     Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25         Page 454 of 734



 m original) (citing Dennis, 384 U.S. at 861).         Thus, for example, financial cnmes do not

 "automatically become federal conspiracies to defraud the IRS," simply because the crime may

 have foreseeable tax implications. Id. And this requirement means that the conspiracy must be

 aimed at defeating and obstructing the government function, rather than simply participating in

 it. Third, the defraud clause "is limited only to wrongs done 'by deceit, craft or trickery, or at

 least by means that are dishonest." Hammerschmidt, 265 U.S. at 188. Fourth, the overt-act

 requirement provides another limitation, the function of which is "to manifest that the conspiracy

 is at work, and is neither a project still resting solely in the minds of the conspirators nor a fully

 completed operation no longer in existence." Yates v. United States, 354 U.S. 298, 334 (1957)

(citation and quotations omitted), overruled on other grounds by Burks v. United States, 437 U.S.

 1 (1978). Finally, while a court in the District of Columbia has stated that materiality is not an

element of a defraud-clause conspiracy, see Concord Mgmt. & Consulting LLC, 34 7 F. Supp. 3d

at 50 n.5, the Office was prepared to prove the materiality of Mr. Trump's deceptive statements

and to offer a materiality instruction as another limitation on the scope of Section 371. Under

that limitation, even conspirators who make knowingly false statements with an obstructive

intent will not violate the defraud clause unless their statements are material.

        All of these requirements for establishing a conspiracy to defraud under Section 371,

taken collectively, ensure that common political conduct or political speech does not fall within

the scope of the defraud clause. The evidence collected during the investigation met these

requirements as to Mr. Trump's conduct.

       B.      Obstruction and Conspiracy to Obstruct (18 U.S.C. § 1512(k) and (c)(2))

       The federal statute prohibiting obstruction of an official proceeding makes it a crime to

"corruptly (1) alter[], destroy[], mutilate[], or conceal[] a record, document, or other object, or

attempt[] to do so, with the intent to impair the object's integrity or availability for use in an


                                                 45
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25     Page 455 of 734



official proceeding; or (2) otherwise obstruct[], influence[], or impede[] any official proceeding,

or attempt(] to do so." 18 U.S.C. § 1512(c). A separate provision defines the term "official

proceeding" to include a "proceeding before the Congress." 18 U.S.C. § 1515(a)(l)(B).

       In Fischer v. United States, 603 U.S. 480 (2024), decided during the pendency of Mr.

Trump's immunity appeal, the Supreme Court clarified the scope of an obstruction offense under

Section 1512(c)(2), holding that the statute applies only when a defendant impairs (or attempts to

impair) "the availability or integrity for use in an official proceeding of records, documents,

objects, or ... other things used in the proceeding." Id. at 498. In language that applies directly

to the allegations in the superseding indictment, the Supreme Court explained that Section

1512(c)(2)'s criminal prohibition includes "creating false evidence." Id. at 491. Before seeking

the original indictment-which, like the superseding indictment, alleged that one component of

Mr. Trump's and his co-conspirators' obstruction involved replacing valid elector certificates

from the contested states with false ones they had manufactured-the Office anticipated the

possibility of such a result in Fischer and confirmed that the evidence would prove Mr. Trump's

guilt beyond a reasonable doubt even under a narrow interpretation of Section 1512(c)(2). See

ECF No. 139 at 20-21. In construing Section 1512(c)(2) to reach impairing or attempting to

impair the integrity or availability of records, documents, or other objects through "creating false

evidence," the Supreme Court cited United States v. Reich, 479 F.3d 179, 183, 185-187 (2d Cir.

2007) (Sotomayor, J. ), in which a defendant was convicted under Section 1512(c)(2) after he

forged a court order and sent it to an opposing party intending to cause that party to withdraw a

mandamus petition then pending before an appellate court.         Just as the defendant in Reich

violated Section 1512(c)(2) by "inject[ing] a false order into ongoing litigation to which he was a

party," id. at 186, the evidence showed that the co-conspirators created fraudulent electoral




                                                 46
      Case 1:25-cv-00716-BAH              Document 39-4          Filed 04/02/25        Page 456 of 734



 certificates that they intended to introduce into the congressional certification proceeding on

 January 6 to obstruct it. 167

         The Office was also prepared to prove that Mr. Trump willfully caused his supporters to

 obstruct and attempt to obstruct the proceeding by summoning them to Washington, D.C., and

 then directing them to march to the Capitol to cause the Vice President and legislators to reject

 the legitimate certificates and instead rely on the fraudulent electoral certificates. 168 See 18

 U.S.C. § 2(b) (making a defendant criminally liable for "willfully caus[ing] an act to be done

 which if directly performed by him or another would be" a federal offense); United States v.

 Hsia, 176 F.3d 517, 522 (D.C. Cir. 1999) (upholding a conviction for willfully causing a

 violation of 18 U.S.C. § 1001).         The Supreme Court's opinion in Fischer therefore did not

undermine the viability of the Section 1512 counts.

         Much of the evidence that supports the Section 3 71 conspiracy to defraud likewise proves

that Mr. Trump and co-conspirators violated Section 1512(k) and Section 1512(c)(2).                         To

demonstrate a violation of Section 1512(c )(2) following Fischer, the government must prove (1)

the defendant obstructed, influenced, or impeded an official proceeding, or attempted to do so,

(2) in the course of doing so, the defendant committed or attempted to commit an act that

 167 See ECF No. 252 at 48-49 & nn.251-254, 51-52 & n.274, 56-57 & nn.302-307, 58 & n.312, 65 & n.352;

SCO-02341381 (Fraudulent "Arizona's Electoral Votes for President and Vice President"); SCO-02341386
(Fraudulent "Georgia's Electoral Votes for President and Vice President"); SCO-02341398 (Fraudulent "Michigan's
Electoral Votes for President and Vice President"); SCO-02341415 (Fraudulent "Nevada's Electoral Votes for
President and Vice President"); SCO-02341409 (Fraudulent "New Mexico's Electoral Votes for President and Vice
President"); SCO-02341435 (Fraudulent "Pennsylvania's Electoral Votes for President and Vice President");
SCO-02341449 (Fraudulent "Wisconsin's Electoral Votes for President and Vice President"); SCO-00310626
(Co-Conspirator 5 memo 12/06/2020); SCO-00039408 (Email from Co-Conspirator 5 12/08/2020); SCO-00309946
(Email from Co-Conspirator 5 to Co-Conspirator 1 12/13/2020); SCO-12184337, SCO-12184338 (Email from
Co-Conspirator 2 to Co-Conspirator 5 and Co-Conspirator 6, with attachment 12/23/2020) (memo); SCO-12101300,
SCO-12101301 (Email from Co-Conspirator 2 to Co-Conspirator 6, with attachment O1/03/2021) (memo).
168 See ECF No. 252 at 72- 73 & nn.405-407, 74 & nn.411-414, 75 & n.422, 76-78 & nn.428-444, 80 & n.462; see
also, e.g., SCO-00455253, SCO-12987427 (Donald J. Trump Tweet 12/19/2020); SCO-00455068, SCO-12987393
(Donald J. Trump Tweet Ol /01/2021 ); SCO-02244118 (Remarks by Mr. Trump at Save America Rally O1/06/2021).




                                                     47
  Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 457 of 734



impaired the integrity or rendered unavailable records, documents, objects, or other things for

use in the official proceeding, (3) the defendant intended to impair the integrity of or render

unavailable such records, documents, objects, or other things for use in the official proceeding,

and (4) the defendant acted corruptly. See United States v. Baez, No. 21-cr-507, ECF No. 106 at

8 (D.D.C. Sept. 23, 2024) (describing elements required to establish a violation of Section

1512(c)(2) following Fischer).

       Mr. Trump's conduct establishes each of these elements beyond a reasonable doubt. The

congressional certification proceeding was an official proceeding for purposes of Section 1512,

as every district court judge in the District of Columbia to have considered this question has

concluded, see United States v. Bingert, 605 F. Supp. 3d 111, 120 (D.D.C. 2022), and as the D.C.

Circuit has agreed, see Fischer, 64 F.4th at 342-343 (D.C. Cir. 2023), vacated and remanded on

other grounds, 603 U.S. 480 (2024). The evidence described above supporting the Section 371

charge also establishes Mr. Trump's knowingly obstructive conduct. And as described above,

Mr. Trump willfully caused others to attempt to obstruct the certification proceeding on

January 6.

       Finally, the Government was prepared to prove Mr. Trump's corrupt intent-under any

definition-beyond a reasonable doubt. To act "corruptly" means (1) acting dishonestly, (2)

intending the use of unlawful means, (3) violating a legal duty or causing or seeking to cause

someone else to violate a legal duty, or (4) seeking an unlawful or improper benefit or advantage.

Acting corruptly also means acting with consciousness of wrongdoing. See United States v.

Robertson, 86 F.4th 355, 368-369 (D.C. Cir. 2023); United States v. !Yforrison, 98 F.3d 619, 630

(D.C. Cir. 1996); Arthur Andersen LLP, 544 U.S. at 706-707 (2005).               Mr. Trump and

co-conspirators used deceptive and dishonest means; he intended the use of independently




                                               48
      Case 1:25-cv-00716-BAH                  Document 39-4             Filed 04/02/25          Page 458 of 734



 criminal means to obstruct the congressional certification proceeding; he and co-conspirators

 plainly sought to cause state and federal officials to violate a legal duty; and Mr. Trump acted

 "with an intent to procure an unlawful benefit either for oneself or for some other person."

 Fischer, 64 F.4th at 352 (Walker, J., concurring) (citation and quotations omitted).                              Most

 basically, Mr. Trump sought "unlawfully [to] secure a professional advantage-the presidency,"

 id. at 356 n.5-to which he was not lawfully entitled.

          C.       Conspiracy Against Rights (18 U.S.C. § 241)

          Section 241 makes it unlawful for two or more persons to "conspire to injure, oppress,

threaten, or intimidate any person in any State, Territory, Commonwealth, Possession, or District

 in the free exercise or enjoyment of any right or privilege secured to him by the Constitution or

laws of the United States." A violation of Section 241 requires proof of three elements: (1) Mr.

Trump entered into a conspiracy, (2) to willfully injure, oppress, threaten, or intimidate a person

in the United States, (3) in the exercise or enjoyment of a right secured by the Constitution or

federal law. 18 U.S.C. § 241; see, e.g., United States v. Epley, 52 F.3d 571, 575-576 (6th Cir.

1995).

         Mr. Trump's conduct meets each element. 169 The right to vote for President-based on

the determination by state legislatures to appoint electors based on their constituents' votes-is

"fundamental." Bush v. Gore, 531 U.S. 98, 104 (2000); cf Burdick v. Takushi, 504 U.S. 428, 441

( 1992) ("the right to vote is the right to participate in an electoral process that is necessarily

structured to maintain the integrity of the democratic system"); United States v. Robinson, 813

F.3d 251, 255-256 (6th Cir. 2016) (Section 241 "prohibits interference with a voter's right to cast



169 The Office further set forth its position on the applicability of Section 241   in response to Mr. Trump's motion to
dismiss the charge in the district court. See ECF No. 139 at 22-25.




                                                           49
  Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25      Page 459 of 734



a ballot for his or her preferred candidate ... and prohibits interference with the right of voters to

have their votes free from dilution by unlawfully procured votes."). It is a right rooted in the

principles of accountability to and consent by the governed, which has distinguished this nation

from its founding. As the Supreme Court has recognized, "[t]he right to vote freely for the

candidate of one's choice is of the essence of a democratic society, and any restrictions on that

right strike at the heart of representative government." Reynolds v. Sims, 377 U.S. 533, 555

(1964); see also Yick Wo v. Hopkins, 118 U.S. 357, 370 (1886) (voting is "regarded as a

fundamental political right, because [it is] preservative of all rights"); Wesberry v. Sanders, 376

U.S. 1, 17 (1964) ("No right is more precious in a free country than that of having a voice in the

election of those who make the laws under which, as good citizens, we must live. Other rights,

even the most basic, are illusory if the right to vote is undermined.").

        Mr. Trump acknowledged that voting in a presidential election is a fundamental right

under the Constitution. See ECF No. 163 at 23 (arguing that "urging States or Congress to use

their power to select or to count electors does not affect the 'fundamental' right to vote because it

does not arbitrarily 'value one person's vote over that of another,' Bush, 531 U.S. at 104-105, or

restrict the exercise of that right; rather, it encourages the States and Congress to exercise their

constitutional prerogatives a certain way"). Indeed, given that all states have made the popular

vote an integral means of appointing electors, the right to vote in a presidential election is among

the most precious federal rights protected by the Constitution. Cf United States v. Classic, 313

U.S. 2 99, 314 (1941) (when a state makes a primary election "an integral part of the procedure

for the popular choice of a Congressman," it becomes "a right established and guaranteed by the

Constitution"); see also Trump v. Anderson, 601 U.S. 100, 115-116 (2024) (per curiam) (noting




                                                  50
     Case 1:25-cv-00716-BAH           Document 39-4         Filed 04/02/25      Page 460 of 734



 the "uniquely important national interest" in "a Presidential election" because "the President ...

 represents all the voters in the Nation") (citation, quotations, and emphasis omitted).

        This history of the Section 241 offense with which Mr. Trump was charged, along with

 courts' universal and longstanding recognition of the voting rights protected by that statute,

 confirm that protecting the right to vote is critical to the existence of the right. Section 241 's

predecessor statute was passed as part of the Enforcement Act of 1870, a Reconstruction-era law

to address the "continued denial of rights" to Black citizens, "sometimes accompanied by violent

assaults." United States v. Price, 383 U.S. 787, 801-802 (1966). That Act sought to combat

widespread anti-Reconstruction violence, which included acts of terror aimed at disenfranchising

Black voters. The same year as the Act's passage, Congress established the U.S. Department of

Justice, and the Department zealously pursued its mission to enforce voting rights in the

Reconstruction Era.      Through the application and interpretation of Section 241 and its

predecessor statute, courts have repeatedly underscored the importance of the right to vote.

Courts have held that the right encompasses the ability to cast a vote, Ex parte Yarbrough (The

Ku-Klux Cases), 110 U.S. 651, 657-658 (1884) (protecting right of an emancipated person to

vote), and to have that vote counted, United States v. Afosley, 238 U.S. 383, 386 (1915) ("We

regard it as equally unquestionable that the right to have one's vote counted is as open to

protection by Congress as the right to put a ballot in a box."). They have further confirmed that

one's vote cannot lawfully be denied, destroyed, or diluted. See, e.g., Classic, 313 U.S. at 321-

322 (holding that Section 241 's predecessor statute applied to conspiracies to prevent the official

counting of ballots in a primary election); United States v. Saylor, 322 U.S. 385 (1944) (Section

241 applies to prohibit conspiracies to dilute legitimate votes by stuffing the ballot box); United

States v. Pleva, 66 F.2d 529, 530 (2d Cir. 1933) (board of elections inspectors charged with




                                                 51
  Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25         Page 461 of 734



falsely tabulating ballots to favor certain candidates; convictions reversed on separate jury

grounds); United States v. Skurla, 126 F. Supp. 713, 715 (W.D. Pa. 1954) (defendants charged for

casting and causing to be cast false and forged ballots, causing an incorrect vote tally, and using

unqualified individuals to impersonate lawful voters); United States v. Townsley, 843 F.2d 1070,

1073-1075 (8th Cir. 1988) (scheme to discard certain absentee ballots).

        Mr. Trump and co-conspirators sought to deprive-that is, injure or oppress-citizens of

their constitutional right to have their presidential election votes counted. The words "injure or

oppress" in Section 241 are not used in any technical sense, but cover a variety of conduct

intended to prevent, harm, inhibit, hinder, frustrate, obstruct, or interfere with the free exercise

and enjoyment of a right. See United States v. Handy, No. 22-cr-96, 2023 WL 6199084, at *3

(D.D.C. Sept. 22, 2023); United States v. Mackey, 652 F. Supp. 3d 309, 336-337 (E.D.N.Y.

2023). Although they were not in a backroom altering the vote tallies in a local election, or

stuffing falsified ballots into the ballot boxes, as alleged in prior cases charged under this statute,

Mr. Trump and co-conspirators nonetheless sought the same result: to effectively cast aside

legitimate votes in a manner that would have deprived citizens of their right to vote and have

their votes counted. As Co-Conspirator 1 admitted, their primary objective was to "just flat out

change the vote, deduct that number of votes from the - declare those votes, 300,000 votes in

Philadelphia, illegal, unlawful. Reduce the number by 300,000." 170 Mr. Trump attempted to

carry out this objective in multiple ways. He urged state officials to disregard the legitimate

majority of votes for Mr. Biden and pressured and threatened Georgia's Secretary of State to

"find" more than 11,000 votes to dilute Mr. Biden's vote count in the state. 171 And he urged Mr.


170 SCO-06628582 at 13:07-13:22 (War Room episode 491    11/11/2020).
171 See ECF No. 252 at 29 & n.137; SCO-12998394 at 12 (Tr. of Georgia Secretary of State Call 01/02/2021).




                                                       52
      Case 1:25-cv-00716-BAH              Document 39-4           Filed 04/02/25       Page 462 of 734



 Pence to discard the legitimate electoral certificates that reflected millions of citizens' votes in

 the targeted states. 172 The evidence collected showed that Mr. Trump targeted this voting right

 with precision: he centered his false claims of election fraud on select states, or cities and

 counties within those states, with large numbers of voters who had not chosen to reelect him.

         D.       Defenses

         Before presenting the original indictment to the grand jury, the Office considered Mr.

 Trump's potential defenses to these charges, including a good faith defense, an advice of counsel

 defense, and constitutional defenses. The Office concluded that each of the defenses was legally

or factually flawed and thus would not prevail.

         First, it was expected that Mr. Trump would argue that he acted in good faith when he

sought to stop the transfer of presidential power because he genuinely believed that outcome-

determinative fraud had undermined the election's integrity and caused him to lose. As set forth

above in Section II.A, the Office developed strong proof that Mr. Trump knew that his election

fraud claims were false. For example, Mr. Trump made persistent claims of a large number of

dead voters in Georgia-including in his speech at the Ellipse on January 6-even though his

Senior Campaign Advisor and Georgia's Secretary of State had told him that the claims were

untrue. 173 He spread lies-including in his Ellipse speech-of sinister, fraudulent "vote dumps"

in Michigan, even after Michigan's Senate Majority Leader told him that nothing suspicious had

occurred. 174    And Mr. Trump repeatedly made provably false allegations about fraud in



172 See ECF No. 252 at 66-67 & nn.361-365, 71 & nn.392-399; SCO-00014655 at 198-200.

173 See ECF No. 252 at 21 & n.95, 30 & n.142; SCO-02244118 at 16 (Remarks by Mr. Trump at Save America Rally

01/06/2021); SCO-00011882 at 33-37; SCO-12998394 at 6 (Tr. of Georgia Secretary of State Call 01/02/2021).
174 See ECF No. 252 at 32-33 & n.160; SCO-02244118 at 18 (Remarks by Mr. Trump at Save America Rally

01/06/2021); SCO-11545470 at 62-64 (Int. Tr.); SCO-00829361 at 16-17 (HSC Tr.).




                                                      53
      Case 1:25-cv-00716-BAH       Document 39-4        Filed 04/02/25      Page 463 of 734



Pennsylvania, despite having been told by the Chairman of the state Republican Party that the

vote count was occurring as expected. 175

         Even if Mr. Trump maintained that he sincerely believed he won the election (a

conclusion unsupported by the evidence collected in the investigation), it would not provide a

defense to the Section 371 charge. A defendant may not use deceit to obstruct a government

function even if he believes the function itself to be unconstitutional because "a claim of

unconstitutionality will not be heard to excuse a voluntary, deliberate and calculated course of

fraud and deceit." Dennis, 384 U.S. at 867. "One who elects such a course as a means of self-

help may not escape the consequences by urging that his conduct be excused because the statute

which he sought to evade is unconstitutional." Id       There are "appropriate and inappropriate

ways to challenge" perceived illegalities. Id Just as the president of a company may be guilty

of fraud for using knowingly false statements of fact to defraud investors even if he subjectively

believes that his company will eventually succeed, see, e.g., United States v. Arif, 897 F.3d 1, 9-

10 & n.9 (1st Cir. 2018); United States v. Kennedy, 714 F.3d 951, 958 (6th Cir. 2013); United

States v. Chavis, 461 F.3d 1201, 1209 (10th Cir. 2006), Mr. Trump could be convicted of using

deceit to obstruct the government function by which the results of the presidential election are

collected, counted, and certified, even if he established that he subjectively believed that he had

reason to do so because of his claims that the election was "rigged."

          It bears emphasis that Mr. Trump's knowing deceit was pervasive throughout the charged

conspiracies. This was not a case in which Mr. Trump merely misstated a fact or two in a

handful of isolated instances. On a repeated basis, he and co-conspirators used specific and



175See ECF No. 252 at 37-38 & nn.187-190; SCO-02244118 at 11-12 (Remarks by Mr. Trump at Save America
Rally 0 1/06/202 l ); SCO-00016926 at 20-24.




                                                 54
      Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25        Page 464 of 734



 knowingly false claims of election fraud in his calls and meetings with state officials, in an effort

 to induce them to overturn the results of the election in their states; 176 to his own Vice President,

 to induce Mr. Pence to violate his duty during the congressional certification proceeding; 177 and

 on January 6, as a call to action to the angry crowd he had gathered at the Ellipse and sent to the

 Capitol to disrupt the certification proceeding. 178 Mr. Trump and co-conspirators used other

 forms of deceit as well-including when they falsely represented that the fraudulent electoral

 votes would be used only if Mr. Trump prevailed in pending contests in their states, 179 and when

 they caused the fraudulent electors to falsely swear that they were duly certified and send those

false certifications to Congress. 180 Regardless of any claim that Mr. Trump subjectively believed

the outcome of the election was unfair or "rigged," the Office concluded that these knowingly

deceitful statements and acts would overcome any good faith defense.

         The Office also expected that Mr. Trump might claim that his consultation with

attorneys-several of whom were co-conspirators-should negate a finding that he acted with a



176See ECF No. 252 at 17 & nn.67-68, I 8 & n.72, 29-30 & nn.139-144, 32 & n.159; SCO- 12733339 at 4 (Int. Rep.);
SCO-00767550 at 10-11 (HSC Tr.); SCO-11509251 at 41-42 (Int. Tr.); SCO-12998394 at 1-3 (Tr. of Georgia
Secretary of State Call O1/02/2021); SCO-00829361 at 16-17 (HSC Tr.).
177See ECF No. 252 at 67 & n.365; SCO-00014655 at 155-158, 170-171; SCO-04982309 (Handwritten notes
12/29/2020); SCO-049823 30 at I (Handwritten notes OI /04/2021 ).
  See ECF No. 252 at 75-76 & nn.423-428; SCO-02244118 at 6, 12-22 (Remarks by Mr. Trump at Save America
178

Rally O1/06/2021).
179 See ECF No. 252 at 50 & n.260, 53 & n.282; SCO-00009955 at 8-11; SCO-12949797 at 82-83 (Int. Tr.);

SCO-00016926 at 48-50; SCO-00009540 at 15-19.
180 See ECF No. 252 at 56 & n.30 I; SCO-02341381 (Fraudulent "Arizona's Electoral Votes for President and Vice
President"); SCO-023413 86 (Fraudulent "Georgia's Electoral Votes for President and Vice President");
SCO-02341398 (Fraudulent "Michigan's Electoral Votes for President and Vice President"); SCO-02341415
(Fraudulent "Nevada's Electoral Votes for President and Vice President"); SCO-02341409 (Fraudulent "New
Mexico's Electoral Votes for President and Vice President"); SCO-02341435 (Fraudulent "Pennsylvania's Electoral
Votes for President and Vice President"); SCO-02341449 (Fraudulent "Wisconsin's Electoral Votes for President and
Vice President"). Even in Pennsylvania and New Mexico, where the fraudulent certificates contained future
contingent language, the cover memoranda and envelopes sent to Congress represented that the documents were the
state's "Electoral Votes for President and Vice President."




                                                       55
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25     Page 465 of 734



criminal state of mind. In pretrial litigation, the Court granted the Government's motion that Mr.

Trump should be required to declare whether he intended to employ such a defense and, if he

did, to produce the discovery required by the attendant waiver of Mr. Trump's attorney-client

privilege. ECF No. 147. A defendant's claim that he relied in good faith on his attorney's advice

is "not an affirmative defense that defeats liability even if the jury accepts the government's

allegations as true," but functions instead as "evidence that, if believed, can raise a reasonable

doubt in the minds of the jurors about whether the government has proved the required element

of the offense that the defendant had an 'unlawful intent."' United States v. Scully, 877 F.3d 464,

476 (2d Cir. 2017) (quoting United States v. Beech-Nut Nutrition Corp., 871 F.2d 1181, 1194 (2d

Cir. 1989)). Under D.C. Circuit law, an advice-of-counsel defense consists of two elements: the

defendant (1) "'relied in good faith on the counsel's advice that his course of conduct was legal"'

and (2) "'made full disclosure of all material facts to his attorney before receiving the advice at

issue."' United States v. Gray-Burriss, 920 F.3d 61, 66 (D.C. Cir. 2019) (quoting United States v.

DeFries, 129 F.3d 1293, 1308 (D.C. Cir. 1997)).

       The Office concluded that if Mr. Trump chose to raise such a defense, it would fail

because an advice-of-counsel defense is not available "where counsel acts as an accomplice to

the crime."   United States v. West, 392 F.3d 450, 457 (D.C. Cir. 2004) (Roberts, J.).         The

evidence showed that the central attorneys on whom Mr. Trump may have relied for such a

defense, such as Co-Conspirator 1 or Co-Conspirator 2, were "partner[s] in a venture," with the

result that any advice-of-counsel defense necessarily would fail.      Id. (citing United States v.

Carr, 740 F.2d 339,347 (5th Cir. 1984)); cf United States v. Cintolo, 818 F.2d 980,990 (1st Cir.

1987) ("A criminal lawyer has no license to act as a lawyer-criminal.").         Co-Conspirator 1

assisted Mr. Trump in using knowingly false claims of election fraud in furtherance of the




                                                56
         Case 1:25-cv-00716-BAH             Document 39-4         Filed 04/02/25      Page 466 of 734



  charged conspiracies. At press conferences, 181 at hearings before legislatures in the targeted

  states, 182 and directly with officials in the targeted states, 183 Co-Conspirator 1 made a wide range

  of specific (though ever-changing) false claims of election fraud. Co-Conspirator 1 continued to

 do so after his lies were publicly or directly debunked. 184             Co-Conspirator l's involvement

 spanned from his insistence that Mr. Trump declare victory on election night 185 to the

 voicemails 186 that Co-Conspirator 1 left for Senators on the night of January 6, using false claims

 of election fraud to ask that the legislators further delay the certification. Co-Conspirator 2 was

 instrumental in Mr. Trump's efforts to organize his electors to cast fraudulent votes and send

 them to the Vice President, and then to pressure the Vice President to use the fraudulent electoral

 certificates to overturn the election results.            Throughout his involvement in Mr. Trump's

 conspiracies, Co-Conspirator 2 conceded privately to other attorneys (both private attorneys and

 those responsible for advising Mr. Trump and the Vice President) that his plans violated federal

 law and would not withstand scrutiny in court. 187


  See ECF No. 252 at 43 & nn.217-2 I 8; see, e.g., SCO-04976260 (Video of Four Seasons Total Landscaping Press
181

Conference 11/07/2020); SCO-04976264 (Video of RNC Press Conference 11/19/2020).
182See ECF No. 252 at 19-20 & nn.83-85, 21 & n.97, 25 & nn. l 19-120, 39 & nn.195-197; SCO-04976265 at 15 :52-
30:00 (Video of Pennsylvania Hotel Hearing 11/25/2020); SCO-04976459 at 02:06:23-02:07:00 (Video of Arizona
State Hearing 11/30/2020); SCO-04976326 at 25:00-31 :05 (Video of Michigan House Committee Meeting
12/02/2020); SCO-04976332 at 0 1:04:50-01:10:25 (Video of Georgia Senate Judiciary Subcommittee Hearing
12/03/2020).

  See ECF No. 252 at 19 & nn.77-82, 33 & nn.163-164, 34 & nn.168-169; SCO-11545470 at 53 (Int. Tr.);
183

SCO-00829361 at 20-22 (HSC Tr.); SCO-00312350 (Text messages from Co-Conspirator 1 12/07/2020);
SCO-05390337-05390346 (Text messages 12/08/2020); SCO-11508370 at 62-64 (Int. Tr.).
184See ECF No. 252 at 14 & n.53, 23 & nn.105-106; see also, e.g., SCO-04976279 at 01:36:58-02:01:58 (Video of
Georgia House Committee Hearing 12/10/2020); SCO-04952956 (Tweet 12/04/2020); SCO-04976277 at 08:44-
09: l 0 (Video of Georgia Secretary of State Press Conference 12/07/2020); supra at n. 12.
185   See ECF No. 252 at 7 & n.15; SCO-00003548 at 61-62; SCO-00016750 at 31-35.
  See ECF No. 252 at 84 & nn.488-492; SCO-04134777 (Voicemail from Co-Conspirator 1 01/06/2021);
186

SCO-064 75675 (Voicemail from Co-Conspirator 1 01/06/2021).
  See ECF No. 252 at 61 & nn.324-326, 63 & n.336, 66 & n.356, 69 & n.384; SCO-00007167 at 66;
187

SCO-02248764 at 3 (Email from Co-Conspirator 2 01/06/21 ); SCO-12245492 (Email from Co-Conspirator 2




                                                      57
      Case 1:25-cv-00716-BAH          Document 39-4          Filed 04/02/25        Page 467 of 734



         Furthermore, Mr. Trump could not have succeeded in showing that he relied in good faith

on legal advice from these attorneys. The evidence showed that Mr. Trump was not looking to

Co-Conspirator 1 or Co-Conspirator 2 for legal advice; instead, Mr. Trump was the head of a

conspiracy who sought legal cover from his co-conspirators.                 As Co-Conspirator 1 acted

repeatedly in furtherance of the conspiracies, multiple advisors to Mr. Trump warned him that

Co-Conspirator 1 would not successfully challenge the election results and was not acting in Mr.

Trump's best interest; Mr. Trump ignored them all because he was not relying on Co-Conspirator

1 as an attorney. 188 Similarly, Co-Conspirator 2's willingness to advocate for actions that he

knew and even privately conceded were unlawful demonstrates that both he and Mr. Trump

understood his role was not that of an attorney offering legal advice on which Mr. Trump was

acting. 189 For instance, in a lawsuit in Georgia, Co-Conspirator 2 filed a false certification by

Mr. Trump after having written to other attorneys in an email that both he and Mr. Trump knew

some of the allegations incorporated in the filing were inaccurate. 190 And Co-Conspirator 2's

decision to advocate to the Vice President's counsel and chief of staff on January 5, 2021, that

the Vice President should unlawfully reject legitimate electoral certificates-an act that

Co-Conspirator 2 had previously recognized was not supported by the Constitution or federal

12/29/2020); SCO-00039087 (Text messages among Co-Conspirator 2, Co-Conspirator 5, and Co-Conspirator 6
12/28/2020).
188 See ECF No. 252 at 11-12 & nn.32-35; SCO-12920242 at 1, 4, 7 (Int. Rep.); SCO-00006256 at 44-52;

SCO-12945 I 95 (Email ll/28/2020); SCO-00764172 at 26-27 (HSC Tr.); SCO-11532925 at 70-71 (Int. Tr.);
SCO-00014655 at 68-73.
189 See ECF No. 252 at 61 & nn.324-326, 63 & n.336, 66-67 & nn.356-364, 69-70 nn.382-385; see, e.g.,

SCO-12245107 at 1-2 (Draft Letter from Co-Conspirator 2); SCO-00280481 at 2 (Memo from Co-Conspirator 2 to
Co-Conspirator 6 12/23/2020); SCO-00006256 at 130-135; SCO-00007167 at 50-53, 60-63; SCO-00016118 at 72-
80; SCO-00014442 at 38-39 (Pence, So Help Me God pp. 450-45 l); SCO-04982330 (Handwritten notes
01/04/2021); Trump v. Kemp, No. 20-cv-5310, ECF No. 21 at 27-29 (N.D. Ga. Jan. 5, 2021) (Transcript of Motions
Hearing); SCO-04976350 at 56:53-57:36, 0 l :05:59-0 l :07:02, 0 l: 19: 12-1 :27:28 (Video of HSC Testimony);
SCO-04094748 (Handwritten notes 01/05/2021); SCO-00794788 at 108-115 (HSC Tr.).
190See ECF No. 252 at 27 & nn.127-130; Kemp, No. 20-cv-5310, ECF No. 1 at 33-34 (N.D. Ga. Dec. 31, 2020)
(Complaint); SCO-00006256 at 205-206; SCO-00282435 at l (Email from Co-Conspirator 2 12/31/2020).




                                                     58
          Case 1:25-cv-00716-BAH          Document 39-4           Filed 04/02/25        Page 468 of 734



 law 191-was a sharp reversal from his position just one day earlier and happened only because

 Mr. Trump had made clear that it was his preferred strategy. 192 The Office was otherwise

 confident that it would be able to demonstrate that with respect to all attorneys, Mr. Trump could

 not meet the elements of the defense, such as the requirement that he make full disclosure to any

 attorneys of all relevant facts and then rely faithfully on their advice. See Gray-Burriss, 920 F.3d

 at 66.

            Finally, the Office anticipated that Mr. Trump would claim that his conduct was protected

 by the First Amendment. As the district court recognized, "the First Amendment 'embodies our

 profound national commitment to the free exchange of ideas," and it bars the government from

'"restrict[ing] expression because of its message, its ideas, its subject matter, or its content.'"

 ECF No. 171 at 31 (quoting Ashcroft v. Am. Civ. Liberties Union, 535 U.S. 564, 573 (2002), and

 United States v. Stevens, 559 U.S. 460,468 (2010)). At the same time, "it is well established that

the First Amendment does not protect speech that is used as an instrument of a crime." Id.

'"Many long established' criminal laws permissibly 'criminalize speech that is intended to

induce or commence illegal activities,' United States v. Williams, 553 U.S. 285, 298 (2008), such

as fraud, bribery, perjury, extortion, threats, incitement, solicitation, and blackmail, see, e.g.,

Stevens, 559 U.S. at 468-469 (fraud); Williams, 553 U.S. at 298 (incitement, solicitation);

Citizens United v. Fed. Election Comm 'n, 558 U.S. 310, 356 (2010) (bribery); Rice v. Paladin

Enters., Inc., 128 F.3d 233, 244 (4th Cir. 1997) (extortion, threats, blackmail, perjury)." ECF

No. 171 at 31-32 (ellipsis omitted).         "Prosecutions for conspiring, directing, and aiding and

abetting do not run afoul of the Constitution when those offenses are 'carried out through

191 See ECF No. 252 at 61 & nn.324-326; SCO-12245107 at 1-2 (Draft Letter from Co-Conspirator 2).

192 See  ECF No. 252 at 66-67 & nn.361-364, 69 & nn.382-384; SCO-00007167 at 51, 60-61; SCO-04976350 at
01: 19: 12-01:21 :30 (Video of HSC Testimony); SCO-04094 748 (Handwritten notes 0 1/05/2021).




                                                     59
  Case 1:25-cv-00716-BAH           Document 39-4           Filed 04/02/25   Page 469 of 734



speech."' Id. at 32 (quoting Nat'! Org. for Women v. Operation Rescue, 37 F.3d 646, 655-656

(D.C. Cir. 1994), and citing Williams, 553 U.S. at 298).

       Consistent with that precedent, the original and superseding indictments recognized that

Mr. Trump "had a right, like every American, to speak publicly about the [2020 presidential]

election and even to claim, falsely, that there had been outcome-determinative fraud during the

election and that he had won." ECF No. 1 at ,r 3; ECF No. 226 at ,r 3. They charged Mr. Trump,

however, with using knowingly false statements to defeat a government function, injure the right

to vote, and obstruct an official proceeding. That is, he made "dozens of specific claims that

there had been substantial fraud in certain states, such as that large numbers of dead, non-

resident, non-citizen, or otherwise ineligible voters had cast ballots, or that voting machines had

changed votes for the Defendant to votes for Biden." ECF No. 1 at ,r 11; ECF No. 226 at ,r 12.

Those were factual claims that were verifiably false, and Mr. Trump knew that they were false.

See id. Mr. Trump then used those lies as the instruments of his four criminal offenses. Because

he used those knowingly false statements regarding specific facts to commit the crimes charged

in the superseding indictment, they were not protected by the First Amendment. See Stevens,

559 U.S. at 468-469 (including "fraud" in the list of "well-defined and narrowly limited classes

of speech, the prevention and punishment of which have never been thought to raise any

Constitutional problem") (citation and quotations omitted); United States v. Nordean, 579 F.

Supp. 3d 28, 53-54 (D.D.C. 2021) ("[B]y focusing on 'corrupt' actions, [Section 1512(c)(2)]

does not even reach free speech."); see also United States v. Alvarez, 567 U.S. 709, 719-721

(2012) (plurality opinion) (explaining that while "falsity alone may not suffice to bring the

speech outside the First Amendment," the First Amendment permits criminal laws that proscribe




                                                60
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25      Page 470 of 734



 knowing or reckless falsehoods in connection with some "other legally cognizable harm,"

 including "protect[ing] the integrity of Government processes").

        In pretrial motions, Mr. Trump moved to dismiss the original indictment based on the

 First Amendment. See ECF No. 113 at 4-18. The Office filed an opposition brief, ECF No. 139

 at 29-34, and the district court denied the motion, finding that the indictment "properly alleges

Defendant's statements were made in furtherance of a criminal scheme," ECF No. 171 at 33. As

the court explained, Mr. Trump was "not being prosecuted for his 'view' on a political dispute;

he [was] being prosecuted for acts constituting criminal conspiracy and obstruction of the

electoral process," id at 34, and the fact that his "alleged criminal conduct involved speech does

not render the Indictment unconstitutional," id at 32. Because he was "not being prosecuted

simply for making false statements, but rather for knowingly making false statements in

furtherance of a criminal conspiracy and obstructing the electoral process," there was "no danger

of a slippery slope in which inadvertent false statements alone are alleged to be the basis for

criminal prosecution." Id. at 36 (citation omitted); see generally id. at 32-37 (rejecting other

First Amendment claims).

       E.      Other Charges

       The Office considered, but ultimately opted against, bringing other charges.            One

potential charge was 18 U.S.C. § 2383, sometimes referred to as the Insurrection Act, which

provides that "[w]hoever incites, sets on foot, assists, or engages in any rebellion or insurrection

against the authority of the United States or the laws thereof, or gives aid or comfort thereto,

shall be fined under this title or imprisoned not more than ten years, or both; and shall be

incapable of holding any office under the United States." 18 U.S.C. § 2383.           Section 2383

originated during the Civil War, as part of the Second Confiscation Act of 1862. See Act of July

17, 1862, ch. 195, § 2, Pub. L. No. 37-160, 12 Stat. 589,590.


                                                61
  Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25       Page 471 of 734



       Cases interpreting Section 2383 are scarce and arose in contexts that provided little

guidance regarding its potential application in this case. See, e.g., United States v. Greathouse,

26 F. Cas. 18, 23 (C.C.N.D. Cal. 1863) (construing the original version of the act to encompass

treason, consisting of arming a vessel to commit hostilities against United States vessels, in the

context of the rebellion by the confederate states); United States v. Cathcart, 25 F. Cas. 344, 345

(C.C.S.D. Ohio 1864) (rejecting legal argument that treason against the United States was legally

impossible in the context of the rebellion by the confederate states); In re Grand Jury, 62 F. 834,

83 7-83 8 (S .D. Cal. 1894) (grand jury charge describing offense in the context of a labor dispute

involving interference with transportation of the mail); In re Charge to Grand Jury, 62 F. 828,

829-830 (N.D. Ill. 1894) (grand jury charged that "[i]nsurrection is a rising against civil or

political authority" and requires "such a number of persons as would constitute a general

uprising in that particular locality" in the context of offense of obstructing the mails). It does not

appear that any defendant has been charged with violating the statute in more than 100 years.

       To establish a violation of Section 2383, the Office would first have had to prove that the

violence at the Capitol on January 6, 2021, constituted an "insurrection against the authority of

the United States or the laws thereof," and then prove that Mr. Trump "incite[d]" or "assist[ed]"

the insurrection, or "g[ave] aid or comfort thereto." 18 U.S.C. § 2383.

       Courts have found or described the attack on the Capitol as an insurrection. In Anderson

v. Griswold, 543 P.3d 283, 329 (Colo. 2023), rev 'd on other grounds sub nom. Trump v.

Anderson, 601 U.S. 100 (2024) (per curiam), the Colorado Supreme Court found that Mr. Trump

engaged in an insurrection as that term is used in Section Three of the Fourteenth Amendment.

Federal courts in the District of Columbia have also used the term "insurrection" to describe the

attack on the Capitol, but did so in cases where there was no criminal charge under Section 2383.




                                                  62
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25      Page 472 of 734



 See, e.g., United States v. Chwiesiuk, No. 21-cr-536, 2023 WL 3002493, at *3 (D.D.C. Apr. 19,

 2023) ("As this Court and other courts in the United States District Court for the District of

 Columbia have stated previously, what occurred on January 6, 2021 was in fact an insurrection

 and involved insurrectionists and, therefore, the terms to which Defendants object are accurate

 descriptors."); United States v. Carpenter, No. 21-cr-305, 2023 WL 1860978, at *4 (D.D.C. Feb.

 9, 2023) ("What occurred on January 6 was in fact a riot and an insurrection, and it did in fact

 involve a mob."); see also United States v. Afunchel, 991 F.3d 1273, 1279, 1281 (D.C. Cir. 2021)

(using the term "insurrection" in a case that did not involve Section 2383).          These cases,

however, did not require the courts to resolve the issue of how to define insurrection for purposes

of Section 2383, or apply that definition to the conduct of a criminal defendant in the context of

January 6.

        The Office recognized why courts described the attack on the Capitol as an

"insurrection," but it was also aware of the litigation risk that would be presented by employing

this long-dormant statute. As to the first element under Section 2383-proving an "insurrection

against the authority of the United States or the laws thereof'-the cases the Office reviewed

provided no guidance on what proof would be required to establish an insurrection, or to

distinguish an insurrection from a riot. Generally speaking, an "[i]nsurrection is a rising against

civil or political authority[]-the open and active opposition of a number of persons to the

execution of law in a city or state."     In re Charge to Grand Jury, 62 F. at 830; see also

Insurrection, MERRIAM-WEBSTER 649 (11th ed. 2020) ("an act or instance of revolting against

civil authority or an established government"); Insurrection, AMERICAN HERITAGE DICTIONARY

909 (4th ed. 2000) ("The act or an instance of open revolt against civil authority or a constituted

government."); Insurrection, 7 THE OXFORD ENGLISH DICTIONARY 1060 (2nd ed. 1989) ("The




                                                63
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25        Page 473 of 734



action of rising in arms or open resistance against established authority or governmental

restraint[.]").   Some sources distinguish an "insurrection" from a '"rout, riot, [or] offense

connected with mob violence by the fact that in insurrection there is an organized and armed

uprising against authority or operations of government, while crimes growing out of mob

violence, however serious they may be and however numerous the participants, are simply

unlawful acts in disturbance of the peace which do not threaten the stability of the government or

the existence of political society."' BLACK'S LAW DICTIONARY (12th ed. 2024) (quoting 77

C.J.S. Riot; Insurrection § 29, at 579 (1994 )); see also Anderson, 543 P.3d at 329-336 (noting

Mr. Trump's argument that "an insurrection is more than a riot but less than a rebellion" and

agreeing that "an insurrection falls along a spectrum of related conduct").

        In case law interpreting "insurrection" in another context, one court has observed that an

insurrection typically involves overthrowing a sitting government, rather than maintaining

power, which could pose another challenge to proving beyond a reasonable doubt that Mr.

Trump's conduct on January 6 qualified as an insurrection given that he was the sitting President

at that time.     Cf CITGO Petroleum Corp. v. Starstone Ins. SE, No. 21-cv-389, 2023 WL

2525651, at * 13 (S.D.N.Y. Mar. 15, 2023) ("[I]n every case over the course of over sixty years to

find the existence of an insurrection within the meaning of an insurance policy, the insurrection

has occurred against-not by-the established, effective and de facto government.") (citation

and quotations omitted); Pan Am World Airways, Inc. v. Aetna Cas. & Sur. Co., 505 F.2d 989,

1017 (2d Cir. 1974) ("The district court held that the word insurrection means (1) a violent

uprising by a group or movement (2) acting for the specific purpose of overthrowing the

constituted government and seizing its powers.") ( citation and quotations omitted); accord, e.g.,

Home Ins. Co. of New York v. Davila, 212 F.2d 731,738 (1st Cir. 1954) (noting that if Puerto




                                                64
      Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25   Page 474 of 734



 Rican extremists had a "maximum objective" to "overthrow of the insular government" on the

 island, that group's uprising would constitute insurrection); Hartford Fire Ins. Co. v. W Union

 Co., 630 F. Supp. 3d 431, 435-437 (S.D.N.Y. 2022) (a Russian-backed separatist group's attack

 on a plane in service of overthrowing the current government in eastern Ukraine was an

 insurrectionary act); Younis Bros. & Co., Inc. v. CIGNA Worldwide Ins. Co., 91 F.3d 13, 14-15

 (3d Cir. 1996) (applying Davila in finding that, where individuals outside of the Liberian

 government "led their respective armies in a violent uprising" "against the Liberian

 government," damage to properties fell within an insurance contract's insurrection clause). The

 Office did not find any case in which a criminal defendant was charged with insurrection for

acting within the government to maintain power, as opposed to overthrowing it or thwarting it

from the outside. Applying Section 2383 in this way would have been a first, which further

weighed against charging it, given the other available charges, even if there were reasonable

arguments that it might apply.

        As to the second element under Section 2383, there does not appear to have ever been a

prosecution under the statute for inciting, assisting, or giving aid or comfort to rebellion or

insurrection.   The few relevant cases that exist appear to be based on a defendant directly

engaging in rebellion or insurrection, but the Office's proof did not include evidence that Mr.

Trump directly engaged in insurrection himself. Thus, however strong the proof that he incited

or gave aid and comfort to those who attacked the Capitol, application of those theories of

liability would also have been a first. See Alexander Tsesis, Incitement to Insurrection and the

First Amendment, 57 WAKE FOREST L. REV. 971, 973 & n.6 (2022) ("The likelihood of

conviction under the federal incitement to insurrection statute, 18 U.S.C. § 2383 ... is fraught

with uncertainty because no federal court has interpreted it.").




                                                 65
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25     Page 475 of 734



         The Office determined that there were reasonable arguments to be made that Mr. Trump's

Ellipse Speech incited the violence at the Capitol on January 6 and could satisfy the Supreme

Court's standard for "incitement" under Brandenburg v. Ohio, 395 U.S. 444,447 (1969) (holding

that the First Amendment does not protect advocacy "directed to inciting or producing imminent

lawless action and ... likely to incite or produce such action"), particularly when the speech is

viewed in the context of Mr. Trump's lengthy and deceitful voter-fraud narrative that came

before it. For example, the evidence established that the violence was foreseeable to Mr. Trump,

that he caused it, that it was beneficial to his plan to interfere with the certification, and that

when it occurred, he made a conscious choice not to stop it and instead to leverage it for more

delay.    But the Office did not develop direct evidence-such as an explicit admission or

communication with co-conspirators-of Mr. Trump's subjective intent to cause the full scope of

the violence that occurred on January 6.      Therefore, in light of the other powerful charges

available, and because the Office recognized that the Brandenburg standard is a rigorous one,

see, e.g., NA.A.CF v. Claiborne Hardware Co., 458 U.S. 886, 902, 927-929 (1982) (speech

delivered in "passionate atmosphere" that referenced "possibility that necks would be broken"

and violators of boycott would be "disciplined" did not satisfy Brandenburg standard);

Brandenburg, 395 U.S. at 446-447 (reversing conviction where Ku Klux Klan leader threatened

"revengeance" for "suppression" of the white race), it concluded that pursuing an incitement to

insurrection charge was unnecessary.

         By comparison, the statutes that the Office did charge had been interpreted and analyzed

in various contexts over many years. The Office had a solid basis for using Sections 371, 1512,

and 241 to address the conduct presented in this case, and it concluded that introducing relatively

untested legal theories surrounding Section 2383 would create unwarranted litigation risk.




                                                66
       Case 1:25-cv-00716-BAH                 Document 39-4            Filed 04/02/25          Page 476 of 734



 Importantly, the charges the Office brought fully addressed Mr. Trump's criminal conduct, and

 pursuing a charge under Section 2383 would not have added to or otherwise strengthened the

 Office's evidentiary presentation at trial.            For all of these reasons, the Office elected not to

 pursue charges under Section 2383. 193

          F.        Co-Conspirator Liability

          As described in the factual recitation above, Mr. Trump was charged with participating in

 crimes with at least six co-conspirators, and the Office's investigation uncovered evidence that

 some individuals shared criminal culpability with Mr. Trump. Following the original indictment

 on August 1, 2023, the Office continued to investigate whether any other participant in the

 conspiracies should be charged with crimes. In addition, the Office referred to a United States

 Attorney's Office for further investigation evidence that an investigative subject may have

committed unrelated crimes.

          Before the Department concluded that this case must be dismissed, the Office had made a

preliminary determination that the admissible evidence could justify seeking charges against

certain co-conspirators.         The Office had also begun to evaluate how to proceed, including

whether any potential charged case should be joined with Mr. Trump's or brought separately.

 193 The Office also considered, but decided not to pursue, charges under certain other federal criminal statutes,

 including 18 U.S.C. § 2101 (the Anti-Riot Act) and 18 U.S.C. § 372 (Conspiracy to Impede or Injure an Officer of
 the United States). The Office was aware that courts have struck down and limited various prongs of the Anti-Riot
 Act, see United States v. Rundo, 990 F.3 d 709, 716-717 (9th Cir. 2021) (per curiam); United States v. Miselis, 972
 F.3d 518, 535-539 (4th Cir. 2020). And as to Section 372, the Office had strong evidence that Mr. Trump and his co-
conspirators agreed to use deceit to defeat the government function of collecting, counting, and certifying the results
of the election, to obstruct the certification, and to injure the right of citizens to vote and have their votes counted.
Further, as explained above, the Office also had strong evidence that the violence that occurred on January 6 was
foreseeable to Mr. Trump, that he caused it, and that he and his co-conspirators leveraged it to carry out their
conspiracies. But because the investigation did not develop proof beyond a reasonable doubt that the conspirators
specifically agreed to threaten force or intimidation against federal officers, the Office did not pursue a charge under
Section 372. After considering the facts, the law, and the Principles of Federal Prosecution, the Office concluded
that the charges ultimately pursued would fully address Mr. Trump's criminal conduct, allow the Office to present
the full scope of that conduct to a jury, and avoid unnecessary litigation. As a result, the Office decided not to seek
any of these other potential charges.




                                                          67
   Case 1:25-cv-00716-BAH         Document 39-4        Filed 04/02/25      Page 477 of 734



Because the Office reached no final conclusions and did not seek indictments against anyone

other than Mr. Trump-the head of the criminal conspiracies and their intended beneficiary-this

Report does not elaborate further on the investigation and preliminary assessment of uncharged

individuals. This Report should not be read to allege that any particular person other than Mr.

Trump committed a crime, nor should it be read to exonerate any particular person.

III.   THE PRINCIPLES OF FEDERAL PROSECUTION

       As set forth above, the Office concluded that Mr. Trump's conduct violated several

federal criminal statutes and that the admissible evidence would be sufficient to obtain and

sustain a conviction. Therefore, under the longstanding Principles of Federal Prosecution, the

Office considered whether: ( 1) the prosecution would serve a substantial federal interest; (2) Mr.

Trump was subject to effective prosecution in another jurisdiction; or (3) there existed an

adequate non-criminal alternative to prosecution. U.S. Department of Justice, Justice Manual

§ 9-27.220.   As described below, multiple substantial federal interests were served by Mr.

Trump's prosecution, he was not subject to effective prosecution in another jurisdiction, and

there was no adequate non-criminal alternative to prosecution. The Supreme Court's decision on

presidential immunity, handed down after the initial decision to prosecute and analyzed below in

Section V.D.2 did not alter the Office's view that the Principles of Federal Prosecution compelled

prosecuting Mr. Trump; although that decision prevented use of certain evidence uncovered

regarding Mr. Trump's misuse of presidential power, he also engaged in non-immune criminal

conduct that is set forth in the superseding indictment. Accordingly, this section discusses only

evidence that was not immunized-either because it involved Mr. Trump's private conduct or

because the Office would have rebutted any presumption of immunity.




                                                68
     Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25      Page 478 of 734



         A.      Prosecuting Mr. Trump Served Multiple Substantial Federal Interests

         Mr. Trump's prosecution served multiple federal interests, including the federal interest in

 the integrity of the United States' process for collecting, counting, and certifying presidential

 elections, and in a peaceful and orderly transition of presidential power; the federal interest in

 ensuring that every citizen's vote is counted; the federal interest in protecting public officials and

 government workers from violence; and the federal interest in the fair and even-handed

 enforcement of the law.      All of these federal interests, which are rooted in the law, the

 Constitution, and our basic democratic values, are substantial and command protection from Mr.

 Trump's criminal design to subvert them.

                1.      The substantial federal interest in protecting the integrity of the electoral
                        process and the peaceful transfer of power was served by Mr. Trump's
                        prosecution.

        As set forth above, the investigation revealed that Mr. Trump and others conspired to use

false claims of election fraud to attempt to disrupt the United States' electoral process and

obstruct the congressional certification of the 2020 presidential election results. Prosecution for

that conduct thus vindicated abiding federal interests in protecting the electoral process and the

previously unbroken tradition-before Mr. Trump's charged conduct-of a peaceful transition of

presidential power from one administration to the next. These federal interests are fundamental

to our system of government, favoring no particular administration or political party. Indeed,

electoral processes like selecting the president are "necessarily structured to maintain the

integrity of the democratic system." Burdick, 504 U.S. at 441. "Preserving the integrity of the

electoral process" and "preventing corruption ... are interests of the highest importance." First

Nat. Bank of Boston v. Bellotti, 435 U.S. 765, 788-789 (1978).




                                                 69
  Case 1:25-cv-00716-BAH                Document 39-4           Filed 04/02/25         Page 479 of 734



        The Office was cognizant of Mr. Trump's free speech rights during the investigation and

would not have brought a prosecution if the evidence indicated he had engaged in mere political

exaggeration or rough-and-tumble politics. See supra at Section II.D (First Amendment defense

discussion); Robert Jackson, The Federal Prosecutor, Address Delivered at the Second Annual

Conference of United States Attorneys (April 1, 1940) ("In the enforcement of laws that protect

our national integrity and existence, we should prosecute any and every act of violation, but only

overt acts, not the expression of opinion, or activities such as the holding of meetings, petitioning

of congress, or dissemination of news or opinions.") (emphasis in original). As set forth in the

original and superseding indictments, Mr. Trump had "a right, like every American, to speak

publicly about the election and even to claim, falsely, that there had been outcome-determinative

fraud in the election and that he had won." ECF No. 1 at ,r 3; ECF No. 226 at ,r 3. He also had

lawful recourse to challenge the election results, including through lawsuits, recounts, and audits.

In fact, Mr. Trump and his allies vigorously pursued these methods of contesting the election

results, but they were unsuccessful.

        After election day, Mr. Trump or his Campaign were plaintiffs or intervenors in at least

sixteen lawsuits seeking to change the outcome of the election, 194 and Mr. Trump's supporters



 194 In re Enforcement of Election Laws and Securing Ballots Cast or Received after 7:00 p.m. on Nov. 3, 2020, No.

SPCV20-00982 (Chatham County, Ga. Super. Ct.); Donald J Trump for President Inc. v. Boockvar,
No. 602-md-2020 (Pa. Commw. Ct.); Aguilera v. Fontes, No. 20-cv-14083 (Maricopa County, Az. Super. Ct.);
Donald J Trump for President Inc. v. Benson, No. 20-000225-MZ (Mich. Ct. Cl.); Donald J Trump for President
Inc. v. Philadelphia County Bd. of Elections, No. 20-cv-5533 (E.D. Pa.); Donald J. Trump for President Inc. v.
Montgomery County Bd. of Elections, No. 2020-18680 (Montgomery County, Pa. Ct. Com. Pis.); Donald J Trump
for President Inc. v. Hobbs, No. 2020-cv-0 I 4248 (Maricopa County Ariz. Super. Ct.); Donald J. Trump for President
Inc. v. Boockvar, No. 20-cv-02078 (M.D. Pa.); Donald J. Trump for President Inc. v. Benson, No. 20-cv- l 083 (W.D.
 Mich.); Trump v. Evers, No. 2020-AP- l 97 l (Wis. Sup. Ct.); Trump v. Wisconsin Election Commission,
No. 20-cv-1785 (E.D. Wis.); Trump v. Eiden, No. 2020-cv- 7092, No. 2020-cv-2514 (Cir. Ct. Wis.); Donald J Trump
for President Inc. v. Rajfensperger, No. 2020-cv-343255 (Fulton County, Ga. Super. Ct.); Texas v. Pennsylvania, 141
 S. Ct. 1230 (2020); Donald J Trump for President Inc. v. Toulouse-Oliver, No. 20-cv-0 1289-MV (D.N.M.); Kemp,
No. 20-cv-5310 (N.D. Ga.).




                                                        70
      Case 1:25-cv-00716-BAH              Document 39-4          Filed 04/02/25        Page 480 of 734



 filed dozens of other such lawsuits, 195 but all of these failed to change the outcome in any state.

 Mr. Trump pursued recounts in only two states-a statewide machine recount in Georgia and a

 recount in Wisconsin's Milwaukee and Dane Counties-and both served only to confirm the

 previously reported result (in Wisconsin, the recount increased Mr. Trump's margin of loss). 196

 Following public requests, Secretaries of State in Georgia and Michigan ordered additional

 audits and recounts-in Georgia, a statewide hand recount and an audit in Cobb County, and in

 Michigan, a statewide audit and a hand recount in Antrim County, where Mr. Trump seized on

 claims of a clerk's temporary clerical error-but all merely confirmed previously reported

 results. 197

          The conduct of Mr. Trump and co-conspirators, however, went well beyond speaking

their minds or contesting the election results though our legal system.                 Instead, Mr. Trump

targeted a key federal government function-the process by which the United States collects,

counts, and ce1iifies the results of the presidential election-and sought to obstruct or defeat it

through fraud and deceit. He did so using knowingly false claims of election fraud to attempt to

induce state officials to reject citizens' votes and instead appoint Mr. Trump's electors; when he

deceived his electors and caused them to falsify electoral certificates and submit them to

Congress; when he attempted to enlist Mr. Pence with false claims of election fraud and pressure;

195See, e.g., Costantino v. City of Detroit, No. 20-14780 (Wayne County, Mich. Cir. Ct.); Republican Party of
Arizona v. Fontes, No. 2020-cv-0 14553 (Maricopa County, Az. Super. Ct.); Law v. Whitmer, 20 OC 00163188 (First
Jud. Ct. Carson City, Nev.); Ward v. Jackson, No. 2020-cv-015285 (Maricopa County, Az. Super. Ct.); Pearson v.
Kemp, No. 18-cv-04809 (N.D. Ga.); Kingv. Whitmer, No. 20-cv-13134 (E.D. Mich.).
196 See ECF No. 252 at 28 & n.131, 33-34 & n.167, 41 & n.207; SCO-12847178 (Georgia Secretary of State News
Release 12/29/2020); SCO-03656876 (Wisconsin Order for Recount 11/19/2020); SCO-06613715 (Wisconsin
Statement of Canvass 11/30/2020); Trump v. Eiden, 394 Wis.2d 629, 633 (Wis. 2020).
197 See ECF No. 252 at 12 & n.39, 28 & n.131, 46 & nn.241-243; SCO-04976281 at 03:22-04:16 (Video of

Interview 01/02/2021); SCO-12847178 (Georgia Secretary of State News Release 12/29/2020); SCO-04957382
(Michigan Secretary of State News Release 12/17/2020); SCO-04952782 at 33 (Michigan Bureau of Elections,
Audits of the November 3, 2020 General Election 04/21/2021).




                                                     71
  Case 1:25-cv-00716-BAH          Document 39-4         Filed 04/02/25      Page 481 of 734



and when he used, and attempted to leverage, an angry crowd of his supporters-fueled by Mr.

Trump's lies-to stop the certification proceeding.

       Mr. Trump did this in contravention of the Framers' intent to prevent a sitting President

from perpetuating himself in power. "In free Governments," Benjamin Franklin explained, "the

rulers are the servants, and the people their superiors & sovereigns." 2 The Records of the

Federal Convention of 1787, at 120 (Max Farrand ed., 1911). Although the Framers recognized

"the necessity of an energetic Executive," they justified and checked his power by ensuring that

he always retained "a due dependence on the people." THE FEDERALIST No. 70 (A. Hamilton);

see Seila Law LLC v. Consumer Financial Protection Bureau, 591 U.S. 197, 223-224 (2020). As

the Supreme Court noted in Trump, "[t]he President ... plays no direct role in the process [of

appointing electors], nor does he have authority to control the state officials who do. And the

Framers, wary of 'cabal, intrigue and corruption,' specifically excluded from service as electors

'all those who from situation might be suspected of too great devotion to the president in

office."' 603 U.S. at 627-628 (quoting THE FEDERALIST No. 68, at 459 (A. Hamilton) (J. Cooke

ed., 1961)).   Accordingly, Article II of the U.S. Constitution provides that "no Senator or

Representative, or Person holding an Office of Trust or Profit under the United States, shall be

appointed an Elector."   U.S. CONST. art. II, § 1, cl. 2.    The considerable federal interest in

protecting the integrity of the United States' electoral process weighed in favor of proceeding

with Mr. Trump's prosecution.

       So too did the federal interest m defending from future harm the United States'

exceptional tradition of peaceful transitions of presidential power. That tradition was initiated by

George Washington when he announced in his September 1796 Farewell Address that he would

decline to seek a third term, followed by John Adams when he relinquished the power of the




                                                72
     Case 1:25-cv-00716-BAH           Document 39-4         Filed 04/02/25     Page 482 of 734



 presidency to his political rival Thomas Jefferson after the election of 1800, and continued by

 every sitting President until 2020-even through the turbulent Civil War and Reconstruction

 eras.    And Congress and the courts have also recognized the federal interest in orderly

 presidential transitions. See, e.g., Presidential Transition Act of 1963, Pub. L. 88-277, 78 Stat.

 153, 153-154, § 2 (legislation "to promote the orderly transfer of the executive power" because

 "[a]ny disruption occasioned by the transfer of the executive power could produce results

 detrimental to the safety and well-being of the United States and its people"); Trump v.

 Thompson, 20 F.4th 10, 16-17 (D.C. Cir. 2021) (recognizing Congress's "unique legislative

need" for documents "directly relevant to the ... inquiry into an attack on the Legislative Branch

and its constitutional role in the peaceful transfer of power"); United States v. Tarrio, 605 F.

Supp. 3d 73, 78 (D.D.C. 2022) (when assessing "very serious" nature and circumstances of a

January 6-related offense, court observed that "[t]hey involve, among other things, an alleged

conspiracy to obstruct the certification of the Electoral College vote and thus to interfere with the

peaceful transfer of power, one of our Nation's crown jewels").

         In his first inaugural address, President Ronald Reagan remarked on the country's

tradition of a peaceful transition of presidential power:

         To a few of us here today this is a solemn and most momentous occasion, and yet
         in the history of our nation it is a commonplace occurrence. The orderly transfer
         of authority as called for in the Constitution routinely takes place, as it has for
         almost two centuries, and few of us stop to think how unique we really are. In the
         eyes of many in the world, this every-4-year ceremony we accept as normal is
         nothing less than a miracle.

Inaugural Address (1981 ). In connection with preserving that tradition, Vice Presidents have

presided over the certification of their own election losses. In 1961, then-Vice President Richard

M. Nixon fulfilled his role as President of the Senate at the January 6 certification proceeding,




                                                 73
   Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25         Page 483 of 734



announcing that John F. Kennedy had won the presidency. In so announcing his own defeat,

Nixon stated,

          This is the first time in 100 years that a candidate for the Presidency announced
          the result of an election in which he was defeated and announced the victory of
          his opponent. I do not think we could have a more striking and eloquent example
          of the stability of our constitutional system and of the proud tradition of the
          American people of developing, respecting, and honoring institutions of self-
          government.

107 CONG. REC. 291 (Jan. 6, 1961). And in 2001, after a hard-fought legal dispute over the 2000

presidential election, Vice President Albert Gore Jr. similarly presided over the certification of

his opponent, George W. Bush, as President-elect. See 147 CONG. REC. 101 (Jan. 6, 2001).

Protecting the well-established American tradition of a peaceful transfer of power weighed in

favor of prosecution.

                 2.      The substantial federal interest in counting every citizen's vote was served
                         by Mr. Trump's prosecution.

          Few federal interests are stronger in our representative democracy than that of protecting

every eligible citizen's right to vote and to have that vote counted. The evidence establishes that

in contravention of that right, Mr. Trump urged state officials to disregard the legitimate majority

of votes for Mr. Biden and instead appoint Mr. Trump's electors; pressured and threatened

Georgia's Secretary of State to "find" more than 11,000 votes to dilute the legitimate vote count

and allow Mr. Trump to be declared the winner of the state; and urged Mr. Pence to discard the

legitimate electoral certificates that reflected millions of citizens' votes in the targeted states. 198

An additional factor meriting Mr. Trump's prosecution therefore was the need to vindicate and

protect the voting rights of these and all future voters.

198 SeeECF No. 252 at 19 & nn.77-82, 29 & n.137, 65 & n.349, 67 & n.364, 71 & nn.392-398, 73-74 & nn.410-411;
supra at Section l; see also, e.g., SCO-02295943 at 3 (Presidential Daily Diary 11/22/2020); SCO-00767550 at 9- 12
(HSC Tr.); SCO-12998394 at 12 (Tr. of Georgia Secretary of State Call 0 1/02/2021).




                                                       74
     Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25      Page 484 of 734



        The strength of the federal interest in protecting the right to vote is plain from the history

 of suffrage in America, as chronicled in the Constitution-which has been amended not fewer

 than five times to extend and protect the franchise for all adult citizens regardless of race, sex,

 age, and education, see U.S. CONST. amend. XIV, § 2 (providing that if a state failed to ensure all

 eligible citizens the right to vote, the state's proportional representation would be reduced);

 amend. XV, § 1 ("The right ... to vote shall not be denied or abridged ... on account of race,

 color, or previous condition of servitude."); amend. XIX (same "on account of sex"); amend.

XXIV, § 1 (same "by reason of failure to pay any poll tax or other tax"); amend. XXVI,

§ 1 (same for citizens "who are eighteen years of age or older ... on account of age")-and a

consistent line of court decisions maintaining that suffrage "can neither be denied outright, nor

destroyed by alteration of ballots," Reynolds v. Sims, 377 U.S. 533, 555 (1964) (citations

omitted). The strength of the federal interest is further reflected by the history of the Section 241

offense with which Mr. Trump was charged, and, as set forth in Section II.C above, by courts'

universal and longstanding recognition of the right protected by that statute. In attempting to

disenfranchise voters who did not choose to reelect him, Trump targeted a bedrock fundamental

right that the government has a strong interest in protecting.
               ,..,
               _).     The substantial federal interest in protecting election officials and other
                       government officials from violence was served by Mr. Trump's
                       prosecution.

       Another federal interest that merited Mr. Trump's prosecution was addressing his resort,

throughout the charged criminal conspiracies, to threats and encouragement of violence against

his perceived opponents. Consistently, when elected officials refused to take improper actions

that Mr. Trump urged, like discarding legitimate votes or appointing fraudulent electors, Mr.

Trump attacked them publicly on Twitter, a social media application on which he had more than




                                                75
      Case 1:25-cv-00716-BAH            Document 39-4            Filed 04/02/25    Page 485 of 734



80 million followers. 199 Inevitably, threats and intimidation to these officials followed. 20       ° For
instance, after Mr. Trump targeted a Philadelphia City Commissioner in a Tweet criticizing the

Commissioner for stating that there was no evidence of widespread election fraud in

Philadelphia, 201 threats against the Commissioner grew more targeted, more detailed, and more

graphic. 202 These threats extended to include highly personal information like the names and

ages of the Commissioner's family members, as well as photos or the address of his home. 203

Fulton County, Georgia, election officials similarly reported receiving threats-including death

threats-following Mr. Trump's false public accusations against Fulton County election

workers. 204

         Mr. Trump also targeted private citizens who served as election workers.                  He took

particular aim at a mother and daughter who worked at Atlanta's State Farm Arena counting

ballots on election day; he and his co-conspirators spread pernicious false claims that these

election workers had committed misconduct. 205 Although the lies were promptly and publicly




199 See ECF No. 252 at 18 & nn.73-76, 20 & n.88, 26-27 & nn.123-126, 28 & n.132, 31 & n.146, 40 & n.206; see,

e.g., SCO-00456209, SCO-00715415 (Donald J. Trump Tweet 11/11/2020); SCO-00455691, SCO-12858431
(Donald J. Trump Retweet 11/30/2020); SCO-00455690, SCO-12987528 (Donald J. Trump Tweet 11/30/2020);
SCO-00455536, SCO-12858636 (Donald J. Trump Retweet 12/06/2020).
200See ECF No. 252 at 21 & nn.92-93, 38 & nn.192-194; SCO-11545129 at 86-88 (Int. Tr.); SCO-00767550 at 52-
54 (HSC Tr.).
  See ECF No. 252 at 38 & n.193; SCO-12876770 at 02:20-04: 13 (Video of Interview with CNN 11/11/2020);
201

SCO-00456209, SCO-12987659 (Donald J. Trump Tweet 11/11/2020).
  See ECF No. 252 at 38 & n.194; SCO-11545129 at 87 (Int. Tr.); SCO-04976349 at 02:03: 17-02:04: 10 (Video of
202

HSC Hearing).
  See ECF No. 252 at 38 & n.194; SCO-11545129 at 87 (Int. Tr.); SCO-04976349 at 02:03:17-02:04:10 (Video of
203

HSC Hearing).
204 SCO-11507432 at 46-50, 57-62 (Int. Tr.); SCO-11528118 at 54-62 (Int. Tr.).

205 See ECF No. 252 at 25-26 & nn.119-122; SCO-04976332 at 33:30-01:04:37 (Video of Georgia Senate Judiciary

Subcommittee Hearing 12/03/2020); SCO-00455601, SCO-12987506 (Donald J. Trump Tweet 12/03/2020);
SCO-04976279 at 0 1:36:58-02:0 l :58 (Video of Georgia House Committee Hearing 12/10/2020).




                                                        76
      Case 1:25-cv-00716-BAH                 Document 39-4          Filed 04/02/25        Page 486 of 734



  debunked, 206 Mr. Trump continued to repeat them, 207 and the election workers were subjected to

  vile threats. As one of the women explained, "when someone as powerful as the President of the

 United States eggs on a mob, that mob will come. They came for us with their cruelty, their

 threats, their racism, and their hats. They haven't stopped even today." 208 Mr. Trump persisted

 in publicly spreading false and harmful social media posts about the same election workers into

 2023. 209    In 2024, Co-Conspirator 1 conceded in a defamation lawsuit filed by the election

 workers that his statements about them were "defamatory per se" and "false," and a jury awarded

 them damages of more than $145 million. 210

         Mr. Trump took aim at Mr. Pence when Mr. Pence repeatedly informed Mr. Trump that he

 could not in good conscience do as Mr. Trump asked. On January 6, this included Mr. Trump's

retributive targeting of Mr. Pence during his Ellipse speech and the 2:24 p.m. Tweet attacking

Mr. Pence that Mr. Trump issued even though he knew that the riot was ongoing at the Capitol.

Taken together, these actions resulted in rioters at the Capitol on January 6 singling out Mr.

Pence for their ire and chanting, "Where is Pence? Bring Him Out!" 211 and, "Hang Mike

Pence!" 212




206 SCO-04952956 (Tweet 12/04/2020); SCO-04976277 at 08:44-09: 10 (Video of Georgia Secretary of State Press

Conference 12/07/2020).
207 See ECF No. 252 at 26 & n.122; SCO-12998394 at 2 (Tr. of Georgia Secretary of State Call 0 1/02/2021).


208 See ECF No. 252 at 25-26 & n. 121; SCO-00783640 at 8 (HSC Tr.).


209See ECF No. 252 at 26 & n.122; SCO-04963742 (Donald J. Trump Truth Social Post 0 1/02/2023);
SCO-04963743 (Donald J. Trump Truth Social Post 01/03/2023).

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21 Freeman v. Giuliani, No. 21-cv-3354, ECF No. 90 at 1-2 (D.D.C. Aug. 8, 2023) (Def. Stipulation), ECF No. 142

(D.D.C. Dec. 18, 2023) (Final Judgment).
211 See ECF No.   1 at ,r 113; see ECF No. 252 at 81 & n.467; SCO-12738318 (Video of Capitol Riot 01/06/2021).
212 See ECF No.   1 at if 113; see ECF No. 252 at 81 & n.466; SCO-12876211 (Video of Capitol Riot 01/06/2021).




                                                        77
  Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25          Page 487 of 734



          In addition to prompting these threats against the targets of Mr. Trump's criticisms, Mr.

Trump's words inspired his supporters to commit acts of physical violence. On January 6, Mr.

Trump used his Ellipse speech to direct his supporters to "go[] to the Capitol" and "fight like

hell." 213 He explicitly licensed them, not long after Co-Conspirator 1 had exhorted the crowd to

engage in "trial by combat," 214 to operate under "very different rules" 215 because fraud was

allegedly involved. And he told them they were "not going to let it happen," 216 urging them to

stop the election certification proceeding that was about to begin.

          The people who took Mr. Trump at his word formed a massive crowd that broke onto

restricted Capitol grounds and into the building, violently attacking law enforcement officers

protecting the Capitol and those inside.          Officers have described being assaulted by rioters

wielding bear spray, metal bats and flag poles, and other improvised weapons. 217 A Metropolitan

Police Department (MPD) commander recounted that the scene was "a non-stop barrage of just

strikes, with weapons and things being thrown, and pepper spray, and you name it. Everything

being hurled at these [officers]. You could hear them yelling. You could hear them, screams and

moans, and everything else." 218 Multiple officers stated that they feared for their lives when

among the rioters that day. One MPD officer put that fear at "a hundred percent" from the

moment he entered the crowd, and he explained that he thought he might die: "You know, you're


213 SeeECF No. 252 at 77 & nn.437, 440; SCO-02244118 at 22 (Remarks by Mr. Trump at Save America Rally
01/06/2021).

rn SCO-04949418 at 02:22:07 (Video of Save America Rally O1/06/2021).
215 SCO-02244118 at 20 (Remarks by Mr. Trump at Save America Rally    Ol /06/2021 ).
216 !d. at 2.

217 See ECF No. 252 at 82 & nn.475-476;     SCO-11506096 at 125-126 (Int. Tr.); SCO-11506269 at 38-39 (Int. Tr.);
SCO-12808448 at 127-128 (Int. Tr.); SCO-11520948 at 95-97 (Int. Tr.); SCO-12997436 at 64 ( United States v. Irwin
& Richter, No. 21-cr-589, Trial Day I Tr. 01/22/2024).
218 SCO-11529214 at 98 (Int. Tr.).




                                                       78
        Case 1:25-cv-00716-BAH                Document 39-4            Filed 04/02/25          Page 488 of 734



 getting pushed, kicked, you know, people are throwing metal bats at you and all that stuff. I was

 like, yeah, this is fucking it." 219 A U.S. Capitol Police officer similarly recalled thinking, "I

 think I might die today." 220 And in one instance, an MPD officer recounted that rioters dragged

 him into the crowd, where they beat and tased him while yelling things like, "I got one!" and,

 "Kill him with his gun!" 221

            The January 6 rioters assaulted at least 140 law enforcement officers that day, and at least

 123 defendants have been charged with using a deadly or dangerous weapon or causing serious

 bodily injury to law enforcement. 222             This violence took a lasting toll.             In addition to the

 significant physical injuries inflicted that day, 223 officers suffered "unseen injuries," including

 depression and other forms of psychological trauma. 224


219   See ECF No. 252 at 82 & nn.475-476; SCO-11506096 at 126 (Int. Tr.).
220 SCO-12 807 683 at 106-107 (Int. Tr.).


221 SCO-12919375 at 0 1: 12:28-01: 13:50 (Video of Interview from HBO's      Four Hours at the Capitol, 10/20/2021).
222 Press Release, U.S. Attorney's Office for the District of Columbia, Three Years Since the Jan. 6 Attack on the

Capitol (Jan. 5, 2024 ), https://www.justice.gov/usao-dc/36-months-jan-6-attack-capitol-O.
223 SCO-1 l 506096 at 96-99, 134-135 (Int. Tr.) (MPD officer recounting knee injury and concussion from defending

against rioters on January 6); SCO-12875808 at 228-230 ( United States v. McCaughey, No. 2 l-cr-40, Trial Day l Tr.
08/29/2022) (MPD sergeant describing being "bruised, abrased," and "covered in chemical munitions" from January
6); id. at 229 (50 percent of sergeant's 30-person platoon injured); SCO-12997205 at l 0 l ( United States v. Sparks,
No. 2 l-cr-87, Trial Tr. 02/29/2024) (Capitol Police officer describing concern on January 6 for fellow officers he
saw "still irritated from the tear gas, people still coughing, people limping, battered, bruised, bloody," and learning
that a fellow officer "had passed away"); SCO-12997436 at 63-64 ( United States v. Irwin & Richter, No. 2 l-cr-589,
Trial Day 1 Tr. 01/22/2024) (Capitol Police Deputy Chief listing officers' injuries from rioters, including a "serious
concussion" and a "near-career-ending leg injury"); SCO-12807683 at 124-125 (Int. Tr.) (Capitol Police officer
describing jaw injury and concussion from rioter assault); id. at 135 (Capitol Police officer detailing lingering effects
of Capitol siege injuries, including persistent migraines, fainting, and imbalance).
m SCO-12876218 at 08:53-09:45 (Video of Impact Statement) (MPD officer recounting that "there [were] a lot of
unseen injuries," that MPD "has put a lot of effort and resources into getting these officers the help that they need
for some of these emotional injuries," and that the events of January 6 had "definitely taken a toll on a lot of the
officers over there that day"); SCO-11529214 at 116 (Int. Tr.) (MPD officer stating there were "some people that
went through, like, you know, some depression and, like, really some soul-searching"); SCO-12807683 at 16 (Int.
Tr.) (Capitol Police officer describing "survivor's guilt" and engaging in officer peer support program); id. at 143
(describing officer reactions to January 6, including "shell-shock" and inability to move on from that day);
SCO-12919375 at 01 :28:00-01 :28:20 (Video of MPD Officer's Interview from HBO's Four Hours at the Capitol,
10/20/2021) (MPD officer describing that he had a mild heart attack and traumatic brain injury from rioter assaults




                                                          79
      Case 1:25-cv-00716-BAH             Document 39-4            Filed 04/02/25          Page 489 of 734



          Officers at the Capitol understood that if the rioters reached the lawmakers and other staff

inside the building violence would have been done to them as well. 225 Only through the heroism

of the law enforcement officers who defended the Capitol were lawmakers and their staff

protected from harm. 226 Many Members of Congress feared for their lives. Once the rioters

breached the Capitol building, "elected representatives, congressional staff, and members of the

press hid in terror from the mob" in barricaded offices or unmarked rooms as rioters roamed the

hallways. United States v. Chrestman, 525 F. Supp. 3d 14, 19 (D.D.C. 2021 ). 227 For instance, in

detailing his efforts to evacuate a U.S. Senator and her staff from an unmarked hiding spot, one

on January 6, but what he "most struggle[s] with is, you know, kind of, some of the emotional after-effects, or
psychological trauma" of that day).
225 SCO-11506096 at l 07-108 (Int. Tr.) (MPD officer describing effort to keep rioters from entering the Capitol
because, for staff inside, that would mean "possible death. People are getting killed, maimed," and adding that
while officers "have gear on" and weapons, "someone who just showed up this morning to go to work, who was like
a clerk or something, walked in their office ... they're not ready for that, you know? And if one of these [rioters]
get their hands on them, it's over with."); SCO-11529214 at 78-80 (Int. Tr.) (MPD officer describing seeing rioters
"trying to beat [officers] up with such ferocity," and wondering, "What are they going to do to somebody else that's
in here, that's maybe a staff or a congressman or somebody with the press? How are-what are they going to do to
them? You know, like, we can take the beating. And I don't know if these other people can take the beating, too.'');
SCO-11544684 at 7 (Int. Rep.) (Capitol Police officer recalling that the rioters turned on Vice President Pence and
being concerned for Pence's safety inside the Capitol if rioters breached the police line); see also SCO-12738295
(Video of Capitol Riot 01/06/2021) (rioters inside the Capitol yelling, "Where are the fucking traitors? Drag 'em out
by their fucking hair!" and "Who's first?"); SCO-12738313 (Video of Capitol Riot 01/06/2021) (rioter yelling,
"Bring Mitch out! Bring Pelosi out! Bring Schumer out!"); SCO-127383 I 7 (Video of Capitol Riot O1/06/2021)
(rioters chanting, "Pence is a traitor!" and, "Traitor Pence! Traitor Pence!"); SCO-12738306 (Video of Capitol Riot
01/06/2021) (rioter yelling, "We're coming for you, Nancy!"); SCO-12738312 at 00:59-0 I :40 (Video of Capitol Riot
01/06/2021) (rioter inside the Capitol yelling, "Nancy Pelosi! Where you at, Nancy?" and, "Nancy! Where are you,
Nancy? We're looking for you!").
226 See  167 CONG. RECORD S5686 (daily ed. Aug. 3, 2021) (statement of Sen. Klobuchar) ("The insurrection at the
Capitol was more than an assault on democracy. . . . [I]t was also an actual life-or-death situation for the many brave
law enforcement officers who show up here to do their work every day."); id. at S5687 (statement of Sen. Blunt) ("I
am incredibly grateful for the heroic actions we saw that day [January 6] from the Capitol Police, from the
Metropolitan Police, who ... were here within 10 or 12 minutes of being called."); 167 CONG. RECORD H2790 (June
 I 5, 2021) (statement of Rep. McHenry) ("[T]he brave men and women who stood and faced danger on January 6
deserve to be recognized for their actions. Without their courageous work and their dedication, many of us here
today could have been seriously injured or worse.").
227See also SCO-12919375 at 29:44-30:52, 41:45-43:15 (Video of Interview from HBO's Four Hours at the
Capitol, I 0/20/2021) (Congressional staffer describing hiding under a table from rioters who had breached the
Capitol building, hearing rioters banging on the door to the room in which she was barricaded, and fearing she
would die that day).




                                                          80
         Case 1:25-cv-00716-BAH              Document 39-4         Filed 04/02/25       Page 490 of 734



  U.S. Capitol Police officer described the Senator as "afraid for her life," "shaking," and "very,

  very-she was scared." 228 He added that the Senator later relayed to him that what the rioters

  did on January 6 had "scared and frightened everybody" and had "put a lot of people's lives in

  danger." 229

            The violence of January 6 was foreseeable to Mr. Trump, who had remarked just the

 evening before that his supporters were "angry" 230 and who-to cheers of, "Invade the Capitol

 building!" and, "Take the Capitol!" 231 -had told those supporters during his Ellipse speech to

 "show strength" and to "be strong." 232 When he told them "we're not going to let it happen," the

 crowd chanted, "Fight for Trump!" 233 And when he warned his gathered supporters that "if you

 don't fight like hell, you're not going to have a country anymore," 234 the crowd marched to the

 Capitol in response. Indeed, officials and advisors close to Mr. Trump recognized and voiced

 their concerns over this high potential for election-related violence. On January 4, a Senior

 Advisor explicitly warned Co-Conspirator 2 that if Mr. Pence unilaterally rejected legitimate

electoral votes, it would cause "riots in the streets." 235 Co-Conspirator 2 replied that there had

previously been points in the nation's history where violence was necessary to protect the




228 SCO-11520948 at 150-152 (Int. Tr.).


229   Id at 151.
230 See ECF No.    1 at i! 98; SCO-00015613 at 155-156.
231   See ECF No. 252 at 77-78 & n.443; SCO-12876144 at 00:28-00:43 (Rallygoer video 01/06/2021).
232See ECF No. 252 at 77-78 & n.442; SCO-02244118 at 6 (Remarks by Mr. Trump at Save America Rally
01/06/2021).
233 See ECF No. 252 at 77 & nn.438-439; SCO-02244118 at 2 (Remarks by Mr. Trump at Save America Rally

01/06/2021).
234 SCO-02244118 at 22 (Remarks by Mr. Trump at Save America Rally    Ol /06/2021 ).
235See ECF No. 252 at 66 & n.356; SCO-00006256 at 130-133; SCO-11522446 at 6 (Int. Rep.); SCO-00790949 at
26 (HSC Tr.).




                                                          81
  Case 1:25-cv-00716-BAH                  Document 39-4         Filed 04/02/25    Page 491 of 734



republic. 236 On January 5, after Mr. Trump told Mr. Pence that he would have to publicly

criticize him, Mr. Pence's Chief of Staff was sufficiently concerned for Mr. Pence's safety that he

alerted the head of the Vice President's protective detail. 237 And a Counsel to the Vice President

issued a prescient warning to Co-Conspirator 2 the same day, when he warned that the

conspirators' plan would result in a "disastrous situation" where the election might "have to be

decided in the streets." 238 Indeed, as the riot at the Capitol unfolded on January 6, the Vice

President's Counsel chided Co-Conspirator 2 that "whipping large numbers of people into a

frenzy over something with no chance of ever attaining legal force through actual process of law,

has led us to where we are." 239

        There is unquestionably a public interest in ensuring that elected officials and election

workers can carry out their duties without fear of threats and retaliation. See, e.g., Memorandum

from Lisa Monaco, Deputy Attorney General, Guidance Regarding Threats Against Election

Workers (June 25, 2021) ("The right to vote is the cornerstone of our democracy, the right from

which all other rights ultimately flow. For this vital right to be effective, election officials must

be permitted to do their jobs free from improper partisan influence, physical threats, or any other

conduct designed to intimidate."). Accordingly, the need to promote this federal interest weighed

in favor of proceeding against Mr. Trump.




236 See SCO-00006256 at 133; SCO-11522446 at 6 (Int. Rep.); SCO-00790949 at 26 (HSC Tr.).

237 SCO-11545613 at 165-171 (Int. Tr.).

238 See ECF No. 252 at 69-70 & n.385; SCO-04976350 at 01:26:01-01:26:32 (Video ofHSC Testimony).

239 SCO-00256421 at 2 (Email to Co-Conspirator 201/06/2021 ).




                                                      82
     Case 1:25-cv-00716-BAH             Document 39-4      Filed 04/02/25      Page 492 of 734



                4.      The substantial federal interest in the evenhanded administration of the
                        law was served by Mr. Trump's prosecution.

        There is a substantial federal interest in ensuring the evenhanded administration of the

 law with respect to accountability for the events of January 6, 2021, and the Office determined

 that interest would not be satisfied absent Mr. Trump's prosecution for his role. Multiple district

 court judges have recognized Mr. Trump's role in the events of January 6. See United States v.

 Laios, No. 21-cr-242, ECF No. 37 at 55-56 (D.D.C. Nov. 19, 2021) (Transcript of Sentencing)

(Court stating that Jan. 6 defendant was "called to Washington, D.C. by an election official; he

was prompted to walk to the Capitol by an elected official" and telling defendant, "I think you

were a pawn, you were a pawn in a game that was played and directed by people who should

have known better"); United States v. Peterson, No. 21-cr-309, ECF No. 32 at 23 (D.D.C. Dec. 1,

2021) (Transcript of Sentencing) (Court stating that "incendiary" statements at the Ellipse rally

"absolutely, quite clearly and deliberately, stoked the flames of fear and discontent and explicitly

encouraged those at the rally to go to the Capitol and fight for one reason and one reason only, to

make sure the certification did not happen"); United States v. Barnard, No. 21-cr-235, ECF No.

53 at 28 (D.D.C. Feb. 24, 2022) (Transcript of Sentencing) ("The events of January 6th involved

a rather unprecedented confluence of events spurred by then President Trump and a number of

his prominent allies who bear much responsibility for what occurred on that date."). To date,

more than 1,500 people have been criminally charged for their roles in the January 6 attack on

the United States Capitol. With that in mind, Mr. Trump's relative culpability weighed heavily in

favor of charging him, as the individual most responsible for what occurred at the Capitol on

January 6. See Justice Manual § 9-27.230.4 (requiring prosecutors to assess the "degree of the

person's culpability in connection with the offense, both in the abstract and in comparison with

any others involved in the offense").



                                                83
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25      Page 493 of 734



          Rioters have cited Mr. Trump as the reason they traveled to Washington, D.C., and went

to the Capitol that day. In the weeks before January 6, Mr. Trump issued several Tweets calling

his supporters to Washington, D.C., for his rally at the Ellipse, and they answered the call. In the

days after Mr. Trump's December 19 Tweet promising that the rally would be "wild," for

instance, Kelly Meggs-a member of the Oath Keepers group who was later convicted of

seditious conspiracy among other charges-messaged associates that "[i]t's going to be wild.

[Trump] wants us to make it wild.        That's what he's saying."       United States v. Rhodes,

No. 22-cr-15, ECF No. 815 at 61 (D.D.C. Feb. 21, 2024) (Motion Hearing Tr.). Meggs added,

"He called us all to the Capitol, ... and he wants us to make it wild." Id. at 61-62. Rioter David

Kuntz-a member of the Three Percenters militia group who would later plead guilty to charges

related to breaching the Capitol building-planned travel to Washington, D.C., on January 6 in

direct response to the December 19 Tweet. United States v. Wilson, No. 23-cr-427, ECF No. 47

at 6-7 (D.D.C. Apr. 17, 2024) (Superseding Indictment). Kuntz later shared Trump's December

27 Tweet, which told supporters, "See you in Washington DC, on January 6th. Don't miss it.

Information to follow!" Kuntz commented, "He is asking us to be there," and, "Good he does

need us im [sic] going armed period." Id. at 11; see also Wilson, No. 23-cr-427, ECF No. 95 at 8

(D.D.C. Dec. 2, 2024) (Statement of Offense).

          In his Ellipse speech, Mr. Trump explicitly directed his supporters to march on the

Capitol. At one point, in reply to a line in his speech that "[w]e will not let them silence your

voices; we're not going to let it happen," a portion of the rally crowd chanted, "Fight for Trump!

Fight for Trump!" 240 When he repeatedly exhorted his supporters to "walk down" 241 to the U.S.



240 SeeECF No. 252 at 77 & nn.438-439; SCO-02244118 at 2 (Remarks by Mr. Trump at Save America Rally
01/06/2021); SCO-0074792 l at 03: 18-03:47 (Rallygoer video 01/06/2021).




                                                 84
          Case 1:25-cv-00716-BAH               Document 39-4           Filed 04/02/25   Page 494 of 734



  Capitol to help prevent Congress's planned certification, they listened.                 Law enforcement

  witnesses at and near the Capitol on January 6 describe large crowds descending upon Capitol

  grounds from the direction of the Ellipse rally. 242 And video and photographic evidence shows

 that hundreds of individuals in attendance at the Ellipse rally were later participants in the

 Capitol siege and in some cases were among the most violent of the rioters. 243

              During the siege, Mr. Trump's supporters continued to heed his words. Video evidence

 from that afternoon shows rioters, in real time, crediting Mr. Trump for their presence and

 conduct at the Capitol. For example, as the crowd sought to push past officers protecting the

 Capitol's East Front, one rioter shouted: "We were invited here!                   We were invited by the

 President of the United States!" 244            Inside, another rioter yelled at officers to "stand down.

 You're outnumbered. There's a fucking million of us out there. And we're listening to Trump-

 241See ECF No. 252 at 77 & n.440; SCO-02244 I 18 at 6, 22 (Remarks by Mr. Trump at Save America Rally
 01/06/2021).
 242   SCO-11506096 at 59-62 (Int. Tr.); SCO-11520948 at 71-74 (Int. Tr.).
243  See, e.g., SCO-12919600 at 27:22-27:26 (Video of Rioter 1 at the Save America Rally 01/06/2021);
 SCO-12919284 at 03: 17-03: 18 (Video of Rioter 1 at the Save America Rally O1/06/2021); SCO-12807276 at 03:08-
 03: 14 (Video of Rioter I on Capitol Grounds 01/06/2021); SCO-12919212 at 03:17-03:21 (Video of Rioter 1 on
 Capitol Grounds 01/06/2021); SCO-12919384 at 08:20-08:34 (Video of Rioter 2 in the Capitol Rotunda
 01/06/2021); SCO-12919401 at 04:06-04: 14 (Video of Rioter 2 walking down Pennsylvania Avenue from the Save
America Rally 01/06/2021); SCO-12918732 at 04:29-04:31 (Photograph of Rioter 2 in the Capitol Rotunda
01/06/2021); SCO-12918900 at 00:01-00:07 (Video of Rioter 2 inside the Capitol 01/06/2021); SCO-12919421 at
00:00-00:02 (Video of Rioter 3 in the crowd at the Save America Rally O1/06/202 I); SCO-12807145 (Photograph of
Rioter 3 on Capitol Grounds 01/06/2021); SCO-12919066 at 02:07-02:10 (Video of Rioter 3 at the Save America
Rally 01/06/2021); SCO-12919977 at 23:06-23:10 (Video of Rioter 4 at the Save America Rally 01/06/2021);
SCO-12918777 (Photograph of Rioter 4 on Capitol Grounds 01/06/2021); SCO-12807279 at 01:09:28-01:09:55,
01:10:05-01:10:37, 01:10:40-01:11:09 (Video of Rioter 4 on Capitol Grounds 01/06/2021); SCO-12919375 at
01:13:17-01:13:22 (Video of Rioter 4 on Capitol Grounds from HBO's Four Hours at the Capitol 01/06/2021);
SCO-12916307 at 24:16-25:50 (Video of Rioter 4 inside Capitol Tunnel 01/06/2021); SCO-12918918 at 00:11-
00: 12 (Video of Rioter 5 at the Save America Rally O1/06/2021); SCO-12919079 (Photograph of Rioter 5 on Capitol
Grounds 01/06/2021); SCO-12919419 at 00:33-00:38 (Video of Rioter 5 on Capitol Grounds); SCO-12738292 at
00:24-00:32 (Video of Rioter 5 at the Capitol); SCO-12733719 at 35: 17-35:22 (Video of Rioter 5 at the Capitol);
SCO-12807327 at 00:00-00:01 (Video of Rioter 6 at the Save America Rally O1/06/2021); SCO-12807375 at 00:49-
00:51 (Photograph of Rioter 6 at the Capitol O1/06/2021); SCO-12916338 at 03 :00:21-03 :00:55 (Video of Rioter 6
at the Capitol O1/06/2021).
244    SCO-1273 8326 at 00:03-00: 18 (Video of Capitol Riot O1/06/2021).




                                                           85
      Case 1:25-cv-00716-BAH             Document 39-4           Filed 04/02/25         Page 495 of 734



your boss." 245 United States v. Harris, No. 21-cr-189, ECF No. 84 at 5 (D.D.C. Oct. 20, 2023).

That rioter was later convicted of obstruction and of assaulting an officer, among other

violations. Id. at 11. As the day wore on, rioters continued to obey Mr. Trump's commands. At

4:25 p.m.-just eight minutes after Mr. Trump's video Tweet telling supporters that they were

"very special" but should "go home now"-rioter Edward Vallejo, a member of the Oath

Keepers, posted to a group Signal chat that "our commander in chief has just ordered us to go

home." Rhodes, ECF No. 822 at 55 (Sentencing Hearing Tr.). Another rioter, Jacob Chansley,

played that video Tweet to a crowd at the Capitol and announced that "Donald Trump has asked

everybody to go home." 246 Chansley left the Capitol at that point-having earlier breached the

Senate chamber, taken a seat at the dais, and declared Vice President Pence to be "a fucking

traitor." United States v. Chansley, No. 21-cr-3, ECF No. 81 at 10-11 (D.D.C. Nov. 9, 2021)

(Gov't Sentencing Memorandum). 247

           After January 6, when rioters began to face accountability for their unlawful acts at the

Capitol, many pointed to Mr. Trump in an attempt to excuse or mitigate their conduct. For

example, following his arrest on charges stemming from the Capitol siege, rioter Alex Harkrider

sought release from pretrial detention by arguing that "[l]ike thousands of others [at the Capitol],

Mr. Harkrider was responding to the entreaties of the then Commander-in-Chief, former

President Donald Trump." United States v. Harkrider, No. 21-cr-117, ECF No. 16 at 14 (D.D.C.

Apr. l, 2021) (Def.'s Motion to Revoke Order of Detention); see also, e.g., United States v.

245 SCO- 12876131 at 02:26-02:33 (Video of Capitol Riot 01/06/202 I).

246 SCO-12918754 at 24:47-27:22 (Video of Capitol Riot 01/06/2021); id. at 28:00-28:08 (rioter announcing that he

was "going to do as Donald Trump has asked and [he was] going to go home"); SCO-12919861 at 01:55:29-
01 :55:45 (Video of Capitol Riot O1/06/2021); id. at OI :57:20-0 I :57:34 (rioter announcing that "Donald Trump asked
everybody to go home. So what are we gonna do? We're going to obey our President; we're gonna do as he asked;
and we're gonna go home."); SCO-12876155 (Video outside Capitol 01/06/2021).
247   See also SCO-12916465 (Video of Senate Chamber O1/06/2021).




                                                         86
     Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25      Page 496 of 734



 Hale-Cusanelli, No. 21-cr-37, ECF No. 13 at 17 (D.D.C. Mar. 2, 2021) (Def.'s Motion for

 Modification of Bond) (requesting pretrial release in part because defendant "was responding to

 the entreaties of the then commander in chief, President Trump"); Chansley, No. 21-cr-3, ECF

 No. 12 at 10 (D.D.C. Feb. 23, 2021) (Motion of Def. for Pretrial Release) (arguing that Chansley

 was "incited" by Mr. Trump and noting his unsuccessful request for a presidential pardon). In

 closing argument at trial on seditious conspiracy and other charges related to January 6, defense

 counsel unsuccessfully asked the jury to acquit Proud Boys leader Enrique Tarrio because, in

part, "[i]t was [Mr. Trump's] anger that caused what occurred on January 6th" and "[i]t was not

Enrique Tarrio." United States v. Nordean et al., No. 21-cr-175, Trial Tr. at 19991 (D.D.C. Apr.

25, 2023). And, at sentencing in January 6 cases, many rioter defendants-whether expressing

remorse or not-have sought leniency by blaming Mr. Trump both for their presence at the

Capitol and their underlying belief "that the [2020 presidential] election was fraudulent and that

they must take action to stop the transition of the presidency."          United States v. Palmer,

No. 21-cr-328, ECF No. 31 at 8 (D.D.C. Dec. 13, 2021) (Sentencing Memorandum and Motion

for Downward Variance); see also, e.g., United States v. lvfcCaughey, 2 l-cr-40, ECF No. 528 at 2

(D.D.C. Feb. 17, 2023) (Def. David Mehaffie's Sentencing Statement); United States v. Gruppo,

No. 21-cr-391, ECF No. 28-2 at 2 (D.D.C. Oct. 19, 2021) (Def.'s Letter) (citing language of

Ellipse rally speech and stating, "I trusted the President and that was a big mistake").

       B.      Mr. Trump Was Not Subject to Effective Prosecution in Another Jurisdiction

       The next consideration, under the Principles of Federal Prosecution, is whether Mr.

Trump was subject to effective prosecution in another jurisdiction. The Office concluded that a

prosecution carried out by a single local authority could not effectively hold him accountable for

his efforts targeting the only election for national office. Although Mr. Trump was theoretically

subject to state criminal charges for his conduct, based on the scope and magnitude of Mr.


                                                 87
  Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25      Page 497 of 734



Trump's alleged crimes, no local prosecution could effectively hold Mr. Trump accountable for

his attempts to overturn the valid results of the election, obstruct the congressional certification,

and disenfranchise millions of voters. Indeed, all citizens, not just the citizens in the seven

contested states that he targeted with his criminal plan, suffered the impact of Mr. Trump's

crimes, warranting a federal prosecution accounting for all his conduct and the federal interests it

implicated.

       In addition, when the Office was making its charging decision in the summer of 2023, no

other jurisdiction had initiated charges against Mr. Trump or co-conspirators. After the grand

jury returned the original indictment against Mr. Trump in this case, however, he subsequently

was also charged with a racketeering conspiracy in Georgia, Georgia v. Trump, 23sc 18894 7,

Indictment (Fulton County, Ga. Super. Ct. Aug. 14, 2023) (19-defendant case pending since

August 2023 in Fulton County Superior Court). Although the forty-count indictment in Fulton

County encompasses some of the same core conduct for which Mr. Trump was charged federally

in the District of Columbia, its focus is on a conspiracy to commit fraud-that is, to change the

outcome of the election-including through false statements to Georgia state legislators and

other high-ranking state officials. See id. at 16-17. It does not fully address Mr. Trump's alleged

criminal conduct in furtherance of a conspiracy to obstruct the January 6 certification proceeding

or a conspiracy against voters' rights. As described above, there are strong federal interests in

protecting the integrity of the certification proceeding and the right to vote and have one's vote

counted.

        C.     There Was No Adequate Non-Criminal Alternative to Prosecution

        Given the strong federal interests in holding Mr. Trump accountable described above, the

Office could not identify any adequate non-criminal alternative to prosecution.          To be sure,

because he was President at the time of his alleged offenses, Mr. Trump was subject to


                                                 88
     Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25     Page 498 of 734



 impeachment and was in fact impeached (though he was not convicted). Impeachment, however,

 was never intended to be a substitute for criminal prosecution. "[T]he Framers recognized that

 most likely there would be two sets of proceedings for individuals who commit impeachable

 offenses-the impeachment trial and a separate criminal trial." Nixon v. United States, 506 U.S.

 224, 234 (1993).   The Impeachment Judgment Clause itself expressly contemplates separate

 proceedings, stating that the punishment for impeachment and conviction "shall not extend

 further than to removal from Office, and disqualification to hold and enjoy any Office of honor,

Trust or Profit under the United States: but the Party convicted shall nevertheless be liable and

subject to Indictment, Trial, Judgment and Punishment, according to Law." U.S. CONST. art. I,

§ 3, cl. 7.

        Not only are impeachment and prosecution separate and distinct proceedings, they apply

different standards and pursue different objectives. When Congress decides whether a President

should be impeached and convicted, that process does not depend on rigorously adjudicating

facts and applying law, or on finding a criminal violation. Instead, the impeachment process is,

by design, an inherently political remedy for the dangers to governance posed by an office holder

who has committed "Treason, Bribery, or other high Crimes and Misdemeanors." U.S. CONST.

art. II, § 4. Congress may decide not to impeach or convict for reasons that have little or no

connection to the nature of the evidence of the officer's culpable conduct. For example, the

political alignment of Congress may prevent impeachment and conviction, without regard to the

officer's conduct. Indeed, prior to 2020, no Senator had ever voted to convict an impeached

President of the same political party. And in cases like this one, where the President has left

office by the time an impeachment trial occurs, Senators may question their authority to convict




                                              89
  Case 1:25-cv-00716-BAH           Document 39-4         Filed 04/02/25      Page 499 of 734



regardless of the egregiousness of the conduct at issue. See, e.g., 167 CONG. REc. S736 (daily

ed. Feb. 13, 2021) (statement of Sen. McConnell).

       During Mr. Trump's impeachment trial, his counsel insisted that the outcome of the

proceeding would have no bearing on any future criminal prosecution, stating, "Clearly, a former

civil officer who is not impeached is subject to" criminal prosecution. 167 CONG. REC. S607

(daily ed. Feb. 9, 2021 ); see id. at S601 (noting that if a President "committed a criminal offense"

then "[a]fter he is out of office, you go and arrest him," adding, "[t]he Department of Justice

does know what to do with such people"). Senators who voted to acquit Mr. Trump expressed a

similar view. See, e.g., 167 CONG. REc. S736 (daily ed. Feb. 13, 2021) (statement of Sen.

McConnell) (stating that Mr. Trump "is still liable for everything he did while he was in office,

as an ordinary citizen," and noting that "[w]e have a criminal justice system in this country").

Thus, even if Mr. Trump had been convicted by the Senate, political accountability, in the form

of impeachment, would not have been an adequate alternative for criminal accountability,

especially considering the scope of Mr. Trump's offenses and the substantial federal interests

they targeted.

       D.        Mr. Trump's Conduct Had No Historical Analogue

       During pretrial litigation, Mr. Trump contended that his conduct was materially

indistinguishable from that of other actors throughout American history-including past

Presidents and Vice Presidents-who had either claimed that an election was tainted by fraud or

presided over a certification proceeding at the joint session where electoral votes were in dispute.

Mr. Trump further argued that because those actors had not been prosecuted for their purportedly

similar conduct, it would be unconstitutional to prosecute him for his conduct, because doing so

would either violate his right to fair notice, see ECF No. 113 at 25-31; ECF No. 114 at 28-31, or

result in selective or vindictive prosecution, see ECF No. 116 at 6-8. That is, even accepting that


                                                 90
     Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25      Page 500 of 734



 Mr. Trump engaged in the conduct alleged in the indictment, and that such conduct violated the

 charged statutes, he maintained that prosecution was improper because it conflicted with

 historical practice.

         The historical episodes that Mr. Trump invoked-arising from elections in 1800, 1824,

 1876, 1960, 2000, 2004, and 2016-did not involve similar conduct and did not supply a valid

 reason to decline to bring charges here. In litigation, the Office addressed each historical episode

 he cited and explained why none was meaningfully similar to the charged conduct. See ECF No.

 139 at 40-47; ECF No. 141 at 6-9. Taken together, those episodes showed that "[t]here have

been times, as in 1800, 1876, and 1960, when genuine questions have arisen over which slate of

electors from a particular state has been duly appointed"; "[t]here have also been times, as in

1824, when the failure of any candidate to obtain a majority of electoral votes has thrown the

election to the House of Representatives"; and "there have been times, as in 2000, 2004, and

2016, when those dissatisfied with the results have sought to raise objections to the electoral vote

count, resulting in either the objections being overruled or, in one case, a brief adjournment

designed as an Ohio-focused protest vote without 'the hope or even the hint of overturning the

victory of the President."' ECF No. 139 at 46-47 (quoting 151 CONG. REC. 199 (Jan. 6, 2005)).

But none of the historical episodes at issue involved "any attempt by any person to use fraud and

deceit to obstruct or defeat the governmental function that would result in the certification of the

lawful winner of a presidential election." Id. at 40-47; see ECF No. 141 at 6-9.

       The district court found that there were no historical analogues to Mr. Trump's alleged

criminal conduct. When Mr. Trump filed a motion to dismiss the indictment on a claim that he

was being selectively prosecuted because of a historical "track record of similar, unprosecuted,

efforts" to challenge elections, see ECF No. 116 at 6, the district court rejected it, explaining that




                                                 91
  Case 1:25-cv-00716-BAH                  Document 39-4         Filed 04/02/25         Page 501 of 734



Mr. Trump was "not being prosecuted for publicly contesting the results of the election; he is

being prosecuted for knowingly making false statements in furtherance of a criminal conspiracy

and for obstruction of election certification proceedings." ECF No. 198 at 5-7. Likewise, in its

opinion denying Mr. Trump's immunity motion, the district court found that "none of the

contested elections" Mr. Trump "invokes is analogous to this case," as none involved "any

allegation that any official engaged in criminal conduct to obstruct the electoral process." ECF

No. 171 at 47.

IV.     INVESTIGATIVE PROCEDURE AND POLICY

        Upon appointing the Special Counsel, the Attorney General explained that the

appointment      "underscores       the    Department's     commitment to          both    independence       and

accountability in particularly sensitive matters. It also allows prosecutors and agents to continue

their work expeditiously, and to make decisions indisputably guided only by the facts and the

law." See Press Release, Office of Public Affairs, Department of Justice, Appointment of a

Special Counsel (Nov. 18, 2022), https://www.justice.gov/opa/pr/appointment-special-counsel-O.

The Attorney General also noted that, '"[a]lthough the Special Counsel will not be subject to the

day-to-day supervision of any official of the Department, he must comply with the regulations,

procedures, and policies of the Department." Id. The Office conducted its work accordingly.

        A.        The Investigative Process 248

        Employing traditional investigative tools, including voluntary interviews, grand jury

subpoenas, and search warrants-and subject to the same legal requirements binding on all

federal prosecutors-the Office, spanning the period predating the Special Counsel's



248 The Appendix to this Report lists public information about key documents from significant litigation undertaken

in the course of the investigation and prosecution.




                                                       92
      Case 1:25-cv-00716-BAH                 Document 39-4            Filed 04/02/25         Page 502 of 734



 appointment to the completion of its work, developed a thorough record of independently

 verified facts on which it based its prosecutive decisions in the Election Case. The investigative

 record comprised voluntary witness interviews and grand jury testimony from numerous

 individuals, 249 as well as voluminous records such as emails, text messages, encrypted messages,

 memoranda, and other documents.                 These records were obtained through both voluntary

 productions by dozens of witnesses and through compulsory process and court orders, including

 grand jury subpoenas directed to witnesses and entities, court orders for non-content information

 (such as sender, recipient, date, and time) from electronic communications accounts, and search

 warrants to obtain evidence from physical sources and/or locations, electronic devices, and email

 and iCloud accounts. 250         The Office also obtained records from other components of the

 Department of Justice, including the U.S. Attorney's Office for the District of Columbia, and

other federal agencies, including the National Archives, Depmiment of Homeland Security,

Department of Defense, and Office of the Director of National Intelligence. 251                        Further, the


249 This record, including the period predating the Special Counsel's appointment, encompasses voluntary interviews

of more than 250 individuals and grand jury testimony from more than 55 witnesses.
250 Search warrants for electronic devices and accounts, as well as applications to obtain records of electronic
communications, must be approved by a federal magistrate or district judge and are held to well-established
standards of proof. To obtain a search warrant, for instance, the government must establish that there is probable
cause to believe that the location, device, or account to be searched contains evidence of a crime. See U.S. CONST.
amend. IV (search warrants require "probable cause, supported by Oath or affirmation, and particularly describing
the place to be searched, and the persons or things to be seized"). Other court orders-for instance, those that give
the government access to the non-content information described above regarding electronic communications-
require a showing that there are reasonable grounds to believe that the information sought is relevant and material to
an ongoing criminal investigation. See 18 U.S.C. § 2703(d).
251 The Office's investigation included consideration of the report issued on December 22, 2022, by the U.S. House

 of Representatives' Select Committee to Investigate the January 6th Attack on the United States Capitol, as well as
certain materials received from the Committee. Those materials comprised a small part of the Office's investigative
record, and any facts on which the Office relied to make a prosecution decision were developed or verified through
independent interviews and other investigative steps. During the prosecution of the Election Case, Mr. Trump
alleged that the Select Committee and Special Counsel's Office were one and the same and sought additional
discovery about the Select Committee's work. The district court rejected the claim. See ECF No. 263 at 47
(concluding that Mr. Trump has "not supplied an adequate basis to consider the January 6 Select Committee part of
the prosecution team"). Regardless, the Office provided or otherwise made available to Mr. Trump in discovery all




                                                         93
  Case 1:25-cv-00716-BAH              Document 39-4           Filed 04/02/25        Page 503 of 734



Office collected more than one terabyte of data from publicly available sources such as social

media postings and websites. All discoverable material was provided or made available to Mr.

Trump in discovery during the prosecution of the Election Case.

        Throughout its work, the Office complied with "the rules, regulations, procedures,

practices and policies of the Department of Justice," 28 C.F.R. § 600.7(a), including consulting

the Justice Manual, the Department's publicly available guidebook on policies and procedures,

and consulting or obtaining requisite approvals from other Department components.                         For

example, as required under the Justice Manual, the Office obtained approvals from the Criminal

Division's Office of Enforcement Operations, which provides legal guidance on the use of

sensitive law enforcement tools, such as certain subpoenas and search warrants involving

attorneys. And as discussed more below, the Office consulted the Criminal Division's Public

Integrity Section (PIN), which oversees the investigation and prosecution of federal crimes

affecting government integrity, pursuant to Justice Manual requirements pertaining to the service

of subpoenas and other process on Members of Congress, the use of election fraud charges, and

the Department's Election Year Sensitivities Policy, a longstanding Department policy regarding

the conduct of sensitive investigations during an election year.

        Even when not required, in accordance with the best traditions of the Department, the

Office actively sought advice and guidance from subject matter experts throughout the

Department. For example, the Office requested assistance from the Civil Division and Office of

Information Policy (OIP) on civil litigation for public access to investigative and prosecutive

materials. And the Office conferred with the Office of the Solicitor General (OSG), which is



materials received from the Select Committee. See ECF No. 263 at 47 ("the Government states that it has already
produced all the records it received from the Committee").




                                                      94
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25       Page 504 of 734



 responsible for supervising and conducting government litigation in the United States Supreme

 Court, the Office of Legal Counsel (OLC), which provides binding legal advice to the Executive

 Branch, and the Criminal Division's Appellate Section, which conducts and oversees the

 Department's criminal appellate litigation, on complex statutory, constitutional, and other legal

 issues-including regarding charging decisions in the original and superseding indictments, see

supra at Section II, Mr. Trump's challenge to the district court's order on extrajudicial

statements, see infra at Section VB, Mr. Trump's executive privilege claims, see infra at Section

VC, and Mr. Trump's immunity challenge to the indictment, see infra at Section VD.

        B.      Investigative and Prosecutive Procedures in an Election Year

        Mr. Trump's announcement of his candidacy for President while two federal criminal

investigations were ongoing presented an unprecedented challenge for the Department of Justice

and the courts. Given the timing and circumstances of the Special Counsel's appointment and

the Office's work, it was unavoidable that the regular processes of the criminal law and the

judicial system would run parallel to the election campaign. Mr. Trump's position was that

when the judicial process conflicted with his election campaign, the courts should always yield;

as discussed below, the courts did not agree.          Under these unique circumstances, the

Department's actions would be criticized by one constituency or another, regardless of which

path the investigations took. Accordingly, the Office leaned on established Department policy,

practice, and wisdom, and focused on doing its job promptly and thoroughly.

       From the outset and throughout its work, the Office recognized the weighty issues

presented by the matters under its mandate and operated on the principle that the best interests of

the Department and the nation required prompt investigation and decision-making. The Office's

exceptional working pace ensured that its investigative work could be completed, charging

decisions could be made, and any necessary indictments could be returned by the summer of


                                                95
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25        Page 505 of 734



2023, long before the election. The Office had no interest in affecting the presidential election,

and it complied fully with the letter and spirit of the Department's policy regarding election year

sensitivities. It did so through fundamentally sound practices: moving its investigations swiftly,

making charging decisions and returning indictments well before the election, litigating its cases

on the timetables set by the courts, and consulting with PIN.

               1.       The Department's Election Year Sensitivities Policy

       The staff of the Office was deeply familiar with and committed to the Department's

election year sensitivities policy, as it included fraud and public corruption prosecutors with

many years of experience working in and leading PIN. The Special Counsel himself and one of

his Counselors had served as Chief of PIN, two of the attorneys had been deputy chiefs in PIN,

and two other attorneys in the Office had been trial attorneys in PIN. Collectively, prosecutors in

the Office had many years of experience providing training, advice, and guidance to prosecutors

and law enforcement agents throughout the Depmiment on how to comply with the Department's

election-related policies. In fact, the Counselor in the Office who had previously served as Chief

of PIN was one of the drafters of the first election year sensitivities memorandum issued to

Department attorneys.

       The Depaiiment's policy regarding elections has two overlapping components. The first

is focused on the prosecutor's purpose: it prohibits prosecutors from taking any action or timing

any action for the purpose of affecting an election. Justice Manual § 9-27.260 and § 9-85.500.

That flat prohibition applies to all actions by prosecutors and at all times during an investigation

or prosecution.     The second and overlapping component focuses on safeguarding the

Department's reputation for fairness and nonpartisanship, requmng that prosecutors take




                                                 96
      Case 1:25-cv-00716-BAH                 Document 39-4           Filed 04/02/25          Page 506 of 734



 particular care in an election year and consult with PIN when an action is "likely to raise an issue

 or the perception of an issue." Justice Manual § 9-85.500. 252

          These policies are well-established within the Department.                   In 2008, in the wake of

 allegations and investigations concerning politicization in the Department, 253 and recognizing

 that there was uncertainty regarding the terms of the Department's policies and practices in

 election years, the Criminal Division and PIN evaluated the feasibility of establishing a specific

 and definitive set of rules regarding the duty to avoid interference with elections in the run-up to

 an election. While prosecutors had long been advised to exercise particular care in politically

 sensitive cases in the two or three months immediately prior to an election, the Department had

never had a formal 60-day or 90-day rule that governed such situations. 254                         As part of its

evaluation in 2008, the Department considered whether to codify a particular rule, but ultimately

concluded that the best course was, instead, to provide guidance in the form of an Attorney

General Memorandum addressing the need for particular care to protect the Department's

reputation for impartiality in an election year, and setting forth in writing the core principle that

prosecutors and agents may not act for a political purpose.



252 The Department's election-related policies were first developed in the context of investigations involving ballot

fraud, where PIN's Election Crimes Branch has for decades maintained a written non-interference policy that
applies only in the context of ballot fraud investigations. See Federal Prosecution of Election Offenses (8th ed.
2017) at 84-85. That policy, which precludes certain investigative actions in a ballot fraud investigation until after
the election to which the investigation relates is completed and certified, was codified in the Justice Manual in
August 2022. See Justice Manual § 9-85.300. Because the 2020 presidential election had been completed and
certified before our investigation began, the ballot fraud policy had no application to the Office's work.
253 See Joint Report of the Department of Justice, Office of Professional Responsibility and Office of the Inspector

General, An Investigation of Allegations of Politicized Hiring by Monica Goodling and Other Staff in the Office of
the Attorney General (July 28, 2008), https://oig.justice.gov/sites/default/files/legacy/special/s0807 /final.pdf.
254 The background regarding the election year sensitivities policy and the so-called "60-day rule" was reviewed by

the Department of Justice Office of the Inspector General in its June 2018 report, A Review of Various Actions by the
Federal Bureau of Investigation and the Department of Justice in Advance of the 2016 Election, at 16-18,
https://oig.j ustice .gov Is ites/default/files/reports/ 18-04. pdf.




                                                         97
      Case 1:25-cv-00716-BAH          Document 39-4          Filed 04/02/25       Page 507 of 734



         On March 5, 2008, Attorney General Michael Mukasey issued the first Election Year

Sensitivities Memorandum setting forth this guidance. In relevant part, the Attorney General

Memorandum stated:

         Department of Justice employees are entrusted with the authority to enforce the
         laws of the United States and with the responsibility to do so in a neutral and
         impartial manner. This is particularly important in an election year. Now that the
         election season is upon us, I want to remind you of the Department's existing
         policies with respect to political activities.



         The Department of Justice has a strong interest in the prosecution of election
         fraud and other election-related crimes, such as those involving federal and state
         campaign finance laws, federal patronage laws, and corruption of the election
         process. As Department employees, however, we must be particularly sensitive to
         safeguarding the Department's reputation for fairness, neutrality and
         nonpartisanship.

         Simply put, politics must play no role in the decisions of federal investigators or
         prosecutors regarding any investigations or criminal charges. Law enforcement
         officers and prosecutors may never select the timing of investigative steps or
         criminal charges for the purpose of affecting any election, or for the purpose of
         giving an advantage or disadvantage to any candidate or political party. Such a
         purpose is inconsistent with the Department's mission and with the Principles of
         Federal Prosecution.

         If you are faced with a question regarding the timing of charges or overt
         investigative steps near the time of a primary or general election, please contact
         the Public Integrity Section of the Criminal Division for further guidance.

Memorandum from Michael Mukasey, Attorney General, Election Year Sensitivities (Mar. 5,

2008).

          Since 2008, Attorneys General have issued memoranda containing substantially the same

guidance to prosecutors and agents in each election year. 255 In August 2022, just three months


255See Memorandum from William Barr, Attorney General, Election Year Sensitivities (May 15, 2020) (adding
language to the Election Year Sensitivities memorandum to make clear that the policy applied not only to
investigative and charging actions, but also to public statements by prosecutors and law enforcement agents).




                                                     98
     Case 1:25-cv-00716-BAH             Document 39-4     Filed 04/02/25      Page 508 of 734



 before the Attorney General appointed the Special Counsel, the Department codified its election

 year policies in the Justice Manual:

        Federal prosecutors and agents may never select the timing of any action,
        including investigative steps, criminal charges, or statements, for the purpose of
        affecting any election, or for the purpose of giving an advantage or disadvantage
        to any candidate or political party. Such a purpose is inconsistent with the
        Department's mission and with the Principles of Federal Prosecution. See
        § 9-27.260. Any action likely to raise an issue or the perception of an issue under
        this provision requires consultation with the Public Integrity Section, and such
        action shall not be taken if the Public Integrity Section advises that further
        consultation is required with the Deputy Attorney General or Attorney General.

Justice Manual § 9-85.500; see also id. § 9-27.260 (adding the election year sensitivities policy

to the Principles of Federal Prosecution).

        Implementation of the election year sensitivities policy can raise challenging questions.

Taking action may be viewed as hurting a candidate, while refraining from action may be viewed

as helping that candidate. This challenging landscape counsels in favor of structuring and timing

investigations in a manner that enables prosecutors and agents to avoid these issues as much as

possible and do what they do best: focus on the needs of the case. Consistent with that, PIN

often counsels prosecutors to move their investigations along promptly and avoid unnecessary

delay that could needlessly place them in the position of deciding whether to take overt action or

bring charges in the period immediately before an election.        Because of the Office's deep

familiarity and experience with these policies, it focused on completing both of its investigations

promptly and making timely charging decisions, long before the election.

               2.     Pre-Indictment Procedures

       During the investigation and prosecution of this case, the Office consulted regularly with

PIN. For example, because the Election Case involved election fraud charges under 18 U.S.C.

§§ 241 and 371, the Office consulted with PIN and its Election Crimes Branch prior to returning



                                                99
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25      Page 509 of 734



the Election Case indictment in the District of Columbia, as required by Justice Manual § 9-

85.210 (Violations of Campaign Financing Laws, Federal Patronage Laws, and Corruption of

Elections-Consultation Requirement).       In addition, the Office consulted with PIN regarding

investigative steps that involved gathering evidence connected to congressional staff, pursuant to

Justice Manual § 9-85 .110 (Investigations Involving Members of Congress). As discussed below

in Section V.A.2, the Office also consulted PIN regarding issues that arose in litigation involving

the Speech or Debate Clause, U.S. CONST. art. I, § 6, cl. 1, a unique constitutional protection that

provides a form of immunity to legislative acts by Member of Congress and their staff. See, e.g.,

In re Press Application for Access to Judicial Records Ancillary to Certain Grand Jury Proc.

Concerning Former Vice President Jvfike Pence, No. 23-mc-35, ECF No. 11-5 at 19 (D.D.C.

June 9, 2023) (publicly released Mar. 27, 2023, Memorandum Opinion) (application of Speech

or Debate privilege to Vice President when acting as President of the Senate); In re Sealed Case,

80 F.4th 355 (D.C. Cir. 2023) (application of Speech or Debate privilege to search of

congressman's cell phone).     However, because the Office proceeded expeditiously with its

investigations and charging decisions, no election year sensitivities consultation with PIN was

required prior to returning the original indictment in either the Classified Documents Case in

June of 2023 or the Election Case in August of 2023.

               3.      Post-Indictment Procedures

       The two components of the Department's election year sensitivities policy play out

differently in the context of post-indictment litigation.       First, the bedrock principle that

prosecutors may not take any action for the purpose of affecting an election or providing an

advantage or disadvantage to any candidate or party applies fully during post-indictment

litigation. On this score, the Office did not take a single action at any time for any such purpose;




                                                100
     Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25      Page 510 of 734



 rather, the Office's m1ss10n was at all times to uphold the law and carefully follow the

 requirements of the criminal justice process.

         Unlike the purpose-focused component of Department policy, the component that focuses

 on the Department's reputation for impartiality stands on a different footing with respect to pre-

 indictment and post-indictment activity. This component of the policy applies fully to the timing

 of actions by prosecutors prior to indictment-bringing charges, taking overt investigative steps,

 and making public statements. Justice Manual § 9-85.500. For such actions, prosecutors must

 take election year sensitivities into account, and they are required to consult with PIN.          Id.

 However, once the case is charged, this component of the policy does not limit the ability to

litigate according to the schedule set down by the court and does not require consultation with

PIN for such litigation. Whether it is during an election year or any other time, the duty of

prosecutors after indictment is to litigate their cases fully and zealously, consistent with the

Constitution, United States Code, Federal Rules of Criminal Procedure, rules of professional

responsibility, and dictates of the calendar set forth by the court.        See CNN This J\lforning,

Garland     Comments     on    Trump     Case,   CNN.COM      -   TRANSCRIPTS     (Jan.   19,   2024),

https://transcripts.cnn.com/show/ctmo/date/2024-01-19/segment/02             [https://perma.cc/HD2R-

6U8Y] (the "[p ]rosecutor has urged speedy trials, with which I agree. And it's now in the hands

of the judicial system, not in our hands."). Once a case is charged, no policy of the Department

limits the ability of prosecutors to litigate effectively on the schedule set by the court, and that is

what the Office did.

       Consistent with the Department's policy, after indictment, the Office litigated the

Election Case according to the schedules set down by the district court, the D.C. Circuit, and the




                                                 101
  Case 1:25-cv-00716-BAH                 Document 39-4           Filed 04/02/25         Page 511 of 734



Supreme Court. 256 Given the gravity of the issues presented by the charges, the Office sought to

move the case forward expeditiously for two central reasons unrelated to the election. First, the

Speedy Trial Act mandates expeditious resolution of criminal cases, and it does so not only for

the benefit of the accused, but in the best interest of the public. See Zedner v. United States, 547

U.S. 489, 501 (2006) ("[T]he [Speedy Trial] Act was designed with the public interest firmly in

mind."); Strunk v. United States, 412 U.S. 434, 439 n.2 (1973) ("The public interest in a broad

sense, as well as the constitutional guarantee, commands prompt disposition of criminal

charges."); Cobbledick v. United States, 309 U.S. 323, 325 (1940) ("[E]ncouragement of delay is

fatal to the vindication of the criminal law.").               Second, those fundamental interests were

heightened in this case, which raised matters of utmost gravity, urgency, and national concern,

charging the former President with conspiring to thwart the peaceful transfer of power through

lies that undermined the democratic process and ultimately fueled a violent attack on the United

States Capitol. These criminal charges warranted prompt and fair disposition, and that is what

the Office sought to achieve.

        Both during the investigation and after the case was charged, however, Mr. Trump sought

to delay the proceedings, taking the position that when the judicial process conflicted with his

election campaign, the courts should always yield. See, e.g., ECF No. 30 at 11 (proposing April

256 The Office did the same in the Classified Documents Case in the Southern District of Florida, litigating the case

according to the calendar set by the court. Trial had been set for May 20, 2024, but in late February, the court
ordered the parties to submit proposals for a new schedule and held a conference to discuss them, including
proposals fornew trial dates. See United States v. Trump, No. 23-cr-80101, ECF No. 338 (S.D. Fla. Feb. 27, 2024);
Trump, No. 23-cr-80 l OI, ECF No. 369 (S.D. Fla. Mar. l, 2024). Before responding to the court, the Office
confinned with PIN its own understanding that the election year sensitivities policy did not apply to post-indictment
litigation or require an election year sensitivities consultation before requesting a new trial date. The Office then
proposed a trial date of July 8, 2024, while Mr. Trump proposed August 12, 2024. But the court never set a new trial
date. See id., ECF Nos. 356 & 357 (S.D. Fla. Feb. 29, 2024). PIN later advised the Office that prosecutors who
request a trial date closer in time to an election than the July date that the Office proposed could be required to
consult with PIN. In any event, the Office consulted regularly with PIN, and PIN agrees that the Office complied
fully with the election year sensitivities policy in both of its cases.




                                                        102
     Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25       Page 512 of 734



 2026 trial date, emphasizing that "[n]o major party presidential candidate has ever been charged

 while in the middle of a campaign"); ECF No. 103 at 20 (Mr. Trump's counsel arguing, "The

 easiest solution to all of this is an obvious one .... and that is to adjourn the case after the

 presidential election. That's the solution."); ECF No. 242 at 7-8 (asking court to reconsider

 scheduling order, emphasizing that "President Trump is the leading candidate in the Presidential

 election, which is just weeks away").

        The courts did not agree. They consistently rejected Mr. Trump's efforts to delay or stop

the proceedings.      The comis' words and actions throughout the litigation reflected their

fundamental commitment to the operation of the judicial process, notwithstanding the election

campaign.     See, e.g., ECF No. 38 at 53 ("the public has a right to a prompt and efficient

resolution of this matter"); ECF No. 29 at 41 ("the fact that the defendant is engaged in a

political campaign is not going to allow him any greater or lesser latitude than any defendant in a

criminal case"); id. at 15 ("And so what the defendant is currently doing-you know, the fact

that he's running a political campaign currently has to yield to the orderly administration of

justice."); id. at 19 ("I cannot, and I will not, factor into my decisions the effect it's going to have

on a political campaign for either side."); United States v. Trump, 88 F.4th 990, 1018 (D.C. Cir.

2023) ("Delaying the trial date until after the election, as Mr. Trump proposes, would be

counterproductive, create perverse incentives, and unreasonably burden the judicial process.");

id. at 1016 ("But there is another fundamental constitutional interest at stake here. The existence

of a political campaign or political speech does not alter the court's historical commitment or

obligation to ensure the fair administration of justice in criminal cases. A trial participant's

engagement in political speech cannot degrade or diminish that essential judicial function.");

Trump, No. 23-3228, Per Curiam Order (D.C. Cir. Dec. 13, 2023) (expediting briefing and oral




                                                 103
  Case 1:25-cv-00716-BAH                Document 39-4            Filed 04/02/25         Page 513 of 734



argument); Trump, No. 23-3228, Judgment (D.C. Cir. Feb. 6, 2024) (accelerating the schedule

for Mr. Trump to seek any further review).

        The Office also sought to move the Election Case forward expeditiously in the Supreme

Court based upon the public interest in a prompt resolution of the case and the precedent set by

the Watergate Special Prosecutor in United States v. Nixon, 418 U.S. 683 (1974) (Nixon), where

the Court "granted both the United States' petition for certiorari before judgment (No. 73-1766),

and also the President's cross-petition for certiorari before judgment (No. 73-1834), because of

the public importance of the issues presented and the need for their prompt resolution .... " Id.

at 686-687 (citations omitted). The Office filed a petition for certiorari before judgment, which

would have moved the Election Case directly to the Supreme Court from the district court, and

argued that the Court should follow the Nixon model. The Supreme Court did not grant the

Office's petition for certiorari before judgment. However, like the D.C. Circuit, the Supreme

Court ultimately expedited its consideration of the case, further confirming the Office's emphasis

on the strong public interest in a prompt resolution. 257

        Following the Supreme Court's immunity decision, the Office again proceeded in a

manner that was fully consistent with the letter and spirit of the Department's election year


257 After the D.C. Circuit issued its opinion affirming the district court, Mr. Trump filed a motion in the Supreme

Court to stay the Circuit's issuance of its mandate until he could file, and the Supreme Court could resolve, a
petition for certiorari that he intended to file in the Supreme Court. See Trump v. United States, No. 23A 745,
Application for a Stay of the D.C. Circuit's Mandate Pending the Filing of a Petition for Writ of Certiorari (U.S.
Feb. 12, 2024). In response to that motion, the Office again pointed to the significant public interest in a prompt
resolution of the case, and argued that the Supreme Court should either deny the stay or, as an alternative manner of
moving the case promptly, treat Mr. Trump's motion as a petition for certiorari, grant the petition, and set the case
for expedited briefing and argument. See Trump, No. 23A 745, Resp. in Opp'n to Application for a Stay of the
Mandate of the United States Court of Appeals for the D.C. Circuit (U.S. Feb. 14, 2024). The Supreme Court
adopted the Office's alternative proposal and set an argument and briefing schedule to complete the litigation in the
October Term, which ended on July 1, 2024. See Trump, No. 23-939, Order Granting Petition (U.S. Feb. 28, 2024).
Briefing was completed by April 15, 2024, the Supreme Court held oral argument on April 25, 2024, and the
Supreme Court issued its immunity opinion remanding for further proceedings on July l, 2024. See Trump, 603
U.S. at 642.




                                                        104
     Case 1:25-cv-00716-BAH           Document 39-4         Filed 04/02/25      Page 514 of 734



 sensitivities policy: litigating the case according to the schedule established by the district court,

 taking action based upon the law and the best interests of the case, and consulting with PIN.

 Upon receiving the decision, the Office immediately began a multi-faceted process to determine

 the best way forward, including (1) a thorough evaluation of the opinion itself; (2) an exhaustive

 and detailed review of the evidence and the allegations in the original indictment to determine

 whether there was sufficient non-immune evidence to support the charges in light of the opinion;

 (3) once the Office determined that there was sufficient non-immunized evidence, an evaluation

of whether to litigate the case based on the existing grand jury record and indictment or instead,

seek a superseding indictment that would be presented to a grand jury that had not heard any

immunized evidence; and (4) given the timing, evaluate whether all of the necessary steps could

be undertaken consistent with the election year sensitivities policy. The Office determined that

that there was sufficient non-immunized evidence to support the charges and that the best course

of action for the case was to obtain a superseding indictment that implemented the Supreme

Court's holding in Trump, and present that new indictment to a grand jury that had not heard

evidence of immunized conduct. See ECF No. 228 (Notice of Superseding Indictment). Before

doing so, the Office consulted with PIN for two purposes: (1) to obtain PIN's concurrence

regarding the proposed election fraud charges under 18 U.S.C. §§ 241 and 371, as required by

Justice Manual § 9-85.300; and (2) given the timing of the superseding indictment, to consult

with PIN regarding election year sensitivities, pursuant to Justice Manual § 9-85.500 and the

Attorney General's Election Year Sensitivities Memorandum. PIN concurred with the return of

the superseding indictment, which was returned by the grand jury on August 27, 2024.

       Following the superseding indictment, and consistent with the district court's

instructions, on August 30, 2024, the parties submitted their positions regarding the schedule for




                                                 105
  Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25       Page 515 of 734



pretrial proceedings. ECF No. 229. The Office proposed that it file an opening brief regarding

immunity in which it would provide detailed information without which the court could not

undertake the factbound analysis that was required by the Supreme Court's remand. The Office

argued that its filing would include the information that the defense would need to address and

that the district court would need to make its immunity determinations-regarding both the

allegations in the superseding indictment and the evidence that the Office would introduce at

trial-in a manner that would avoid the prospect of multiple interlocutory appeals. Id. at 2-3.

Were the defense to file first on remand, it would leave a large gap in the analysis that the district

court was required to undertake because only the Office could identify all of the evidence upon

which the charges were based and upon which it would rely at trial. See ECF No. 232 at 12-15

(Transcript of Hearing). The Office did not propose a particular date for filing its immunity brief

or a schedule for conducting the immunity litigation.          It left those matters to the court's

discretion. Mr. Trump proposed that the immunity litigation should not begin until December

2024.

        The district court issued an order setting a new schedule for pretrial litigation and

directing the Office to file its opening immunity brief on September 26, 2024. See ECF No. 233.

Prior to filing its immunity brief, the Office again confirmed with PIN that the election year

sensitivities policy did not apply to conducting such post-indictment litigation according to the

court's schedule and that the Justice Manual did not require consultation with PIN regarding

such litigation. And after the Office filed its immunity brief and Mr. Trump attempted to delay

its public disclosure, the district court again rejected his attempt to conflate the election and the

criminal justice process:

        In addition to the assertions discussed above, Defendant's oppos1t10n brief
        repeatedly accuses the Government of bad-faith partisan bias. See Def.'s Opp'n



                                                 106
      Case 1:25-cv-00716-BAH               Document 39-4          Filed 04/02/25        Page 516 of 734



          at 2, 5-6. These accusations, for which Defendant provides no support, continue a
          pattern of defense filings focusing on political rhetoric rather than addressing the
          legal issues at hand. See Oversized Brief Order at 2-3 (identifying two recent
          instances of this pattern). Not only is that focus unresponsive and unhelpful to the
          court, but it is also unbefitting of experienced defense counsel and undermining of
          the judicial proceedings in this case.

 ECF No. 251 at 7. 258

          Throughout its work, the Office was focused entirely on its mandate to uphold the law,

 and nothing more.         The career prosecutors in the Office conducted its investigation and

 prosecution in a manner that complied fully with the Department's policies regarding election

 year sensitivities.

 V.      INVESTIGATIVE CHALLENGES AND LITIGATION ISSUES

         In a corruption or conspiracy investigation, it is not unusual for a subject or target of the

 investigation to continue to wield significant influence over, or command strong loyalty from,

 potential witnesses, often complicating the ability of prosecutors to obtain evidence.                    That

dynamic was amplified in this case given Mr. Trump's political and financial status, and the

prospect of his future election to the presidency. As described below, one company resisted a

lawful court order issued during the Office's investigation, and important witnesses made the

choice to assert privileges against providing evidence based on their own official positions in the

government. In addition, after his indictment, Mr. Trump used his considerable social media

presence to make extrajudicial comments-sometimes of a threatening nature-about the case,

and the Office was forced to pursue litigation to preserve the integrity of the proceeding and



258 On October 17, 2024, Mr. Trump filed a motion, ECF No. 264, to delay public disclosure of the Office's
appendix to its immunity brief until after Mr. Trump had filed his own appendix on November 14, nine days after
the 2024 presidential election, such that both appendices would be released publicly simultaneously. Because Mr.
Trump filed his motion before obtaining the Office's position, the Office emailed the district court's chambers,
copying defense counsel, to inform the court that the Office did not object to that procedure.




                                                      107
  Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25     Page 517 of 734



prevent witness intimidation. Mr. Trump also was able to raise claims of executive privilege and

presidential immunity.   This section discusses each of those challenges and how the Office

addressed them.

       A.     Pre-Indictment Litigation with Third Parties

               1.     The Twitter/X Search Warrant

       Mr. Trump's public statements-and specifically, his posts on the social media

application Twitter-constituted important potential evidence of his criminal conduct and intent.

Accordingly, on January 17, 2023, the Office applied for, and the district court authorized, a

search warrant requiring Twitter to provide certain information regarding Mr. Trump's Twitter

account. In re Twitter Search Warrant, No. 23-sc-31, ECF No. 32 at 1-2 & n. l, 5 (D.D.C. Mar.

3, 2023) (Twitter Decision).     At the same time, as is common in non-public criminal

investigations to prevent individuals under investigation from destroying evidence or otherwise

hampering the process, the Office asked the district court to issue a non-disclosure order (NDO),

which would direct Twitter that it could not inform Mr. Trump that the Office was seeking

information regarding his account. Id. at 6. The district court granted the request and issued the

NDO. Id.

       The search warrant required Twitter's compliance within ten days of its issuance, but the

day before that deadline, its Senior Director of Legal informed the Office that "it would not

comply with the Warrant by the next day."       Id. at 7-9.   Shortly thereafter, Twitter's Senior

Director of Legal further informed the Office that it would not comply with the warrant "without

changes to the NDO" permitting Twitter to notify Mr. Trump of the warrant. Id. at 9. Twitter

claimed that the NDO impinged on its First Amendment interests in communicating with the

former President, which, according to Twitter, were heightened because the warrant purportedly

could implicate issues of executive privilege though it conceded that it had no standing to raise


                                               108
     Case 1:25-cv-00716-BAH             Document 39-4       Filed 04/02/25      Page 518 of 734



 any privilege issues.     Id. at 24.     The district court later described Twitter's actions as

 "extraordinary" and noted that its resistance to the NDO appeared to be a first in the company's

 history. Id. at 1 ("For what appears to be the first time in their nearly seventeen-year existence as

 a company . . . [Twitter] seeks to vacate or modify an order, issued under the Stored

 Communications Act . . . commanding that the company not disclose the existence of a search

warrant for a user's Twitter account, and further seeks to condition any compliance by the

company with that search warrant on the user (or user's representatives) first being notified about

the warrant and given an opportunity to stop or otherwise intervene in execution of the

warrant.").

        The Office promptly moved in district court to have Twitter show cause why it should not

be held in contempt of court, asking the district court to impose a penalty that doubled with each

day of non-compliance, starting at $50,000. Id. at 9, 12. In rejecting Twitter's basis for refusing

to comply with the warrant, the district court emphasized that the search warrant and NDO had

been "issued by this Court after being apprised of extensive reasons sufficient to establish

probable cause for issuance of the warrant and to meet the statutory requirements for an NDO, to

which reasons Twitter is neither privy nor entitled to be privy." Id. at 2. The district court

rejected Twitter's contentions, finding that there existed compelling government interests to

maintain the NDO to preserve the integrity of the investigation, id. at 17-26, and that as a

practical matter, "[i]f accepted, Twitter's argument would invite repeated litigation by Twitter

and other [electronic communication services] providers to challenge NDOs in order to alert

users to [Stored Communications Act] orders, particularly for high profile, highly placed users,

such as current or former government officials, with whom the providers might want to curry




                                                109
  Case 1:25-cv-00716-BAH            Document 39-4        Filed 04/02/25       Page 519 of 734



favor, with concomitant and inevitable delays in execution of [Stored Communications Act]

orders and resultant frustration in expeditiously conducting criminal investigations," id. at 11.

       The district court ultimately held that the NDO lawfully prohibited Twitter from notifying

Mr. Trump about the warrant and fined Twitter $350,000 for failing to comply with the court-

ordered search warrant in a timely fashion, finding that Twitter failed to show good faith and

substantial compliance in response to the warrant. Id. at 30-34. The sanction and NDO were

both upheld by the D.C. Circuit, and the Supreme Court declined to review the case.            In re

Sealed Case, 77 F.4th 815, 830 (D.C. Cir. 2023), cert. denied sub nom. X Corp. v. United States,

2024 WL 4426628 (U.S. Oct. 7, 2024) (upholding NDO where the order was narrowly tailored

and "the district court specifically found reason to believe that disclosure of the warrant would

jeopardize the criminal investigation"); id. at 836 (holding that the "sanction ultimately imposed

was not unreasonable, given Twitter's $40-billion valuation and the court's goal of coercing

Twitter's compliance").

               2.      Legislative Privilege Under the Speech or Debate Clause

       The Speech or Debate Clause provides that "for any Speech or Debate in either House,

[Senators and Representatives] shall not be questioned in any other Place." U.S. CONST. art. I,

§ 6, cl. 1. The Clause affords members of Congress a number of distinct protections, including a

testimonial privilege that guarantees that a member "may not be made to answer" questions

about his or her legislative acts. Gravel v. United States, 408 U.S. 606, 616 (1972). During the

investigation, former Vice President Pence (in his capacity as President of the Senate) invoked

his privilege under the Speech or Debate Clause.          Through litigation over the scope and

applicability of the claimed privilege, the Office obtained important evidence.

       After the grand jury subpoenaed Mr. Pence to testify about Mr. Trump's alleged efforts to

overturn the results of the 2020 election, Mr. Pence moved to quash the subpoena, invoking the


                                                 110
      Case 1:25-cv-00716-BAH                Document 39-4           Filed 04/02/25         Page 520 of 734



 Speech or Debate Clause. In re Press Application, No. 23-mc-35, ECF No. 11-1 at 1 (D.D.C.

 June 9, 2023). Mr. Pence argued that the Vice President should receive the protections of the

 Speech or Debate Clause when acting in his constitutional capacity as President of the Senate, as

 he did while presiding over the joint session of Congress on January 6, 2021.                           Id. at 2.

 According to Mr. Pence, the Speech or Debate Clause therefore foreclosed questioning before

 the grand jury about his legislative acts relating to the joint session. Id. at 2-3.

         The Chief Judge of the United States District Court for the District of Columbia, who

 presides over grand jury matters in that district, denied "in large part" Mr. Pence's motion to

quash. Id., ECF No. 11-5 at 19. The court held "that, while the Clause does apply to the Vice

President, it does not cover the vast majority of what the Special Counsel seeks to ask him

about." Id. at 1. The court determined that although the Speech or Debate Clause foreclosed

questioning about Mr. Pence's legislative acts, much of the conduct the Office sought to question

Mr. Pence about did not qualify as legislative acts under the Speech or Debate Clause, including,

for example, Mr. Trump's "conversations exhorting Pence to reject electors on January 6th." Id.

at 16. The court concluded that the Speech or Debate Clause precluded government questioning

in two subject areas: ( 1) Mr. Pence's drafting and recitation of the statement he made on the floor

of the Senate on January 6; and (2) internal advice from Mr. Pence's staff about the scope of his

authority on January 6. Id. at 18-19. Neither the Office nor Mr. Pence appealed the district

court's ruling. 259



259 The Government also litigated Speech or Debate Clause issues against a Member of Congress.     In August 2022,
before the Special Counsel was appointed, based on judicial findings of probable cause that evidence of crimes
would be found on the personal cell phone of Representative Scott Perry, the Government obtained warrants to seize
and search the cell phone of Representative Perry. See In re Sealed Case, 80 F.4th at 360. Because of United States
v. Rayburn House Office Bldg., 497 F.3d 654 (D.C. Cir. 2007), a case in which the D.C. Circuit held that the Speech
or Debate Clause required the government to allow a Member of Congress to review and assert claims of privilege
over materials seized from his office before it could access and review the materials, the Government gave




                                                       111
  Case 1:25-cv-00716-BAH                 Document 39-4            Filed 04/02/25          Page 521 of 734



        B.       Threats and Harassment of Witnesses

        A significant challenge that the Office faced after Mr. Trump's indictment was his ability

and willingness to use his influence and following on social media to target witnesses, courts,

and Department employees, which required the Office to engage in time-consuming litigation to

protect witnesses from threats and harassment.

        Mr. Trump's resort to intimidation and harassment during the investigation was not new,

as demonstrated by his actions during the charged conspiracies. A fundamental component of

Mr. Trump's conduct underlying the charges in the Election Case was his pattern of using social

media-at the time, Twitter-to publicly attack and seek to influence state and federal officials,

judges, and election workers who refused to support false claims that the election had been stolen

or who otherwise resisted complicity in Mr. Trump's scheme. After Mr. Trump publicly assailed

these individuals, threats and harassment from his followers inevitably followed. See ECF No.

57 at 3 (one witness identifying Mr. Trump's Tweets about him as the cause of specific and

graphic threats about his family, and a public official providing testimony that after Mr. Trump's

Tweets, he required additional police protection). In the context o_f the attack on the Capitol on

January 6, Mr. Trump acknowledged that his supporters "listen to [him] like no one else." 260




Representative Perry a copy of the contents of his phone so that he had an opportunity to claim the Speech or Debate
privilege over the materials before the Government accessed them. Id. After Representative Perry did so, and after
litigation in both the district court and the D.C. Circuit, see generally id.; see also In re Sealed Case, No. 23-3001,
Doc. 2031508 (D.C. Cir. Dec. 14, 2023), and In re Scott Peny Cell Phone Search Warrant, No. 22-sc-2144,
Memorandum Opinion at 1 (D.D.C. Dec. 19, 2023), https://www.dcd.uscourts.gov/sites/dcd/files/22-sc-2 l44%20-
%200pinion.pdf (https://perma.cc/5PPD-JH68], the Government obtained records-including encrypted messages
between Representative Perry and Co-Conspirator 4-that it intended to use at trial prior to the Supreme Court's
decision on presidential immunity. See, e.g., SCO-12946533 (Signal messages between Co-Conspirator 4 and Perry
01/02/2021). Irrespective of that decision, the records would have been admissible in a trial of Mr. Trump's co-
conspirators.
260 SCO-04958191    at 7 (CNN Town Hall Tr. 05/10/2023); SCO-04976309 at 13:28-14:35 (CNN Town Hall Video
05/10/2023).




                                                         112
       Case 1:25-cv-00716-BAH                Document 39-4            Filed 04/02/25         Page 522 of 734



          The same pattern transpired after Mr. Trump's indictment in the Election Case. As the

  D.C. Circuit later found, Mr. Trump "repeatedly attacked those involved in th[e] case through

  threatening public statements, as well as messaging daggered at likely witnesses and their

  testimony," Trump, 88 F.4th at 1010. Those attacks had "real-time, real-world consequences,"

 exposing "those on the receiving end" to "a torrent of threats and intimidation" and turning their

 lives "upside down." Id at 1011-1012. The day after his arraignment, for example, Mr. Trump

 posted on the social media application Truth Social, "IF YOU GO AFTER ME, I'M COMING

 AFTER YOU!" Id. at 998. The next day, "one of his supporters called the district court judge's

 chambers and said: 'Hey you stupid slave n[****]r[.] ***If Trump doesn't get elected in 2024,

 we are coming to kill you, so tread lightly b[***]h. * * * You will be targeted personally,

 publicly, your family, all of it."' Id. 261 Mr. Trump also "took aim at potential witnesses named

 in the indictment," id. at 998-999, and "lashed out at government officials closely involved in the

 criminal proceeding," as well as members of their families, id. at 1010-1011.

         To protect the integrity of the proceedings, on September 5, 2023, the Office filed a

motion seeking an order pursuant to the district court's rules restricting certain out-of-court

statements by either party. See ECF No. 57; D.D.C. LCrR 57.7(c). The district court heard

argument and granted the Office's motion, finding that Mr. Trump's public attacks "pose a

significant and immediate risk that (1) witnesses will be intimidated or otherwise unduly

influenced by the prospect of being themselves targeted for harassment or threats; and (2)

attorneys, public servants, and other court staff will themselves become targets for threats and

harassment." ECF No. 105 at 2. Because no "alternative means" could adequately address these



261See also United States v. Shry, 23-cr-413 (S.D. Tex.) (threats made against the district court judge presiding over
the Election Case).




                                                         113
  Case 1:25-cv-00716-BAH             Document 39-4      Filed 04/02/25      Page 523 of 734



"grave threats to the integrity of these proceedings," the court prohibited the parties and their

counsel from making public statements that "target (1) the Special Counsel prosecuting this case

or his staff; (2) defense counsel or their staff; (3) any of this court's staff or other supporting

personnel; or (4) any reasonably foreseeable witness or the substance of their testimony." Id

at 3.   The court emphasized, however, that Mr. Trump remained free to make "statements

criticizing the government generally, including the current administration or the Department of

Justice; statements asserting that [he] is innocent of the charges against him, or that his

prosecution is politically motivated; or statements criticizing the campaign platforms or policies

of[his] current political rivals." Id. at 3.

        Mr. Trump appealed, and the D.C. Circuit affirmed in large part, finding that Mr. Trump's

attacks on witnesses in this case posed "a significant and imminent threat to individuals'

willingness to participate fully and candidly in the process, to the content of their testimony and

evidence, and to the trial's essential truth-finding function," with "the undertow generated by

such statements" likely to "influence other witnesses" and deter those "not yet publicly

identified" out of "fear that, if they come forward, they may well be the next target." Trump, 88

F.4th at 1012-1013. Likewise, "certain speech about counsel and staff working on the case poses

a significant and imminent risk of impeding the adjudication of th[ e] case," since "[m ]essages

designed to generate alarm and dread; and to trigger extraordinary safety precautions, will

necessarily hinder the trial process and slow the administration of justice." Id at 1014.

        The court of appeals explained that the district court's order "involve[ d] the confluence of

two paramount constitutional interests: the freedom of speech guaranteed by the First

Amendment and the federal courts' vital Article III duty to ensure the fair and orderly

administration of justice in criminal cases." Id at 996.       Balancing these interests, the court




                                                 114
     Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25       Page 524 of 734



 explained, required consideration of three related questions: "(l) whether the Order is justified

 by a sufficiently serious risk of prejudice to an ongoing judicial proceeding; (2) whether less

 restrictive alternatives would adequately address that risk; and (3) whether the Order is narrowly

 tailored, including whether the Order effectively addresses the potential prejudice." Id. at 1007.

 Because "the record amply support[ed]" the district court's finding that, "'when [Mr. Trump] has

 publicly attacked individuals including on matters related to this case, those individuals are

consequently threatened and harassed,"' id at 1012 (quoting ECF No. 105 at 2), and because

"[ n]o less-speech-restrictive alternative could viably protect against the imminent threat to the

participation of witnesses, trial participants, and staff in this criminal matter, or the full, fair, and

unobstructed receipt of relevant evidence," id. at 1017, the court affirmed the decision to

"impose[] some limitation on trial participants' speech," id at 1016. Indeed, "[g]iven the record

in this case, the [district] court had a duty to act proactively to prevent the creation of an

atmosphere of fear or intimidation aimed at preventing trial participants and staff from

performing their functions within the trial process." Id at 1014. The court of appeals therefore

affirmed the district court's order to the extent that it prohibited parties and their counsel from

making "public statements about known or reasonably foreseeable witnesses concerning their

potential participation in the investigation or in this criminal proceeding," or "public statements

about-(1) counsel in the case other than the Special Counsel, (2) members of the court's staff

and counsel's staffs, or (3) the family members of any counsel or staff member-if those

statements are made with the intent to materially interfere with, or to cause others to materially

interfere with, counsel's or staff's work in this criminal case, or with the knowledge that such

interference is highly likely to result." Id. at 1027-1028. To ensure that going forward the order




                                                 115
  Case 1:25-cv-00716-BAH                Document 39-4            Filed 04/02/25         Page 525 of 734



was as narrowly tailored as possible, the court vacated the district court order "to the extent it

cover[ ed] speech beyond those specified categories." Id. at 1028.

        C.        Mr. Trump's Claims of Executive Privilege

        A time-consuming investigative challenge that the Office faced was Mr. Trump's broad

invocation of executive privilege to try to prevent witnesses from providing evidence on a wide

variety of topics. Mr. Trump asserted a form of executive privilege known as the presidential-

communications privilege-a special privilege belonging to Presidents that the Supreme Court

has found derives from the Constitution's design of the Executive Branch and separation of

powers, see Nixon v. GSA, 433 U.S. 425, 446-447 (1977) (GSA); Nixon, 418 U.S. at 708-with

respect to fourteen Executive Branch officials.                  Mr. Trump's repeated assertion of the

presidential-communications privilege as a basis to withhold evidence required extensive pre-

indictment litigation that delayed the Office's receipt of important testimony and other evidence,

including testimony from senior White House staff and Executive Branch officials about topics

such as Mr. Trump's knowledge that he had lost the election and the pressure campaign Mr.

Trump waged against the Vice President to convince him to reject legitimate elector slates at the

January 6 certification proceeding.

         The courts uniformly rejected Mr. Trump's privilege assertions seeking to deny the grand

jury from hearing evidence from Executive Branch employees, see Media Access ECF No. 32-2

(No. 22-gj-25, Memorandum Opinion, Sept. 28, 2022); 262 Media Access ECF No. 32-6

(Memorandum Opinion, Nov. 19, 2022); Media Access ECF No. 32-11 (No. 22-gj-39,

Memorandum Opinion, Dec. 9, 2022); Media Access ECF No. 32-15 (No. 23-gj-12,


262 "Media Access ECF" refers to previously sealed documents that were made public in redacted fonn in In re

Application of the New York Times, 22-mc- I 00 (D.D.C.), litigation brought by the media for access to materials from
the executive-privilege litigation.




                                                        116
     Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25      Page 526 of 734



 Memorandum Opinion, Mar. 15, 2023); Media Access ECF No. 32-17 (No. 23-gj-13,

 Memorandum Opinion, Mar. 25, 2023), finding that the evidence was "directly relevant,

 important, and essential" to the Office's investigation, as well as unavailable elsewhere, e.g.,

 Media Access ECF No. 32-15 at 33, 45.         In each instance, the courts determined that the

 "importance and unavailability" of that "vital" evidence "outweigh[ed]" the qualified privilege

 for presidential communications and ordered that it be produced promptly to the grand jury.

 Media Access ECF No. 32-2 at 30. And when Mr. Trump tried to delay the investigation even

 further by seeking to stay orders denying his executive privilege claims pending appeal, district

and appellate courts rejected all of them.    In so doing, one court held that Mr. Trump was

engaging in an "obvious" effort to delay the investigation and impede the grand jury from

carrying out its constitutional responsibilities, Media Access ECF No. 32-4 at 6-8 (No. 22-gj-25,

Memorandum Opinion, Oct. 6, 2022), and separately observed that staying proceedings risked

indefinite delay, see Media Access ECF No. 32-8 at 9 (No. 22-gj-33, Memorandum Opinion,

Dec. 18, 2022) ("The Court thus declines to further pause the grand jury's constitutionally

protected work, particularly in the absence of any reassurance that the former president's delay

tactics will cease."). Another court concluded that Mr. Trump's claim that the impact of delay on

the investigation would be "nominal" was a "vast understatement," noting instead that it "would

be ... serious and deleterious" and would "harm[] the public interest." Media Access ECF No.

32-16 at 34 (No. 23-gj-12, Hearing Transcript, Apr. 3, 2023).

       The presidential-communications privilege covers evidence "that reflect[ s] presidential

decisionmaking and deliberations and that the President believes should remain confidential." In

re Sealed Case, 121 F.3d 729, 744 (D.C. Cir. 1997).              The law on the presidential-

communications privilege derives from the Supreme Court's decision in Nixon. There, the Court




                                               117
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25      Page 527 of 734



recognized a "presumptive privilege for Presidential communications," which it described as

"fundamental to the operation of Government and inextricably rooted in the separation of powers

under the Constitution." 418 U.S. at 708. But the Court held that the privilege is qualified, not

absolute, id. at 706-707, emphasizing "our historic commitment to the rule of law," which is

"nowhere more profoundly manifest than in our view that the twofold aim of criminal justice is

that guilt shall not escape or innocence suffer," id. at 708-709 (citation, quotations, and

alterations omitted). Specifically, the Court "weigh[ed] the importance of the general privilege

of confidentiality of Presidential communications in performance of the President's

responsibilities against the inroads of such a privilege on the fair administration of criminal

justice," id. at 711-712, and it concluded that "[t]he generalized assertion of privilege must yield

to the demonstrated, specific need for evidence in a pending criminal trial," id. at 713. The D.C.

Circuit has applied the same general standard to grand jury subpoenas. See In re Sealed Case,

121 F.3d at 756.

       Most of the executive privilege litigation in this case took place in five sealed

proceedings between August 2022 and March 2023 concerning the testimony of fourteen

witnesses in total. See Media Access ECF No. 32 (notice attaching district court orders and

memorandum opinions).        In August 2022, before the Special Counsel was appointed, the

Government began to seek evidence from two former Executive Branch employees of Mr.

Trump's, including by issuing subpoenas for testimony before the grand jury. See Media Access

ECF No. 32-2. Although the Government believed it unlikely that the information that it sought

from these witnesses was subject to the presidential-communications privilege because it did not

concern presidential decision-making, in an abundance of caution given the unprecedented




                                                118
          Case 1:25-cv-00716-BAH             Document 39-4            Filed 04/02/25         Page 528 of 734



 circumstance of investigating the former President, the Government made certain notifications to

 determine whether executive privilege would be a contested issue.

             Specifically, with the district court's permission, the Government notified Mr. Trump and

 the incumbent President about the subpoenas to ascertain whether either would assert executive

 privilege and identified certain potential topics of investigative inquiry. 263 The Government

 chose to notify both the sitting and former Presidents even though it was unsettled under GSA

 whether a former President's view about potential harm to Executive Branch confidentiality

 interests could supersede the sitting President's. See GSA, 433 U.S. at 449. The incumbent

 President responded through the White House Counsel's Office that he did not intend to assert

 executive privilege. 264 Mr. Trump instructed the two witnesses that they should not provide

testimony about any privileged communications, and he specifically identified the presidential-

communications privilege. See Media Access ECF No. 32-2 at 9-10. 265

             After the witnesses withheld testimony pursuant to Mr. Trump's instruction, the

Government filed a motion to compel with the Chief Judge of the United States District Court for

the District of Columbia. Given that the investigation focused largely on Mr. Trump's activities

as a candidate seeking office, not his official activities as President, the Government believed

that it was likely that many if not all the communications at issue were not subject to the

presidential-communications privilege because they were not made in the process of arriving at


263 See, e.g., SCO-11533730 (Letter to Trump Attorney) (identifying topics covering, among other things, potential
fraud or irregularities regarding the 2020 presidential election, the January 6 rally at the Ellipse, the congressional
certification on January 6, and co-conspirators).
264 SeeSCO-00007123 at 2 (Letter from the White House Counsel's Office to U.S. Attorney for the District of
Columbia 06/27/2022). Throughout its existence, the Office conducted its work in full compliance with the
Department's Policy on Communications with the White House. See, e.g., Memorandum from Merrick Garland,
Attorney General, Department ofJustice Communications with the White House (July 21, 2021 ).
265 See    SCO-12921102, SCO-11545866 at 2 (Letters from Trump Attorney to Witness Counsel).




                                                         119
  Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25    Page 529 of 734



presidential decisions. See Media Access ECF No. 32-2 at 17. As the Supreme Court has

explained, the presidential-communications privilege "is limited to communications in

performance of a President's responsibilities of his office and made in the process of shaping

policies and making decisions."   GSA, 433 U.S. at 449 (citation, quotations, and alterations

omitted).   But the Government's position was that the district court did not have to decide

whether the communications at issue were subject to the privilege and instead could assume that

the communications were privileged and find that the Government had overcome any privilege

that would apply to presidential communications because it had made the showing of need for

the evidence required under N;xon. Under D.C. Circuit precedent, to make the required showing

of need, the Government had to establish that the testimony withheld by the witnesses likely

contained important evidence that was not available to the grand jury with due diligence

elsewhere. In re Sealed Case, 121 F.3d at 754.

       After briefing and argument, the district court granted the Government's motion to

compel. See Media Access ECF No. 32-1 (Order, Sept. 28, 2022). The court found that the

witnesses possessed "unique and inimitable evidence," Media Access ECF No. 32-2 at 28-29,

that was "important and relevant to the grand jury's investigation," Media Access ECF No. 32-1

at 2. The court concluded that the witnesses possessed "vital evidence for the grand jury, the

importance and unavailability of which outweigh the presidential-communications privilege in

this case." Id. at 30. The district court subsequently denied a motion by Mr. Trump for a stay

pending appeal. Media Access ECF No. 32-4 at 6-8 (No. 22-gj-25, Memorandum Opinion, Oct.

6, 2022); see Media Access ECF No. 32-3 (No. 22-gj-25, Order, Oct. 6, 2022). The court of

appeals also denied a stay pending appeal and later dismissed the appeal as moot. See Docket, In

re Sealed Case, No. 22-3073 (D.C. Cir. 2023).




                                                 120
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25     Page 530 of 734



           In the following months, the Government filed two more motions to compel testimony

 from three additional witnesses.    See Media Access No. 32-6 (No. 22-gj-33, Memorandum

 Opinion, Nov. 19, 2022); Media Access No. 32-11 (No. 22-gj-39, Memorandum Opinion, Dec. 9,

 2022). The district court granted the motions, making findings with respect to each witness that

 the Government had made a showing of need to overcome the qualified privilege for presidential

 communications.      See Media Access ECF Nos. 32-5, 32-6 (No. 22-gj-33, Order and

Memorandum Opinion, Nov. 19, 2022); Media Access ECF Nos. 32-10, 32-11 (No. 22-gj-39,

Order and Memorandum Opinion, Dec. 9, 2022). The district court also denied stays pending

appeals.     See Media Access ECF Nos. 32-7, 32-8 (No. 22-gj-33, Order and Memorandum

Opinion, Dec. 18, 2022); Media Access ECF Nos. 32-12, 32-13 (No. 22-gj-29, Order and

Memorandum Opinion, Jan. 10, 2023).

        After the appointment of the Special Counsel, it became clear-given the scope of the

grand jury's investigation and the need to obtain evidence from a number of former Executive

Branch officials-that seeking to compel testimony from one or two witnesses at a time would

be inefficient and would unduly delay the investigation.       The Office therefore decided to

consolidate the proceedings to the extent possible and filed two additional motions to compel

that covered the remaining eight Executive Branch officials who had communicated through

their attorneys that they would withhold testimony from the grand jury based on executive

privilege. The district court granted the motions, making findings with respect to each individual

witness that, as noted above, they "possess[ ed] vital evidence for the grand jury, the importance

and unavailability of which outweigh[ed] the presidential communications privilege." Media

Access ECF No. 32-15 at 45; Media Access ECF No. 32-17 (No. 23-gj-13, Memorandum

Opinion, Mar. 25, 2023).     The district court also denied stays pending appeals.    See Media




                                               121
  Case 1:25-cv-00716-BAH          Document 39-4       Filed 04/02/25     Page 531 of 734



Access ECF No. 32-16; Media Access ECF No. 32-18 (23-gj-13, Transcript of Hearing, Apr. 10,

2023). Subsequently, the court of appeals denied stays pending appeals in both cases, dismissed

one of the appeals as moot, and granted Mr. Trump's motion to voluntarily dismiss the other

appeal. See Docket, In re Sealed Case, No. 23-3043 (D.C. Cir. 2023); Docket, In re Sealed Case,

No. 23-3049 (D.C. Cir. 2023).

       D.     Presidential Immunity

       Before this case, no court had ever found that Presidents are immune from criminal

responsibility for their official acts, and no text in the Constitution explicitly confers such

criminal immunity on the President. As set forth below, prior criminal investigations by the

Department of Justice, whether conducted through special prosecutors, independent counsels, or

special counsels, had examined whether Presidents had violated federal criminal law through use

of their official powers, and none of those investigations had regarded former Presidents as

immune from criminal liability for their official acts.   The Office proceeded from the same

premise.

       Soon after the original indictment issued in the Election Case, Mr. Trump raised a claim

of immunity in a motion to dismiss the indictment. The district court denied the immunity

motion, and the court of appeals affirmed. The Supreme Court, however, vacated the court of

appeals' judgment based on its conclusion that Presidents have absolute immunity for core

official conduct that Congress lacks power to regulate; at least presumptive immunity for other

official presidential acts; and no immunity for unofficial conduct. The Court then applied that

test to hold that certain conduct alleged in the indictment was immune, while remanding for

application of its legal framework to the remaining allegations. Trump, 603 U.S. at 593. The

Office responded by obtaining a superseding indictment to comply with the Court's decision and




                                              122
     Case 1:25-cv-00716-BAH           Document 39-4       Filed 04/02/25     Page 532 of 734



 by seeking district court rulings that the charged conduct and expected evidence at trial was not

 shielded by immunity.

         This section summarizes the chronology of the immunity litigation and key findings of

 the courts throughout.    Because the immunity litigation unfolded on the public record, this

 discussion provides an overview; the Office's briefs and judicial decisions contain more detailed

 analysis.

                1.       Prosecutorial Decisions During the Charging Stage

        This Office conducted its investigation against the background of the Department's prior

legal determinations with respect to the potential criminal liability of a former President for

official acts. The longstanding view of the Department was that the Constitution's separation of

powers precludes prosecution of a sitting President for official or unofficial acts.          See

Memorandum from Randolph D. Moss, Assistant Attorney General, Office of Legal Counsel, A

Sitting Presidents Amenability to Indictment and Criminal Prosecution, 24 Op. O.L.C. 222 (Oct.

16, 2000) (2000 OLC Opinion); Memorandum from Robert G. Dixon, Jr., Assistant Attorney

General, Office of Legal Counsel, Amenability of the President, Vice President and other Civil

Officers to Federal Criminal Prosecution while in Office (Sept. 24, 1973) (1973 OLC Opinion).

But that same legal conclusion recognizes that former Presidents could be held criminally liable

for conduct undertaken while in office.       2000 OLC Opinion at 255 & n.32, 257.           The

Department's constitutional analysis of the "temporary" immunity of a sitting President, id,

drew no distinction between official acts and unofficial conduct.

       Consistent with that analysis, former Department of Justice prosecutors had historically

investigated presidential conduct based on the understanding that no criminal immunity would

bar prosecution if the President had used his official powers to violate federal criminal law.

Significantly, no President whose conduct was investigated (other than Mr. Trump) ever claimed


                                               123
  Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25      Page 533 of 734



absolute criminal immunity for all official acts. During the Watergate investigation, for example,

prosecutors examined whether President Nixon was liable for the obstruction-of-justice

conspiracy charged against the Watergate conspirators.      Although President Nixon was not

indicted, the grand jury named him as a co-conspirator, United States v. Nixon, 418 U.S. 683,687

(197 4), and in the Supreme Court, President Nixon acknowledged his exposure to prosecution

after leaving office, see United States v. Nixon, Nos. 73-1766, 73-1834, 1974 WL 174855, Resp.

Brief at *98 (U.S. June 21, 1974) ("While out of necessity an incumbent President must not be

subject to indictment in order for our constitutional system to operate, he is not removed from

the sanction of the law. He can be indicted after he leaves office at the end of his term or after

being 'convicted' by the Senate in an impeachment proceeding."). Similarly, President Ford's

pardon of President Nixon rested on both Presidents' understanding that President Nixon was

exposed to criminal liability. See Trump v. United States, No. 23-939, 2024 WL 1592669, Brief

for the United States at 15-16 (U.S. Apr. 8, 2024) (Gov't Sup. Ct. Brief) (collecting sources).

Later, Independent Counsel Lawrence Walsh and Special Counsel Robert S. Mueller III

conducted investigations into presidential conduct. I Lawrence E. Walsh, Final Report Of The

Independent Counsel For Iran/Contra Matters: Investigations and Prosecutions, ch. 27 (Aug.

1993); 2 Robert S. Mueller III, Special Counsel, Report On The Investigation Into Russian

Interference In The 2016 Presidential Election (Mar. 2019) (Mueller Report).               Neither

investigation reflected the view that presidents, after leaving office, were immune from

prosecution for their official acts.   See Mueller Report at 168-181 (analyzing constitutional

separation-of-powers issues and statutory clear-statement issues before concluding that the

President was not categorically exempt from criminal law for his official acts); see also Gov't

Sup. Ct. Brief at 17 (quoting Walsh Report: "a past President" can be "subject to prosecution in




                                               124
     Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25     Page 534 of 734



 appropriate cases").   And counsel for former President Trump stated at his second Senate

 impeachment trial that declining to convict him on the article of impeachment alleging conduct

 related to January 6 would not place him in "any way above the law" because a former President

 "is like any other citizen and can be tried in a court of law." 2 Proceedings of the U.S. Senate in

 the Impeachment Trial of Donald John Trump, S. Doc. No.117-2, at 144 (2021 ); 167 CONG. REC.

 S667, S693 (daily ed. Feb. 12, 2021) ("[T]he text of the Constitution ... makes very clear that a

former President is subject to criminal sanction after his Presidency for any illegal acts he

commits."). This Office made its investigative and prosecutorial decisions based on the same

understanding.

        The conduct at issue in the Election Case involved both unofficial and official conduct.

Much of the former President's alleged conduct involved actions in his private capacity as a

defeated candidate for reelection seeking to overturn the result-e.g., his coordinated conduct

with his personal attorneys, campaign staff, and other private advisors. Such private conduct

does not implicate constitutional functions of the presidency. Other alleged conduct, however,

did involve the former President's misuse of official authority-including using the power of the

presidency directly by exercising his authority over agencies and personnel in the Executive

Branch. In determining to bring charges in the Election Case, the Office therefore examined the

former President's amenability to prosecution for that conduct through the lens of two doctrines:

the separation of powers under the Constitution and clear-statement principles that limit the

application of criminal statutes to presidential conduct in certain circumstances.     The Office




                                               125
  Case 1:25-cv-00716-BAH                 Document 39-4            Filed 04/02/25          Page 535 of 734



concluded that neither the separation of powers nor clear-statement principles barred prosecution

for the limited instances of official conduct at issue. 266

        That determination was consistent with similar conclusions reached by Special Counsel

Mueller after detailed constitutional and statutory analysis; his report concluded that "Congress

can validly regulate the President's exercise of official duties to prohibit actions motivated by a

corrupt purpose" and that clear-statement principles of statutory interpretation did not apply to

preclude application of criminal obstruction statutes to corrupt presidential conduct. Mueller

Report at 168-181. Based on the same principles and legal frameworks, the Office's analysis

determined that the potential charges-conspiracy to defraud the United States, conspiracy and

substantive obstruction-of-justice offenses, and conspiracy to deprive citizens of voting rights-

would not entail application of the statutes in a manner that burdened presidential prerogatives,

and thus that the application of criminal law triggered neither clear-statement principles nor

separation-of-powers concerns.

                 2.        Immunity Litigation

        On October 5, 2023, Mr. Trump filed a motion to dismiss the indictment based upon a

sweeping claim of presidential immunity for all official conduct during his presidency. ECF No.

74. After briefing, on December 1, 2023, the district court rejected Mr. Trump's claim of

immunity, concluding that "[t ]he Constitution's text, structure, and history" do not support the

contention that the President is absolutely immune from prosecution for criminal acts performed

within his official responsibilities and that "[n]o court-or any other branch of government-has

ever accepted" such a contention. United States v. Trump, 704 F. Supp. 3d 196, 206 (D.D.C.

266 The Office addressed separation of powers and clear-statement principles in the district court, see ECF No. I 09 at

32-34, and the Supreme Court, see Trump, No. 23-939, Brief for the United States at 26-31. Neither the district
court nor the majority opinion in the Supreme Cou1t addressed the application of clear-statement principles to the
charges in the case.




                                                         126
      Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25      Page 536 of 734



 2024).     The court held that a former President "may be subject to federal investigation,

 indictment, prosecution, conviction and punishment for any criminal acts undertaken while in

 office," id., that "[e]xempting former Presidents from the ordinary operation of the criminal

 justice system" would "undermine the foundation of the rule of law," id. at 217, and that Mr.

 Trump's "four-year service as Commander in Chief did not bestow on him the divine right of

 kings to evade the criminal responsibility that governs his fellow citizens," id. at 219.

          The district court reasoned that the prospect of federal criminal liability for a former

 President did not impair the Executive's ability to perform its constitutionally mandated

functions, "either by imposing unacceptable risks of vexatious litigation or otherwise chilling the

Executive's decision-making process," and that "it is likely that a President who knows that their

actions may one day be held to criminal account will be motivated to take greater care that the

laws are faithfully executed."     Id. at 210.   With respect to the possible chilling effect that

criminal liability might have on a President, the court concluded that "the possibility of future

criminal liability might encourage the kind of sober reflection that would reinforce rather than

defeat important constitutional values. If the specter of subsequent prosecution encourages a

sitting President to reconsider before deciding to act with criminal intent, that is a benefit, not a

defect." Id. at 213.

          Mr. Trump appealed the district court's ruling. The D.C. Circuit heard oral argument on

January 9, 2024. In a telling exchange, counsel for Mr. Trump acknowledged that, under his

theory of immunity, a President could not be criminally prosecuted for ordering SEAL Team Six

to assassinate a political rival unless Congress had first impeached and convicted that President

for the same conduct. See Sup. Ct. J.A. 131-132. Less than a month after argument, the court of

appeals affirmed the district court's decision, stating, "We cannot accept that the office of the




                                                 127
  Case 1:25-cv-00716-BAH           Document 39-4         Filed 04/02/25      Page 537 of 734



Presidency places its former occupants above the law for all time thereafter." Trump, 91 F.4th at

1200. In a unanimous opinion, the court stated that "our analysis is 'guided by the Constitution,

federal statutes and history,' as well as 'concerns of public policy."' Id. at 1189 (quoting Nixon v.

Fitzgerald, 457 U.S. 731, 747 (1982) (Fitzgerald)).        "Relying on these sources," the court

rejected each of Mr. Trump's "potential bases for immunity both as a categorical defense to

federal criminal prosecutions of former Presidents and as applied to this case in particular." Id.

With respect to the case before it, the court stated that "former President Trump's alleged efforts

to remain in power despite losing the 2020 election were, if proven, an unprecedented assault on

the structure of our government." Id. at 1199. As such, it "would be a striking paradox if the

President, who alone is vested with the constitutional duty to 'take Care that the Laws be

faithfully executed,' were the sole officer capable of defying those laws with impunity." Id. at

1198 (quoting U.S. CONST. art II,§ 3, cl. 1).

       Like the district court, the court of appeals found that "the risk of criminal liability

chilling Presidential action appears to be low" and that "[i]nstead of inhibiting the President's

lawful discretionary action, the prospect of federal criminal liability might serve as a structural

benefit to deter possible abuses of power and criminal behavior."          Id. at 1196 (citing with

approval the district court's observation that "[ e]very President will face difficult decisions;

whether to intentionally commit a federal crime should not be one of them").           Based on the

safeguards in place to prevent baseless indictments applicable to all citizens, the court similarly

found that "the risk that former Presidents will be unduly harassed by meritless criminal

prosecutions appears slight." Id. at 1197.

        More broadly, the court of appeals' evaluation of our system of separated powers led it to

conclude "that there is no functional justification for immunizing fo1mer Presidents from federal




                                                 128
      Case 1:25-cv-00716-BAH                Document 39-4            Filed 04/02/25         Page 538 of 734



 prosecution in general or for immunizing former President Trump from the specific charges in

 the Indictment." Id. at 1200. Because it concluded that Mr. Trump did not have immunity for

 the crimes or conduct charged in the case, the court of appeals did not decide whether every

 allegation in the indictment constituted an official act. However, the court noted that "because

 the President has no official role in the certification of the Electoral College vote, much of the

 misconduct alleged in the Indictment reasonably can be viewed as that of an office-seeker-

 including allegedly organizing alternative slates of electors and attempting to pressure the Vice

 President and Members of the Congress to accept those electors in the certification proceeding."

 Id. at 1205 n.14 (emphasis in original). The court therefore found it "doubtful that all five types

 of conduct alleged in the indictment constitute official acts." Id.

         In a divided decision, the Supreme Court vacated the court of appeals' judgment and

remanded the case for further proceedings.                Trump, 603 U.S. at 642. 267 The Supreme Court

weighed the competing constitutional considerations differently than the lower courts. While the

lower courts and the dissenting Justices placed greater emphasis on rule of law considerations,

the majority found that the need for Presidents to act "boldly and fearlessly" in executing their

duties of office was of paramount importance. Id. at 640.



267Justice Sotomayor, who authored a dissenting opinion joined by Justices Kagan and Jackson, described the
majority opinion as follows:
        The Court effectively creates a law-free zone around the President, upsetting the status quo that
        has existed since the Founding. This new official-acts immunity now "lies about like a loaded
        weapon" for any President that wishes to place his own interests, his own political survival, or his
        own financial gain, above the interests of the Nation. Korematsu v. United States, 323 U.S. 214,
        246 (1944) (Jackson, J., dissenting). The President of the United States is the most powerful
        person in the country, and possibly the world. When he uses his official powers in any way, under
        the majority's reasoning, he now will be insulated from criminal prosecution. Orders the Navy's
        Seal Team 6 to assassinate a political rival? Immune. Organizes a military coup to hold onto
        power? Immune. Takes a bribe in exchange for a pardon? Immune. Immune, immune, immune.
Trump, 603 U.S. at 684-685 (Sotomayor, J., dissenting).




                                                          129
  Case 1:25-cv-00716-BAH            Document 39-4           Filed 04/02/25   Page 539 of 734



       The Court reasoned that there "'exists the greatest public interest' in providing the

President with 'the maximum ability to deal fearlessly and impartially with the duties of his

office,"' "free from undue pressures and distortions." Id. at 610, 615 (citation and quotations

omitted).   The Court found that "[c]riminally prosecuting a President for official conduct

undoubtedly poses a far greater threat of intrusion on the authority and functions of the

Executive Branch than simply seeking evidence in his possession" and that the threat of a

criminal prosecution was "plainly more likely to distort Presidential decisionmaking" than a civil

suit. Id. at 613. In responding to the dissenting Justices' concerns that the vast immunity that the

Court provided opened the door to lawless behavior by Presidents in violation of their duty to

faithfully execute the law, the Court assessed that a President who uses official power to violate

the law was a less likely "prospect" than "an Executive Branch that cannibalizes itself, with each

successive President free to prosecute his predecessors, yet unable to boldly and fearlessly carry

out his duties for fear that he may be next." Id. at 640.

       The Court rejected the lower courts' view that established safeguards such as the

Department of Justice's "longstanding commitment to the impartial enforcement of law," a

neutral grand jury, the requirement in criminal law that the Government must prove its case

beyond a reasonable doubt, courts enforcing "existing principles of statutory construction and as-

applied constitutional challenges," and certain President-specific defenses like the "public-

authority defense or the advice of the Attorney General," would adequately protect a former

President charged with criminal wrongdoing. Id. at 635-63 7. Instead, the Court placed greater

weight on the risk to the administration of government from excessive caution by a President

who might face criminal accountability for official acts, reasoning that "[ w ]ithout immunity,

such types of prosecutions of ex-Presidents," for example over claims of insufficient




                                                 130
     Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25     Page 540 of 734



 enforcement of federal law, "could quickly become routine," thus "enfeebling" the presidency

 through "such a cycle of factional strife." Id at 640.

        In conducting its balancing, the majority placed greater weight than did the dissents or

 the lower courts on the importance of protecting the independence and fearlessness of the

 President as opposed to the risk that immunity would encourage lawless behavior. Contrast id.

 at 614 ("Such an immunity is required to safeguard the independence and effective functioning

 of the Executive Branch, and to enable the President to carry out his constitutional duties without

undue caution.") with 91 F.4th at 1198 ("The risks of chilling Presidential action or permitting

meritless, harassing prosecutions are unlikely, unsupported by history and 'too remote and

shadowy to shape the course of justice."' (citing Clark v. United States, 289 U.S. 1, 16 (1933)))

and 704 F. Supp 3d at 213 ("Consequently, to the extent that there are any cognizable 'chilling

effects' on Presidential decision-making from the prospect of criminal liability, they raise far

lesser concerns than those discussed in the civil context of Fitzgerald. Every President will face

difficult decisions; whether to intentionally commit a federal crime should not be one of them.").

        Ultimately, the Supreme Cou1i ruled that for official powers entrusted exclusively to the

President, a President is entitled to absolute criminal immunity and that for other acts "within the

outer perimeter of his official responsibility" he is entitled to at least presumptive immunity. Id

at 613-614.    Specifically, the Court divided presidential acts into three categories: (1) core

presidential conduct that Congress has no power to regulate and for which a former President has

absolute immunity; (2) other official presidential acts for which the President has at least

presumptive immunity; and (3) unofficial conduct for which the President has no immunity. Id

at 606, 642. Applying those principles to the original indictment, the Supreme Court concluded

that Mr. Trump is "absolutely immune from prosecution for the alleged conduct involving his




                                                131
  Case 1:25-cv-00716-BAH           Document 39-4         Filed 04/02/25     Page 541 of 734



discussions with Justice Department officials" and involving his "threatened removal of the

Acting Attorney General." Id. at 620-621. The Court also concluded that several conversations

between Mr. Trump and the Vice President constituted official conduct, but remanded for

consideration of whether the Office could rebut the presumption of immunity. Id. at 624-625.

As to several other allegations-involving interactions with state officials, private parties, and

the public-the Court remanded for the lower courts to determine whether the conduct was

undertaken in an official capacity or, alternatively, constituted a private scheme with private

actors, as the Office contended. Id. at 625-627.

       The Court also added an evidentiary rule to its immunity framework: official conduct for

which the President is immune may not be used as evidence in a prosecution for non-immune

conduct. Id. at 630-632. The Court was concerned that "jurors' deliberations will be prejudiced

by their views of the President's policies and performance while in office." Id. at 631. Justice

Barrett joined the dissenters in disagreeing with that rule, noting, 'The Constitution does not

require blinding juries to the circumstances surrounding conduct for which Presidents can be

held liable."   Id. at 655 (emphasis in original) (Barrett, J., concurring in part).     Standard

evidentiary rules, she explained, "are equipped to handle that concern [about prejudice from

admitting evidence of a President's official acts] on a case-by case-basis." Id. at 656. "I see no

need," she wrote, "to depart from that familiar and time-tested procedure here." Id.

                       Unresolved Issues Regarding Presidential Immunity

       The Supreme Court's decision raises several issues about the scope of presidential

immunity that the lower courts, and ultimately the Supreme Court, would likely have had to

address before the prosecution could have proceeded to trial.            The following discussion

illustrates some of the issues that the Court's immunity decision left open and that remam

unresolved given the required dismissal of the superseding indictment.


                                                   132
     Case 1:25-cv-00716-BAH          Document 39-4        Filed 04/02/25     Page 542 of 734



          First, while the Court determined that certain core exercises of presidential power are

 absolutely immune and gave several examples, see 603 U.S. at 608-609 (pardon power; power to

 remove presidential appointees; power to recognize foreign nations), 620-621 (supervision of

 criminal investigations and prosecutions), it left undefined the full scope of that category.

 Compare id. at 620 (relying in part on the President's responsibility to "take Care that the Laws

 be faithfully executed" (U.S. CONST. art II, § 3) to find that his investigative and prosecutorial

 decision-making, and threats to remove the Acting Attorney General, were absolutely immune)

with id. at 651 n. l (Barrett, J., concurring) ("I do not understand the Court to hold that all

exercises of the Take Care power fall within the core executive power"). The Office's position

was that none of the allegations in the superseding indictment implicated core presidential

powers.

        Second, the Court's decision accorded at least presumptive immunity to all non-core

official presidential conduct. 603 U.S. at 614-615. That holding left unresolved whether, at

some future point, the Court will determine that absolute immunity is required for that category

of official acts as well. It also left unresolved the manner of applying its test for overcoming

presumptive immunity: i.e., that the government must "show that applying a criminal prohibition

to that act would pose no 'dangers of intrusion on the authority and functions of the Executive

Branch."' Id. at 615 (quoting Fitzgerald, 457 U.S. at 754); cf 603 U.S. at 667 (Sotomayor, J.,

dissenting) ("According to the majority, however, any incursion on Executive power is too much.

When presumptive immunity is this conclusive, the majority's indecision as to 'whether [official-

acts] immunity must be absolute' or whether, instead, 'presumptive immunity is sufficient,'

hardly matters.") (citation omitted).   In its one concrete discussion of that test, the Court

described competing arguments about communications between the President and the Vice




                                               133
  Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25      Page 543 of 734



President about the certification proceeding, noting that the Vice President presides as President

of the Senate, not in any Executive Branch capacity, and that the President has "no direct

constitutional or statutory role" in the certification proceeding. See id. at 622-625. But the Court

stopped short of deciding whether any Executive Branch functions were in danger of potential

intrusion in that setting and, if so, the nature of such functions. It also did not address whether de

minimis intrusions would preclude rebutting the presumption, and how courts should make

predictive judgments about potential intrusions (for example, by looking to history, speculating

about future presidential behavior, or relying solely on legal materials).

       Following the remand to the district court, the Office argued that, with respect to the

presumptive immunity test, "[t]he analysis should first identify the specific alleged act at issue,

and then determine whether criminal liability for the act intrudes on a relevant Executive Branch

authority or function, taking care not to 'conceive[] of the inquiry at too high a level of

generality."' ECF No. 252 at 87 (quoting Banneker Ventures, LLC v. Graham, 798 F.3d 1119,

1141 (D.C. Cir. 2015) (reversing district court in civil immunity case)).         The Office's brief

emphasized that this approach "recognizes that Executive authority has limits-boundaries

imposed by constitutional text, the separation of powers, and precedent-and that application of

criminal law to the President's official conduct does not per se intrude impermissibly on

Executive Branch authority and functions." Id. at 87-88. With regard to the communications

between the President and the Vice President, the Office submitted that "[b ]ecause the Executive

Branch has no role in the certification proceeding-and indeed, the President was purposely

excluded from it by design-prosecuting the defendant for his corrupt efforts regarding Pence

poses no danger to the Executive Branch's authority or functioning." Id. at 89-90.




                                                 134
     Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25     Page 544 of 734



        Third, in discussing the process of separating official from unofficial conduct, the Court

 wrote that the analysis is "fact specific and may prove to be challenging." 603 U.S. at 629. The

 Court's discussion of a President's public communications illustrates those challenges.        The

 Court directed that the status of a President's public communications should be assessed through

 an "objective analysis of 'content, form, and context."' Id. (quoting Snyder v. Phelps, 562 U.S.

 443, 453 (2011)). It also cautioned that "most of a President's public communications are likely

 to fall comfortably within the outer perimeter of his official responsibilities" while stating that

there "may" be contexts in which a President "speaks in an unofficial capacity-perhaps as a

candidate for office or party leader." Id. The Court's analysis recognized that, in principle, there

is a line between a President's official and nonofficial communications, but the Court gave little

detail about when an incumbent President crosses the line between his official role and his

candidate role. Cf 603 U.S. at 667 (Sotomayor, J., dissenting) ("In fact, the majority's dividing

line between 'official' and 'unofficial' conduct narrows the conduct considered 'unofficial'

almost to a nullity."). Upon remand, the Office argued that "[a]t its core, the defendant's scheme

was a private one," ECF No. 252 at 88, and that in proving the case the Office would rely on

"public Campaign speeches, Tweets, and other public statements and comments" that Mr. Trump

made "not as President but as a candidate for office." Id. at 115.

       Finally, as noted, the Court's decision that presidential immunity precludes the

introduction of evidence of immune official acts even in a prosecution for unofficial conduct left

open substantive and procedural questions.      603 U.S. at 630-632.     In responding to Justice

Barrett's disagreement with the Court's evidentiary holding, in which she highlighted her

concern about excluding official act evidence in, for example, a bribery prosecution, id. at 655-

656 (Barrett, J., concurring in part), the Court wrote in a footnote that in a bribery prosecution,




                                               135
  Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25      Page 545 of 734



"of course the prosecutor may point to the public record to show the fact that the President

performed the official act." Id. at 632 n.3 (majority opinion). "What the prosecutor may not do,

however, is admit testimony or private records of the President or his advisors probing the

official act itself." Id. Those statements create uncertainty regarding which types of evidence of

official acts can be used and which cannot. A further procedural issue involved the scope of any

interlocutory appeal from the district court's rulings on immunity.      The Supreme Court had

emphasized that immunity issues should be "addressed at the outset of a proceeding," 603 U.S. at

636, and presupposed that "a district court's denial of immunity would be appealable before

trial," id. at 635. While the parties and the district court agreed that whether the superseding

indictment states an offense based on non-immune conduct would be subject to a pretrial

interlocutory appeal, the evidentiary component of the Court's immunity ruling left open the

question of whether evidentiary determinations regarding potentially immune evidence could be

appealed before trial. Further proceedings on remand likely would have provided guidance on

this and the other issues described above.

VI.    CONCLUSION

       On remand from the Supreme Comi's decision in Trump, the district court set a litigation

schedule whereby the parties would submit briefs regarding whether any material in the

superseding indictment was subject to presidential immunity. ECF No. 233. The parties were in

the middle of that process when the results of the presidential election made clear that Mr. Trump

would be inaugurated as President of the United States on January 20, 2025.           As described

above, it has long been the Department's interpretation that the Constitution forbids the federal

indictment and prosecution of a sitting President, but the election results raised for the first time

the question of the lawful course when a private citizen who has already been indicted is then

elected President. The Department detem1ined that the case must be dismissed without prejudice


                                                136
         Case 1:25-cv-00716-BAH      Document 39-4       Filed 04/02/25     Page 546 of 734



before Mr. Trump takes office, and the Office therefore moved to dismiss the indictment on

November 25, 2024. See ECF No. 281. The district court granted the motion the same day.

ECF No. 283.

           The Department's view that the Constitution prohibits the continued indictment and

prosecution of a President is categorical and does not tum on the gravity of the crimes charged,

the strength of the Government's proof, or the merits of the prosecution, which the Office stands

fully behind. Indeed, but for Mr. Trump's election and imminent return to the Presidency, the

Office assessed that the admissible evidence was sufficient to obtain and sustain a conviction at

trial.




                                              137
    Case 1:25-cv-00716-BAH      Document 39-4          Filed 04/02/25   Page 547 of 734



                  APPENDIX: KEY FILINGS IN SIGNIFICANT LITIGATION

                        DISTRICT COURT CRIMINAL LITIGATION

             United States v. Donald J. Trump, Case No. 23-cr-257 (D.D.C.)
ECFNo.     Date         Document Descri:gtion
1          8/1/2023     Indictment
10         8/4/2023     Government's Motion for Protective Order
                        Government's Opposition to Defendant's Motion for Extension of
12         8/5/2023
                        Time
15         8/7/2023     Government's Reply in Support of Motion for Protective Order
16         8/3/2023     Transcript of Initial Appearance (issued 8/8/2023)
                        Government's Response to Court's August 3, 2023 Minute Order
23         8/10/2023
                        (Proposed Trial Date)
                        Government's Response in Opposition to Defendant's Motion for
26         8/10/2023
                        Exclusion of Time Under Speedy Trial Act
                        Court Protective Order Governing Discovery and Authorizing
28         8/11/2023
                        Disclosure of Grand Jury Testimony
29         8/11/2023    Transcript of Hearing on Protective Order
                        Government's Reply to Defendant's Response in Opposition to
32         8/21/2023
                        Government's Proposed Trial Calendar
38         8/28/2023    Transcript of Status Hearing
39         8/28/2023    Court Pretrial Order
                        Government's Response in Opposition to Defendant's Motion for
54         9/14/2023
                        Recusal of District Judge Pursuant to 28 U.S.C. Section 455(a)
                        Government's Opposed Motion to Ensure that Extrajudicial
57         9/15/2023
                        Statements Do Not Prejudice These Proceedings
                        Court Memorandum Opinion & Order (Defendant's Motion for
61         9/2712023
                        Recusal of District Judge)
                        Government's Reply in Support of Opposed Motion to Ensure that
64         9/29/2023
                        Extrajudicial Statements Do Not Prejudice These Proceedings
                        Government's Opposition to Defendant's Motion for Access to CIPA
65         10/2/2023
                        Section 4 Filing and an Adjournment of the CIPA Section 5 Deadline
                        Government's Response in Opposition to Defendant's Motion for
66         10/2/2023
                        Extension of Time to File Pretrial Motions
                        Court Opinion & Order (Defendant's Motion for Access to CIPA
82         10/6/2023    Section 4 Filing and an Adjournment of the CIPA Section 5
                        Deadline)
                        Government's Opposed Motion for Fair and Protective Jury
97         10/10/2023
                        Procedures



                                               138
       Case 1:25-cv-00716-BAH       Document 39-4       Filed 04/02/25     Page 548 of 734



               United States v. Donald J. Trump, Case No. 23-cr-257 (D.D.C.)
ECF No.      Date          Document DescriQtion
                       Government's Motion for Formal Pretrial Notice of the Defendant's
 98          10/10/2023
                       Intent to Rely on Advice-of-Counsel Defense
                       Transcript of Hearing (Government's Motion on Extrajudicial
 103        10/16/2023
                       Statements)
                       Court Opinion & Order (Government's Motion to Ensure that
 105        10/17/2023
                       Extrajudicial Statements Do Not Prejudice These Proceedings)
                       Government's Opposition to Second Defense Motion for Access to
 108        10/18/2023
                       CIPA Section 4 Filing
                       Government's Response in Opposition to Defendant's Motion to
 109        10/19/2023
                       Dismiss on Presidential Immunity Grounds
                       Government's Reply in Support of Motion for Fair and Protective
117         10/25/2023
                       Jury Procedures
                       Government's Reply in Support of Motion for Formal Pretrial
118         10/25/2023 Notice of the Defendant's Intent to Rely on Advice-of-Counsel
                       Defense
                       Government's Opposition to Defendant's Motion for Pre-Trial Rule
119         10/25/2023
                       17(c) Subpoenas
                       Government's Response in Opposition to Defendant's Motion to
120         10/25/2023
                       Stay
124         10/29/2023    Court Opinion & Order (Denying Defendant's Motion to Stay)
126         11/1/2023     Court Opinion & Order (CIPA Section 4 Motions)
                           Court Order (Government's Motion for Fair and Protective Jury
130         11/2/2023
                           Procedures)
                           Government's Opposition to Defendant's Motion for Extension of
137         11/3/2023
                           Time to File Pretrial Motions Related to Discovery and Subpoenas
                           Government's Omnibus Opposition to Defendant's Motions to
139         11/6/2023
                          Dismiss the Indictment on Statutory and Constitutional Grounds
                          Government's Opposition to Defendant's Motion to Strike
140         11/6/2023
                          Inflammatory Allegations from the Indictment
                          Government's Opposition to Defendant's Motion to Dismiss for
141         11/6/2023
                          Selective and Vindictive Prosecution
                          Government's Opposition to Defendant's Motion to Stay Case
142         11/6/2023     Pending Resolution of Motion to Dismiss Based on Presidential
                          Immunity
                          Court Opinion & Order (Defendant's Motion for Extension of Time
146         11/7/2023
                          to File Pretrial Motions Related to Discovery and Subpoenas)
                          Court Opinion & Order (Government's Motion for Formal Pretrial
147         11/8/2023
                          Notice of Advice of Counsel Defense)




                                             139
   Case 1:25-cv-00716-BAH       Document 39-4        Filed 04/02/25   Page 549 of 734



             United States v. Donald J. Trump, Case No. 23-cr-257 (D.D.C.)
ECFNo.     Date         Document DescriQtion
                        Government's Opposition to Defendant's Motion for Extension of
151        11/13/2023
                        Time to File Reply Briefs
                        Court Order (Defendant's Motion for Extension of Time to File
152        11/13/2023
                        Reply Briefs)
158        11/17/2023   Court Opinion & Order (Defendant's Motion to Strike)
                        Court Opinion & Order (Defendant's Motion for Pretrial Rule 17(c)
165        11/27/2023
                        Subpoenas)
                        Court Memorandum Opinion & Order (Defendant's Motions to
171,172    12/1/2023    Dismiss Based on Presidential Immunity and Constitutional
                        Grounds)
176        12/5/2023    Government's Notice Pursuant to Federal Rule of Evidence 404(b)
181        12/9/2023    Government's Opposition to Defendant's Discovery Motions
                        Government's Opposition to Defendant's Motion to Stay
182        12/10/2023
                        Proceedings Pending Appeal
183        12/11/2023   Government's Summary of Anticipated Expert Testimony
                        Court Opinion & Order (Defendant's Motion to Stay Proceedings
186        12/13/2023
                        Pending Appeal)
188        12/18/2023   Government's Notice of Service (Government's Draft Exhibit List)
191        12/27/2023   Government's Motion in Limine
                        Government's Opposition to Defendant's Motion for Order to Show
193        1/5/2024
                        Cause
195        1/18/2024    Court Opinion & Order (Defendant's Motion to Show Cause)
                        Court Memorandum Opinion & Order (Defendant's Motion to
198, 199   8/3/2024
                        Dismiss for Selective and Vindictive Prosecution)
226        8/27/2024    Superseding Indictment
228        8/27/2024    Government's Notice of Superseding Indictment
229        8/30/2024    Joint Status Report (Pretrial Schedule)
232        9/5/2024     Transcript of Arraignment and Status Conference
2'"''"'
  .) .)    9/5/2024     Court Order (Pretrial Schedule)
                        Government's Motion for Leave to File Unredacted Motion Under
246        9/27/2024
                        Seal, and to File Redacted Motion on Public Docket
249        10/1/2024    Government's Sur-Reply to Defendant's Discovery Motions
                        Court Opinion & Order (Government's Motion for Leave to File
251        10/2/2024    Unredacted Motion Under Seal, and to File Redacted Motion on
                        Public Docket)
252        10/2/2024    Government's Motion for Immunity Determinations



                                             140
        Case 1:25-cv-00716-BAH                   Document 39-4        Filed 04/02/25      Page 550 of 734



                     United States v. Donald J. Trump, Case No. 23-cr-257 (D.D.C.)
  ECF No.        Date               Document Descri:gtion
                                    Government's Response in Opposition to the Defendant's
  262            10/16/2024
                                    Supplement to His Motion to Dismiss on Statutory Grounds
                                    Court Memorandum Opinion & Order (Defendant's Motions to
  263            10/16/2024         Compel Discovery and for an Order Regarding the Scope of
                                    Prosecution Team)
                                    Court Opinion & Order (Defendant's Motion to Continue Stay of
  265            10/17/2024
                                    Order)
  266            10/18/2024         Government Appendix to Motion for Immunity Determinations
                                    Government's Response in Opposition to the Defendant's Proposed
  277            10/31/2024         Motion to Dismiss and for Injunctive Relief Based on the
                                    Appointments and Appropriations Clauses
  278            11/8/2024          Government's Unopposed Motion to Vacate Briefing Schedule
  281            11/25/2024         Government's Motion to Dismiss Without Prejudice
                                    Court Opinion & Order (Government's Motion to Dismiss Without
 282,283         11/25/2024
                                    Prejudice)


                            PRESIDENTIAL IMlvfUNITY APPELLATE LITIGATION

                                United States v. Trump, No. 23-3228 (D.C. Cir.)
Doc. No.        Date                Document Descrigtion
2030867         12/11/2023         Government's Opposed Motion for Expedited Appellate Review
                                   Government's Reply in Support of Motion for Expedited Appellate
2031335         12/13/2023
                                   Review
2031419         12/13/2023         Court Order (Expediting Appeal and Setting Briefing Schedule)
2033810         12/30/2023         Government's Answering Brief (Presidential Immunity)
2034942         1/9/2024           Oral Argument 268
2038999,
                2/6/2024           Court Judgment & Opinion 269
2039001




268 Oral Argument Recordings Archive, United States Court of Appeals for the District of Columbia Circuit (Jan. 9,

2024 ), https://media.cadc.uscourts .gov/recordings/bydate/2024/ 1 [https://penna.cc/9 523-TRZ9].
269 See United States v.   Trump, 91 F.4th 1173 (D. C. Cir. 2024 ).




                                                            141
      Case 1:25-cv-00716-BAH               Document 39-4          Filed 04/02/25          Page 551 of 734



                                 United States v. Trump, No. 23-624 (U.S.)
Doc. No.        Date             Document Descrir:1tion
                                 Government's Petition for a Writ of Certiorari Before Judgment
1               12/11/2023
                                 (Presidential Immunity)
                                 Government's Motion to Expedite Briefing on the Petition for a Writ
2               12/11/2023       of Certiorari Before Judgment and for Expedited Merits Briefing If
                                 the Court Grants the Petition
3               12/11/2023       Court Order (Government's Motion to Expedite)
                                 Government's Reply Brief in Support of Motion to Expedite
7               12/21/2023
                                 (Presidential Immunity)
8               12/22/2023       Court Order (Petition for a Writ of Certiorari Before Judgment)


                                 Trump v. United States, No. 23-939 (U.S.)
Doc. No.          Date            Document Descrigtion
                                  Government Response in Opposition to Application for a Stay of
                                  the Mandate of the United States Court of Appeals for the District
6                 2/14/2024
                                  of Columbia Circuit (Presidential Immunity) (originally filed in
                                  Trump v. United States, No. 23A745 (U.S.))
                                  Court Order (Application for Stay/Petition for Certiorari)
 15, 16           2/28/2024
                                  (originally filed in Trump v. United States, No. 23A745 (U.S.))
47                4/8/2024        Government's Brief (Presidential Immunity)
65                4/25/2024       Oral Argument 270
66,67             7/1/2024        Court Opinion & Judgment (Presidential Immunity) 271


                                   RULE 57. 7(c) APPELLATE LITIGATION

                             United States v. Trump, No. 23-3190 (D.C. Cir.)
Doc. No.         Date            Document DescriQtion
2026922          11/14/2023      Government's Answering Brief (Rule 57.7(c))
2027866          11/20/2023      Oral Argument 272



270 Transcript of Oral Argument in Case No. 23-939, Supreme Court of the United States (Apr. 25, 2024),
http://www.supremecourt.gov/oral_arguments/argument_transcripts/2023/23-939_ 3 fb4.pdf [https://perma. cc/XQ7N-
E33J].
271   See Trump v. United States, 603 U.S. 593 (2024).
272 Oral Argument Recordings Archive, United States Court of Appeals for the District of Columbia Circuit (Nov. 20,

2023 ), https://media.cadc. uscourts.gov /recordings/bydate/2023/ 11 [https ://perma.cc/5J2E-PDT6].




                                                         142
         Case 1:25-cv-00716-BAH                Document 39-4             Filed 04/02/25     Page 552 of 734



                               United States v. Trump, No. 23-3190 (D.C. Cir.)
 Doc. No.         Date             Document Descrigtion
 2032665          12/20/2023       Court Public Opinion (Rule 57.7(c)) (decided 12/8/2023) 273
 2033815          12/31/2023       Government's Response in Opposition to Rehearing
 2037003          1/23/2024        Court Order (Petition for Rehearing)


                                     SELECTED GRAND JURY LITIGATION
                                         (PARTIALLY UNSEALEDJ 274

 Case No.                                 Case Name
 No. 22-gj-25 (D.D.C.)                   In re Grand Jury Subpoenas
 No. 22-3073 (D.C. Cir.)                 In re Sealed Case
 No. 22-gj-33 (D.D.C.)                   In re Grand Jury Subpoenas
 No. 23-3002 (D.C. Cir.)                 In re Sealed Case
 No. 22-gj-39 (D.D.C.)                   In re Grand Jury Subpoena
No. 23-3003 (D.C. Cir.)                  In re Sealed Case
No. 23-gj-12 (D.D.C.)                    In re Grand Jury Subpoenas
No. 23-3043 (D.C. Cir.)                  In re Sealed Case
No. 23-gj-13 (D.D.C.)                    In re Grand Jury Subpoena
No. 23-3049 (D.C. Cir.)                  In re Sealed Case




273   See United States v. Trump, 88 F.4th 990, 1018 (D.C. Cir. 2023).
 274 As of the date of this Report, certain documents from selected grand jury litigation have been made available to

 the public through related litigation. See In re Application of the New York Times, No. 22-mc-100, ECF No. 32
 (D.D.C.); In re Press Application, No. 23-mc-35, ECF No. 11 (D.D.C.); see also Former Vice President 1vfichael R.
 Pence s 1'vfotion to Quash Subpoena, United States District Court for the District of Columbia (Mar. 3, 2023),
 https://www.dcd.uscourts.gov/sites/dcd/files/Attachment%20 l .pdf [https://perma.cc/5LNK-72DG]; Governments
 Opposition to Former Vice President Pence s Motion to Quash Subpoena, United States District Court for the
 District of Columbia (Mar. 10, 2023 ), https://www.dcd.uscourts.gov/sites/dcd/files/Attachment%202.pdf
 [https://perma.cc/C8VM-E2PV]; Former Vice President Michael R. Pence s Reply in Support of His Motion to
Quash Subpoena, United States District Court for the District of Columbia (Mar. 17, 2023),
https://www.dcd.uscourts.gov/sites/dcd/files/Attachment%203 .pdf [https://perma.cc/Z5DJ-7Y2K]; Order, United
States       District      Court      for       the     District    of       Columbia        (Mar.    27,     2023);
https ://www.dcd.uscourts.gov/s ites/dcd/fi !es/Attachment%204. pdf [https ://perma.cc/L 7TS-L6AQ]; Memorandum
Opinion,      United     States   District Court for         the  District     of Columbia (Mar.          27, 2023),
https://www.dcd.uscourts.gov/sites/dcd/files/ A ttachment%20 5. pdf        [https://perma.cc/FR8G-S3 SJ];     Sealed
Proceeding Before the Honorable James E. Boasberg, United States District Court for the District of Columbia
(Mar. 23, 2023 ), https://www.dcd.uscourts.gov/sites/dcd/files/Attachment%206. pdf [https://perma.cc/J2C6-K35S].




                                                          143
      Case 1:25-cv-00716-BAH              Document 39-4            Filed 04/02/25            Page 553 of 734



                                 PERRY SEARCH WARRANT LITIGATION

          In re Scott Perry Cell Phone Search Warrant, No. 22-sc-2144 (D.D.C.)
                                  (Partially Unsealed) 275
ECFNo. Date              Document Descrigtion
41276                    Court Memorandum Opinion & Order (Applicability of the Speech
           11/4/2022
                         or Debate Clause)
                         Court Memorandum Opinion & Order (Perry's Motion for Non-
42 43 277 12/28/2022
   '                     Disclosure to the Government)
44278                    Court Memorandum Opinion & Order (Perry's Emergency Motion
           1/4/2023
                         to Stay)
45279      2/24/2023     Court Memorandum & Order (Unsealing)
                               Court Memorandum Opinion & Order (Applicability of the Speech
              12/19/2023
Sealed 280                     or Debate Clause)


                               In re Sealed Case, No. 23-3001 (D.C. Cir.)
Doc. No.      Date                  Document Descrigtion
2031508                             Government's Opposition to Emergency Motion for Stay
              1/9/2023
(Att. 2)                            Pending Appeal
1983102       1/25/2023             Court Order (Perry's Motion for Stay Pending Appeal)


275 Additional filings in this matter have been made publicly available in   In re Sealed Case, No. 23-300 I (D.C. Cir.),
Doc. No. 2031508, Attachment 10 (Joint Appendix).
276 kfemorandum Opinion and Order, United States District Court for the District of Columbia (Nov. 4, 2022),
http://www.dcd.uscourts.gov/sites/dcd/files/Redacted%20November%204%2C%202022%20Memorandum%200pi
nion%20and%20Order. pdf [https ://perma.cc/6CLJ-BETZ].
277 1vfemorandum Opinion, United States District Court for the District of Columbia (Dec. 28, 2022),
https://www.dcd.uscourts.gov/sites/dcd/files/Redacted%20December%2028%2C%202022%20Memorandum%200
pinion%2C%20ECF%20No%2043.pdf [https://perma.cc/7Z37-SRA4]; Order, United States District Court for the
District of Columbia (Dec. 28, 2022), https://www.dcd.uscourts.gov/sites/dcd/files/Redacted%20December
%2028%2C%202022%20Order%2C%20ECF%20N 0%2042.pdf [https://perma.cc/AYF7-ECBD].
278 Memorandum Opinion and Order, United States District Court for the District of Columbia (Jan. 4, 2023),
https://www.dcd.uscourts.gov/sites/dcd/files/Redacted%20January%204%2C%202023%20Memorandum%200pini
on%20and%20Order%2C%20ECF%20N 0%2044. pdf [https ://perma.cc/3 8NW- EXV3].
279  Memorandum and Order, United States District Court for the District of Columbia (Feb. 4, 2023),
https://www.dcd.uscourts.gov/sites/dcd/files/Memorandum%20and%200rder%20February%2024%2C%202023.pdf
[https ://perma.cc/7PZQ-NZK6].
280  Memorandum Opinion, United States District Court for the District of Columbia (Dec. 19, 2023),
https ://www .dcd.uscourts.gov/s ites/dcd/files/22-sc-2 l 44%20-%20Opinion.pdf       [https://perma.cc/5 PPD-JH68];
Order,     United    States    District     Court     for    the District  of Columbia         (Dec.    I 9,  2023 ),
https://www.dcd.uscourts.gov/s ites/dcd/files/22-sc-2144 %20-%20Order. pdf [https://perma.cc/C3 E5-JQXK].




                                                          144
       Case 1:25-cv-00716-BAH                Document 39-4          Filed 04/02/25        Page 554 of 734



                                 In re Sealed Case, No. 23-3001 (D.C. Cir.)
 Doc. No.       Date                  Document Descrigtion
 2031508
                2/16/2023             Government's Brief
 (Att. 12)
 ---            2/23/2023             Oral Argument 281
 2015233        9/5/2023              Court Judgment
 2016705        9/13/2023             Court Opinion (decided 9/5/2023) 282


                                 TWITTER SEARCH WARRANT LITIGATION

                           In re Twitter Search Warrant, No. 23-sc-31 (D.D.C.)
 ECFNo.         Date            Document Descrigtion
                                Government's Motion for an Order to Show Cause Why Twitter Inc.
 5              2/2/2023        Should Not Be Held in Contempt for Failure to Comply with a
                                Search Warrant
                                Government's Reply in Further Support of Motion for an Order to
  11            2/6/2023        Show Cause Why Twitter Inc. Should Not Be Held in Contempt for
                                Failure to Comply with a Search Warrant
                                Transcript of Hearing (Government's Motion for an Order to Show
 50            2/7/2023
                                Cause)
                                Court Minute Order Granting Government's Motion for Order to
 ---           2/7/2023
                                Show Cause and Directing Twitter to Comply
 50            2/9/2023         Transcript of Hearing (Twitter's Non-Compliance with Warrant)
 19            2/13/2023        Government's Notice Regarding Accrued Sanction
                                Government's Opposition to Twitter Inc. 's Motion to Vacate or
 50            2/16/2023        Modify Non-Disclosure Order and Stay Twitter's Compliance with
                                Search Warrant
                                Court Memorandum Opinion & Order (Twitter's Motion to Vacate
 29,32         3/3/2023
                                or Modify and Stay)
 36            3/9/2023         Government's Opposition to Motion for Stay Pending Appeal
 39            3/10/2023        Court Opinion & Order (Twitter's Motion for a Stay)
 50            8/15/2023        Court Order (Unsealing)




281 Oral Argument Recordings Archive, United States Court of Appeals for the District of Columbia Circuit (Feb. 23,

2023), https://media.cadc.uscourts.gov/recordings/bydate/2023/2 [https://perma.ccNS57-HMYW].
282 See In re Sealed Case, 80 F.4th 355 (D.C. Cir. 2023).




                                                            145
    Case 1:25-cv-00716-BAH                 Document 39-4            Filed 04/02/25          Page 555 of 734



                               In re Sealed Case, No. 23-5044 (D.C. Cir.)
Doc. No.       Date             Document DescriQtion
1989703        3/10/2023        Government's Response in Opposition to Twitter's Motion for Stay
1991524        3/23/2023        Court Order (Twitter's Motion for Stay)
2017103           4/21/2023     Government's Answering Brief (filed with redactions on 9/15/2023)
---               5/19/2023     Oral Argument 283
2011549           8/9/2023      Court Amended Redacted Opinion (decided 7/18/2023) 284
2018981           9/26/2023     Government's Response in Opposition to Rehearing En Banc
2035679           1/16/2024     Court Order (Petition for Rehearing)


                               X Corp. v. United States, No. 23-1264 (U.S.)
Doc. No.          Date          Document DescriQtion
5                 7/3/2024      Government's Opposition (Petition for Writ of Certiorari)
9                 10/7/2024     Court Order (Petition for Writ of Certiorari) 285




283 Oral Argument Recordings Archive, United States Court of Appeals for the District of Columbia Circuit (May   19,
2023 ), https://med ia.cadc. uscourts.gov /recordings/bydate/2023/5 [https://penna. cc/S R2Z-G L5 B].
28 -1 See In re Sealed Case, 77F.4th815, 830 (D.C. Cir. 2023).


285 See X Corp.   v. United States, 2024 WL 4426628 (U.S. Oct. 7, 2024).




                                                          146
      Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 556 of 734




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 557 of 734
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 558 of 734




                             ADDENDUM
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 559 of 734
           Case 1:25-cv-00716-BAH           Document 39-4        Filed 04/02/25   Page 560 of 734


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                                                       January 6, 2025

    Via Email
    The Honorable Merrick Garland
    Attorney General of the United States
    c/o Brad Weinsheimer
    Associate Deputy Attorney General

           Re:    Draft "Final Report" By Jack Smith

    Dear Attorney General Garland:

           We write on behalf of President Trump to demand that Smith terminate all efforts toward the
    preparation and release of this report (the "Draft Report"). 1

         As you know, Courts in Florida and the District of Columbia have now dismissed both of Jack
 Smith' s failed cases against President Trump. Rather than acknowledging, as he must, President Trump ' s
complete exoneration, Smith now seeks to disseminate an extrajudicial "Final Report" to perpetuate his
false and discredited accusations. Consistent with the bad-faith crusade that Smith executed on behalf of
the Biden-Harris Administration from the moment he was appointed, we were only permitted to review
the Draft Report in person in the District of Columbia, including prohibitions on the use of any outside
electronic devices in the room where the Draft Report was made available. Smith's team likewise
demanded, in advance of any review, that we delete prior discovery productions, preventing us from
reviewing any of those underlying documents cited in the Draft Report. Nevertheless, it is clear, as has
been the case with so many of the other actions of Smith and his staff, that the Draft Report merely
continues Smith' s politically-motivated attack, and that his continued preparation of the Report and efforts
to release it would be both imprudent and unlawful.

        First, Smith lacks authority under our Constitution to issue a report because he was not validly
appointed, and the plain terms of the permanent indefinite appropriation that he has pillaged for more than
$20 million clearly do not apply to his politically-motivated work. The preparation and release of a report,
therefore, would extend and perpetuate Smith' s violations of the Appointments Clause and the
Appropriations Clause.

        Second, the Draft Report violates fundamental norms regarding the presumption of innocence,
including with respect to third parties unnecessarily impugned by Smith' s false claims. Releasing the
report to the public without significant redactions (that would render its release meaningless) would
violate prohibitions on extrajudicial statements by prosecutors and Rule 6(e). This is particularly
problematic with respect to ongo ing proceedings relating to Waltine Nauta and Carlos De Oliveira, as
well as others who Smith and his staff falsely characterize as co-conspirators in the Draft Report.


1
 Should these demands be improperly rejected, contrary to law, we respectfully request that this letter
be appended to and addressed in any report by Smith that is issued to the public.
      Case 1:25-cv-00716-BAH           Document 39-4          Filed 04/02/25      Page 561 of 734
January 6, 2025
Page 2

        Third, preparing a report and releasing it to the public would violate the Presidential Transition
Act and the Presidential immunity doctrine. The Act prohibits all officers and those acting as such,
including the Attorney General and Smith, at least in his own view of himself, from interfering with the
ongoing transition process. Presidential immunity, which Smith conceded required pre-inauguration
dismissal of his prosecutions, likewise prohibits criminal processes, including disclosures of any
prosecutorial reports or statements, that would exacerbate stigma and public opprobrium surrounding the
Chief Executive and otherwise divert from the time and attention that is necessary to complete the
transition and run the County. Accordingly, releasing a report regarding Smith's failed and abandoned
election-interference efforts would violate the Act and Presidential immunity.

         Finally, the release of any confidential report prepared by this out-of-control private citizen
unconstitutionally posing as a prosecutor would be nothing more than a lawless political stunt, designed
to politically harm President Trump and justify the huge sums of taxpayer money Smith unconstitutionally
spent on his failed and dismissed cases. Under such circumstances, releasing Smith's report is obviously
not in the public interest-particularly in light of President Trump's commanding victory in the election
and the sensitive nature of the ongoing transition process.

        Accordingly, because Smith has proposed an unlawful course of action, you must countermand
his plan and remove him promptly. If Smith is not removed, then the handling of his report should be
deferred to President Trump's incoming attorney general, consistent with the expressed will of the People.
Finally, should you disagree with the positions set forth below, we respectfully request notice of that
decision prior to the unlawful release of any report so that we can pursue injunctive and other relief to
protect the rights of President Trump, others unfairly implicated by Smith's work, and the people of this
great Nation who elected President Trump to run the government and put an end to the weaponization of
the justice system.

          L       Background

       You are no doubt familiar with the history of the unethical election-interference and lawfare by
the Special Counsel's Office, as you have publicly commented on some of those efforts while they were
ongoing. This letter concerns Smith's most recent improper activities.

        During the week of December 9, 2024, we learned from members of the media that Smith was
preparing a report, which would include a purported analysis relating to classified information at issue in
the dismissed Florida prosecution. We were surprised to learn of such a plan because, among other
reasons, Smith had insisted up to that point that his work was not concluded, Smith and his Office refused
to disclose details regarding this alleged analysis prior to the dismissal of his Florida prosecution against
President Trump, and the Biden-Harris Administration has suggested that they wish to facilitate an orderly
and collegial transition process.

        On December 11, 2024, we contacted a supervisor with the Special Counsel's Office to express
concerns about reports we were hearing from the press. We asked whether the Office was preparing a
report and, if so, whether we would be allowed to review it prior to completion. Initially, Smith's position
was that: (1) we would only be permitted to access a draft of the report in Washington, D.C. between
December 23 and December 29, 2024, the week of Christmas; (2) we would only be permitted to take
handwritten notes during our review; and (3) any comments or objections to the draft would have to be

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        Case 1:25-cv-00716-BAH            Document 39-4          Filed 04/02/25   Page 562 of 734
 January 6, 2025
 Page 3

 submitted in writing by the close of business on December 29, 2024. Aside from all counsel living outside
 D.C. and planning on spending time with family that week, as Smith and his team knew, Smith's proposal
 afforded zero oppo1iunity for President Trump to assist counsel in reviewing and preparing any response
 to the report, given the irrational conditions imposed. Apparently working under a self-imposed deadline,
 Smith's team informed us, implausibly, that permitting defense review of Smith's unlawful Draft Report
 during the first week of January 2025 would be "too late to allow us to complete our work." Subsequently
 Smith walked back those now clearly false claims and permitted defense counsel to review the two-volume
 Draft Report in a conference room at Smith's office between January 3 and January 6, 2025, without
 allowing counsel to access the Internet or use their own electronic devices while in the room with
 supposedly sensitive documents that the press has known about for weeks by virtue of Smith's leaks.

          II.      Preparation And Release Of A Report Would Violate Existing Law

        Preparation and public release of a report by Smith would violate the Constitution and existing
law, including the Appropriations and Appointments Clauses, the Special Counsel Regulations, the
Presidential Transition Act, and the Presidential immunity doctrine. Collectively, these considerations
distinguish the circumstances surrounding the release of reports by prior Special Counsels. Here, release
of an unlawful report would not "comply with applicable legal restrictions" or "be in the public interest."
28 C.F.R. § 600.9(c); see also id. § 600.7(a) ("A Special Counsel shall comply with the rules, regulations,
procedures, practices and policies of the Department of Justice."). Therefore, you must countermand
Smith's proposed course of action, id. § 600.7(b ), and he should be removed for "dereliction of duty" and
"good cause,"§ 600. 7(d).

         Smith was not validly appointed, and Congress did not provide funding for his improper mission.
No statute authorized you to deploy a private attorney against President Trump and others, and Smith
functioned as a principal officer acting without the necessary Senate confirmation. In addition, the DOJ
permanent indefinite appropriation Smith relied upon was-and still is-inapplicable. The only judge to
have examined the particulars of Smith's appointment reached these conclusions in an extremely thorough
and well-reasoned opinion. See generally United States v. Trump, 2024 WL 3404555, at *46 (S.D. Fla.
July 15, 2024). On appeal, Smith's prosecutors failed to identify any meritorious reason for questioning
Judge Cannon's treatment of these issues, and then abandoned the appeal as to President Trump.
Therefore, Smith lacks · authority to issue a report regarding his activities while masquerading as a
prosecutor, and his Office lacks authority to expend any public funds in furtherance of preparing or issuing
such a report. Indeed, because Smith abandoned the 11th Circuit appeal as to President Trump, Judge
Cannon's decision is a final judgment with issue-preclusive effect on these issues. See, e.g., Bravo-
Fernandez v. United States, 580 U.S. 5, 7-8 (2016) (cleaned up) ("In criminal prosecutions, as in civil
litigation, the issue-preclusion principle means that when an issue of ultimate fact has once been
determined by a valid and final judgment, that issue cannot again be litigated between the same parties in
any future lawsuit."); Bobby v. Bies, 556 U.S. 825, 834 (2009) (same).

        Preparation and release of a report would also be improper under the Special Counsel Regulations.
Those Regulations only call for "Closing documentation," in the form of a "confidential report," to be
prepared "[a]t the conclusion of the Special Counsel's work." 28 C.F.R. § 600.8(c) (emphasis added). In
light of the violations of the Appointments Clause and the Appropriations Clause, Smith has no lawful
"work" to conclude. Moreover, by Smith's own repeated admission, Smith has not concluded his mission.


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      Case 1:25-cv-00716-BAH             Document 39-4          Filed 04/02/25      Page 563 of 734
January 6, 2025
Page 4

Rather, Presidential immunity based on the national mandate ansmg from President Trump's
overwhelming victory in the election has made it impossible for Smith to proceed, and rightly so.

        Smith's representations in the District of Columbia regarding his dismissed prosecution of
President Trump reinforce these points and make clear that no "Closing documentation" is warranted. 28
C.F.R. § 600.8(c). Smith wrongly relied on the claim that Presidential immunity is "temporary," which
is not the case, to ask that the charges against President Trump only be dismissed "without prejudice."2
The plain implication of Smith's position, which Judge Chutkan adopted, is that he does not believe his
work targeting President Trump has reached its "conclusion." 28 C.F.R. § 600.8(c). Thus, taking a
contrary position in order to justify preparation of one last long-winded, inaccurate, and unlawful smear
of the President-elect and others would violate the Special Counsel Regulations.

        Public release of a report by Smith would also disrupt the ongoing transition process and violate
the Presidential Transition Act. "[T]he orderly transfer of the executive power is one of the most important
public objectives in a democratic society. The transition period insures that the candidate will be able to
perform effectively the important functions of his or her new office as expeditiously as possible."
Memorandum from Randolph D. Moss, Assistant Attorney General, OLC, Definition of "Candidate"
Under 18 USC. §207(;), 2000 WL 33716979, at *4 (Nov. 6, 2000) (cleaned up). "One of the top priorities
of any presidential administration is to protect the country from foreign and domestic threats. While a
challenge at all times, the country is especially vulnerable during the time of presidential transitions .... " 3
Thus, the transition process is "an integral part of the presidential administration," in the "national
interest," and part of President Trump's "public function," as he prepares to govern. Memorandum from
Randolph D. Moss, Assistant Attorney General, OLC, Reimbursing Transition-Related Expenses Incurred
Before The Administrator Of General Services Ascertained Who Were The Apparent Successfitl
Candidates For The Office Of President And Vice President, 2001 WL 34058234, at *3 (Jan. 17, 2001).

        Congress passed the Presidential Transition Act to protect these critical functions. The purpose of
the Act is "to promote the orderly transfer of the executive power in connection with the expiration of the
term of office of a President and the inauguration of a new President." 3 U.S.C. § 102 note, § 2. "Any
disruption" of the transition "could produce results detrimental to the safety and well-being of the United
States and its people." Id Consequently, under the Act, "all officers of the Government"-including the
Attorney General and, according to his claims, Smith-are required to "conduct the affairs of the
Government for which they exercise responsibility and authority" in a manner that "promote[s] orderly
transitions in the office of President." Id. This includes, inter alia, "tak[ing] appropriate lawful steps to
avoid or minimize disruptions that might be occasioned by the transfer of the executive power." Id

         Creating and releasing a prejudicial report to the public would violate these commands by giving
rise to a media storm of false and unfair criticism that President Trump would be required to address while
preparing to assume his Article II responsibilities. Equally problematic and inappropriate are the draft's

2 ECF No. 281 at 6, United States v. Trump, No. 23 Cr. 257 (D.D.C. Nov. 25, 2024).


3 Center for Presidential Transition, Presidential Transitions are a Perilous Moment for National Security
(Aug. 16, 2023 ), https ://presidential transi tion.org/reports-publications/presidential-transi tions-are-a-
perilous-moment-for-national-security.


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         Case 1:25-cv-00716-BAH            Document 39-4          Filed 04/02/25    Page 564 of 734
 January 6, 2025
 Page 5

 baseless attacks on other anticipated members of President Trump's incoming administration, which are
 an obvious effort to interfere with upcoming confirmation hearings, and Smith's pathetically transparent
 tirade about good-faith efforts by X to protect civil liberties, which in a myriad other contexts you have
 claimed are paramount.

          A one-sided, improper report by Smith, particularly if publicly released, would also violate the
  Presidential immunity principles that Smith has conceded foreclose him from proceeding against President
  Trump. Indeed, footnote 1 of "Volume 1" of the Draft Report concedes that Smith has brazenly included
 "conduct for which the Supreme Court later held [President] Trump to be immune from prosecution," and
 subsequently further highlights the incredible hubris that has clouded the judgment of Smith and his staff
 from the outset by falsely claiming that the Supreme Court's decision is ambiguous with respect to
 holdings and reasoning that Smith simply does not like. Based on guidance from OLC-which Smith's
 staff subsequently informed us that the Office improperly failed to document in any way, in violation of,
 inter alia, DOJ policy regarding the handling of exculpatory information-Smith has acknowledged that
 Presidential immunity is "categorical," and that it applies while President Trump is the President-elect
 prior to his inauguration. 4 A public report by Smith would unnecessarily and unjustly add to the
 inappropriate "peculiar public opprobrium" that has resulted from Smith's unlawful activities thus far.
 Trump v. United States, 603 U.S. 593, 613 (2024). OLC explained previously that such "public stigma
 and opprobrium" could "compromise the President's ability to fulfill his constitutionally contemplated
 leadership role with respect to foreign and domestic affairs." Memorandum from Randolph D. Moss,
Assistant Attorney General, OLC, A Sitting President's Amenability to Indictment and Criminal
Prosecution, 2000 WL 33711291, at *19 (Oct. 16, 2000). "[T]he stigma arising ... from the need to
respond to such charges through the judicial process would seriously interfere with [the President's] ability
to carry out his constitutionally assigned functions." Id. at *22. The release of a report would also pose
an unconstitutional risk of diverting President Trump's "personal time and energy, and [would] inevitably
entail a considerable if not overwhelming degree of mental preoccupation." Id. at *25 (emphasis in
original). A "single prosecutor" such as Smith should not, and must not, be afforded "the practical power
to interfere with the ability of a popularly elected President to carry out his constitutional functions." Id.
at * 19. "The Framers' design of the Presidency did not envision such counterproductive burdens on the
vigor and energy of the Executive." Trump, 603 U.S. at 614 (cleaned up).

         In sum, the same legal principles and logic that required Smith to dismiss his prosecutions of
President Trump require that his activities be terminated without further action. Preparation and release
of "Closing documentation" would violate the Constitution and existing law, harm the activities of the
transition, and weaken the federal government that you have sworn an oath to support. The collective
application of these circumstances make this situation entirely unlike any prior Special Counsel report.
Preparation and release of a report is therefore not "in the public interest." 28 C.F.R. § 600.9(c). To the
contrary, the course of action Smith proposes would further solidify the well-founded perception of
partisanship created by Smith's violation of DOJ policies in connection with decisions based on his
ultimately failed attempt to influence the outcome of the 2024 Presidential election. For all of these
reasons, you must countermand Smith's proposed course of action, remove him, and stop the preparation
and/or dissemination of the Draft Report.

4 ECF No. 281 at 6, United States v. Trump, No. 23 Cr. 257 (D.D.C. Nov. 25, 2024) ("[T]he Department's
position is that the Constitution requires that this case be dismissed before the defendant is inaugurated.").


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      Case 1:25-cv-00716-BAH           Document 39-4          Filed 04/02/25      Page 565 of 734
January 6, 2025
Page 6



        III.      Smith's Report Violates The Presumption of Innocence

        The presumption of innocence is "the undoubted law, axiomatic and elementary." Coffin v. United
States, 156 U.S. 432, 453 (1895). It is "vital and fundamental" to our Constitutional system, id. at 460,
and "its enforcement lies at the foundation of the administration of our criminal law," id. at 453; see also
Cool v. United States, 409 U.S. 100, 104 (1972) (holding violation of defendant' s "constitutionally rooted
presumption of innocence" required reversal).

        "The presumption serves as a reminder to the jury that the prosecution has the burden of proving
every element of the offense beyond a reasonable doubt," United States v. Starks, 34 F.4th 1142, 1158
(10th Cir. 2022), and thus, may be "extinguished only upon the jury 's determination that guilt has been
established beyond a reasonable doubt," Mahorney v. Wallman, 917 F.2d 469, 471 n.2 (10th Cir. 1990)
(emphasis in original) (collecting cases).

        Consistent with these bedrock principles, the Justice Manual prohibits prosecutors from publicly
declaring a defendant's guilt prior to a jury verdict, or otherwise disseminating statements inconsistent
with the presumption of innocence. Justice Manual§§ 1.7.500; 1-7.600; 28 C.F.R. § 600.7(a) ("A Special
Counsel shall comply with the rules, regulations, procedures, practices and policies of the Department of
Justice."). Rather, prosecutors must limit their statements to " [t]he substance of the charge, as contained
in the complaint, indictment, information, or other public documents" and any "release issued before a
finding of guilt should state that the charge is merely an accusation, and the defendant is presumed
innocent until proven guilty." Justice Manual § 1.7.500. Moreover, "DOJ personnel should refrain from
disclosing" inter alia, " [a]ny opinion as to [a] defendant' s guilt" or any other "[o]bservations about a
defendant' s or party' s character" "except as appropriate in the proceeding or in an announcement after a
finding ofguilt." Justice Manual § 1-7.610 (emphasis added).

        These restrictions ensure that the Department's statements do not "prejudice the rights of a
defendant; or unfairly damage the reputation of a person." Justice Manual § 1-7.100; see also 32 C.F.R.
§ 776.47 ("Except for statements that are necessary to inform the public of the nature and extent of the
trial counsel ' s actions and that serve a legitimate law enforcement purpose, refrain from making
extrajudicial comments that have a substantial likelihood of heightening public condemnation of the
accused."); D.C. Bar Rule 3.8 (same).

         The Draft Report violates every one of these core requirements. Despite Smith' s decision to
dismiss his cases against President Trump, and his complete failure to obtain a "jury 's determination that
guilt has been established beyond a reasonable doubt," Afahorney, 917 F.2d at 471 n.2 (emphasis in
original), his Draft Report repeatedly, and falsely , claims that President Trump, Carlos De Oliveria,
Wal tine Nauta, and others have committed crimes and otherwise engaged in purported "criminal conduct."
For example, Volume I of the Draft Report falsely asserts, without any jury determination, that President
Trump and others "engaged in an unprecedented criminal effort," was "the head of the criminal
conspiracies," and harbored a "criminal design." Draft Report, Vol. I at 2, 68, 69. These false accusations
of criminality, which Smith again utterly failed to prove in Court, repeat throughout Volume I. See, e.g. ,
id. at 3, 52, 60, 64, 67, 88, 108. Likewise, Volume II asserts, without any supporting verdict, "that Mr.
Trump violated multiple federal criminal laws," and that he and others engaged in "criminal conduct."
Vol. II at 60, 88 ; see also, e.g., id. at 89, 121. Moreover, the Draft Report makes these allegations despite

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        Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25    Page 566 of 734
 January 6, 2025
 Page 7

 the ongoing prosecutions of DeOliveira and Nauta, which would cause gravely unconstitutional prejudice
 if released.

        Neither the Constitution nor applicable regulations or ethical rules allow Smith to make public,
 extrajudicial claims that purport to reflect conclusive determinations of guilt backed by the imprimatur of
 DOJ. It is the role of the jury, not the Special Counsel, to weigh the facts and determine guilt. Other
 Special Counsels have recognized this foundational fact. For example, Special Counsel Hur carefully
 cabined his observations to what some "jurors could," "might," "may well," or, at most, "would likely"
 conclude. See, e.g., Hur Report at 4, 5, 9, 10,204, 206-211, 214,216,218,220,233,235, 240-42, 246-
 47. At all points, Hur's focus was on whether 'jurors assessing Mr. Biden's guilt and intent w[ould] be
 persuaded," id. at 241, and not on the Special Counsel's unilateral views or opinions regarding Biden's
 obvious guilt.

        Likewise, Special Counsel Mueller expressly declined to "apply an approach" to his report "that
could potentially result in a judgment that the President committed crimes," where, as here, "no charges
c[ould] be brought." Mueller Report, Vol. II at 2. In Special Counsel Mueller's view, "[f]aimess concerns
counseled against" any kind of public accusation because:

         [t]he ordinary means for an individual to respond to an accusation is through a speedy and public
        trial, with all the procedural protections that sun-ound a criminal case. An individual who believes
        he was wrongly accused can use that process to seek to clear his name. In contrast, a prosecutor's
        judgment that crimes were committed, but that no charges will be brought, affords no such
        adversarial opportunity for public name-clearing before an impartial adjudicator.

Id. Moreover, Special Counsel Mueller warned that a public disclosure of a prosecutor's unilateral
judgment would only heighten these dangers. Id. ("[T]he possibility of the report's public disclosure and
the absence of a neutral adjudicatory forum to review its findings counseled against potentially
determining 'that the person's conduct constitutes a federal offense.' Justice Manual§ 9-27.220."). For
these reasons, Special Counsel Mueller's report "did not draw ultimate conclusions about the President's
conduct," id. at 182, but "[i]nstead for each of the relevant actions investigated, ... set[] out evidence on
both sides of the question.... " Ltr. from Attorney General William Ban- at 3 (Mar. 24, 2019).

        To the extent Special Counsel Smith possesses any authority to draft a report (and he does not) he
should have applied the same principles as Special Counsels Hur and Mueller, which the Constitution, the
Justice Manual, and applicable regulations and ethical rules all require. That is-providing a dispassionate
description of the relevant facts, free of any gratuitous commentary regarding President Trump's conduct,
let alone direct accusations of guilt. Smith failed to do so. Instead, he chose to construct the Draft Report
as a partisan weapon, designed to "unfairly damage the reputation" of President Trump, Justice Manual §
1-7.100, in a manner calculated to "heighten[] public condemnation," 32 C.F.R. § 776.47, while providing
"no ... adversarial opportunity for public name-clearing before an impartial adjudicator," Mueller Report,
Vol. II at 2. Accordingly, the Department should not, under any circumstances, permit Smith to complete
or submit the Draft Report in this form or otherwise disseminate it to the public.




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January 6, 2025
Page 8

        IV.       Preparation And Release Of A Report Would Serve No Valid Purpose

        There are many practical and prudential reasons to obey the law here. Preparation and release of
a report by Smith would not "be in the public interest." 28 C.F.R. § 600.9(c).

        In 2023, Smith and his Office levied extremely serious, and entirely false, allegations against
President Trump in two separate cases. Smith has now been forced by the rule of law to dismiss both of
those cases. It would be highly improper and contrary to the public interest-as well as inconsistent with
the reconciliation and public healing process that is necessary following divisive and unconstitutional
actions by Smith-to allow him to create and disseminate yet another document recycling politically
motived and inaccurate claims that the law has forced him to abandon. Indeed, "no legitimate
governmental interest is served by an official public smear of an individual when that individual has not
been provided a forum in which to vindicate his rights." In re Smith, 656 F .2d 1101, 1106 (5th Cir. 1981 ).
Smith lacks the credibility that is necessary for such a report to be reliable or valuable to anyone, as his
biased and unlawful approach to these cases has been widely-criticized and discredited from the outset. 5
Quite appropriately, he is the subject of an ongoing investigation by the Office of Professional
Responsibility, further diminishing any value from a report. 6 Smith's unlawful plan would reinforce the
"likely prospect of an Executive Branch that cannibalizes itself, with each successive President free to
prosecute his predecessors, yet unable to boldly and fearlessly carry out his duties for fear that he may be
next." Trump, 603 U.S. at 640. "The enfeebling of the Presidency and our Government that would result
from such a cycle of factional strife is exactly what the Framers intended to avoid." Id.

       At 1999 hearings relating to the Independent Counsel Act, Ted Olson argued that "the final report
... has turned into an excuse to file long exhaustive expositions which rationalize the investigation," as
well as "offer opinions regarding and/or pronounce judgments on the individuals investigated, and
generally make the Independent Counsel look good." 7 Attorney General Janet Reno pointed out, more
succinctly, that "the price of the final report is often too high." 8 Deputy Attorney General Eric Holder

5
  WSJ Editorial Board, Jack Smith Loses in the People's Court, WSJ (Nov. 7, 2024, 5:52 PM),
https://vvww.wsj.com/opinion/donald-trump-prosecutions-jack-smith-fani-willis-alvin-bragg-juan-
merchan-lc68f640; Jonathan Turley, Opinion: Donald Trump just won the greatest jury verdict in
American history, The Hill (Nov. 6, 2024, 10:56 AM), https://thehill.com/opinion/campaign/4976533-
trump-prosecutions-lawfare-end; Elie Honig, So What Happens With All the Cases Against Trump Now?,
N.Y. Mag. (Nov. 8, 2024), https://nymag.com/intelligencer/aiiicle/what-will-happen-with-the-charges-
against-trump.html.

6  Letter from Chairman Jim Jordan to Jeffrey Ragsdale,                      DOJ    OPR   (Dec.   4,   2024)
https://www.scribd.com/document/800789357/Judiciary-to-
DOJ?secret_password=vphCtDdh3lHj7mTM5Ib8.

7 The Future of the Independent Counsel Act: Hearings before the S.         Comm. on Governmental Affairs,
106th Cong. 231 (1999) (prepared statement of Theodore B. Olson).

8 The Future of the Independent Counsel Act: Hearings before the S. Comm. on Governmental Affairs,
106th Cong. 252 (1999) (prepared statement of Attorney General Janet Reno).


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           Case 1:25-cv-00716-BAH         Document 39-4          Filed 04/02/25    Page 568 of 734
    January 6, 2025
    Page 9

 added: "the reporting requirement goes directly against most traditions and practices of law enforcement
 and American ideals. " 9 Based on this feedback, Congress permitted the Independent Counsel Act to
 expire, and DOJ promulgated a reporting regulation that was much more restrictive than its statutory
 predecessor. 10

         For the quarter century that DOJ has operated under these Regulations, DOJ has not released a
 single Special Counsel report concerning any individual who has mounted a successful defense in court,
 as President Trump has done with respect to Presidential immunity. For good reason: the Special Counsel
 Regulations state that the purpose of a report is to "explain[] the prosecution or declination decisions." 28
 C.F.R. § 600.8(c). When filing and resolving a case in Court, that information, together with the defense's
 responses, becomes part of the public record. An additional, one-sided report, would only sow confusion
 and undermine the judicial process.

        Here, Smith has explained himself, and sought unsuccessfully to justify his actions, ad nauseum.
This has included routinely leaking sensitive details regarding the actions of Smith's Office to the media
in violation of DOJ policy. In October 2024, it was leaked that Smith planned to "pursue his two cases
against Mr. Trump for as long as he has the legal authority to do so-including during the period between
Election Day and the inauguration, when Mr. Trump, if he prevails, would be president-elect." 11 A similar
July 2024 report cited "a person familiar with Mr. Smith's thinking." 12 As another example, we first
learned from the media, rather than Smith's Office, that they were considering dismissing the prosecutions
of President Trump. 13 And we learned for the first time via private outreach from media sources, rather
than Smith's Office, that Smith is working on a report.




9 Reauthorization  of the Independent Counsel Statute, Part I: Hearings Before the H Comm. on the
Judiciary, l 06th Cong. 86 (1999) (prepared statement of Deputy Attorney General Eric Holder)

1°Compare 28 U.S.C. § 594(h)(l)(B) (calling for a "final report ... setting forth fully and completely a
description of the work of the independent counsel, including the disposition of all cases brought"), with
28 C.F.R. § 600.8(c) (calling for "a confidential report explaining the prosecution or declination decisions
reached by the Special Counsel").

11 Maggie Haberman et al., Trump Says He'll Fire Jack Smith,
                                                          Special Counsel Who Indicted Him, if He
Wins Again, N.Y. Times (Oct. 24, 2024), https://www.nytimes.com/2024/10/24/us/politics/trump-jack-
smith.html.

12 Alan Feuer, Special Counsel Is Said to Be Planning to Pursue    Trump Cases Past the Election, N.Y.
Times (July 2, 2024 ), https://wv.w.nytimes.com/2024/07 /02/us/politics/jack-smith-trump-charges.html.

13 Pierre Thomas et al., Special counsel Jack Smith expected to wind down Trump prosecutions: Sources,

ABC News (Nov. 6, 2024, 3 :26 PM), https://abcnews.go.com/Politics/special-counsel-jack-smith-
expected-wind-trump-prosecutions/story?id=l 15571646; Devlin Barrett, Jack Smith Assesses How to
Wind Down Trump's Federal Cases, Official Says, N.Y. Times (Nov. 6, 2024),
https://www.nytimes.com/2024/l l/06/us/politics/doj-trump-federal-cases.html.


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      Case 1:25-cv-00716-BAH            Document 39-4          Filed 04/02/25      Page 569 of 734
January 6, 2025
Page 10

        In addition to the leaks, Smith filed four gratuitous speaking indictments, held a lawless press
conference before the national media, and filed hundreds of pages of briefing in two district courts, two
Courts of Appeals, and the Supreme Court. Smith's inappropriate 165-page "Motion For Immunity
Determinations," accompanied by a 1,885-page "Appendix," is an especially egregious example of
Smith's proclivity to seize all available opportunities to issue lengthy diatribes attacking President Trump
based on Smith's biased view of the law and evidence. 14 Smith insisted on the filing, which even Judge
Chutkan characterized as "atypical," 15 to further publicize his narrative in the lead-up to the Presidential
election. Smith's tome was not responsive to a defense motion, had no basis in the Federal Rules of
Criminal Procedure, and violated DOJ's election-interference policies and practices. See, e.g., Justice
Manual § 9-85.500. 16 Having previously insisted on highly restrictive protective orders that prevented
dissemination of discovery, based in part on histrionic, unsupported claims about witness identities, Smith
abandoned those arguments and released the contents of protected reports, grand jury material, and
accounts from thinly-veiled witnesses whom the media immediately identified.

        Under these circumstances, there is no legitimate need for an additional "report" to "explain
[Smith's] prosecution or declination decisions." 28 C.F.R. § 600.8(c). His baseless rationales for
prosecution are already fully public. So too is the selective description that his Office prepared of the legal
basis for the motions to dismiss, which Smith's Office caused OLC not to further memorialize in violation
of the Brady doctrine and DOJ policy. Moreover, the Draft Report goes far beyond merely explaining
Smith's "prosecution or declination decisions," deviating instead into extensive and irrelevant discussions
on purported "litigation issues," including post-indictment immunity litigation and Smith's violation of
the Department's political non-interference policies. See Draft Report Vol. I at 107-37. Although Smith
may wish to air his baseless and politically motivated grievances regarding the Constitutional importance
of immunity, and otherwise provide feeble and transparent excuses for his plainly political motivations,
that is not the purpose of a Special Counsel report under 28 C.F.R. § 600.8(c). A report must simply
"explain[]" a Special Counsel's "prosecution or declination decisions" and nothing more. The Draft
Report violates this core principle.

        The issuance of such a report, in violation of the Constitution, the Transition Act, Presidential
immunity, and DOJ's own regulations, would exacerbate the irreparable damage that Smith has already
inflicted on DOJ's reputation for non-partisanship through his repeated violations of DOJ policies about
election interference. As we noted one year ago in opposing Smith's failed attempt to obtain certiorari
before judgment on Presidential immunity, which the Supreme Court rejected, Smith's actions "create[]
the compelling appearance of a partisan motivation: To ensure that President Trump ... will face a
months-long criminal trial at the height of his presidential campaign." Br. in Opp. to Pet'n for Writ of

14 ECF No. 252, United States v. Trump, No. 23 Cr. 257 (D.D.C. Oct. 2, 2024).


15 ECF No. 243 at 2, United States v. Trump, No. 23 Cr. 257 (D.D.C. Sept. 24, 2024).


16 See also A Review of Various Actions by the Federal Bureau oflnvestigation and Department of Justice

in Advance of the 2016 Election, U.S. Dep't of Justice Office ofinspector General (June 2018) at 18 ("[I]n
general, the practice has been not to take actions that might have an impact on an election, even if it's not
an         election      case        or        something        like      that."),       available         at
https://s3 .documentcloud.org/documents/4515 884/DOJ-OI G-2016-Electio_n-Final-Report.pdf.


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           Case 1:25-cv-00716-BAH          Document 39-4          Filed 04/02/25    Page 570 of 734
 January 6, 2025
 Page 11

 Certiorari Before Judgment in United States v. Trump, No. 23-624, at 21 (filed Dec. 20, 2024). Smith's
 nakedly partisan, election-interference motivation was obvious to commentators across the political
 spectrum. See id. (citing many sources). "[T]he best traditions of the U.S. Department of Justice ... call
 for prosecutors to avoid the appearance of election interference in the prosecution of political candidates."
 Id. at 23 (emphasis in original). "[F]ederal prosecutors ... may never make a decision regarding an
 investigation or prosecution, or select the timing of investigative steps or criminal charges, for the purpose
 of affecting any election, or for the purpose of giving an advantage or disadvantage to any candidate or
 political party." Id (citing Justice Manual§ 9-27.260). Smith's latest illegal plan to launch yet another
 partisan attack against President Trump, De Oliveira, and Nauta will have the same injurious effect on
 DOJ' s reputation if not stopped in its tracks.

         Further, preparing and releasing a report would be improper for the additional reason that Smith
 has relied on numerous legal theories that are unprecedented and incorrect as a matter of law. Many of
 those issues were the subject of ongoing litigation at the time Smith dismissed the cases. To name a few,
these issues include the lack of statutory authority for Smith's appointment; Smith's reliance on official-
acts allegations in both cases in violation of the Presidential immunity doctrine 17; Smith's unlawful theory
under 18 U.S.C. § 1512(c)(2) in violation of Fischer v. United States, 603 U.S. 480 (2024); equal
protection violations, based on selective and vindictive prosecution theories 18 ; the unprecedented and
unlawful raid at Mar-a-Lago; and violations of the Presidential Records Act and NARA's longstanding
practices under that Act. 19 There were also numerous discovery disputes in both cases, including
unresolved motions in the Southern District of Florida regarding Brady obligations, the scope of the
prosecution team, and Intelligence Community holdings, which further call into question the reliability of
Smith's theories. 20 Smith's Draft Report presents a selective and inaccurate response to only some of
these issues, and then proceeds as if his theories are well-founded and undisputed. Nothing could be
further from the truth.

        Finally, given the status of Smith and his team as the inauguration approaches, using additional
taxpayer resources to prepare, review, and disseminate a report is not a legitimate use of taxpayer funds-
even ifthere were a valid appropriation here, which there is not. "The Special Counsel's office has spent
tens of millions of dollars since November 2022, all drawn unconstitutionally from the Indefinite
Appropriation." United States v. Trump, 2024 WL 3404555, at *46 (S.D. Fla. July 15, 2024). For the
period preceding March 31, 2024, Smith's Office had used $20 million from a permanent indefinite
appropriation and an additional $16 million from other unspecified "DOJ components. " 21 The costs of
Smith's activities since March 2024 have not yet been released. It is clear, however, that the total figure



17   ECF No. 324, United States v. Trump, No. 23 Cr. 80101 (S.D. Fla. Feb. 22, 2024).

18 ECF No. 328, United States v.   Trump, No. 23 Cr. 80101 (S.D. Fla. Feb. 22, 2024).

19 ECF No. 327, United States v.   Trump, No. 23 Cr. 80101 (S.D. Fla. Feb. 22, 2024).

20 ECF No. 262, United States v.   Trump, No. 23 Cr. 80101 (S.D. Fla. Jan. 16, 2024).

21 Special Counsel's Office, DOJ, Statements of Expenditures, https://www.justice.gov/sco-smith.



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      Case 1:25-cv-00716-BAH           Document 39-4          Filed 04/02/25       Page 571 of 734
January 6, 2025
Page 12

will greatly exceed-by an extraordinarily wide margin-what all of this lawfare was actually worth to
the public, the operations of the government, and the Country as a whole.

                                              *        *       *

        Smith's proposed plan for releasing a report is unlawful, undertaken in bad faith, and contrary to
the public interest. Smith's conduct also raises grave concerns under Article II because it unlawfully
encroaches on the Executive authority of the incoming Administration of President Trump to resolve the
issues surrounding Smith's Office in accordance with President Trump's commanding national mandate
from the voters. The time has come to put an end to this weaponization of the justice system and move
forward constructively. No report should be prepared or released, and Smith should be removed, including
for even suggesting that course of action given his obvious political motivations and desire to lawlessly
undermine the transition. If you elect to proceed with Smith's plan, we again respectfully request
(I) notice of such decision prior to any publication of the Draft Report, allowing us to take appropriate
legal action, and (2) that this letter and Smith's meritless responses to the legal arguments set forth herein
be incorporated into the Report.

                                                        Respectfully Submitted,

                                                        Isl Todd Blanche I Emil Bove
                                                        Todd Blanche
                                                        Emil Bove
                                                        Blanche Law PLLC

                                                         Isl John Lauro I Gregorv Singer
                                                        John Lauro
                                                        Gregory Singer
                                                        Lauro & Singer

                                                        Attorneys for President Donald J Trump

Cc:     Jack Smith, Special Counsel
        JP Cooney, Deputy Special Counsel
        (Via Email)




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 572 of 734
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 573 of 734
     Case 1:25-cv-00716-BAH           Document 39-4         Filed 04/02/25       Page 574 of 734
                                                        U.S. Department of Justice

                                                        Jack Smith
                                                        Special Counsel




                                                        January 7, 2025



 DELIVERY BY HAND
 The Honorable Merrick B. Garland
 Attorney General of the United States
 Robert F. Kennedy Department of Justice Building
 950 Pennsylvania Avenue NW
 Washington, D.C. 20530

        Re:     Letter from Counsel to Donald J. Trump of January 6. 2025

 Dear Mr. Attorney General:

        As you know, my Office provided counsel to Mr. Trump, Mr. Nauta, and Mr. De Oliveira
an opportunity to review a draft of my confidential Report and to provide any response in writing
by 2 p.m. on January 6, 2025 , so that my Office could consider any issues that counsel identified
in the final Report before officially transmitting it to you. Only Mr. Trump's counsel chose to
provide a written response, in the form of a letter to you. That response fails to identify any specific
factual objections to the draft. Instead, Mr. Trump principally objects to public release of the
Report, and in service of that objection makes a variety of false , misleading, or otherwise
unfounded claims. While the determination as to whether to publicly release the Report, consistent
with applicable legal restrictions, is yours as Attorney General, see 28 C.F.R. § 600.9(c), I felt it
necessary to address below certain inaccuracies set forth in Mr. Trump's letter.

        As an initial matter, the Office extended Mr. Trump a special accommodation by allowing
his counsel to review a draft of the Report. Such an accommodation is not required under the law
or regulations . Nonetheless, the Office elected to provide Mr. Trump's counsel access to the draft
Report through what it understood to be a process similar to that employed by Special Counsel
Robert K. Hur: by allowing counsel to review the draft in person over the course of four days, in
the Office's workspace, without contemporaneous access to personal electronics but with the
ability to take notes, including the use of government laptops on which to draft a response.
Specifically, on December 11, 2024, Mr. Trump's counsel requested an opportunity to review the
Report before it was submitted to the Attorney General. On December 15, 2024, the Office
informed Mr. Trump's counsel that it would make arrangements for counsel to review the draft
Report and provided a range of dates when the review could occur. After Mr. Trump's attorneys
complained that the initial review dates that the Office offered conflicted with their vacation
schedules, the next day the Office changed the schedule to provide the dates they requested. It
was thus surprising and disappointing to see Mr. Trump's grievances about these accommodations
  Case 1:25-cv-00716-BAH            Document 39-4         Filed 04/02/25       Page 575 of 734



in his letter, see Trump Letter at 2-3, especially after Mr. Trump's counsel explicitly stated their
"genuine" and "personal appreciation" to the Office for the new dates in a phone call on December
16, 2024.

        Mr. Trump's other cnt1c1sms of the review process are similarly disingenuous. For
instance, he complains that he was prevented from reviewing the underlying documents cited in
the draft Report, id. at 1, but over the four days Mr. Trump's attorneys were given to review the
Report, they never requested access to a single underlying document, despite the fact that the
Office had attorneys on hand specifically assigned to respond to any questions counsel might have.
Relatedly, Mr. Trump insinuates that the Office improperly "demanded" that counsel delete
discovery productions prior to their review of the draft Report, when in fact that deletion was
required by the protective orders that federal judges entered in both of Mr. Trump's criminal cases.
See United States v. Trump, No. 23-cr-80101 , ECF No. 27 at 3 (S.D. Fla. June 19, 2023); United
States v. Trump , No. 23-cr-257, ECF No. 28 at 2-3 (D.D .C. Aug. 11, 2023). In sum, Mr. Trump's
counsel had a full opportunity to review the draft Report, and only came to the Office to review it
on the first two of the four days available. Upon completing that review, Mr. Trump has not
contested a single factual representation in the Report, instead objecting only to its public release.

        Other complaints by Mr. Trump are addressed and rebutted by the Report and court
decisions. For instance, Mr. Trump recycles his baseless allegation that the Office's work
constituted a partisan attack, a claim flatly rejected by the only court to have ruled on it. See United
States v. Trump, No. 23-cr-257, ECF No 198 (D.D.C. Aug. 3, 2024) (denying Mr. Trump 's motion
to dismiss indictment based on selective and vindictive prosecution, "finding no evidence of
discriminatory purpose," "no evidence demonstrating a likelihood of vindictiveness," and "no
evidence that would lead the court to infer that [prosecutorial] discretion has been abused")
(internal quotation omitted) . The Report explains in detail the Office's steadfast adherence to
neutral and evenhanded application of the law and to the Department's Election Year Sensitivities
policy. Mr. Trump also persists in his challenge to the Attorney General 's authority to appoint a
Special Counsel, which is the subject of a pending appeal in the Eleventh Circuit. See United
States v. Nauta et al., No. 24-12311 (11th Cir.). As explained in my Report, the Office is confident
that the Department has strong arguments to prevail on that issue.

       Finally, Mr. Trump 's letter claims that dismissal of his criminal cases signifies Mr. Trump's
"complete exoneration." That is false . As the Office explained in its dismissal motions and in the
Report, the Department's view that the Constitution prohibits Mr. Trump's indictment and
prosecution while he is in office is categorical and does not turn on the gravity of the crimes
charged, the strength of the Government's proof, or the merits of the prosecution-all of which the
Office stands fully behind.

                                                        Sincerely yours,



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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 576 of 734




                  EXHIBIT 44
4/1/25, 1:41 PM    Case 1:25-cv-00716-BAH               Document 39-4       Filed
                                                                 Truth Details | Truth04/02/25
                                                                                       Social    Page 577 of 734


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                  @realDonaldTrump

    The Crooked Election Interference “Thugs” from the DOJ, headed by the worst
    Thug of them all, Deranged Jack Smith, are now admitting that the Mar-a-Lago
    Security Tapes were NOT DELETED. That’s not what they were illegally leaking to
    the press. These guys should be prosecuted for MISCONDUCT. Also, whatever
    happened to Crooked Joe’s Documents? Where are the ones he sent and stored in
    Chinatown? Is Deranged Jack going to Indict him for this and, at the same time,
    receiving BRIBES FROM CHINA?
    8.65k ReTruths 29.1k Likes                                                                       Jul 30, 2023, 11:50 AM


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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 578 of 734




                  EXHIBIT 45
         Case 1:25-cv-00716-BAH     Document 39-4      Filed 04/02/25   Page 579 of 734

                                            LIVE NOW


                                       The WHITE HOUSE




                                     PRESIDENTIAL ACTIONS

            Suspension of Security Clearances and Evaluation of Government Contracts


                                        The White House


                                        February 25, 2025




MEMORANDUM FOR THE SECRETARY OF STATE
      THE SECRETARY OF DEFENSE
      THE ATTORNEY GENERAL
      THE SECRETARY OF ENERGY
      THE DIRECTOR OF THE OFFICE OF MANAGEMENT AND
       BUDGET
      THE DIRECTOR OF NATIONAL INTELLIGENCE
      THE DIRECTOR OF THE CENTRAL INTELLIGENCE AGENCY
      THE DIRECTOR OF THE OFFICE OF PERSONNEL
       MANAGEMENT
SUBJECT:     Suspension of Security Clearances and Evaluation
of Government Contracts


I hereby direct the Attorney General and all other relevant heads of executive
departments and agencies (agencies) to immediately take steps consistent with
applicable law to suspend any active security clearances held by Peter Koski and all
members, partners, and employees of Covington & Burling LLP who assisted former
Special Counsel Jack Smith during his time as Special Counsel, pending a review and
          Case 1:25-cv-00716-BAH    Document 39-4     Filed 04/02/25   Page 580 of 734
determination of their roles and responsibilities, if any, in the weaponization of the
judicial process. I also direct the Attorney General and heads of agencies to take such
actions as are necessary to terminate any engagement of Covington & Burling LLP
by any agency to the maximum extent permitted by law and consistent with the
memorandum that shall be issued by the Director of the Office of Management
and Budget.


Additionally, if any of the covered Covington & Burling LLP members, partners, and
employees referenced in this memorandum obtained a security clearance from an
agency not included as an addressee of this memorandum, the Director of the Office of
Personnel Management shall provide this memorandum to the appropriate clearance-
granting agency to ensure compliance.


I further direct the Director of the Office of Management and Budget to issue a
memorandum to all agencies to review all Government contracts with Covington &
Burling LLP. To the extent permitted by applicable law, heads of agencies shall align
their agency funding decisions with the interests of the citizens of the United States;
with the goals and priorities of my Administration as expressed in executive actions,
especially Executive Order 14147 of January 20, 2025 (Ending the Weaponization of the
Federal Government); and as heads of agencies deem appropriate.


This memorandum is not intended to, and does not, create any right or benefit,
substantive or procedural, enforceable at law or in equity by any party against the United
States, its departments, agencies, or entities, its officers, employees, or agents, or any
other person.




                                           NEWS

                                   A D M I N I S T R AT I O N
Case 1:25-cv-00716-BAH   Document 39-4          Filed 04/02/25   Page 581 of 734

                               I S S U ES

                             C O N TACT

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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 582 of 734




                  EXHIBIT 46
4/1/25, 1:42 PM    Case 1:25-cv-00716-BAH               Document 39-4       Filed
                                                                 Truth Details | Truth04/02/25
                                                                                       Social    Page 583 of 734


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                  Donald J. Trump 0
                  @realDonaldTrump

    So Crooked HILLARY Clinton’s lawyer, from the biggest of all Democrat law firms,
    and which is headed up by Chuck Schumer’s brother, is put into the Manhattan
    District Attorneys Office in order to dredge up bull…. to PROSECUTE “TRUMP.” A
    TOTALLY CORRUPT WEAPONIZATION OF LAW ENFORCEMENT BY THE
    DEMOCRATS, RUN DIRECTLY BY THE DEPARTMENT OF INJUSTICE (D.C.), WHO
    HAVE IMPLANTED THEIR OWN PEOPLE INTO THAT OFFICE. In the meantime,
    record breaking murders and violent crime are not even being looked at!
    8.56k ReTruths 29.7k Likes                                                                       Jan 26, 2023, 6:56 PM


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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 584 of 734




                  EXHIBIT 47
4/1/25, 1:43 PM    Case 1:25-cv-00716-BAH               Document 39-4       Filed
                                                                 Truth Details | Truth04/02/25
                                                                                       Social    Page 585 of 734


         ·rRUTH.

          Truth Details                                                                                              • ••
          288 replies


                  Donald J. Trump 0
                  @realDonaldTrump

    This Crazy Pomerantz guy, Hillary Clinton’s lawyer, who left his Democrat only Law
    Firm to join (get this!) the Manhattan D.A.’s Office in order to prosecute “Trump,”
    while at the same time writing a book about his exploits, including everything that
    happened in a secret Grand Jury. This guy is deranged and should be charged
    approximately. Nothing like this has ever happened before. As prosecutor he
    actually wrote a book in the midst of an ongoing case. It’s stone cold prosecutorial
    misconduct!
    3.55k ReTruths 13.8k Likes                                                                       Feb 09, 2023, 5:04 PM


                  a                                                 0




                                   c::::J



https://truthsocial.com/@realDonaldTrump/posts/109837042458110998                                                            1/1
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 586 of 734




                  EXHIBIT 48
4/1/25, 1:43 PM    Case 1:25-cv-00716-BAH               Document 39-4       Filed
                                                                 Truth Details | Truth04/02/25
                                                                                       Social    Page 587 of 734


         ·rRUTH.

          Truth Details                                                                                              • ••
          1218 replies


                  Donald J. Trump 0
                  @realDonaldTrump

    Every single Legal Scholar and Expert said that Soros backed prosecutor, Alvin
    Bragg, has “no case.” This list includes Jonathan Turley, Gregg Jarrett, Byron York,
    Andrew McCarthy, Mark Levin, Alan Dershowitz, Mike Davis, David Rivkin, Kristin
    Shapiro, Brad Smith, Andrew Cherkasky, and many more. SO WHY WON’T THEY
    DROP THIS CASE? Alvin Bragg never wanted to bring it - thought it was a joke. Was
    furious at lawyer MARK POMERANTZ (will he be prosecuted?) for what he did!
    5.48k ReTruths 18.8k Likes                                                                      Apr 23, 2024, 10:57 AM


                  a                                                 0                                          t!J




                                   c::::J



https://truthsocial.com/@realDonaldTrump/posts/112321119728503760                                                            1/1
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 588 of 734




                  EXHIBIT 49
                                                                  Case 1:25-cv-00716-BAH                            Document 39-4                     Filed 04/02/25          Page 589 of 734
                                                                        Federal Register / Vol. 90, No. 53 / Thursday, March 20, 2025 / Presidential Documents                                  13039

                                                                                                         Presidential Documents



                                                                                                         Executive Order 14237 of March 14, 2025

                                                                                                         Addressing Risks From Paul Weiss


                                                                                                         By the authority vested in me as President by the Constitution and the
                                                                                                         laws of the United States of America, it is hereby ordered:
                                                                                                            Section 1. Background. Global law firms have for years played an outsized
                                                                                                         role in undermining the judicial process and in the destruction of bedrock
                                                                                                         American principles. Many have engaged in activities that make our commu-
                                                                                                         nities less safe, increase burdens on local businesses, limit constitutional
                                                                                                         freedoms, and degrade the quality of American elections. Additionally, they
                                                                                                         have sometimes done so on behalf of clients, pro bono, or ostensibly ‘‘for
                                                                                                         the public good’’—potentially depriving those who cannot otherwise afford
                                                                                                         the benefit of top legal talent the access to justice deserved by all. My
                                                                                                         Administration will no longer support taxpayer funds sponsoring such harm.
                                                                                                         My Administration has already taken action to address some of the significant
                                                                                                         risks and egregious conduct associated with law firms, and I have determined
                                                                                                         that similar action is necessary to end Government sponsorship of harmful
                                                                                                         activity by an additional law firm: Paul, Weiss, Rifkind, Wharton & Garrison
                                                                                                         LLP (Paul Weiss). In 2021, a Paul Weiss partner and former leading prosecutor
                                                                                                         in the office of Special Counsel Robert Mueller brought a pro bono suit
                                                                                                         against individuals alleged to have participated in the events that occurred
                                                                                                         at or near the United States Capitol on January 6, 2021, on behalf of the
                                                                                                         District of Columbia Attorney General.
                                                                                                         In 2022, Paul Weiss hired unethical attorney Mark Pomerantz, who had
                                                                                                         previously left Paul Weiss to join the Manhattan District Attorney’s office
                                                                                                         solely to manufacture a prosecution against me and who, according to his
                                                                                                         co-workers, unethically led witnesses in ways designed to implicate me.
                                                                                                         After being unable to convince even Manhattan District Attorney Alvin
                                                                                                         Bragg that a fraud case was feasible, Pomerantz engaged in a media campaign
                                                                                                         to gin up support for this unwarranted prosecution.
                                                                                                         Additionally, Paul Weiss discriminates against its own employees on the
                                                                                                         basis of race and other categories prohibited by civil rights laws. Paul
                                                                                                         Weiss, along with nearly every other large, influential, or industry leading
                                                                                                         law firm, makes decisions around ‘‘targets’’ based on race and sex. My
                                                                                                         Administration is committed to ending such unlawful discrimination per-
                                                                                                         petrated in the name of ‘‘diversity, equity, and inclusion’’ policies and
                                                                                                         ensuring that Federal benefits support the laws and policies of the United
                                                                                                         States, including those laws and policies promoting our national security
                                                                                                         and respecting the democratic process. Those who engage in blatant discrimi-
                                                                                                         nation and other activities inconsistent with the interests of the United
                                                                                                         States should not have access to our Nation’s secrets nor be deemed respon-
                                                                                                         sible stewards of any Federal funds.
                                                                                                         Sec. 2. Security Clearance Review. (a) The Attorney General, the Director
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                                                                                                         of National Intelligence, and all other relevant heads of executive departments
                                                                                                         and agencies (agencies) shall immediately take steps consistent with applica-
                                                                                                         ble law to suspend any active security clearances held by individuals at
                                                                                                         Paul Weiss and Mark Pomerantz, pending a review of whether such clear-
                                                                                                         ances are consistent with the national interest.
                                                                                                           (b) The Office of Management and Budget shall identify all Government
                                                                                                         goods, property, material, and services, including Sensitive Compartmented
                                                                                                         Information Facilities, provided for the benefit of Paul Weiss. The heads


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                                                                  Case 1:25-cv-00716-BAH                            Document 39-4                     Filed 04/02/25          Page 590 of 734
                                                     13040              Federal Register / Vol. 90, No. 53 / Thursday, March 20, 2025 / Presidential Documents

                                                                                                         of all agencies providing such material or services shall, to the extent per-
                                                                                                         mitted by law, expeditiously cease such provision.
                                                                                                         Sec. 3. Contracting. (a) To prevent the transfer of taxpayer dollars to Federal
                                                                                                         contractors whose earnings subsidize, among other things, activities that
                                                                                                         are not aligned with American interests, including racial discrimination,
                                                                                                         Government contracting agencies shall, to the extent permissible by law,
                                                                                                         require Government contractors to disclose any business they do with Paul
                                                                                                         Weiss and whether that business is related to the subject of the Government
                                                                                                         contract.
                                                                                                            (b) The heads of all agencies shall review all contracts with Paul Weiss
                                                                                                         or with entities that disclose doing business with Paul Weiss under subsection
                                                                                                         (a) of this section. To the extent permitted by law, the heads of agencies
                                                                                                         shall:
                                                                                                            (i) take appropriate steps to terminate any contract, to the maximum
                                                                                                            extent permitted by applicable law, including the Federal Acquisition
                                                                                                            Regulation, for which Paul Weiss has been hired to perform any service;
                                                                                                           (ii) otherwise align their agency funding decisions with the interests of
                                                                                                           the citizens of the United States; with the goals and priorities of my
                                                                                                           Administration as expressed in executive actions, especially Executive
                                                                                                           Order 14147 of January 20, 2025 (Ending the Weaponization of the Federal
                                                                                                           Government); and as heads of agencies deem appropriate. Within 30 days
                                                                                                           of the date of this order, all agencies shall submit to the Director of
                                                                                                           the Office of Management and Budget an assessment of contracts with
                                                                                                           Paul Weiss or with entities that do business with Paul Weiss effective
                                                                                                           as of the date of this order and any actions taken with respect to those
                                                                                                           contracts in accordance with this order.
                                                                                                         Sec. 4. Racial Discrimination. Nothing in this order shall be construed
                                                                                                         to limit the action authorized by section 4 of Executive Order 14230 of
                                                                                                         March 6, 2025 (Addressing Risks from Perkins Coie LLP).
                                                                                                         Sec. 5. Personnel. (a) The heads of all agencies shall, to the extent permitted
                                                                                                         by law, provide guidance limiting official access from Federal Government
                                                                                                         buildings to employees of Paul Weiss when such access would threaten
                                                                                                         the national security of or otherwise be inconsistent with the interests of
                                                                                                         the United States. In addition, the heads of all agencies shall provide guidance
                                                                                                         limiting Government employees acting in their official capacity from engaging
                                                                                                         with Paul Weiss employees to ensure consistency with the national security
                                                                                                         and other interests of the United States.
                                                                                                           (b) Agency officials shall, to the extent permitted by law, refrain from
                                                                                                         hiring employees of Paul Weiss, absent a waiver from the head of the
                                                                                                         agency, made in consultation with the Director of the Office of Personnel
                                                                                                         Management, that such hire will not threaten the national security of the
                                                                                                         United States.
                                                                                                         Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                                                                                                         to impair or otherwise affect:
                                                                                                           (i) the authority granted by law to an executive department or agency,
                                                                                                           or the head thereof; or
                                                                                                           (ii) the functions of the Director of the Office of Management and Budget
                                                                                                           relating to budgetary, administrative, or legislative proposals.
                                                                                                           (b) This order shall be implemented consistent with applicable law and
                                                                                                         subject to the availability of appropriations.
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                                                                  Case 1:25-cv-00716-BAH                            Document 39-4                     Filed 04/02/25          Page 591 of 734
                                                                        Federal Register / Vol. 90, No. 53 / Thursday, March 20, 2025 / Presidential Documents                                  13041

                                                                                                           (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                         substantive or procedural, enforceable at law or in equity by any party
                                                                                                         against the United States, its departments, agencies, or entities, its officers,
                                                                                                         employees, or agents, or any other person.




                                                                                                         THE WHITE HOUSE,
                                                                                                         March 14, 2025.


                                                     [FR Doc. 2025–04867
                                                     Filed 3–19–25; 8:45 am]
                                                     Billing code 3395–F4–P
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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 592 of 734




                  EXHIBIT 50
          Case 1:25-cv-00716-BAH    Document 39-4     Filed 04/02/25   Page 593 of 734

                                       The WHITE HOUSE




                                     EXECUTIVE ORDER

                           Addressing Remedial Action by Paul Weiss


                                        Executive Orders


                                         March 21, 2025




By the authority vested in me as President by the Constitution and the laws of the United
States of America, it is hereby ordered:


Section
- - - - -1. -
            Background.
              -         On March 14, 2025, I signed Executive Order 14237 (Addressing
Risks from Paul Weiss) to address certain issues related to Paul, Weiss, Rifkind, Wharton
& Garrison LLP (Paul Weiss). I noted that “[g]lobal law firms have for years played an
outsized role in undermining the judicial process and in the destruction of bedrock
American principles.” Paul Weiss is one of many law firms that have participated in this
harmful activity.


Earlier this week, though, Paul Weiss indicated that it will engage in a remarkable
change of course. Specifically, Paul Weiss has acknowledged the wrongdoing of its
former partner Mark Pomerantz, and it has agreed to a number of policy changes to
promote equality, justice, and the principles that keep our Nation strong, including:
adopting a policy of political neutrality with respect to client selection and attorney
hiring; taking on a wide range of pro bono matters representing the full political
spectrum; committing to merit-based hiring, promotion, and retention, instead of
“diversity, equity, and inclusion” policies; dedicating the equivalent of $40 million in pro
bono legal services during my term in office to support causes including assisting our
Nation’s veterans, fairness in the justice system, and combating anti-Semitism; and
           Case 1:25-cv-00716-BAH    Document 39-4     Filed 04/02/25   Page 594 of 734
other similar initiatives.


This development should give Americans hope. If the legal profession dedicates a
fraction of its energy to bringing justice to local communities, unleashing hard-working
businesses, strengthening the American family, and unifying our Nation, all Americans
will benefit.


Sec. 2. Revocation. I hereby revoke Executive Order 14237 of March 14, 2025
(Addressing Risks from Paul Weiss).


Sec. 3. General Provisions. (a) Nothing in this order shall be construed to impair or
otherwise affect:
(i) the authority granted by law to an executive department or agency, or the head
thereof; or
(ii) the functions of the Director of the Office of Management and Budget relating to
budgetary, administrative, or legislative proposals.
(b) This order shall be implemented consistent with applicable law and subject to the
availability of appropriations.
(c) This order is not intended to, and does not, create any right or benefit, substantive
or procedural, enforceable at law or in equity by any party against the United States,
its departments, agencies, or entities, its officers, employees, or agents, or any
other person.


THE WHITE HOUSE,
  March 21, 2025.




                                            NEWS

                                    A D M I N I S T R AT I O N
Case 1:25-cv-00716-BAH   Document 39-4          Filed 04/02/25   Page 595 of 734

                               I S S U ES

                             C O N TACT

                                 VISIT

                              G A L L E RY

                                 EO P




                              THE WHITE HOUSE

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                          Washington, DC 20500




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                                Privacy

                              Style Guide
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 596 of 734




                  EXHIBIT 51
 Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 597 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 51

  President Trump answering questions from reporters in the oval office,
                posted to KGET.com on March 21, 2025

              The posted video is available here:
    https://www.kget.com/video/trump-suggests-law-firms-
%e2%80%98want-to-make-deals%e2%80%99-after-rescinding-paul-
                   weiss-order/10560109/

Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 598 of 734




                  EXHIBIT 52
                                                                  Case 1:25-cv-00716-BAH                            Document 39-4                     Filed 04/02/25          Page 599 of 734
                                                                                                                                                                                                13997

                                                     Federal Register                                    Presidential Documents
                                                     Vol. 90, No. 59

                                                     Friday, March 28, 2025



                                                     Title 3—                                            Executive Order 14246 of March 25, 2025

                                                     The President                                       Addressing Risks From Jenner & Block

                                                                                                         By the authority vested in me as President by the Constitution and the
                                                                                                         laws of the United States of America, it is hereby ordered:
                                                                                                         Section 1. Background. My Administration is committed to addressing the
                                                                                                         significant risks associated with law firms, particularly so-called ‘‘Big Law’’
                                                                                                         firms, that engage in conduct detrimental to critical American interests.
                                                                                                         Many firms take actions that threaten public safety and national security,
                                                                                                         limit constitutional freedoms, degrade the quality of American elections,
                                                                                                         or undermine bedrock American principles. Moreover, law firms regularly
                                                                                                         conduct this harmful activity through their powerful pro bono practices,
                                                                                                         earmarking hundreds of millions of their clients’ dollars for destructive
                                                                                                         causes, that often directly or indirectly harm their own clients. Lawyers
                                                                                                         and law firms that engage in such egregious conduct should not have access
                                                                                                         to our Nation’s secrets, nor should such conduct be subsidized by Federal
                                                                                                         taxpayer funds or contracts.
                                                                                                         Jenner & Block LLP (Jenner) is yet another law firm that has abandoned
                                                                                                         the profession’s highest ideals, condoned partisan ‘‘lawfare,’’ and abused
                                                                                                         its pro bono practice to engage in activities that undermine justice and
                                                                                                         the interests of the United States. For example, Jenner engages in obvious
                                                                                                         partisan representations to achieve political ends, supports attacks against
                                                                                                         women and children based on a refusal to accept the biological reality
                                                                                                         of sex, and backs the obstruction of efforts to prevent illegal aliens from
                                                                                                         committing horrific crimes and trafficking deadly drugs within our borders.
                                                                                                         Moreover, Jenner discriminates against its employees based on race and
                                                                                                         other categories prohibited by civil rights laws, including through the use
                                                                                                         of race-based ‘‘targets.’’
                                                                                                         In addition, Jenner was ‘‘thrilled’’ to re-hire the unethical Andrew Weissmann
                                                                                                         after his time engaging in partisan prosecution as part of Robert Mueller’s
                                                                                                         entirely unjustified investigation. Andrew Weissmann’s career has been root-
                                                                                                         ed in weaponized government and abuse of power, including devastating
                                                                                                         tens of thousands of American families who worked for the now defunct
                                                                                                         Arthur Andersen LLP, only to have his unlawfully aggressive prosecution
                                                                                                         overturned by the Supreme Court. The numerous reports of Weissmann’s
                                                                                                         dishonesty, including pursuit of nonexistent crimes, bribery to foreign nation-
                                                                                                         als, and overt demand that the Federal Government pursue a political agenda
                                                                                                         against me, is a concerning indictment of Jenner’s values and priorities.
                                                                                                         Sec. 2. Security Clearance Review. (a) The Attorney General, the Director
                                                                                                         of National Intelligence, and all other relevant heads of executive departments
                                                                                                         and agencies (agencies) shall immediately take steps consistent with applica-
                                                                                                         ble law to suspend any active security clearances held by individuals at
                                                                                                         Jenner pending a review of whether such clearances are consistent with
                                                                                                         the national interest.
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                                                                                                           (b) The Office of Management and Budget shall identify all Government
                                                                                                         goods, property, material, and services, including Sensitive Compartmented
                                                                                                         Information Facilities, provided for the benefit of Jenner. The heads of
                                                                                                         agencies providing such material or services shall, to the extent permitted
                                                                                                         by law, expeditiously cease such provision.
                                                                                                         Sec. 3. Contracting. (a) To prevent the transfer of taxpayer dollars to Federal
                                                                                                         contractors whose earnings subsidize, among other things, activities that
                                                                                                         are not aligned with American interests, including racial discrimination,


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                                                                  Case 1:25-cv-00716-BAH                            Document 39-4                     Filed 04/02/25          Page 600 of 734
                                                     13998                Federal Register / Vol. 90, No. 59 / Friday, March 28, 2025 / Presidential Documents

                                                                                                         Government contracting agencies shall, to the extent permissible by law,
                                                                                                         require Government contractors to disclose any business they do with Jenner
                                                                                                         and whether that business is related to the subject of the Government contract.
                                                                                                           (b) The heads of agencies shall review all contracts with Jenner or with
                                                                                                         entities that disclose doing business with Jenner under subsection (a) of
                                                                                                         this section. To the extent permitted by law, the heads of agencies shall:
                                                                                                           (i) take appropriate steps to terminate any contract, to the maximum
                                                                                                           extent permitted by applicable law, including the Federal Acquisition
                                                                                                           Regulation, for which Jenner has been hired to perform any service; and
                                                                                                           (ii) otherwise align their agency funding decisions with the interests of
                                                                                                           the citizens of the United States; with the goals and priorities of my
                                                                                                           Administration as expressed in executive actions, especially Executive
                                                                                                           Order 14147 of January 20, 2025 (Ending the Weaponization of the Federal
                                                                                                           Government); and as heads of agencies deem appropriate. Within 30 days
                                                                                                           of the date of this order, agencies shall submit to the Director of the
                                                                                                           Office of Management and Budget an assessment of contracts with Jenner
                                                                                                           or with entities that do business with Jenner effective as of the date
                                                                                                           of this order and any actions taken with respect to those contracts in
                                                                                                           accordance with this order.
                                                                                                         Sec. 4. Racial Discrimination. Nothing in this order shall be construed
                                                                                                         to limit the action authorized by section 4 of Executive Order 14230 of
                                                                                                         March 6, 2025 (Addressing Risks from Perkins Coie LLP).
                                                                                                         Sec. 5. Personnel. (a) The heads of agencies shall, to the extent permitted
                                                                                                         by law, provide guidance limiting official access from Federal Government
                                                                                                         buildings to employees of Jenner when such access would threaten the
                                                                                                         national security of or otherwise be inconsistent with the interests of the
                                                                                                         United States. In addition, the heads of agencies shall provide guidance
                                                                                                         limiting Government employees acting in their official capacity from engaging
                                                                                                         with Jenner employees, including but not limited to Andrew Weissmann,
                                                                                                         to ensure consistency with the national security and other interests of the
                                                                                                         United States.
                                                                                                           (b) Agency officials shall, to the extent permitted by law, refrain from
                                                                                                         hiring employees of Jenner, including but not limited to Andrew Weissmann,
                                                                                                         absent a waiver from the head of the agency, made in consultation with
                                                                                                         the Director of the Office of Personnel Management, that such hire will
                                                                                                         not threaten the national security of the United States.
                                                                                                         Sec. 6. General Provisions. (a) Nothing in this order shall be construed
                                                                                                         to impair or otherwise affect:
                                                                                                           (i) the authority granted by law to an executive department or agency,
                                                                                                           or the head thereof; or
                                                                                                           (ii) the functions of the Director of the Office of Management and Budget
                                                                                                           relating to budgetary, administrative, or legislative proposals.
                                                                                                           (b) This order shall be implemented consistent with applicable law and
                                                                                                         subject to the availability of appropriations.
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                                                                  Case 1:25-cv-00716-BAH                            Document 39-4                     Filed 04/02/25          Page 601 of 734
                                                                          Federal Register / Vol. 90, No. 59 / Friday, March 28, 2025 / Presidential Documents                                  13999

                                                                                                           (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                         substantive or procedural, enforceable at law or in equity by any party
                                                                                                         against the United States, its departments, agencies, or entities, its officers,
                                                                                                         employees, or agents, or any other person.




                                                                                                         THE WHITE HOUSE,
                                                                                                         March 25, 2025.


                                                     [FR Doc. 2025–05519
                                                     Filed 3–27–25; 8:45 am]
                                                     Billing code 3395–F4–P
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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 602 of 734




                  EXHIBIT 53
Case 1:25-cv-00716-BAH         Document 39-4   Filed 04/02/25   Page 603 of 734




                                               iall O
      Donald JI. Trump Posts From His Truth Soc1         Subscribe
      @TrnrnplDailyPosts

They spied o n my Campaign, lmp,eached me twi ce. had t he Russia,
Russia Hoax, t he Fake Dossier Hoax. FISA fraud, Electi on Fraud , the ~,No
Collusion" Muelller Hoax., and so much more. I was i'nnooent rn1 all
counts.. If I am elect ed, they wi 11be brought to JUSTICE. somethi ng t hat
Republi cans have al ways been afraid to do.

Donald Trum p Trut h Sociall Post 05:02 PM EST 9/ 06,/ 23


            Donald J. T'rum1
                           p
            @realDonaldTrump

   They spied 0n m1y Campaig:n,
                           1




   llmpeached me twice, had the Russia ,
   Russia Hoax, the Fake D,oss·er H,oax,
   FISA Fraud, EJection Fraud, the•"No
   C,ollusion" Mueller Hoax, andl .s,o 1
                                       much
   more,. I was innocent on all co,unts. llf I
   am electe,d,. the•y wiU be !b rought to
   JUSTICE.,. som,ething1that Rep ubHcans                 1




   ha1ve always been af'raid to ,d,o.

5:02 PM · Sep 6, 2023 · 3R5K Views
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 604 of 734




                  EXHIBIT 54
          Case 1:25-cv-00716-BAH   Document 39-4     Filed 04/02/25   Page 605 of 734

                                      The WHITE HOUSE




                                    PRESIDENTIAL ACTIONS

                            ADDRESSING RISKS FROM WILMERHALE


                                       Executive Orders

                                        March 27, 2025




By the authority vested in me as President by the Constitution and the laws of the United
States of America, it is hereby ordered:


Section
- - - - -1. -
            Background.
              -         My Administration is committed to addressing the significant
risks associated with law firms, particularly so-called “Big Law” firms, that engage in
conduct detrimental to critical American interests. Many firms take actions that
threaten public safety and national security, limit constitutional freedoms, degrade the
quality of American elections, or undermine bedrock American principles. Moreover,
law firms regularly conduct this harmful activity through their powerful pro bono
practices, earmarking hundreds of millions of their clients’ dollars for destructive causes,
that often directly or indirectly harm their own clients. Lawyers and law firms that
engage in such egregious conduct should not have access to our Nation’s secrets, nor
should such conduct be subsidized by Federal taxpayer funds or contracts.
Wilmer Cutler Pickering Hale and Dorr LLP (WilmerHale) is yet another law firm that has
abandoned the profession’s highest ideals and abused its pro bono practice to engage in
activities that undermine justice and the interests of the United States. For example,
WilmerHale engages in obvious partisan representations to achieve political ends,
supports efforts to discriminate on the basis of race, backs the obstruction of efforts to
prevent illegal aliens from committing horrific crimes and trafficking deadly drugs within
our borders, and furthers the degradation of the quality of American elections, including
          Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 606 of 734
by supporting efforts designed to enable noncitizens to vote. Moreover, WilmerHale
itself discriminates against its employees based on race and other categories prohibited
by civil rights laws, including through the use of race-based “targets.”
WilmerHale is also bent on employing lawyers who weaponize the prosecutorial power
to upend the democratic process and distort justice. For example, WilmerHale rewarded
Robert Mueller and his colleagues — Aaron Zebley, Mueller’s “top aide” and “closest
associate,” and James Quarles — by welcoming them to the firm after they wielded the
power of the Federal Government to lead one of the most partisan investigations in
American history. Mueller’s investigation epitomizes the weaponization of government,
yet WilmerHale claimed he “embodies the highest value of our firm and profession.”
Mueller’s “investigation” upended the lives of public servants in my Administration who
were summoned before “prosecutors” with the effect of interfering in their ability to
fulfill the mandates of my first term agenda. This weaponization of the justice system
must not be rewarded, let alone condoned.


Sec. 2. Security Clearance Review. (a) The Attorney General, the Director of National
Intelligence, and all other relevant heads of executive departments and agencies
(agencies) shall immediately take steps consistent with applicable law to suspend any
active security clearances held by individuals at WilmerHale, pending a review of
whether such clearances are consistent with the national interest.
(b) The Office of Management and Budget shall identify all Government goods,
property, material, and services, including Sensitive Compartmented Information
Facilities, provided for the benefit of WilmerHale. The heads of agencies providing
such material or services shall, to the extent permitted by law, expeditiously cease
such provision.


Sec. 3. Contracting. (a) To prevent the transfer of taxpayer dollars to Federal
contractors whose earnings subsidize, among other things, activities that are not aligned
with American interests, including racial discrimination, Government contracting
agencies shall, to the extent permissible by law, require Government contractors to
disclose any business they do with WilmerHale and whether that business is related to
the subject of the Government contract.
(b) The heads of agencies shall review all contracts with WilmerHale or with entities that
disclose doing business with WilmerHale under subsection (a) of this section. To the
          Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 607 of 734
extent permitted by law, the heads of agencies shall:
(i) take appropriate steps to terminate any contract, to the maximum extent permitted
by applicable law, including the Federal Acquisition Regulation, for which WilmerHale
has been hired to perform any service; and
(ii) otherwise align their agency funding decisions with the interests of the citizens of
the United States; with the goals and priorities of my Administration as expressed in
executive actions, especially Executive Order 14147 of January 20, 2025 (Ending the
Weaponization of the Federal Government); and as heads of agencies deem
appropriate. Within 30 days of the date of this order, agencies shall submit to the
Director of the Office of Management and Budget an assessment of contracts with
WilmerHale or with entities that do business with WilmerHale effective as of the date
of this order and any actions taken with respect to those contracts in accordance with
this order.


Sec. 4. Racial Discrimination. Nothing in this order shall be construed to limit the action
authorized by section 4 of Executive Order 14230 of March 6, 2025 (Addressing Risks
from Perkins Coie LLP).


Sec. 5. Personnel. (a) The heads of agencies shall, to the extent permitted by law,
provide guidance limiting official access from Federal Government buildings to
employees of WilmerHale when such access would threaten the national security of or
otherwise be inconsistent with the interests of the United States. In addition, the heads
of agencies shall provide guidance limiting Government employees acting in their
official capacity from engaging with WilmerHale employees to ensure consistency with
the national security and other interests of the United States.
(b) Agency officials shall, to the extent permitted by law, refrain from hiring employees
of WilmerHale, absent a waiver from the head of the agency, made in consultation with
the Director of the Office of Personnel Management, that such hire will not threaten the
national security of the United States.


Sec. 6. General Provisions. (a) Nothing in this order shall be construed to impair or
otherwise affect:
(i) the authority granted by law to an executive department or agency, or the head
thereof; or
          Case 1:25-cv-00716-BAH    Document 39-4      Filed 04/02/25   Page 608 of 734
(ii) the functions of the Director of the Office of Management and Budget relating to
budgetary, administrative, or legislative proposals.
(b) This order shall be implemented consistent with applicable law and subject to the
availability of appropriations.
(c) This order is not intended to, and does not, create any right or benefit, substantive
or procedural, enforceable at law or in equity by any party against the United States,
its departments, agencies, or entities, its officers, employees, or agents, or any
other person.



                DONALD J. TRUMP




THE WHITE HOUSE,
 March 27, 2025.




                                           NEWS

                                   A D M I N I S T R AT I O N

                                          I S S U ES

                                        C O N TACT

                                            VISIT

                                         G A L L E RY

                                             EO P
Case 1:25-cv-00716-BAH   Document 39-4          Filed 04/02/25   Page 609 of 734




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 610 of 734




                  EXHIBIT 55
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 611 of 734
                                                                                 1

1                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
2

3         JENNER & BLOCK LLP,
                                                           Civil Action No.
4                         Plaintiff,                       1:25-cv-0916

5                   vs.                                    Washington, DC
                                                           March 28, 2025
6         U.S. DEPARTMENT OF JUSTICE,
          et al.,
7                                                          5:51 p.m.
                      Defendants.
8         ____________________________/

9
                             TRANSCRIPT OF MOTION HEARING
10                        BEFORE THE HONORABLE JOHN D. BATES
                             UNITED STATES DISTRICT JUDGE
11

12        APPEARANCES:

13        For the Plaintiff:           MICHAEL ATTANASIO
                                         Cooley LLP
14                                       4401 Eastgate Mall
                                         San Diego, CA 92121
15

16        For the Defendants:          RICHARD LAWSON
                                         DOJ-USAO
17                                       950 Pennsylvania Avenue, NW
                                         Washington, DC 20530
18

19

20

21

22

23        Court Reporter:              JEFF HOOK
                                         Official Court Reporter
24                                       U.S. District & Bankruptcy Courts
                                         333 Constitution Avenue, NW
25                                       Washington, DC 20001
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 612 of 734
                                                                                    2

1                                P R O C E E D I N G S

2                    DEPUTY CLERK:     We are on the record in civil case

3         25-916, Jenner & Block LLP vs. U.S. Department of Justice,

4         et al.

5                    Starting with plaintiff's counsel, please approach

6         the podium and state your appearance for the record.

7                    MR. ATTANASIO:     Good evening, Your Honor.         Michael

8         Attanasio, Cooley LLP, on behalf of the plaintiff, Jenner &

9         Block.

10                   THE COURT:    Good evening.

11                   MR. LAWSON:     Good evening, Your Honor.         Richard

12        Lawson with the Department of Justice, a Deputy Associate

13        Attorney General in the Associate Attorney General's Office.

14        And if I could thank Court and counsel and staff for

15        accommodating the staggered schedule this evening.

16                   THE COURT:    Well, the schedule was a little

17        rushed, but you were a little busy as well.            We're here on

18        the motion of the plaintiff, Jenner & Block, for a temporary

19        restraining order.     It has filed papers in support of that,

20        and I've reviewed those papers, including copies of the

21        various executive orders and fact sheets -- and the

22        particular ones relevant here, and the accompanying

23        declaration.

24                   I don't want you to start from scratch and take an

25        hour given the late time that we're starting this, but I
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 613 of 734
                                                                                    3

1         want to give each side -- and I guess even more so the

2         government, a chance to say its piece.          I haven't heard yet

3         from the government.     But we'll start with Jenner & Block

4         and Mr. Attanasio.

5                    MR. ATTANASIO:     Thank you, Your Honor.         And let me

6         begin by, again, thanking the Court and the court staff for

7         staying late on this very significant matter; we greatly

8         appreciate it.

9                    I want to begin by mentioning to the Court that

10        with me tonight are the declarant that we submitted to Your

11        Honor, Thomas Perrelli -- he is the chair of the global firm

12        Jenner & Block, along with several partners and lawyers from

13        Jenner & Block.     And I'm glad they're here because of the

14        importance of this matter to their firm and to lawyers

15        everywhere, frankly.

16                   I appreciate the Court's comment regarding not

17        starting at the beginning and marching through the whole

18        exercise, which can be found in our papers, found in the

19        declaration.    Let me attempt to address two critical issues

20        that sweep across the entire landscape of the Executive

21        Order, our complaint and the temporary restraining order we

22        would ask you to enter.      And the two sweeping issues are,

23        first, that the Executive Order on its face is retaliatory;

24        and second, that the Executive Order on its face is intended

25        to have, and is having, a chilling effect on Jenner & Block,
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 614 of 734
                                                                                   4

1         its lawyers, its employees, their clients, government

2         lawyers and officials who might engage with -- to quote the

3         Executive Order, engage with Jenner & Block are all --

4                    THE COURT:    So what do you point to in the

5         Executive Order to specify that intent or purpose?

6                    MR. ATTANASIO:     I believe the Executive Order --

7                    THE COURT:    You can imply it from much of the

8         Executive Order, but what do you point to specifically that

9         expresses that intent or purpose?

10                   MR. ATTANASIO:     Yes, Your Honor.       And I'll preface

11        it by saying I don't think we have to set aside our common

12        sense in this regard, but I will point the Court

13        respectfully --

14                   THE COURT:    But I'm not a juror.        That's what

15        usually is said to a juror.

16                   MR. ATTANASIO:     Fair enough, fair enough.         I will

17        go right to Section 1.      Section 1 calls out what this is

18        about, calls out what the intent is.         It might as well have

19        a heading that says:     Assault on the viewpoints of Jenner &

20        Block and its clients; assault on the free speech rights of

21        this law firm for these reasons.        And let's look at the

22        reasons, because that will tell us the intent.

23                   The first reason stated is the firm's, what I

24        would suggest to this Court in particular -- and frankly all

25        courts I've been in, commendable pro bono activities on
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25    Page 615 of 734
                                                                                    5

1         unpopular -- sometimes unpopular causes.              It's right there

2         in Section 1.       It says:   "This is a law firm that has stood

3         for and represented clients in matters implicating LGBTQ

4         rights, and in matters impacting asylum, refugee status and

5         immigration."       It says it right here.

6                    The other thing it says, Your Honor, which I found

7         frankly incredible, is:        "Jenner engages in obvious partisan

8         representations to achieve political ends."              I want to

9         center that, and I want to make sure it's quoted with the

10        court reporter.       Quote:   "Jenner engages in obvious partisan

11        representations to achieve political ends."              That says that

12        if Jenner represents in any way, pro bono or paid, a client

13        that has a partisan or political difference with the

14        Executive, then Jenner will suffer the consequences.

15                   And then most startling, most surprisingly and

16        shockingly, the order then goes on in Section 1 to name and

17        malign a former -- emphasis on former, partner of Jenner &

18        Block named Andrew Weissmann.

19                   THE COURT:     Would this case be different if

20        Mr. Weissmann was still employed at Jenner & Block?

21                   MR. ATTANASIO:      It would not.      But his prior

22        employment, and the fact that the order later in Section 5

23        indicates that Mr. Weissmann still works for Jenner &

24        Block -- because the order says to government officials do

25        not engage with Jenner & Block attorneys; do not let them
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 616 of 734
                                                                                 6

1         into your buildings including, but not limited to, Andrew

2         Weissmann, which is both nonsensical, but more importantly,

3         more importantly, tells us what is really going on here in

4         terms of retaliation.      The President of the United States is

5         saying that if a law firm represents clients with a

6         viewpoint, if the law firm employs an attorney who once

7         worked on an investigation under the auspices of the United

8         States, fully authorized investigation, appointed Special

9         Counsel Robert Mueller by the Deputy Attorney General, then

10        that law firm will be punished.        And the law firm in this

11        case is Jenner.

12                   THE COURT:    Now, Section 1, you and I may find

13        much in Section 1 to be reprehensible.          My question for you

14        is:   What are you asking me to enjoin there?           It doesn't

15        instruct any action.     It doesn't really -- unlike some other

16        sections, it doesn't say agencies do this or agencies do

17        that.   It's just stating some viewpoints that I understand

18        why you find to be pretty distasteful.

19                   But what would I be enjoining other than enjoining

20        the President's speech on those subjects?

21                   MR. ATTANASIO:     There are --

22                   THE COURT:    What would I be doing, saying:           I

23        strike this; President, you can't say this?

24                   MR. ATTANASIO:     I understood -- I understand the

25        Court's concern on that point.        Let me address it in two
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 617 of 734
                                                                                   7

1         ways.   First, the reason there is a need to enjoin Section 1

2         is that the entire structure of the Executive Order is

3         essentially circular.       There is a direction to government

4         contracting agencies in Section 3 and all officials, all

5         agencies, in Section 5 to take certain steps, to the extent

6         consistent with national security or the interests of the

7         United States otherwise.       And in doing so, it has already

8         created the standard for that, and indeed the conclusion to

9         that question, and that is found in Section 1.             There is no

10        ability to apply Section 3 and Section 5 without reference

11        to Section 1.       And I would submit that is exactly why the

12        President set it up this way, is so that Section 3 and

13        Section 5 already have the question answered:             Just look

14        above to Section 1.

15                   The second reason, Your Honor, in addition to the

16        interplay between these sections, is that Section 1 by

17        itself is impermissible violation of Jenner & Block's First

18        Amendment rights to advocate, to engage with its clients, to

19        take clients with unpopular causes, and is the real engine

20        of the chilling effect behind the First Amendment violation.

21        Section 3 and Section 5 are the execution.

22                   THE COURT:      So if the President just gave a

23        response to a reporter's question at a press conference and

24        said exactly -- or just about what's in Section 1, but

25        didn't ask for any action by anybody, do you think that
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 618 of 734
                                                                                       8

1         would be actionable in court by Jenner & Block?

2                    MR. ATTANASIO:      Well, I don't think we'd be here

3         filing this lawsuit and seeking a TRO.

4                    THE COURT:     I think that's right, but my question

5         is would it be actionable?

6                    MR. ATTANASIO:      I suppose there could be

7         situations in which statements that are defamatory or

8         malicious and meet those standards -- which we're not here

9         about, could require action.         But I'm not here to say that,

10        and I'd want to give that some more thought.

11                   I don't -- what I am urging the Court is that you

12        can't effectively do that.       You can't strip Section 1 out of

13        this Executive Order, Sections 1 through 5, and treat it as

14        the type of statement Your Honor just suggested.              Could

15        there be an actionable case there?          I suppose.     But I want

16        to really drill in here on the interplay between the

17        sections, beginning with Section 1, and then the impact and

18        the chilling effect.      It is retaliatory intentionally.              It

19        is retaliatory to attack the viewpoints of Jenner & Block

20        and its clients.

21                   And now let me turn, if I may, to the second part

22        of the big picture items I wanted to share with the Court,

23        and that is the chilling effect.         This is not a

24        hypothetical.       This is not the future.      This is today,

25        yesterday and the day before.        Jenner has been put in a
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 619 of 734
                                                                                 9

1         position in which its attorneys are being threatened with

2         the sanction of the Executive Branch, punishment by the

3         Executive Branch because they would represent certain

4         clients.   I would like the Court to consider, as an

5         experienced lawyer and judge, the chilling effect on counsel

6         who walks on eggshells, who looks over her shoulder because

7         representation of one of these groups or some other group we

8         don't know yet would cause an executive order like this to

9         be issued against her law firm.

10                   I would like the Court to consider, and not only

11        consider, but read Mr. Perrelli's declaration at paragraphs

12        63 through 71 --

13                   THE COURT:    That chilling effect that you just

14        mentioned, does it go to Jenner attorneys or does it go to

15        other attorneys who are chilled by this Executive Order?

16                   MR. ATTANASIO:     Both, both.      And I don't want to

17        unduly rely on what is effectively a sister court of this

18        Court, but I -- because this Court will make its own

19        decision, I understand that.        But I would, in this regard,

20        just commend Your Honor to the order in the Perkins Coie

21        case in which the court said:       "These executive orders" --

22        this is quoting, "threaten to cast a chilling harm of

23        blizzard proportions across the entire legal profession."

24                   THE COURT:    I understand that, I was just trying

25        to --
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 620 of 734
                                                                                 10

1                    MR. ATTANASIO:     And that's what I thought Your

2         Honor was asking.     It is both, it is our profession -- your

3         profession, my profession, all of their professions, it is.

4         But right now, tonight, it's Jenner & Block.            They have

5         clients who don't want to work with them.            We have

6         clients --

7                    THE COURT:    So what's the specifics, just for the

8         record, in terms of the harms?        Some of the harm -- I don't

9         know whether to call it most of it or much of it or just

10        some of it, depends on something that a private third party,

11        a client might do, drop the firm.

12                   What is there specifically that takes that beyond

13        just assumptions or speculation to likelihood?

14                   MR. ATTANASIO:     Understood.      First of all, again,

15        if we just take the order on its own terms, it is intended

16        to move clients away from Jenner & Block.            The President,

17        and allies of the President, have said the goal of these

18        orders is to put firms out of business that we don't like.

19                   THE COURT:    Has the President said that?

20                   MR. ATTANASIO:     The President -- one of his --

21                   THE COURT:    I know Steve Bannon said that, but has

22        the President said that?

23                   MR. ATTANASIO:     Your Honor has certainly read the

24        papers, I appreciate that.      The President has not said it in

25        those terms.    But in dealing with this Executive Order, both
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 621 of 734
                                                                                 11

1         in announcing its signing, and prior to that when talking

2         about law firms in general, the President has said:             Law

3         firms need to behave; they're -- some of them are bad

4         actors; they need to -- and I'm paraphrasing somewhat, but

5         he said they need to behave, they need to get with it.

6                     THE COURT:   No, I think those two things have been

7         said.    Whether that comports with put them out of business;

8         maybe.

9                     MR. ATTANASIO:    Then -- and I want to have some

10        distinction between what is obvious about the order and what

11        we know is happening, but also I want to be very granular.

12        We have specifics in Mr. Perrelli's declaration at

13        paragraphs 63 through 71.      The day after the order issued, a

14        client was told by a government official:            We cannot meet

15        with you if Jenner & Block is there.         That meeting is not

16        two years from now after some guidance is issued, that

17        meeting is April 3rd.      And that government lawyer has said:

18        No meeting if Jenner's going to be there.

19                    They were fired, fired -- paragraph 64, by a pro

20        bono client who said this is -- effectively, this is too

21        hot, we're not going to be able to do that.            We have every

22        day clients, particularly those with government contracts,

23        expressing concern about their ability to continue with

24        Jenner & Block.     And so there's nothing fanciful or

25        speculative about this.      Your Honor understands this, I'm
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 622 of 734
                                                                                  12

1         confident.

2                    A paying client or a pro bono client faced with a

3         choice of selecting a law firm that is under this kind of

4         shadow and cloud, and real consequences about government

5         buildings, government lawyers, choosing that law firm -- in

6         this case Jenner, versus another law firm that somehow or

7         another has escaped that sanction, what do we think is

8         likely to happen there?        There are many good lawyers at many

9         good law firms -- there are tremendous lawyers at Jenner,

10        but there's many good lawyers at many good law firms who

11        might be a better choice in that client's mind.

12                   The other thing I'd like to just address, Your

13        Honor, is I would like to frame the idea of proportionality

14        and scrutiny of this order in the following terms.              We would

15        have an Executive Order here that says to 900 people --

16        including people in the mailroom, IT professionals, young

17        attorneys who want to be an Assistant U.S. Attorney, who

18        want to be a federal prosecutor:         You cannot be hired by the

19        federal government unless you go through a different

20        procedure than everybody else.         The door for you to be a

21        prosecutor, the door for you to be a courtroom deputy, the

22        door for you to be a U.S. Marshal, that's different than

23        anybody else.       Why?   Because you worked at Perkins Coie --

24        excuse me, excuse me, because you worked at Jenner.              That

25        cannot be how things stand in terms of the First Amendment
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25    Page 623 of 734
                                                                                  13

1         and the viewpoints that this law firm has represented.

2                    THE COURT:    Let me ask a couple of other questions

3         along similar lines.     So in one of the more important

4         operative sections that you seek to enjoin, Section 3,

5         agency heads are instructed to review all contracts with

6         Jenner, and it goes a little further than that.             But it

7         doesn't necessarily direct a particular outcome from that

8         review.

9                    Does that mean that it leaves discretion for

10        agency heads to reach whatever conclusion they feel is

11        appropriate, and does that somehow make your irreparable

12        harm less immediate and less likely?

13                   MR. ATTANASIO:     No, it does not.        First of all, it

14        does not because government contracting is a critical part

15        of Jenner's business.      And we are being told, as we've

16        proven, that we're going to lose some business in that space

17        because of this order.      But with respect to the order, if I

18        could respectfully direct the Court's attention to 3(b)(i).

19                   THE COURT:    Got it.

20                   MR. ATTANASIO:     Those heads of agencies, at the

21        end of that part -- of part B, are told:             "To the extent

22        permitted by law, the heads of agencies shall" -- not may,

23        "shall take appropriate steps to terminate any contract, to

24        the maximum extent permitted by applicable law, including

25        the FAR, for which Jenner has been hired to perform any
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25    Page 624 of 734
                                                                                        14

1         service."    That's -- as I read that, that's mandatory.

2         There's no savings there.      There's no savings when you have

3         a blatant First Amendment violation like this by saying as

4         long as it complies with applicable law.             That law is well

5         established, so there's no out there.

6                     But what this says is shall take steps to

7         terminate the contract.      Not because it's a bad contract,

8         not because it's waste, fraud and abuse, to use the phrase

9         of the day, but because Jenner worked with the client.                  The

10        client --

11                    THE COURT:   And so what about the phrase that you

12        just referred to, which appears in several locations:               "To

13        the extent permissible by law"?        Does that mean we should be

14        comfortable, and everything that's being commanded in this

15        Executive Order will be done consistent with the law?

16                    MR. ATTANASIO:    Absolutely not.        First of all,

17        when the order on its face is retaliatory and causes the

18        chilling effect I've described, it cannot be saved.              Second

19        of all, the law is clear that when you have an executive

20        order or an act and it first violates the Constitution the

21        way this does, it's not saved by a boilerplate recitation of

22        consistent with applicable law.        And so no, there's nothing

23        here that can take a blatantly unconstitutional executive

24        order and save it by a boilerplate reference back to other

25        law that we don't even know what it is.          That just cannot
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 625 of 734
                                                                                 15

1         operate and withstand constitutional scrutiny, certainly not

2         under the First Amendment.

3                    Because what is happening then, Your Honor, would

4         be a -- it would swallow itself.        You'd be saying to Jenner:

5         You violated what we think are proper activities; you've

6         represented clients we don't like, so we are going to punish

7         you, but it's only going to be consistent with law

8         otherwise.    The Supreme Court and the Constitution does not

9         allow for that kind of approach with this kind of order.

10                   THE COURT:    So on due process -- not on the right

11        to counsel aspect of due process, the Fifth and Sixth

12        Amendment argument in terms of representing clients, but in

13        terms of notice of what the Executive Branch is doing or

14        wants to do with respect to Jenner & Block, why isn't the

15        Executive Order sufficient notice?

16                   MR. ATTANASIO:     Well, the Executive Order came

17        with no notice, so -- I understand the Court's question.

18        We're here now.

19                   THE COURT:    The Executive Order itself doesn't do

20        anything, it says agencies do these things.            So why isn't

21        the Executive Order sufficient notice that this is going to

22        be happening?

23                   MR. ATTANASIO:     Because the -- what's happening in

24        terms of the punishment and the chilling effect on Jenner &

25        Block, its people and its clients is happening the second
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 626 of 734
                                                                                  16

1         this hit.    There was no opportunity to respond to what was

2         proposed in terms of immediate irreparable injury.              The

3         immediate irreparable injury will only be added to when

4         further steps are taken.       It's already happening the second

5         this came out.

6                     So the moment in time, the snapshot in time to

7         look at procedural due process was when this was issued and

8         before: Did Jenner have notice?         Did Jenner have an

9         opportunity to try to do anything about this?             And the

10        answer is no.       And then you have a sweeping, very broad --

11        overbroad set of mandates that come out of the clear blue

12        sky and, frankly, are threatening to the firm, threatening

13        to its employees, threatening to its clients without any

14        notice or process whatsoever.

15                    THE COURT:     So why don't you take a couple of

16        minutes to sort of wrap things up so I can hear from

17        Mr. Dawson (sic) on behalf of the defendants.

18                    MR. ATTANASIO:     Yes, Your Honor.       I'll wrap up

19        here:   I often tell the young lawyers in my firm that you

20        are blessed to work in a profession that's as unique -- is

21        unique.   It's unique in the sense that you represent

22        somebody -- an individual, a company, a public interest

23        organization, and you stand behind -- between, rather, you

24        stand between that client and whatever the threat is that

25        faces that client.       It could be government action, it could
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 627 of 734
                                                                                 17

1         be a civil lawsuit, it doesn't matter.          We are the only

2         profession where the client hires you to stand in front of

3         the client and defend the client against whatever threat is

4         on the horizon: economic, personal freedom, the right to do

5         certain things, the right to live your life.

6                     Unlike being a doctor, unlike being a teacher,

7         unlike anything, this Executive Order is designed to punish

8         that.    It's designed to say:      Lawyers, if the person or the

9         company or the organization you're standing in front of is

10        something that this Executive Branch does not like, we will

11        punish you.    We will punish you.      And that is not

12        constitutional, and that is not right, and this Court should

13        enjoin it with a TRO.      Thank you.

14                    THE COURT:    Thank you.    Mr. Dawson -- I'm sorry,

15        Lawson.

16                    MR. LAWSON:    Thank you, Your Honor.        So I would --

17        if the Court permits, I think a way to approach this is to

18        take each section that is, I believe, currently before the

19        Court for a TRO.     I read the order -- or the proposed order

20        in the motion as only addressing Sections 1, 3 and 5, not 2

21        and 4.

22                    THE COURT:    That's all they seek to enjoin

23        temporarily --

24                    MR. LAWSON:    Correct.

25                    THE COURT:    -- through this TRO motion.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 628 of 734
                                                                                 18

1                    MR. LAWSON:     So if we could --

2                    THE COURT:    And I believe that's consistent with

3         at least one other case.

4                    MR. LAWSON:     Correct, Your Honor, the Perkins Coie

5         matter.   And so as to Section 1, I think our argument tracks

6         many of the questions the Court asked.          This is -- it is

7         speech, it is background.      It informs the order.         It informs

8         the background for where the order comes from.            It would

9         inform the provisions that are to be acted upon.             I would --

10        as I understand plaintiff's argument, the purpose of

11        enjoining Section 1 is that it has material influence on how

12        Sections 3 and 5 would be implemented.

13                   We would submit that an order as it relates to 3

14        and 5 -- well, we would submit that there should be no

15        order, of course, but any order that addressed 3 and 5 would

16        necessarily resolve any concerns about Section 1.             I --

17                   THE COURT:    So why is that important to the

18        government?    Let's assume what you said a moment ago, that 3

19        and 5 were enjoined.     Why is it important to the government

20        that Section 1 not be enjoined?

21                   MR. LAWSON:     Because --

22                   THE COURT:    What freedom does that give you to do

23        what?

24                   MR. LAWSON:     I think it sends a very -- I think it

25        encroaches upon the speech prerogatives of the head of the
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 629 of 734
                                                                                 19

1         Executive Branch, that certain things could be said in

2         certain circumstances where the Judiciary is saying no, you

3         can't say that.     I think it's -- I think it would be

4         improper, and I think it's unnecessary.          So it's almost a

5         discretionary point that I'm making, that there is a thicket

6         over there with Section 1.      It's immaterial to any relief

7         that could be granted as to Section 3s 3 and 5.            It's

8         background, it is commentary.       It is a more formal, refined

9         version than the -- but in essence, the same as the

10        hypothetical the Court raised of a press interview where the

11        same statements would have been made.

12                   So I would just urge that there's -- it offers no

13        material relief, and it skirts into a very, very complicated

14        area as far as the speech rights of the Executive and the

15        power of the Judiciary to control that.          I don't see that

16        being necessary.     I don't think ignoring Section 1, to the

17        degree the Court is inclined to grant any relief for

18        Sections 3 and 5 --

19                   THE COURT:    But you will agree that Section 1 and

20        the observations -- I'll call them observations, made in

21        Section 1 are integral to and necessary to the order in

22        Section 3 and the order in Section 5 with respect to what

23        the federal government is going to be doing?

24                   MR. LAWSON:     I think it's fair to say --

25                   THE COURT:    Because without the basis, to the
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 630 of 734
                                                                                   20

1         extent that it is a basis, expressed in Section 1, that

2         there's no --

3                    MR. LAWSON:     I think any --

4                    THE COURT:    -- nothing to support Section 3 and

5         Section 5.

6                    MR. LAWSON:     I think any member of the Executive

7         who would be wrestling with how to implement Sections 3 or 5

8         would necessarily be resorting and looking at what was said

9         in Section 1 to guide that decision.         But again, I think for

10        the purpose -- if the Court doesn't touch one but does do

11        something for 3 and 5, I don't think there's any, any harm

12        to plaintiff that the Judiciary hasn't enjoined statements

13        from the Executive as to his feelings on this firm.             And I

14        think it probably is --

15                   THE COURT:    So let's talk about Section 1 then for

16        a second, you know, whether it's enjoined or not.             It looks

17        to me like a lot of conclusions and very little in the way

18        of specifics or facts to support those conclusions.             Would

19        you agree with that assessment?

20                   MR. LAWSON:     I --

21                   THE COURT:    Other than the specifics with respect

22        to Mr. Weissmann, there's very little --

23                   MR. LAWSON:     Well, I mean --

24                   THE COURT:    It says, okay, in this case or with

25        respect to this client or in articulating this position.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 631 of 734
                                                                                  21

1                    MR. LAWSON:     The document clearly speaks for

2         itself as far as what it's saying.         Is it an almanac of

3         specific case cites?     Clearly not.      Is it a reference to

4         numerous news articles?      I don't see that in there.         So, I

5         mean, it's -- I don't -- I'm not going to be able to sit

6         here and point to a section that says no, the Court has it

7         wrong as far as what you're seeing in there.

8                    That being said, I'm not sure it is insufficient

9         for the purpose of guiding the other sections and their

10        implementation.     I don't think there's anything improper

11        with the specificity or not in the order.            It is a

12        promulgation from the Executive, fully within his rights,

13        government speech, to --

14                   THE COURT:    So I'm left to guess to some extent

15        on, for example, what's the national security threat posed

16        by Jenner employees?

17                   MR. LAWSON:     I think that there is a concern based

18        on the former employee Mr. Weissmann's activities.

19                   THE COURT:    But he's a former employee.           You're

20        not really going to tell me now that -- perhaps your client

21        didn't know, but now that it's clear that he hasn't been

22        employed at Jenner & Block for four years, you're not going

23        to really tell me that having someone employed four years

24        ago poses some kind of national security threat?

25                   MR. LAWSON:     Not per se, no.      But to the --
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 632 of 734
                                                                                   22

1                    THE COURT:    Well, if not per se, then how?

2                    MR. LAWSON:     To the degree there were any partners

3         or any interaction with people who are still there that

4         Mr. Weissmann might have been involved with when he was

5         there previously.

6                    THE COURT:    Interaction with Mr. Weissmann,

7         what -- of course there are going to be people who had some

8         interaction with Mr. Weissmann.        Perhaps you might try to

9         make that a little more specific, because that seems a

10        little bit broad.

11                   MR. LAWSON:     Well, if I could, on that point, it's

12        not a subject of the TRO.      I guess we will revisit it later

13        on the more substantive portions in the pleadings.             But the

14        national security interests are not critical -- they are

15        relevant, but they're not --

16                   THE COURT:    But it's the basis for some of what is

17        commanded in Sections 3 and 5.

18                   MR. LAWSON:     Well, it drives Section 2.         This is

19        where I was coming from on that.        And in Section 2, there

20        are some discretionary points.        Also in Section 5, when it

21        comes to hiring, there's some discretionary points; Section

22        3 as well.    And so it's -- I think there is the opportunity

23        for an inquiry onto the national security interests of

24        any -- or jeopardization of any national security interests

25        of Jenner & Block.     So it's not unnecessarily wholesale.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 633 of 734
                                                                                 23

1                    THE COURT:    To play off of what Mr. Attanasio was

2         referring to in terms of the entire workforce of Jenner &

3         Block, what's the national security justification for

4         commanding that an IT person or the mail person or a

5         second-year associate who's only worked on banking issues

6         cannot be hired by the federal government?           What's the

7         national security or other justification for that?

8                    MR. LAWSON:     Well, I would submit that even higher

9         than the national security issue is another question of the

10        prerogative of the Executive to make those hiring decisions

11        in toto.   This is -- there is no --

12                   THE COURT:    In toto, you mean notwithstanding the

13        First Amendment?

14                   MR. LAWSON:     No, no, no --

15                   THE COURT:    Is that what in toto means?

16                   MR. LAWSON:     No, Your Honor.      What I mean by that

17        is these are hiring decisions that can be made -- it's in

18        the prerogative of the Executive to determine who to hire.

19        So it doesn't have to be driven by national security

20        interests to make a decision to or not to hire an employee.

21                   THE COURT:    But can it be driven by First

22        Amendment interests?

23                   MR. LAWSON:     Well, then we would always be --

24                   THE COURT:    Because that's what it's driven by

25        here, isn't it?
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 634 of 734
                                                                                  24

1                    MR. LAWSON:     Well, I don't think there is a

2         requirement necessarily that -- you have a -- I'm just

3         trying to imagine a situation where a prominent Democrat

4         were to seek employment within the Executive Branch of a

5         Republican administration or vice versa, there's no right to

6         that, there's no prerogative to that.          And the decision to

7         hire or not will be driven in large part by First Amendment

8         activities, you know, what is one political preference over

9         another political preference.       If that -- hopefully this has

10        answered --

11                   THE COURT:    That might be true in an individual

12        circumstance, but this is not an individual circumstance

13        because it's not tied to anything individually.            It's a

14        blanket prohibition on hiring anyone in any federal agency

15        who is associated with Jenner & Block.

16                   MR. LAWSON:     Not toto, Your Honor.        It allows for

17        individualized review; it does allow for that.

18                   THE COURT:    Individualized reviews that are

19        skewed.

20                   MR. LAWSON:     Well, it's -- there are

21        individualized reviews.      I mean, and exceptions could be

22        made.   It's not the total ban on that point.           But again, I

23        would submit to examine it within what is the true

24        prerogative of the Executive to make hiring decisions on

25        this point.    And I don't think that this order is
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 635 of 734
                                                                                  25

1         inconsistent.       I don't even -- I don't think any of the

2         provisions of Section 1 necessarily have to guide that

3         decision, whether --

4                    THE COURT:     Let's look at the scope in another

5         context.   So you get to Section 5, and it tells the agency

6         heads that they should prohibit access to federal buildings

7         when such access would threaten the national security or

8         otherwise be inconsistent with the interests of the United

9         States.

10                   Given what is said in Section 1 with respect to

11        Jenner & Block and its employees, what situation would you

12        present where agency heads would not find access to be

13        inconsistent with the interests of the United States?               I

14        mean, how would agency heads, given the Executive Order,

15        possibly say okay to a Jenner & Block employee having access

16        to a federal building?       It seems to basically say never.

17                   MR. LAWSON:      Well, I would -- on a fine point as

18        it relates to Section 5 and that, I would urge the Court's

19        direction to the fact that it is calling for guidance, that

20        the guidance has not been issued.          We have a ripeness issue.

21        And to the degree that the Court is inclined -- of course,

22        we respectfully submit you should not, but to the degree

23        that the Court is inclined to grant an order on Section 5, I

24        would urge allowance for the development of the guidance,

25        because otherwise we can't have a concrete guidance issue.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 636 of 734
                                                                                 26

1         I readily concede that there's no --

2                     THE COURT:    I can't remember, did Judge Howell

3         allow the development of that guidance?

4                     MR. LAWSON:    No, it was a total -- a total ban.

5         And we would submit that there's -- the ripeness issue is

6         kind of frozen, if you will, if you don't allow the guidance

7         to be developed.     Once we have the guidance, we know what is

8         concrete.    We know we will have solid issues to join as far

9         as what problems with access to buildings; what problems to

10        access to meeting with opposing counsel in criminal cases,

11        civil cases, government regulatory agencies; what problems,

12        if any, I should stress, exist.

13                    Right now, we just have a direction to promulgate

14        the guidance, we don't have the guidance.            If the Court

15        freezes the order, as I'm reading the proposed order in the

16        motion, that doesn't happen.        There are many issues at play

17        in interaction with counsel, interaction with federal

18        agencies --

19                    THE COURT:    No one's issued guidance yet?

20                    MR. LAWSON:    To my knowledge, no.        To my

21        knowledge, no.

22                    THE COURT:    Well, you're the fount of all

23        knowledge as far as I'm concerned, I don't have any other

24        access.

25                    MR. LAWSON:    Well, as the Court noted, I've been
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 637 of 734
                                                                                   27

1         busy.   But I do not know, and I would doubt it just given my

2         limited experience and the speed with which these happen.

3         But we -- I apologize, I somewhat lost my train of thought.

4         So the -- you know, if we can get the guidance, then we can

5         have a concrete issue on that point.         Obviously, we've --

6         this is the third case that's been filed.            The Court is not

7         unaware of the Perkins Coie and the WilmerHale and now the

8         Jenner & Block issues.      We've seen the issues that have been

9         brought up as far as being able to execute duties for

10        clients and so forth.      These points are available.

11                    The order in its way has acted as notice.           There

12        has been, through these pleadings, ways for the parties to

13        voice their concerns.      If -- once we have the guidance, if

14        the concerns are still there, then there is something to

15        join an action in this case.        There is one -- yes.

16                    THE COURT:    Back to the point that your adversary

17        made a few minutes ago looking beyond Jenner & Block to the

18        legal community at large.      Do you think that we should

19        expect there will be more executive orders like this?              The

20        Executive Order with respect to Perkins Coie was temporarily

21        enjoined.

22                    MR. LAWSON:    Yes.

23                    THE COURT:    But that didn't dissuade the President

24        from issuing executive orders with respect to Paul, Weiss,

25        Wilmer and now Jenner & Block.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 638 of 734
                                                                                  28

1                    MR. LAWSON:     I don't --

2                    THE COURT:    We should expect that more is going to

3         come, shouldn't we?

4                    MR. LAWSON:     I think it would be out of place for

5         me to represent what the White House is intending as yes or

6         no.   But I don't think I can -- there are too many double

7         negatives I was about to say.       There certainly may be more,

8         I cannot represent yes or no.       I just -- I don't know enough

9         to represent confidently on that.

10                   THE COURT:    And so -- I know I'm jumping around,

11        but that's because --

12                   MR. LAWSON:     It's the Court's pleasure.

13                   THE COURT:    So part of the position of Jenner &

14        Block, as articulated in their memorandum, is that this

15        Executive Order effectively bars their lawyers from entering

16        not just agency buildings but federal courthouses.             Do you

17        agree?

18                   MR. LAWSON:     I don't believe that -- for the

19        reasons I mentioned earlier, I do not believe this order

20        bans them from anything.      It orders guidance to agencies

21        to -- or orders --

22                   THE COURT:    Forget --

23                   MR. LAWSON:     -- and so we don't -- if we have --

24                   THE COURT:    Getting past that guidance versus

25        order point, are courthouses included?
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 639 of 734
                                                                                 29

1                    MR. LAWSON:     I don't know the formal structure.

2         It's my understanding --

3                    THE COURT:    Well, that's a problem.         It would be

4         nice if the Executive Order, and you speaking for it, knew

5         what it applied to.

6                    MR. LAWSON:     Well, I was going to --

7                    THE COURT:    That's a fairly significant point for

8         a law firm, isn't it?

9                    MR. LAWSON:     Well, yes, but I would submit my

10        understanding is that the courthouses are run by the

11        executive agency of the General Services Administration,

12        GSA.

13                   THE COURT:    For the most part, that is true.

14                   MR. LAWSON:     So if the GSA is --

15                   THE COURT:    Now that I've added to the record with

16        my own knowledge.

17                   MR. LAWSON:     Thank you.     And if -- to the degree

18        that would come into play, that the order would be bound on

19        GSA, there would be guidance on that point.            We will not

20        deny the --

21                   THE COURT:    So the U.S. Marshals would be at the

22        door, and if a Jenner & Block attorney showed up at this

23        courthouse, the U.S. Marshals would tell them to go away?

24                   MR. LAWSON:     Your Honor, it's --

25                   THE COURT:    How's that look?
     Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 640 of 734
                                                                                   30

1                     MR. LAWSON:    I would not expect the guidance to

2         read that way.      And this order is not saying it has to read

3         that way.    The order is not saying anything about access to

4         courthouses.    That is not in this order as drafted.            It is

5         guidance to limit access.      An issue that was that granular

6         and that specific, that U.S. Marshals are to exclude Jenner

7         & Block lawyers from courthouses, would be very specific,

8         very granular, and we would be before this Court within

9         moments.    And I don't even think the Court would adjust the

10        hearing from 4:00 p.m. to 5:45 to address that issue.

11                    The larger point I'm trying to make, Your Honor --

12        and I don't mean to be cute, is we don't have the

13        granularity of the guidance to know what is enjoined.               We

14        can have many issues, many examples of things that would be

15        clearly problematic that could fall within this, if you

16        wanted to look for it that way.

17                    THE COURT:    So if --

18                    MR. LAWSON:    But we won't know it for certain

19        until the guidance is issued.

20                    THE COURT:    If there's a concern that some,

21        whether they be at agencies or at courthouses or wherever,

22        wouldn't -- would take this Executive Order as requiring

23        action rather than just the development of guidance, what

24        you're asking me to do, I take it, is, okay, Judge, the

25        Executive Order we don't think says that anything has to
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 641 of 734
                                                                                 31

1         happen, so we don't care if you say nothing can happen as

2         long as you say but the guidance can continue to be

3         developed.

4                    MR. LAWSON:     I think this order -- the only action

5         called for from this order, as I'm reading it, is the

6         development of guidance.      That's it.

7                    THE COURT:    That's not -- I think you're being a

8         little cute when you say that, and I'm sorry for the term I

9         use.

10                   MR. LAWSON:     I introduced it.

11                   THE COURT:    But it doesn't just say develop

12        guidance, it says review all contracts.

13                   MR. LAWSON:     That is Section 3, Your Honor.

14                   THE COURT:    There are things other than developing

15        guidance in here.

16                   MR. LAWSON:     Section 3 is the review contracts, an

17        important distinction.      I hope, if we have time, that I can

18        address Section 3.     But as to Section 5, as to personnel and

19        buildings, as I'm reading --

20                   THE COURT:    Section 2 isn't talking about

21        guidance, it says take steps to suspend any active security

22        clearances.    Now, they may not be seeking a temporary

23        restraining order with respect to that, but to categorize

24        this Executive Order as only saying develop some guidance --

25                   MR. LAWSON:     I was only referring to Section 5,
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 642 of 734
                                                                                  32

1         Your Honor, when I made that comment.          Because the Court was

2         talking about access to building, access to meeting U.S.

3         Attorneys, access to patent officers, et cetera, et cetera.

4         So I was only talking about that.         If I could, I -- we're

5         taking --

6                     THE COURT:    Of course, Section 5 also says agency

7         officials shall refrain from hiring employees of Jenner.               It

8         doesn't say develop guidance, it says refrain from hiring

9         employees of Jenner.

10                    MR. LAWSON:    No, I will concede the point.          On

11        Section 5(b) for the hiring, that's not the guidance, but --

12                    THE COURT:    So you're only talking about guidance

13        when you're talking about Section 5(a)?

14                    MR. LAWSON:    Yes, to be granular on that point.

15        That's how I read it.      If I could to Section 3, an important

16        point on this and many of the issues that have been

17        circulating on this.      And I beg the Court's indulgence, a

18        number of pleadings have been before me today and cases, but

19        I think I've got it generally correct that some arguments

20        have been made --

21                    THE COURT:    The Department of Justice has a lot of

22        lawyers.    Why is this all on you, Mr. Lawson?

23                    MR. LAWSON:    Some of the people working with me on

24        this were not available.      And I, frankly, was supposed to be

25        in Florida, but here I am, and I'm much happier with that.
     Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25    Page 643 of 734
                                                                                         33

1         But it's --

2                    THE COURT:    I don't find that to be much of an

3         answer, but go ahead.

4                    MR. LAWSON:     Okay.    Well, the -- so as it relates

5         to Section 3, there has been some talk in a number of the

6         pleadings about sanctions and penalties.              And I would urge

7         the Court to take a look -- or to study the points we've

8         already discussed as to Section 5, individualized hiring at

9         5(b), the guidance in 5(a).         If we look at Section 3, and

10        we're talking about reviewing of the contracts, I would

11        submit that the issues regarding sanctions and penalties are

12        not applicable here.

13                   Sanctions and penalties fall within the type of

14        issues addressed in the recent Supreme Court case with Vullo

15        involving, you know, aggressive moves by a New York

16        regulatory agency against the NRA.          And then also reference

17        the older case of Bantam Books involving some censorship and

18        threatened prosecutions.      The key distinction was Section 3

19        in contracts, is that when engaged in contracting -- and

20        this is a reference to Waters v. Churchill, 511 U.S. 661.

21        The government is acting as a private party, not as a

22        sovereign.    And the significance of that is that there is a

23        very long tradition of using the procurement power to

24        advance social policy.      Yes, Your Honor?

25                   THE COURT:    I'm not sure where you're going.                The
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25    Page 644 of 734
                                                                                  34

1         government is acting as a private party and therefore the

2         First Amendment doesn't apply?

3                    MR. LAWSON:     No, where I'm coming from, Your

4         Honor, is in the order, in Section 3 and in Section 1, there

5         are references to issues such as racial discrimination and

6         diversity and that sort of thing.         And it is a

7         well-established policy -- or well-established practice

8         going back decades that the procurement power can be

9         advanced and used to advance a social policy.             One of the

10        concerns laid out in this order does relate to issues of

11        diversity.    Jenner & Block is a participant in, I believe

12        it's called, the Mansfield Certification process regarding

13        diversity issues and that sort of thing.             And so the use

14        of -- in Section 3, the reference to diversity issues,

15        racial discrimination issues, this is a plausible and

16        well-supported use of power for procurement power to advance

17        this policy.

18                   To give an example, although recently rescinded,

19        back in the '60s, Lyndon Johnson issued an EO regarding

20        affirmative action in government contracting.             There were

21        challenges to this.     One case brought a challenge, and it

22        was decided -- it's Contractors Association of Eastern

23        Pennsylvania vs. The Secretary of Labor, 442 F.2d 159, Third

24        Circuit, 1971.      Older case, but fairly early, of course, in

25        reaction to the Johnson executive order.             And the court,
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 645 of 734
                                                                                 35

1         recounting the whole history going back to Roosevelt on the

2         use of executive orders to advance social policy through

3         procurement, stated this, quote:        "No less than in the case

4         of defense procurement, it is in the interests of the United

5         States in all procurement to see that its suppliers are not

6         over the long run" --

7                    THE COURT:    Slow down for the court reporter,

8         please.

9                    MR. LAWSON:     Sorry.   "Not over the long run

10        increasing its costs and delaying its programs by excluding

11        from the labor pool available minority workmen."             And here's

12        the essential part:     "In the area of government procurement,

13        executive authority to impose nondiscrimination contract

14        provisions falls in Justice Jackson's first category" --

15        this is a reference, of course, to the Youngstown -- the

16        Court, I'm sure, knows -- Sheet.        "Falls in Justice

17        Jackson's first category, action pursuant to the express or

18        implied authorization of Congress."

19                   So I would submit that there's no general right to

20        be able to receive contractor vending.          There is great power

21        and deference given to the Executive on procurement powers

22        to advance social issues.      So I would submit -- yes, sir.

23                   THE COURT:    But you're sort of writing out of your

24        consideration the First Amendment and whether this is being

25        done in retaliation for speech.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 646 of 734
                                                                                       36

1                    MR. LAWSON:     I would submit that --

2                    THE COURT:    Does any of the law that you're

3         referring to, whether from 1971 or any other time, deal with

4         a situation where the government action in the contracting

5         field was alleged to be retaliatory for the speech of the

6         contractor or its lawyers?

7                    MR. LAWSON:     There certainly is a body of law that

8         discusses the idea of retaliation in contracting work.                 But

9         I would direct the Court's attention --

10                   THE COURT:    Do any of those cases deal with the

11        ability of the government to actually terminate contracts

12        because of the speech of the lawyers for the contractor?

13                   MR. LAWSON:     I do not recall any other cases --

14                   THE COURT:    I don't recall either, but I betcha

15        there aren't any.

16                   MR. LAWSON:     There may not be, but I know even in

17        the Umbehr case, I mean, they're quite clear in that that

18        the concerns about retaliation and contracts, that

19        doesn't -- they were quite clear that their order does

20        not -- that the order in Umbehr addressing the retaliation

21        issues for First Amendment contract retaliation doesn't

22        affect -- that order does not reach future contracts.              So

23        this could even be going on a prospective basis outside of

24        the realm of the traditional cases that undoubtedly the

25        Court is thinking of in its question.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 647 of 734
                                                                                  37

1                    But I would also direct the Court's attention to

2         the McGowan vs. Maryland case, 366 U.S. 420.            And this is a

3         case that, as I recall, involved a challenge to Maryland

4         blue laws.    There was an accusation that the closing on

5         Sundays was designed to advance a religious motive.             And the

6         court looked at it and said, you know, there is a reason to

7         make everybody rest, productivity increases and so forth.

8         So even if there was a discriminatory reason on this, if

9         there's a valid reason to support it, that covers it.              So to

10        the degree the Court is worried about First Amendment

11        retaliation as it may apply to Section 3, there is the

12        discriminatory racial aspect that I would submit covers it.

13        I would submit that the First Amendment retaliation issue

14        doesn't quite apply here, but even if the Court found that,

15        I think that these cases support that it's a procurement

16        power.

17                   And the larger point I would like to leave the

18        Court with, as it debates what to do with this, is that

19        Section 3 does not involve the exercise of sovereign power,

20        sovereign power like seen in Vullo of I will launch an

21        investigation and exact fines; or on Bantam Books, I will

22        launch investigation and look for criminal --

23                   THE COURT:    But if you're right, therefore what?

24                   MR. LAWSON:     That at the very least, that there

25        isn't enough merit at this point to grant the extraordinary
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 648 of 734
                                                                                 38

1         remedy of a temporary restraining order.

2                    THE COURT:    Because of what?

3                    MR. LAWSON:     Because Section 3 deals with

4         contracting.    And when it comes to the contracting order

5         addressing social policy, that is firmly supported on the

6         firmest grounds of Youngstown Sheet.

7                    THE COURT:    Even if --

8                    MR. LAWSON:     Partially.

9                    THE COURT:    Even if it's for First Amendment

10        retaliatory reasons?

11                   MR. LAWSON:     I read the McGowan case as saying

12        that if the Court finds that it was for retaliatory reasons,

13        but finds that one portion was valid -- and this is a

14        statute --

15                   THE COURT:    Is that retaliatory reasons under the

16        First Amendment or just retaliatory reasons not under the

17        First Amendment?

18                   MR. LAWSON:     To be clear, the McGowan case is not

19        dealing with retaliation First Amendment.

20                   THE COURT:    Why isn't the First Amendment

21        different?    You're talking about a constitutional context.

22                   MR. LAWSON:     McGowan was addressing -- well, the

23        First Amendment, but religious liberty, that provision in

24        that case.    The larger point, the larger point I think

25        that -- to derive from McGowan is that the Court was
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 649 of 734
                                                                                   39

1         examining a statute talking about thou shalt be closed on

2         Sunday.   And they said even if there was a discriminatory

3         reason, there is a legitimate reason and we're going to

4         sustain it.

5                     This is an EO.    As it addresses procurement --

6         Section 3 is procurement, the firmest possible grounds as

7         referenced by the Contractors Association case, firmest

8         possible grounds.     So that's what I would say as to Section

9         3.   I think we have discussed Section 5 and then also

10        Section 1.    So I think the key points I'd like to -- I'd

11        wanted to raise I have.      I don't know if the Court has --

12                    THE COURT:    I'll thank you and I'll give --

13                    MR. LAWSON:    Thank you, Your Honor.

14                    THE COURT:    -- your adversary just a few minutes,

15        very few.

16                    MR. ATTANASIO:    I appreciate that.        Let me

17        first -- I'm going to address, I think, four points.              Let me

18        first take up this point about guidance in Section 5.              And I

19        think it's important to look at the word that follows the

20        word guidance in that section.        It appears in two places:

21        guidance relating to access to federal buildings, guidance

22        relating to engagement with government officials.             The word

23        that follows in both cases is limiting: guidance limiting

24        official access from federal government buildings; guidance

25        limiting government employees acting in their official
     Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 650 of 734
                                                                                    40

1         capacity from engaging with Jenner employees including, but

2         not limited to, Andrew Weissmann, who doesn't work for

3         Jenner.

4                     It doesn't say expanding.        It doesn't say leave

5         neutral.    It doesn't say guidance that would treat Perkins

6         Coie and Jenner & Block like every other law firm in America

7         despite their speech, it says guidance limiting.              That

8         itself is the penalty.      That itself is what clients are

9         looking at and clients are saying, gee, I can hire a lawyer

10        that is not awaiting guidance that is likely to bar or limit

11        it from federal buildings or engaging with federal officials

12        or I can hire another firm.         So that's guidance, Your Honor.

13                    The second point is I don't like to engage in

14        hyperbole, but I'm astounded by some of what I heard, and

15        Your Honor was getting right at it.          Of course there is

16        discretion in the Executive on hiring decisions.              Of course

17        there is discretion in the Executive for contracting

18        decisions.    The discretion does not extend to doing things

19        to people, citizens because of their race, because of their

20        gender, because of their speech, their First Amendment

21        speech.    And for government counsel of the United States

22        Department of Justice to say that the Executive has the

23        discretion to make those decisions about hiring, about

24        access to buildings, about government contracts, and just

25        sort of casually allow it to stand that those decisions
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 651 of 734
                                                                                   41

1         could be based on retaliation because of First Amendment

2         speech, I think, answers everything Your Honor needs to know

3         in granting this order.

4                    The third point is I think we can all agree the

5         transcript will be excellent, I'm sure, but what we heard

6         under Your Honor's questioning is that the Department of

7         Justice concedes there is no national security implications

8         here for the employees of Jenner & Block.            Your Honor

9         pressed on that.     The answer is clear, the transcript will

10        show it, there was no stated national security risk.              The

11        whole point of this Executive Order was supposed to be

12        national security risk.      It's as obvious a pretext as the

13        seal over Your Honor's head, but we just heard that.              That's

14        what's most interesting.

15                   Fourth, and finally, I'll end effectively where

16        Your Honor and I started, and that is Section 1.             Section 1

17        is critical.    It is the engine that moves the car.           It is

18        the engine and the wheels of this car, the car being this

19        whole Executive Order.      That is what Your Honor should put

20        an end to, along with Sections 3 and 5.          But I want to -- I

21        do want to be surgical here, and I would respectfully direct

22        the Court to our proposed order.

23                   The order does not say restrain anybody from

24        saying these things.     The order says restrain the Executive

25        from using Section 1 to direct agencies to implement
     Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25   Page 652 of 734
                                                                                    42

1         anything, to do anything, to engage or communicate with

2         Jenner & Block or its clients based on Section 1.              So it is

3         meant to enjoin a specific utilization of Section 1 in

4         Sections 3 and 5, which we clearly see.           And that is

5         appropriate.    That is not restraining speech, that is

6         restraining execution of the vision of the President in this

7         Executive Order to punish Jenner for its speech.              Section 1

8         is the engine and the wheels of the car that do that, so we

9         would ask Your Honor to enjoin that, too.             Thank you.

10                    THE COURT:   All right, thank you.          We're going to

11        take a five-minute break, then I'm going to come back and

12        I'll issue an oral opinion.         But we're going to have a

13        five-minute break first.

14              (Recess taken at 6:54 p.m.)

15              (Proceedings resumed at 7:08 p.m.)

16                    THE COURT:   Before I forget, my thanks to staff

17        who are here today, court reporter and deputy clerk, for

18        staying to this late hour to deal with this matter.              And

19        we're here today because of an executive order, Executive

20        Order 14246, issued a couple of days ago, March 25th, 2025.

21        Its title is Addressing Risks from Jenner & Block, very

22        specific.    And this is one of several executive orders that

23        President Trump has issued over the course of this month

24        directing the federal government to target specific

25        prominent law firms for special -- that's not necessarily a
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 653 of 734
                                                                                 43

1         good term, treatment from the Executive Branch.            And it

2         follows Executive Order 14230 dealing with Perkins Coie and

3         Executive Order 14237 dealing with Paul, Weiss.            And then

4         there also is Executive Order -- an executive order dealing

5         with WilmerHale issued yesterday, I guess.

6                    So in short, this Executive Order identifies a

7         series of so called risks that the President has assessed

8         that Jenner & Block poses to the federal government and to

9         the American people, and requires the federal government to

10        take steps to either terminate, restrict or reevaluate

11        aspects of the relationship that the federal government has

12        with Jenner & Block.     And I'll use the term Jenner from here

13        on out.

14                   Today, Jenner filed a complaint and a motion for a

15        temporary restraining order seeking to immediately enjoin

16        the government from enforcing Sections 1, 3 and 5 of the

17        six-part Executive Order.      The Court scheduled this hearing,

18        and I appreciate everybody being available for it.             I'm

19        going to briefly address the three sections of the Executive

20        Order that Jenner seeks to enjoin.

21                   Section 1 explains the so called risks that

22        President Trump has identified from Jenner.            The risks

23        derive directly from Jenner's choice of clients and causes

24        to represent and attorneys to associate with.            First, the

25        order claims that the firm has abandoned the legal
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 654 of 734
                                                                                  44

1         profession's highest ideals, condoned partisan lawfare, and

2         abused its pro bono practice to engage in activities that

3         undermine justice and the interests of the United States.

4         Jenner also allegedly "engages in obvious partisan

5         representations to achieve political ends, supports attacks

6         against women and children based on a refusal to accept the

7         biological reality of sex, and backs the obstruction of

8         efforts to prevent illegal aliens from committing horrific

9         crimes and trafficking deadly drugs within our borders."

10        And I'm quoting provisions here.

11                   The order further contends that:          "Jenner

12        discriminates against its employees based on race and other

13        categories prohibited by civil rights laws, including

14        through the use of race-based targets."          Finally, the order

15        expresses President Trump's concern about Jenner's value and

16        priorities based on the firm's hiring of Andrew Weissmann,

17        an individual who worked on the Mueller investigation back

18        in 2016 and years after that, and who has been critical of

19        President Trump.     No further specifics or factual support

20        for these conclusory assertions is provided.            While Section

21        1 does not independently direct any action, it does serve as

22        the basis for the operative sections, Sections 3 and 5 in

23        particular, and is thus critical to their enforcement.

24                   Section 3 imposes obligations on government

25        agencies related to government contracts associated with
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 655 of 734
                                                                                 45

1         Jenner.    As the White House succinctly summarized in its

2         fact sheet that accompanies the Executive Order:             "The

3         federal government will terminate contracts that involve

4         Jenner."    And not only contracts directly involving Jenner,

5         but it will also assess contracts with entities that do

6         business with Jenner.

7                     Section 5 requires agency heads to provide

8         guidance broadly limiting agency contact with and access for

9         Jenner employees.     Agency heads must, to the extent

10        permitted by law -- and that phrase is frequently placed in

11        the Executive Order, "provide guidance limiting official

12        access from federal government buildings to employees of

13        Jenner when such access would threaten the national security

14        of or otherwise be inconsistent with the interests of the

15        United States."     And, "provide guidance limiting government

16        employees acting in their official capacity from engaging

17        with Jenner employees, including but not limited to Andrew

18        Weissmann, to ensure consistency with the national security

19        and other interests of the United States."

20                    Finally, "Agency officials shall, to the extent

21        permitted by law, refrain from hiring employees of Jenner,

22        including but not limited to Andrew Weissmann, absent a

23        waiver from the head of the agency, made in consultation

24        with the Director of the Office of Personnel Management," a

25        waiver "that such hire will not threaten the national
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 656 of 734
                                                                                 46

1         security of the United States."        Now, upon inquiry, there

2         was no satisfaction for this Court in the responses of

3         government counsel as to what the national security

4         interests were, for example, in not hiring any employee of

5         Jenner into the federal government.

6                    In any event, we're here on a TRO.           To secure a

7         TRO, the movant must establish a likelihood of success on

8         the merits, show irreparable harm in the absence of

9         preliminary relief, demonstrate that the equities favor

10        issuing an injunction, and persuade the Court that an

11        injunction is in the public interest.          Citation, Trump vs.

12        Thompson, 20 F.4th 10, jump cite 31, D.C. Circuit, 2021.

13        Where, as here, the government is the defendant, factors

14        three and four often merge.

15                   In my view, Jenner has satisfied each factor for a

16        temporary restraining order.        As to likelihood of success on

17        the merits, the Court determines that plaintiffs are likely

18        to succeed on the merits of at least two of their claims,

19        and perhaps as well a third.        This does not indicate that

20        its other claims lack merit.        The Court limits itself to

21        these two claims primarily in the interest of time, because

22        they are sufficient to support the relief plaintiffs seek.

23                   The first claim Jenner is likely to succeed on is

24        its claim that the Executive Order retaliates against it for

25        its protected speech in violation of the First Amendment.
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 657 of 734
                                                                                  47

1         Official reprisal for protected speech offends the

2         Constitution because it threatens to inhibit exercise of the

3         protected right.       And the law is settled that, as a general

4         matter, the First Amendment prohibits government officials

5         from subjecting an individual to retaliatory actions for

6         protected speech; Hartman vs. Moore, 547 U.S. 250, jump cite

7         256, 2006.    As well, that is true for the individuals

8         associations.       See Rutan vs. Republican Party of Illinois,

9         497 U.S. 62, jump cite 75, 1990.

10                   Here, the Executive Order explicitly targets

11        Jenner because of the speech the firm engages in and the

12        viewpoints it represents in litigation; namely, its actions

13        against the federal government, and its litigation in

14        support of transgender individuals and undocumented

15        immigrants.    The Executive Order also targets the firm

16        because it once employed -- in other words, it was

17        associated with, Andrew Weissmann.          As a judge in this

18        district said in regard to a similar executive order against

19        another law firm, the speech and viewpoints for which Jenner

20        is targeted fall squarely within the protections of the

21        First Amendment; a transcript of the hearing before Judge

22        Howell in the Perkins Coie matter at 76, lines 24 to 25.

23                   And the Executive Order gives no reason specific

24        to Jenner for the restrictions it places on the firm besides

25        the speech or its former -- that it or its former partner
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 658 of 734
                                                                                 48

1         has engaged in.     The fact that the Executive Order facially

2         retaliates against Jenner because of its speech and

3         association is sufficient to show that the firm is likely to

4         succeed on the merits of the First Amendment retaliation

5         claim.

6                     For similar reasons, the Court determines that

7         Jenner is likely to succeed on the merits of its claim that

8         the Executive Order constitutes unconstitutional viewpoint

9         discrimination.     Of all the content discrimination the First

10        Amendment covers, viewpoint discrimination is particularly

11        egregious; Vidal vs. Elster, 602 U.S. 286, jump cite 293,

12        2024.    A regulation or sanction discriminates based on

13        viewpoint if it targets not merely a subject matter but

14        particular views taken by speakers on the subject; citation

15        to id.   Such regulations are, as the D.C. Circuit has put

16        it, poison, and in cases such as this one, can only survive

17        if they survive strict scrutiny.        See Frederick Douglass

18        Foundation, Inc. vs. District of Columbia, 82 F.4th 1122,

19        jump cite 1141, D.C. Circuit 2023.

20                    Little need be said to show why the Executive

21        Order places restrictions on Jenner based on the particular

22        views the firm has taken.      Indeed, all that need be said is

23        said by the Executive Order itself: Jenner supports attacks

24        against women and children based on a refusal to accept the

25        biological reality of sex, and backs the obstruction of
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 659 of 734
                                                                                   49

1         efforts to prevent illegal aliens from committing crimes.

2         All, I might add, by its litigation positions in court.                And

3         that's from Executive Order, Section 1.          These are the

4         reasons the Executive Order gives for its sanctions against

5         Jenner, and they are viewpoints.

6                     There is no cogent argument that these

7         viewpoint-based sanctions are likely to pass strict

8         scrutiny.    To satisfy strict scrutiny, the government must

9         demonstrate that a speech restriction serves a compelling

10        government interest and is narrowly tailored to further that

11        interest; citation to the TikTok case v. Garland, 122 F.4th

12        930, jump cite 952, D.C. Circuit 2024.

13                    The Executive Order gives lip service to the

14        interests of public safety and national security and

15        protecting constitutional rights and bedrock American

16        principles.    Even if the Court were to somehow conclude that

17        Jenner's representation of transgender individuals and

18        undocumented immigrants threatens public safety, national

19        security and the like, its sanctions imposed by Sections 3

20        and 5 sweep far too broadly.        Section 3 requires government

21        contractors to disclose any contracts with Jenner and agency

22        heads to cancel those contracts, completely divorced from

23        the subject matter of the contracts or how they impact the

24        firm's representations deemed problematic in Section 1 of

25        the Executive Order.
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 660 of 734
                                                                                        50

1                    Section 5 then limits the access of every Jenner

2         employee -- not just those associated with certain

3         litigation or actions, limits their access to federal

4         government buildings and federal employees.             A limit placed

5         on everyone, from managing partners to office staff, as a

6         result of a subset of cases the firm has taken on cannot be

7         said to be narrowly tailored.        Surely there are less

8         restrictive alternatives that would accomplish the

9         government's goal, even if that goal were appropriate.                  See

10        TikTok, 122 F.4th 952.

11                   The Supreme Court has said time and again that the

12        public expression of ideas may not be prohibited merely

13        because the ideas are themselves offensive to some of their

14        hearers; Matal vs. Tam, 582 U.S. 218, jump cite 244, a 2017

15        case.   And those hearers include the Trump administration.

16        Thus, this Court concludes that plaintiffs are likely to

17        succeed on the merits of their claim that the Executive

18        Order unconstitutionally discriminates based on viewpoint.

19                   Now, the third reason I'll refer to only briefly.

20        The First Amendment harms the Executive Order inflicts are

21        magnified by its additional Fifth and Sixth Amendment

22        deficiencies.       Together, these amendments reflect and

23        protect the essential role that lawyers play in our polity.

24        The Sixth Amendment guarantees criminal defendants the right

25        to the effective assistance of counsel, and the Fifth
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25    Page 661 of 734
                                                                                   51

1         Amendment's Due Process Clause affords certain protections

2         to civil litigants' access to lawyers.          By arguing that

3         Jenner -- by targeting Jenner for its activities in both

4         realms, the Executive Order likely offends the Fifth and

5         Sixth Amendments in addition to the First Amendment.

6                    With respect to irreparable harm, of course,

7         simple likelihood of success on the merits is not enough.

8         Jenner must also show irreparable harm.          Jenner has shown

9         that absent a TRO it will likely suffer irreparable harm in

10        at least two ways.     First, Jenner will likely suffer

11        irreparable economic harm because of the Executive Order.

12        In this circuit, it is well settled that economic loss does

13        not in and of itself constitute irreparable harm.              The

14        Wisconsin Gas Company vs. FERC case, 758 F.2d 669, jump cite

15        674, D.C. Circuit 1985, stands for that proposition.               But

16        economic loss can constitute irreparable harm where the loss

17        threatens the very existence of the movant's business; id.,

18        citation to the same case at same place.             Considering the

19        firm-wide effects of the Executive Order, it threatens the

20        existence of the firm.

21                   Let's start with Section 3 which requires federal

22        contractors to disclose business they do with Jenner, and

23        directs agencies to cancel any contract they have with

24        Jenner.   Jenner's firm chair, Thomas Perrelli, explains that

25        for the past five years, about 40 percent of the firm's
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 662 of 734
                                                                                 52

1         revenue came from clients who are government contractors.

2         Since the Executive Order was issued, numerous federal

3         contractor clients of the firm have expressed concerns about

4         government mandated disclosure of their relationship with

5         Jenner, and are thus nervous about their relationship with

6         the firm.    These fears make it likely that the firm could

7         lose their federal contractor business or even a portion of

8         it, which amounts to a serious threat to the firm's

9         financial health.     And that does not take account of the

10        loss from the cancellation of Jenner's own government

11        contracts, which the facts sheet confirms will occur.

12                    Section 5, meanwhile, threatens a vast swath of

13        the firm's other business.      The Executive Order's directive

14        to limit official access from government buildings to

15        employees of Jenner can be read to extend to federal

16        courthouses and administrative agency buildings, and

17        certainly nothing said in this hearing or the language of

18        the Executive Order would indicate otherwise.            Jenner,

19        however, has around 540 active matters pending before

20        federal courts and numerous matters before agencies that

21        require access to federal government buildings and

22        officials; Perrelli declaration, paragraph 64.            Some of

23        those clients have already expressed concern that Jenner

24        cannot represent them; citation to the same paragraph.

25        This, combined with the imminent loss of federal contractor
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25    Page 663 of 734
                                                                                  53

1         business, could be a death knell for Jenner's financials.

2                    Additionally, while it's not alone dispositive, it

3         is relevant that the defendants here are shielded by

4         sovereign immunity.     That doesn't mean that any economic

5         loss is necessarily enough to establish irreparable harm,

6         but it does weigh in favor of a showing of irreparable harm

7         because what is lost is likely lost forever.             See, for

8         example, Cardinal Health, Inc. vs. Holder, 846 F.Supp.2d

9         203, jump cite 211, D.D.C. 2012.

10                   Second, and even more simply, Jenner is suffering

11        irreparable harm because the order likely impinges on the

12        firm's First Amendment rights.        Although not the case for

13        all constitutional rights, the D.C. Circuit has said that

14        the loss of First Amendment freedoms for even minimal

15        periods of time unquestionably constitutes irreparable

16        injury; Pursuing America's Greatness vs. Federal Election

17        Commission, 831 F.3d 500, jump cite 511, D.C. Circuit 2016.

18        As explained already, the Court determines that it is likely

19        that the Executive Order is depriving Jenner of its First

20        Amendment freedoms in a significant way.             The firm is,

21        therefore, suffering irreparable harm.

22                   Now, the last two factors are the balance of

23        equities and the public interest.         Where the movant seeks to

24        enjoin the government, the final two factors tend to merge.

25        Here, these clearly favor issuing the TRO.            Section 1 of the
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 664 of 734
                                                                                 54

1         Executive Order targets Jenner in part based on the

2         identities of its clients, such as its pro bono

3         representation of transgender individuals and immigrants.

4         Our legal system relies on lawyers who advocate zealously

5         for all clients.     If law firms are targeted by and thus

6         chilled from representing some of the most vulnerable

7         individuals and social groups, particularly through pro bono

8         work, then it is those individuals who will suffer the

9         greatest harm.      As such, it is emphatically in the public

10        interest to temporarily enjoin the Executive Order.

11                   And I will note that the reference in the

12        Executive Order, Section 1 to pro bono practice is

13        disturbing where it says:      "Law firms regularly conduct this

14        harmful activity through their powerful pro bono practices,"

15        effectively condemning pro bono practice by Jenner or other

16        large firms.    That is troubling to the Court.          The Court

17        does not take lightly the power to enjoin the Executive

18        Branch, but the government has not made any persuasive case

19        that the public interests will be harmed by a temporary halt

20        to the enforcement of this plainly speech-based Executive

21        Order.

22                   By contrast, Jenner seeks refuge from serious and

23        irreparable harm, both to its constitutional rights and to

24        its pocketbook.     And the public interest extends beyond

25        Jenner.   The legal profession as a whole is watching and
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 665 of 734
                                                                                 55

1         wondering whether its courtroom activities, in the best

2         tradition of lawyering, will cause the federal government to

3         turn its unwanted attention to them next.            In these

4         circumstances, a temporary restraining order is very well

5         warranted at this time.

6                    Now, the order that I'm going to issue is a

7         written order.      I'll make that available in a moment to you,

8         but I'll go ahead and read it.

9                    It is ordered that the motion for a temporary

10        restraining order is granted; and it is further ordered that

11        the defendants are enjoined from implementing or enforcing

12        Sections 3 and 5 of the President's March 5, 2025 Executive

13        Order entitled Addressing Risks from Jenner & Block.

14                   It is further ordered that defendants are enjoined

15        from using the statements laid out in Section 1 of the

16        Executive Order in any interactions with plaintiff or

17        plaintiff's clients or employee of plaintiff or plaintiff's

18        clients.

19                   It is further ordered that defendants are directed

20        to suspend and rescind all guidance or other direction

21        provided to their officers, staff, employees or contractors

22        to communicate, effectuate, implement or enforce Sections 1,

23        3 and 5 of the Executive Order.

24                   It is further ordered that defendants are directed

25        immediately to issue guidance to their officers, staff,
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 666 of 734
                                                                                 56

1         employees and contractors to disregard Sections 1, 3 and 5

2         of the Executive Order, and to carry on their ordinary

3         course of business absent these sections of the Executive

4         Order.

5                    It is further ordered that defendants are directed

6         immediately to, first, communicate to every recipient of a

7         request for disclosure of any relationship with Jenner &

8         Block or any person associated with the firm, made pursuant

9         to Section 3(a) of the Executive Order, that such request is

10        rescinded until further order of the Court; and secondly,

11        cease making such requests for disclosure pursuant to

12        Section 3(a) of the Executive Order until further order of

13        the Court.

14                   It is further ordered that defendants must, in

15        good faith, take such other steps as are necessary to

16        prevent the enforcement or implementation of Sections 3 and

17        5 of the Executive Order during the effective period of this

18        order.

19                   It is further ordered that Defendants U.S.

20        Department of Justice, Pamela Bondi, in her official

21        capacity as U.S. Attorney General; the Office of Management

22        and Budget and Russell Vought, in his official capacity as

23        director of the Office of Management and Budget, must

24        additionally immediately issue guidance to all other

25        agencies subject to the Executive Order to suspend and
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 667 of 734
                                                                                 57

1         rescind any implementation or enforcement of Sections 3 and

2         5 of the Executive Order, as well as any use of or reliance

3         on the statements in Section 1 of the order.

4                     It is further ordered that defendants must file a

5         status report by 12:00 p.m. on Monday, March 31st describing

6         the steps taken to ensure compliance with this order, and

7         certifying compliance with its requirements.

8                     And it is further ordered that this order shall

9         remain in effect until further order of the Court.             It is so

10        ordered.

11                    So I will get signed copies of this order out to

12        you in two minutes, but that is the ruling of the Court as

13        explained.    And with that, I believe we are done late this

14        evening.

15                    Is there anything that either side wishes --

16        you're both poised to jump up.        We'll listen to the

17        plaintiffs first.

18                    MR. ATTANASIO:    Your Honor, we would propose to

19        report back to the Court on Monday after conferring with

20        government counsel on a scheduling order for the balance of

21        the case.    In the Perkins Coie case, the parties are going

22        directly to dispositive motions, summary judgment, so on.

23                    THE COURT:   I will welcome that proposal with

24        respect to schedule.

25                    MR. ATTANASIO:    Thank you.
     Case 1:25-cv-00716-BAH   Document 39-4    Filed 04/02/25    Page 668 of 734
                                                                                       58

1                    THE COURT:    Mindful of the fact that this is a

2         temporary restraining order.

3                    MR. ATTANASIO:     Yes.

4                    THE COURT:    But certainly if you consult and

5         propose something, that will be welcome.

6                    MR. ATTANASIO:     Thank you, Your Honor.           We would

7         like to go quickly, and we are prepared to even go on the --

8         on Judge Howell's schedule with respect to Perkins Coie, but

9         we'll discuss with government counsel.

10                   THE COURT:    I appreciate that.           Mr. Lawson.

11                   MR. LAWSON:     Can I have a moment with counsel and

12        then address the Court?

13                   THE COURT:    You may.

14              (Discussion off the record)

15                   THE COURT:    Yes, Mr. Lawson.

16                   MR. LAWSON:     The -- there are some logistics

17        issues for the noon Monday deadline.          I had one request.         I

18        believe there is an objection --

19                   THE COURT:    That's because you're supposed to be

20        in Florida or something like that?

21                   MR. LAWSON:     Well, I'm -- there's a lot going on.

22        There was one -- the second to last provision, the direct --

23        the guidance from Bondi and Vought and those agencies, that

24        involves a great deal more technical approval processes.

25                   THE COURT:    I understand that.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 669 of 734
                                                                                 59

1                    MR. LAWSON:     I believe counsel has an objection.

2         I would ask the Court if it could just direct the defendants

3         to do that exact same language.        For the defendants writ

4         large, it's just logistically easier.          That's the ask.

5                    THE COURT:    I'm not dictating what the report by

6         noon on Monday will say.      And if it's something that both

7         sides agree to, it's probably going to be all right with me.

8         But in any event, whatever the representations are, make

9         them.   And I'm a reasonable person, I understand that there

10        are limitations in what can be accomplished in a limited

11        amount of time.

12                   MR. LAWSON:     Thank you, Your Honor.

13                   THE COURT:    All right.     With that, I thank

14        everyone for their patience, particularly those sitting in

15        front of me.    We'll bring out signed copies of that order

16        momentarily.    Have a good evening and a good weekend.

17              (Proceedings adjourned at 7:35 p.m.)

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     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 670 of 734
                                                                                  60

 1                                C E R T I F I C A T E

 2

 3                            I, Jeff M. Hook, Official Court Reporter,

 4        certify that the foregoing is a true and correct transcript

 5        of the record of proceedings in the above-entit led matter .

 6

 7

 8

 9              Marc h 31 , 2025

10                    DATE                                 Jeff M. Hook

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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 671 of 734




                  EXHIBIT 56
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 672 of 734




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


  WILMER CUTLER LLP,                 )
                                     )
            Plaintiff,               )
                                     )            CA No. 25-917
                                     )            Washington, D.C.
        vs.                          )            March 28, 2025
                                     )            4:30 p.m.
  EXECUTIVE OFFICE                   )
  OF THE PRESIDENT, ET AL.,          )
                                     )
            Defendants.              )
  ___________________________________)


          TRANSCRIPT OF MOTION HEARING ON TRO PROCEEDINGS
                BEFORE THE HONORABLE RICHARD J. LEON
                 UNITED STATES SENIOR DISTRICT JUDGE

  APPEARANCES:

  For the Plaintiff:                 Paul Clement
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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 673 of 734




  APPEARANCES CONTINUED:

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  Proceedings recorded by mechanical stenography; transcript
  produced by computer-aided transcription
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 674 of 734

                                                                                 3

1                             P R O C E E D I N G S

2                  COURTROOM DEPUTY:     All rise.     The United States

3      District Court for the District of Columbia is now in

4      session, the Honorable Richard J. Leon presiding.             God save

5      the United States and this Honorable Court.             Please be

6      seated and come to order.

7                  We're on the record in Civil Action 25-917,

8      Wilmer Cutler, Pickering, Hall and Dorr, LLP, versus

9      Executive Office of the President, et al.

10                 Starting with plaintiff's counsel, please approach

11     the podium and state your appearance for the record.

12                 MR. CLEMENT:    Good afternoon, Your Honor.

13                 Paul Clement from Clement & Murphy.

14                 THE COURT:    Welcome.

15                 MR. CLEMENT:    Thank you.

16                 Would you like to me introduce my co-counsel or

17     have her --

18                 THE COURT:    Sure.   She's well-known.

19                 MR. CLEMENT:    Okay.

20                 Well, I'll introduce my co-counsel, Erin Murphy,

21     of Clement & Murphy as well.

22                 THE COURT:    Okay.   Welcome.

23                 MR. LAWSON:    Good afternoon, Your Honor.

24                 Richard Lawson with the Department of Justice.

25
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 675 of 734

                                                                                 4

1                  THE COURT:    Whereabouts in the Department of

2      Justice?

3                  MR. LAWSON:    Deputy Associate Attorney General.

4                  Deputy Associate Attorney General's Office.

5                  THE COURT:    Okay.

6                  Well, Mr. Clement, TRO world, moving party goes

7      first.    You have 15 minutes, five minutes for rebuttal,

8      all right?

9                  You have a baby in the room?

10                 AUDIENCE MEMBER:      Yes, I can move her out.

11                 THE COURT:    We're not going to have interference

12     from a baby.

13                 Go ahead, sir.

14                 MR. CLEMENT:    Thank you, Your Honor, and may it

15     please the Court.

16                 As I mentioned, accompanied with my co-counsel,

17     Erin Murphy, and a number of the members of my client firm.

18                 As Your Honor stated, we're here on a TRO, and

19     because of that, I want to sort of get to the various TRO

20     factors.

21                 I'll just start with the idea, though, that

22     I think this case and the case that'll be argued in front of

23     Judge Bates in a few minutes and the case that was argued

24     earlier in front of Judge Howell are some of the most

25     important cases for the First Amendment and the rule of law.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 676 of 734

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1                  And this is a TRO.

2                  We'll eventually get to the stage of a PI or some

3      other point where I will look forward to arguing all of the

4      various issues in depth.

5                  But at this stage, the questions are obviously,

6      is there a likelihood of success, is there irreparable

7      injury, and then the balance of the equities.

8                  THE COURT:    Well, let's start with irreparable

9      harm.

10                 MR. CLEMENT:    Sure.

11                 THE COURT:    It's too speculative at this point

12     because of all the clauses that are stuck in this Executive

13     Order of, consistent with the law, consistent with national

14     interest, that shall do this, thus-and-thus, as long as it's

15     consistent with the law, consistent with the national

16     interest, all of those qualifiers, which, of course, the

17     hurdles haven't been jumped yet, this has just been issued,

18     right?

19                 MR. CLEMENT:    It's just been issued, but it was

20     issued by the President with the intention that it would

21     have immediate effect.

22                 Security clearances are being suspended, and

23     there'll be a process later to see if we've suspended the

24     right security clearances.       So this was decidedly by the

25     President intended to have immediate effect.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 677 of 734

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1                  And, of course, in the First Amendment context,

2      the chilling effect has been immediate.

3                  And the effect on my clients, the effects on them

4      in dealing with their own clients, the effects in dealing

5      with the government.

6                  For example, my clients have already had two

7      meetings with agencies that were supposed to take place

8      today; were canceled at the last minute.           So there's no --

9      well, we'll cancel it if it's consistent with law, because

10     if they had done that check, they wouldn't have canceled the

11     meeting, because it's not consistent with the law.

12                 THE COURT:    Right.

13                 MR. CLEMENT:    I think in thinking about the

14     irreparable injury and this issue in particular, I think you

15     obviously have to approach it with an ounce of common sense.

16                 And, you know, if, in fact -- because if it's

17     consistent with law clauses, this Executive Order had no

18     actual effect because it's all inconsistent with the First

19     Amendment and it's all inconsistent with the separation of

20     powers, et cetera, et cetera, there would be nobody more

21     disappointed to learn that than the President of the

22     United States.

23                 When the President of the United States signed

24     that Executive Order, he thought it was having immediate

25     effect and he wanted it to have immediate effect and it has
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 678 of 734

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1      had an immediate effect.

2                  Then you can look at -- I mean, obviously,

3      Judge Howell considered irreparable injury and found

4      irreparable injury.

5                  Since she's issued her orders, we've seen the

6      effects that it's had on our firm.

7                  But, frankly, we've also seen the effects that it

8      had on Paul, Weiss.      And I think we can take notice of the

9      fact that Paul, Weiss did not, essentially, comply and make

10     a deal with the President because they wanted to or they

11     thought it was consistent with the First Amendment.              They

12     did it, as they told their own partnership, we had to do

13     this to save the business.

14                 This has such a dramatic -- even with those

15     clauses, these orders have had such a dramatic effect on

16     these law firms that some of them are standing tall and some

17     of them are making deals, but it's not because it's not

18     having an immediate effect on their businesses.

19                 So if I could return then just for a minute to the

20     separation of -- to the merits questions, rather, and the

21     likelihood of success on the merits.

22                 As I said, there will be plenty of time to talk

23     about that in depth, but I would just like to talk about a

24     couple of the constitutional issues that I think are the

25     most straightforward.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 679 of 734

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1                  And I'll start -- it's always a good place to

2      start:    The First Amendment.

3                  And, of course, it prohibits retaliation, and it

4      prohibits government action, including Executive Branch

5      action, in retaliation for protected speech, protected

6      activity, protected petitioning activity.

7                  Now, in most cases, at least that I'm aware of and

8      I've been involved in, you know, the question is, boy, we're

9      going to need discovery or something to see if there's

10     actually a retaliatory intent.

11                 Here, the President has given us that in Section 1

12     of this Executive Order.       It is avowedly retaliatory.         And

13     I think that's important in the sense that this entire

14     Executive Order flows from Section 1.

15                 So before I sit down, I want to talk about the

16     security clearance issues, which is probably the hardest

17     issue under Circuit law.

18                 But it's not like in the way this Executive Order

19     is constructed, that you can really say, oh, well, you know,

20     we're going to look at each of these clauses completely

21     independently because they all flow from those findings in

22     that first section and they are avowedly -- all of the

23     consequences that follow are avowedly based on retaliation

24     for core protected activity.       And so I think that's a clear

25     violation of the First Amendment Free Speech Clause.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 680 of 734

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1                  I think it is an equally clear violation of the

2      petition clause.       It's a little bit of the weak sibling in

3      the First Amendment; we don't think about it as much.

4      That's because you don't have Presidential action like this

5      much.

6                  THE COURT:     No.

7                  MR. CLEMENT:     But if there's one thing that seems

8      to me to be within the core of the constitutional right to

9      petition for the redress of grievances, it is the ability of

10     lawyers to come into court on behalf of their client and

11     plead for relief in front of the courts, and that's exactly

12     what the retaliation is targeted at.

13                 And that brings me to the separation of powers,

14     because, if you think about what's happening here, it is a

15     clear violation of the separation of powers, in two

16     respects.

17                 One is, there is no legislative authority for what

18     the President has done here.

19                 But, second, and I think, frankly, more important,

20     the retaliation here is for representations that have taken

21     place largely in the Article III courts.           And every one of

22     those representations was overseen by an Article III Judge,

23     who's in a position to evaluate the quality of the lawyering

24     before them.     If there are any misrepresentations, if there

25     was any weaponization of the judiciary or the judicial
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 681 of 734

                                                                                 10

1      system, the judges were there to witness it firsthand.

2                  Now, they didn't say, Wilmer and Cutler,

3      WilmerHale has behaved in some sort of awful way.

4                  In many of these cases, the clients that

5      WilmerHale was representing won.

6                  In many of the cases, the judges lauded the

7      performance of the WilmerHale attorneys, particularly when

8      they took some of these cases on on a pro bono basis, but

9      yet all of that activity that's taking place in front of the

10     Article III courts is being sanctioned by the Article I

11     branch.

12                 And we simply can't go forward like that.            I mean,

13     that is as palpable a threat to the separation of powers as

14     I've seen, because you can't essentially let the Article III

15     branch to its job if lawyers appearing before you are

16     looking over their shoulder to see what is the consequence

17     of me taking on this case in the first instance; or, worse

18     yet, okay, I took it on, now how am I going to argue it?

19     Am I going to argue it on eggshells because I'm afraid that

20     I might offend somebody in the Executive Branch, or am I

21     going to give zealous representation to my client?

22                 And the clients require that zealous

23     representation, but so too do the Article III courts.

24     So the threat here is absolutely palpable.

25                 To paraphrase Justice Scalia, this wolf comes as a
     Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 682 of 734

                                                                                   11

1      wolf.    There's nothing subtle about the separation of powers

2      violation here.        There's nothing subtle about the

3      retaliatory intent here.        It's right there on full display

4      in Article I.

5                  That brings me to the security clearances.

6                  And we're certainly aware of Lee against Garland

7      and other cases in this Circuit that say, generally

8      speaking, most challenges to security clearance revocations

9      are non-justiciable.

10                 THE COURT:      Yeah, the primacy of the President in

11     that arena is pretty darn clear.

12                 MR. CLEMENT:      Pretty darn, but not absolute.

13                 And I'm here to tell you that, unless it is

14     absolute like the pardon, then you cannot withdraw security

15     clearances or, even more precisely, because I think it's the

16     issue, you can't deny people the usual procedures for the

17     revocation of security clearances based on a purely

18     retaliatory intent.

19                 And there's no other case like this on the books.

20     Certainly Lee against Garland was not this kind of case.

21                 And I think what many courts have done in looking

22     at these issues, including the Third Circuit in the

23     El-Ganayni case that we cite.           But I think this is

24     consistent with footnote 7 of Webster against Doe.                And

25     I think it's, frankly, consistent with the Ralls case,
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 683 of 734

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1      is you distinguish between the substantive decision to

2      withdraw or revoke the security clearance and the procedures

3      that are available for that.

4                  And if your claim is not, like, look, I want to

5      second-guess, I want to -- they've denied me my security

6      clearance, I have gone through my appeals, my agency

7      appeals, I want to second-guess it.

8                  THE COURT:    Have any been withdrawn yet?

9                  MR. CLEMENT:    Well, on the basis of the order,

10     they are basically suspended.

11                 And if you want to just give -- if I can, for a

12     second, tie this to -- because if you look at the relevant

13     provision, it basically says the security clearances are

14     gone and then subject to restoration through the agency

15     processes.

16                 THE COURT:    It says, "take steps immediately" --

17     excuse me.

18                 "Immediately, take steps consistent with

19     applicable law to suspend" -- to suspend -- "any active

20     security clearances held by individuals at WilmerHale

21     pending a review whether such clearances are consistent with

22     a national interest."

23                 MR. CLEMENT:    Right.

24                 THE COURT:    So that's future.

25
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 684 of 734

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1                  MR. CLEMENT:    No, no, it's the process afterwards.

2                  The way I read that, in all events, is that,

3      take action to suspend those security clearances, and then

4      you have the agency review to make sure we actually got the

5      right people.

6                  And just to put this in concrete terms, there are

7      WilmerHale attorneys who are reservists.           They have security

8      clearances not because of any legal work they're doing at

9      WilmerHale, they have security clearances because they are

10     serving their country in the reserves.

11                 Two of those lawyers have to report for their

12     reserve duty next week.       Now, I can't tell you for sure that

13     they're going to show up and they're not going to be able to

14     do their job because their security clearance has been

15     suspended.

16                 I can also tell you, though, that they have no

17     idea whether they can, you know --

18                 THE COURT:    They haven't been notified?

19                 MR. CLEMENT:    Nobody's been notified of anything.

20                 I mean, you know, I went through what I thought

21     was the top three hits.

22                 But due process, I mean, you know, whatever

23     happened to due process?

24                 In every other situation -- I mean, absolutely,

25     the President has got the final say on security clearances.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 685 of 734

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1      But it's a big deal.      There's a process for it.         If you look

2      at the Lee against Garland case, it talks about how that

3      went through the agency's administrative appeals process.

4      None of that's been given here.

5                  And I don't think for a minute the government

6      lawyer is going to come up here and tell you that they

7      actually intended to suspend the reservists' security

8      clearances.    But they're painting with such a broad brush

9      with this thing, they aren't distinguishing sheep from goats

10     at all.    If you're affiliated with WilmerHale, your security

11     clearance is gone.

12                 We know from the way this has been interpreted,

13     with respect to canceling meetings and the like, this is not

14     something where this might take effect next week.             This is

15     something that's going into immediate effect.             It's having

16     an immediate effect on our clients.          It's having an

17     immediate effect on WilmerHale's ability to provide legal

18     services for its clients.

19                 THE COURT:    You say there's only one way to read

20     this section.

21                 MR. CLEMENT:    I think there's only -- I do.

22                 And I think there's only one way to read it

23     consistent with the President's intent.

24                 Again, you know -- and we have the same principle

25     in the congressional context, right.
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 686 of 734

                                                                                  15

1                  Look at Plaut v. Spendthrift Farm or FAIR against

2      Rumsfeld [sic].        You have somebody come into court and they

3      say, oh, this is constitutional, because, actually, if you

4      read the words the right way, it does nothing.

5                  And the Supreme Court gives that the back of the

6      hand; say, no, we're not going to interpret this to be a

7      blank -- you know, blank piece of paper in order to avoid a

8      constitutional question.

9                  And as I say, nobody would be more disappointed to

10     learn that this Executive Order had zero effect than

11     President Trump.

12                 That is not why he signed it.          He signed it

13     because he wanted to have immediate consequences on lawyers

14     and a law firm that he thought were weaponizing the judicial

15     system.    And whatever might be true in some other area of

16     the law, the chilling effect of this is immediate and

17     enormous and fully intended.

18                 I mean, again, this is not some case where we're

19     going to do this for some other purpose and it might have

20     some incidental chilling effect.          This is designed to chill

21     law firms from representing certain kinds of clients, and

22     that is chilling in every meaning of the word.

23                 I'll just say a minute, before I sit down, about

24     the balance of equities.

25                 The balance of equities here are not close;
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 687 of 734

                                                                                 16

1      the public-interest factors are not close.

2                  We've been doing it in this republic for

3      230 years, whatever exactly it's been; we've never had

4      Executive Orders like this.

5                  This is not the tradition of our country.

6      Our country is based on the tradition that you can represent

7      clients, you can represent unpopular clients, you can

8      represent clients that are adverse to the interests of the

9      people in the White House right now, and, if you do a good

10     job for your client, you're applauded for doing it and

11     you're certainly not sanctioned by the government power,

12     the highest official in the land, you're not sanctioned for

13     your choices and who you represented, especially when you're

14     successfully representing them in courts that respect the

15     way you've represented them.

16                 Last thing I'll just say, as I said before, we're

17     here on a TRO, and so we think the issues at this stage are

18     pretty straightforward.

19                 We look forward to briefing the PI issues, but

20     I would respectfully ask that, from our standpoint, we'd

21     like this whole litigation to move promptly, because one of

22     the things we've seen with Perkins Coie is even getting a

23     TRO doesn't seem to deter the President from issuing

24     additional Executive Orders, and it doesn't fully stop the

25     bleeding in terms of the intended effects on the law firm
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 688 of 734

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1      and its relationships with its clients and its ability to

2      bring in additional business.

3                  THE COURT:    Well, what would you think for your PI

4      pleadings, three weeks?

5                  MR. CLEMENT:    Well, what we've suggested is --

6      my understanding is that in the Perkins Coie's case,

7      briefing on the PI is supposed to be completed by

8      April 18th.

9                  We are perfectly happy to brief it on that

10     schedule or on a more expeditious schedule if Your Honor

11     would prefer.     But we would really like -- because we've

12     seen that a TRO just isn't good enough in this particular

13     context.

14                 THE COURT:    I certainly agree with you on the

15     expeditious part, absolutely, no question about that.

16                 And we've had a little experience in this

17     courtroom with expeditious proceedings, so we know how to

18     deal with that.

19                 MR. CLEMENT:    I thank you, Your Honor, and I would

20     look forward to that.

21                 But as we are expeditedly briefing this, we very

22     much would want the TRO in place, we think that's absolutely

23     vital to the rule of law and absolutely vital to protecting

24     my clients from irreparable injury.

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     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 689 of 734

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1                  THE COURT:    You can get five minutes in rebuttal

2      when the government is done.

3                  MR. CLEMENT:    Thank you, Your Honor.

4                  THE COURT:    I'll hear from the government.

5                  MR. LAWSON:    Good afternoon.      Richard Lawson again

6      for the Department of Justice.

7                  THE COURT:    Welcome, sir.

8                  MR. LAWSON:    Your Honor, perhaps the best way to

9      approach this, if we could, is to take the matter section by

10     section of the order.

11                 I would submit that Section 1 has no operative

12     effect.    There's no command.     It simply is laying out --

13                 THE COURT:    It's background.

14                 MR. LAWSON:    Correct, yes.

15                 So --

16                 THE COURT:    Although it is insightful with regard

17     to the President's thinking.

18                 MR. LAWSON:    Well --

19                 THE COURT:    What the President was seeking to

20     accomplish.

21                 MR. LAWSON:    I won't deny that it's providing

22     background as to the purpose of the order, absolutely.

23                 I would say that it falls, perhaps, within the

24     realm of government speech as far as, you know, this is what

25     he is -- the President thinks on this issue and why he's
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 690 of 734

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1      wishing to carry it out.

2                  But I don't think it has any specific commandments

3      to any of the Executive Branches to do X or Y.             I think

4      you'll find those in the remaining 2, 3, 4, and 5 sections.

5                  THE COURT:    Would you say it informs the agency

6      heads and the other people of what the objective is, what

7      the objectives are the President is seeking to achieve?

8                  So, in a sense, by virtue of being first and

9      setting the stage, so to speak, for what comes later, it's

10     informing the thinking that the President is seeking to

11     accomplish?

12                 MR. LAWSON:    I don't think there's any denial that

13     that is laying some groundwork for the agencies; that the

14     agencies would understand, okay, we have Section 2 on the

15     clearances, okay, what should guide decisions on there.

16                 You, the Court, caught the "pending review" if

17     this is appropriate.      We would read that together, that the

18     "pending" is part of the process.         And so to determine what

19     is relevant, I think there would be some reference to

20     Section 1 for sure.

21                 And so, for example, the reservist, who had

22     nothing to do with anything that was -- Section 1 was

23     addressing, might very well likely fall outside

24     Section 1's -- or Section 2's ambit, if that makes sense.

25                 So if we -- but, again, going from section to
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 691 of 734

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1      section, Section 1 clearly giving the background.

2                  Section 2, I think the Court probably is far more

3      well-versed than I am as to the deference on national

4      security issues.

5                  One point I would urge is that, to the degree

6      counsel, Mr. Clement, has brought up points regarding the

7      issues of where there may be some gray area on the

8      deference, I would submit that right now at a TRO level,

9      that that would be inappropriate at this point, given the

10     sensitivities going on in this case and other cases, where

11     there could be national security issues, caution should be

12     exerted, particularly at the TRO stage, allow at least

13     fuller briefing.       As the Court knows, we've not had a chance

14     to submit written responses.

15                 THE COURT:     Not yet.

16                 MR. LAWSON:     We understand it's a TRO, not

17     complaining on that.       But I would just urge --

18                 THE COURT:     It's not appealable either.

19                 MR. LAWSON:     Well, I would just urge that

20     Section 2 -- that no TRO be granted as to Section 2,

21     because it just -- given the particularities at this

22     temporary emergency stage, that the deference that the

23     Executive needs to have on security issues would be impaired

24     on that point.

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     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 692 of 734

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1                  THE COURT:    What about the chilling effect?

2                  It's hard to argue that would have a chilling

3      effect.

4                  You wouldn't take that position, would you?

5                  Common sense.

6                  MR. LAWSON:    Well, let me actually go to --

7      if you'll indulge that if I could address that as it relates

8      to Section 3, if I could move on to that.

9                  THE COURT:    Okay.

10                 MR. LAWSON:    So Section 3 deals with the

11     contracting issues.

12                 There is -- I've read a number of pleadings from

13     various counsel today, so apologies if I'm mixing up cases.

14                 THE COURT:    Of course.

15                 MR. LAWSON:    But there have been some citations on

16     some of the pleadings on these issues relating to cases like

17     the recent Supreme Court Vullo case and the very old Bantam

18     Books case.

19                 There is something very remarkably and importantly

20     and vitally different in this matter than in Vullo or in

21     Bantam Books.

22                 In Bantam Books and in Vullo, the government was

23     acting as a sovereign.

24                 As it relates to Section 3, the government is

25     acting as a patron.
     Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 693 of 734

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1                  And when it comes to issuing contracts, the

2      deference due to executive action is much stronger.

3                  For example, although it was recently rescinded by

4      President Trump, President Johnson issued an Executive Order

5      urging affirmative action in government contracts.               There

6      was substantial litigation on this point over the decades,

7      and it was constantly affirmed that the use of soc -- of the

8      procurement power on social policy is a valid use of the

9      procurement power.

10                 And I would cite Contractors Association of

11     Eastern Pennsylvania, 442 F.2d 159.           This is a Third Circuit

12     case from 1971, very early dealing with this, and there's a

13     quote in there:        "No less than in the case of defense

14     procurement, it is in the interest of the United States and

15     all procurement to see that its suppliers are not over the

16     long run increasing its costs and delaying its programs by

17     excluding from the labor pool available minority workmen."

18                 And here's the key part:        In the area of

19     government procurement, executive authority to impose

20     non-discrimination contract provisions, falls within Justice

21     Jackson's, in Youngstown Sheet, first category:              Actions

22     pursuant to the expressed or implied authorization of

23     Congress.

24                 What I would urge, the reason I wanted to flag the

25     chilling effect is to -- where it comes in in this order.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 694 of 734

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1                  Section 3 is a contract provision.

2                  The next operative provision in the order is

3      Section 5:    Contact with agencies.

4                  There's a lot of talk in these pleadings regarding

5      penalties, a lot of talk regarding punishment.

6                  This is nothing like Vullo.        This is nothing like

7      Bantam.    This is interactions within the government.

8                  And so we -- as far as the chilling effect, what

9      is at stake?     What is the punishment?

10                 This is a contract provision.

11                 And I would urge that as it relates to the

12     foundation in Section 1 and as it relates into Section 3,

13     one of the points that's being discussed is racial

14     discrimination, which is a reference to diversity programs

15     within the law.

16                 There is a program called the Mansfield

17     Certification Program.      WilmerHale is a participant in that

18     program.    We -- I think it's a valid social policy of

19     combating diversity, which, after the Harvard decision in

20     December of 2023, I think I have the right -- or '24 -- that

21     diversity is suspect at the very least and to use the

22     procurement power in furtherance of addressing that issue,

23     I think, is firmly supported and within the strongest realm,

24     as noted in that contractor's case, using the executive

25     power to advance social policy is very strongly supported.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 695 of 734

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1                  So as to the chilling effect, who's not being able

2      to do what?    There's no penalty, there's no punishment.

3                  THE COURT:    Well, Section 5 then, being prohibited

4      from having access to government buildings?

5                  MR. LAWSON:    So let me address Section 5.

6                  THE COURT:    I mean --

7                  MR. LAWSON:    Exactly.

8                  THE COURT:    -- what possible threat do they pose

9      to having access to government buildings?

10                 This is a government building we're in.

11     Supreme Court's a government building.

12                 MR. LAWSON:    All right.

13                 So as it relates to Section 5, I think this is

14     critical as to all the sections of Section 5.             It's calling

15     for guidance to be issued addressing how government

16     buildings, government personnel will interact with the firm.

17                 And one point that I would urge regarding the

18     framing of any TRO that the Court -- we would urge the Court

19     to deny -- if the Court were to grant a TRO, some care

20     should be given as to what in Section 5 is being prohibited.

21                 If Section 5 is, as I'm reading the proposed

22     order, a blanket order quashing any implementation of

23     Section 5, that kills the ability to develop the guidance.

24                 Now, the reason we think this is important is

25     because, without that guidance, we don't think this issue is
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 696 of 734

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1      ripe.    We don't know exactly what limitations there will be

2      on interaction with staff.

3                  The counsel has raised issues about

4      Sixth Amendment and Fifth Amendment right-to-counsel issues.

5                  We will not deny that the Sixth Amendment talks

6      about right-to-counsel issues, and the Fifth and Sixth both

7      address it.    We won't deny that at all.

8                  We don't see -- we don't know what the guidance is

9      and how it will interact with that.

10                 And obviously we've heard these concerns, we'll be

11     mindful of those as they're being drafted.

12                 But if the order bans even the creation of the

13     guidance, I don't know how this issue ever becomes ripe.

14     We need to see what the guidance says.

15                 So there is an endless parade of horribles that

16     could come from implementation of Section 5, but we don't

17     know what that is.

18                 So, again, I would go back to the issue of,

19     when the Court talks about the chilling effect, what is at

20     jeopardy here?

21                 Contracts where there's very firm discretion for

22     the executive and to-be-determined access to staff and

23     government buildings not qualified, not defined, and

24     security clearances upon which there's extraordinary

25     deference, particularly in this type of set.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 697 of 734

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1                  THE COURT:    What about litigation?

2                  How are they going to -- how can a law firm of the

3      magnitude of WilmerHale, who does litigation all over the

4      nation, not be able to have access to federal buildings that

5      are courthouses?

6                  MR. LAWSON:    I will submit the order as drafted

7      does not block that.      Right now, it doesn't block it.          The

8      guidance has not been issued that would address access to

9      those buildings.

10                 The Court has raised a legitimate concern about a

11     law firm having access to a courtroom.          As drafted, this has

12     not defined what that access is.

13                 Once drafted, and if the order prohibits the

14     drafting of it -- you see, there's an interesting Catch-22

15     here as to the ripeness of bringing this case forward.

16                 If we can get the guidance, then there can be a

17     full challenge as to whether or not it is blocking access to

18     points that the Court would have concerns about, as far as

19     the regular duties of an attorney on that point.

20                 But it's that ripeness issue that I think is --

21     it's just premature at this point to -- we would submit that

22     there isn't a basis to bring the claim, it's too premature

23     at this point, certainly to issue a TRO that prohibits the

24     guidance being driven, which would form the very basis of a

25     real claim, to the degree the guidance impinges on something
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 698 of 734

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1      that WilmerHale finds objectionable.

2                  THE COURT:    Wouldn't that uncertainty or doubt

3      have a chilling effect on a client retaining the firm to do

4      litigation for it, not knowing whether, after expending

5      resources to hire the firm and meet with the firm and make

6      available its time, it learns that the rules, so to speak,

7      or the guidelines are, indeed, prohibitive of their being

8      available to go into the courthouse and all that money is

9      lost and wasted?

10                 Why would a firm that's a possible client take

11     that risk?

12                 MR. LAWSON:    Well, I would -- I can't speak to the

13     prospective client's perspective.

14                 THE COURT:    Are you in the practice of law?

15                 MR. LAWSON:    Yes, Your Honor.

16                 THE COURT:    Do you have clients?

17                 MR. LAWSON:    I've had clients.

18                 I understand the Court's question.

19                 THE COURT:    Use your common sense.

20                 You know how clients are worried about downside

21     risk, and they don't want to expend money needlessly or

22     wastefully.

23                 They are going to go to a different firm.            They'll

24     go down the street to a different firm that doesn't have a

25     Presidential Executive Order hanging over -- like a Sword of
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 699 of 734

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1      Damocles hanging over its head.

2                  MR. LAWSON:    So to the degree the Court thinks

3      this is a concern that should be addressed on the TRO in an

4      order the Court enters, I would urge that the order be

5      allowed for the process to go forward on the drafting of the

6      guidance at least so that we can have a concrete issue here.

7                  I can understand the Court's concern.           I'm not

8      going to discount --

9                  THE COURT:    Well, the President could have done it

10     a different way, couldn't he?

11                 I mean, the President could have given a directive

12     to his agency heads, start coming up with some guidance on

13     this, before he issued the Executive Order.

14                 He did it the other way around.         He did the

15     Executive Order first before he came up with the guidance.

16                 MR. LAWSON:    I think that might invite a question

17     as to the difference between mentioning it to his team in a

18     cabinet meeting versus issuing an Executive Order.              They're

19     practically, I would think, somewhat the same.

20                 There is an order, there has been instruction from

21     the White House, whether it came in the form of an Executive

22     Order, whether it came in the form of a memo passed at a

23     cabinet meeting, draft some guidance about interaction and

24     access to buildings.

25                 Once the guidance is issued, we have a ripe issue,
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 700 of 734

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1      we have a ripe matter at that point, presuming that they

2      find it objectionable.

3                  But I just urge great care in not curtailing the

4      creation of the thing that would actually bring this into

5      matter.    Hopefully, the Court understands the concern I have

6      about the breadth of the order as proposed by counsel.

7                  I think that --

8                  THE COURT:    You have a couple more minutes.

9                  MR. LAWSON:    I think I've addressed the key

10     points.

11                 As to Section 4, Section 4 is -- I believe it

12     simply engrafts the language that was in the Perkins Coie

13     order.

14                 This is guidance to industry writ large to the

15     EEOC.

16                 This is -- we would urge great care with that,

17     that this is typical type of instruction.

18                 I think what the Court was referring to as far as,

19     I would like my Executive Branch agencies to be doing X, Y,

20     and Z.    It is moving the ball forward once they have

21     produced a result.      Then there would be something concrete

22     that is challengeable.

23                 One of the last points -- and I beg the Court's

24     indulgence on this --

25                 THE COURT:    Sure, go ahead.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 701 of 734

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1                  MR. LAWSON:    I have not had as much chance to

2      study this as I would care for.

3                  I see that one of the defendants is listed as the

4      Executive Office of the President.

5                  I would urge great caution about issuing a TRO as

6      it relates to the Executive Office of the President.

7      I think they have been very comprehensive in the various

8      agencies that they would like this order to retain.

9                  THE COURT:    Where is that one located?

10                 MR. LAWSON:    I'm looking -- hopefully I've

11     got -- yes, I'm looking at the complaint.

12                 The first defendant listed is the Executive Office

13     of the President.

14                 I think there is some grave concerns about the

15     judiciary issuing things to the President itself.             The

16     concerns are less severe, of course, when it comes to the

17     executive agencies.

18                 But I think the Court understands, hopefully, the

19     government's position.      I think there would be great help if

20     the Court approaches as suggested, we go section by section

21     and look at exactly what is being challenged and what,

22     if anything, is concrete in each section.

23                 THE COURT:    Will you be able to handle an

24     accelerated briefing schedule for the PI?

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     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 702 of 734

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1                  MR. LAWSON:    Yes, I think we can probably --

2      that's probably a matter we can work out very easily with

3      counsel.    We are moving very quickly.

4                  I will point out its dispositive motions on the

5      Perkins Coie case are due Wednesday.          There's some motions

6      for summary judgment, motions to dismiss dispute, but

7      they're due Wednesday, briefing should be completed by the

8      18th, with a hearing set for the 21st.

9                  I think the arguments here very closely track to

10     there.    I don't think it would be hard to meet that

11     schedule, assuming I haven't missed some other very

12     complicated issue, but I think we can hit that schedule.

13                 It might be good if we could have briefs due late

14     next week, rather than Wednesday, give me a few days to get

15     Perkins dealt with.      Okay.

16                 THE COURT:    Well, I would suggest that by Monday,

17     we have a joint proposed accelerated briefing schedule --

18                 MR. LAWSON:    That should not be a problem.

19                 THE COURT:    -- that you file with the Court so

20     I can take a look at that on Monday.

21                 MR. LAWSON:    Thank you, Your Honor.

22                 THE COURT:    Thank you.

23                 Do you have anything that jumped out at you?

24                 MR. CLEMENT:    A couple of things, Your Honor,

25     so I have a couple of quick points in rebuttal.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 703 of 734

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1                  I mean, first of all, if somebody's shooting

2      randomly and you come in and say, you gotta stop that guy

3      shooting randomly, and then their best response is, well,

4      no, no, if you do that, then I won't have time to aim.

5      I mean, come on, there was plenty of opportunity for the

6      President, as you suggested, to make the guidance first.

7      He didn't do that, and he didn't do it for a reason.

8                  And there's also a reason that he didn't do it in

9      a cabinet meeting.      If he'd done this in a cabinet meeting,

10     our clients wouldn't be concerned about this, Perkins Coie's

11     clients wouldn't be concerned about this, and Paul, Weiss

12     wouldn't have come in and offered to do $40 million in pro

13     bono work.

14                 He needed to make this public, he needed to make a

15     point, he needed to have the chilling effect.             And it's all

16     done on the basis of a retaliatory motive that is plain as

17     day for all to see and a retaliation against litigation in

18     the Article III courts.

19                 So let me also talk about the security clearance.

20                 I think the TRO aspect of this cuts both ways.

21     I mean, there is immediate injury on the security

22     clearance's clause.

23                 And in order to ultimately rule for the government

24     on this, given how clear paragraph 1 of the Executive Order

25     is, you are going to have to hold effectively that security
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 704 of 734

                                                                                 33

1      clearances are like pardons; that even if the President

2      swears on a bible that I'm giving this pardon for a purely

3      retaliatory motive for what somebody did in an Article III

4      court that the Article III court thought was great, maybe

5      you can do that with a pardon power.

6                  I do not think you can do that with security

7      clearances.    That would be a grave abuse of all the residual

8      authority of the President.       All the reasons why we give

9      deference to those judgments when the procedures are

10     followed, all that goes out the window if you can say, I'm

11     going to revoke your security clearance just to get even,

12     and that's essentially what this case looks like.

13                 Happy to brief it.     But in the interim, the TRO

14     should be complete, especially because, as we said in the

15     briefing, there's nothing severable about this Executive

16     Order.

17                 This is not like, oh, well, the security

18     clearances stand alone.       It all fits together and it's all

19     driven by those statements in Section 1 that Your Honor

20     yourself pointed to.

21                 Let me then go to this idea that somehow because

22     this is government procurement or government contracting or

23     government spending, somehow it's different.            Not when it

24     comes to retaliation, not when it comes to viewpoint

25     distribution.     That's true as a matter of constitutional
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 705 of 734

                                                                                  34

1      law, and it's also true as a matter of statutory law.

2                  If you look at footnote 25 in our TRO papers,

3      we cite a congressional statute where Congress says that,

4      we don't want any contracting decisions to be done on a

5      discriminatory basis, partisan basis, and all the rest.               So

6      the Constitution itself doesn't say you have free rein when

7      it comes to spending your contracting, and Congress has made

8      the same point, which is just one of the many

9      separation-of-powers problems here.

10                 Last thing I'll say is just on the chilling

11     effect, I mean, Your Honor, I think, captured this point

12     well.    But, in terms of telling your clients, hey, you know,

13     in a couple of weeks, we might know whether we can get into

14     that government building.       That is not something any client

15     wants to hear from their lawyer.         They expect their lawyers

16     to get into government buildings on a regular basis.

17                 And it's not just the courts.         I mean, WilmerHale

18     has a thriving state-of-the-art intellectual property

19     practice.    They have to go in front of the PTAB, which is

20     part of the Executive Branch, looks a lot like a court in

21     some of its proceedings, but they have to go into the PTAB

22     virtually every single day.       If they can't get into the

23     PTAB, or, frankly, if there's any doubt whether they can get

24     into the PTAB on behalf of their clients, that is a complete

25     chilling effect, a complete irreparable injury.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 706 of 734

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1                  And then if the reason they can't get into the

2      PTAB is because of the way that some of their lawyers, their

3      partners at the firm, have litigated cases in court,

4      succeeded for their clients in many cases, sometimes they've

5      lost as well.     But we have an adversarial system of justice.

6      We need both sides in there making the best arguments for

7      the Court.

8                  They've done that in the highest tradition of the

9      law, and what do they get?       They get barred from federal

10     buildings, they lose their security clearances, some of

11     their lawyers are told that they might not be able to get a

12     job into the Executive branch, including an AUSA job that

13     has traditionally been completely nonpartisan and is a plum

14     job that somebody, whether they're at the firm now or

15     they're in law school thinking about which firm to go to,

16     if going it WilmerHale means you can't go to the U.S.

17     Attorney's Office and be an AUSA, all of that has chilling

18     effects that are happening right now.

19                 And we have a declaration that supports all of

20     that.    But you also have common sense and you can look at

21     what's happened at Perkins Coie, you can look at what Paul,

22     Weiss has done.

23                 I think the irreparable injury here is as clear as

24     the constitutional violations, and they are clear as day,

25     and all we have to show is a likelihood of success at this
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 707 of 734

                                                                                 36

1      stage.

2                  So we'd ask you to have a TRO that applies across

3      the board to the whole Executive Order.

4                  Thank you, Your Honor.

5                  THE COURT:     Well, thank you, Counsel.

6                  I promised my dear colleague, Judge Bates, that

7      I'd get done so that he could start his hearing for his case

8      in the next five minutes, ten minutes.

9                  I'm going to digest a little bit more the

10     arguments that I've heard today, which were insightful,

11     helpful.

12                 Kind of historically coincidental that it was in

13     this very courtroom that WilmerHale represented Boumediene

14     and represented the Boumediene five right in this courtroom

15     years ago.    So the Court's quite familiar with that firm's

16     litigation practice and the service that it provided to the

17     community, to the Bar, and to the nation.

18                 So I will tell the government counsel that I'm

19     inclined to grant the TRO.       The only question is,

20     how broadly.

21                 So I'll issue an order probably within the next

22     few hours, and, like I say, I'm inclined to grant it.

23                 So that's where we stand at the moment.           We'll see

24     where this goes.       It will be an interesting ride for the

25     next few months.
     Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 708 of 734

                                                                                 37

1                  MR. LAWSON:    Your Honor, if I could talk about one

2      point regarding a proposed grant?

3                  THE COURT:    You don't have any experience in this

4      courtroom.

5                  Once I've finished my remarks, I'm done.

6                  Stand adjourned.

7                  COURTROOM DEPUTY:     All rise.

8                  This Honorable Court stands adjourned.

9                  (Proceedings concluded at 5:32 p.m.)

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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 709 of 734

                                                                            38

                         C E R T I F I C A T E
                    I, William P. Zaremba, RMR, CRR, certify that
  the foregoing is a correct transcript from the record of
  proceedings in the above-titled matter.




  Date:__March 28, 2025_______ ____________________________
                                     William P. Zaremba, RMR, CRR
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 710 of 734




                  EXHIBIT 57
            Case 1:25-cv-00716-BAH    Document 39-4     Filed 04/02/25   Page 711 of 734

                                         The WHITE HOUSE
                                           FACT SHEETS

               Fact Sheet: President Donald J. Trump Addresses Risks from WilmerHale


                                          The White House


                                           March 27, 2025




SUSPENDING SECURITY CLEARANCES TO PROTECT THE NATIONAL INTEREST:
Today, President Donald J. Trump signed an Executive Order to suspend security
clearances held by individuals at Wilmer Cutler Pickering Hale and Dorr LLP
(WilmerHale) pending a review of whether such clearances are consistent with the
national interest.
  •   Security clearances held by WilmerHale employees will be immediately
      suspended, pending a review of whether their access to sensitive information is
      consistent with the national interest.
        0    The Federal Government will halt all material and services, including
             sensitive compartmented information facility (SCIF) access provided to
             WilmerHale and restrict its employees’ access to government buildings.
        0    Federal Agencies will also refrain from hiring WilmerHale employees unless
             specifically authorized.

  •   To ensure taxpayer dollars no longer go to contractors whose earnings subsidize
      activities not aligned with American interests, the Federal Government will
      terminate contracts that involve WilmerHale.

  •   The practices of WilmerHale will be reviewed under Title VII to ensure compliance
      with civil rights laws against racial bias.
ADDRESSING ROGUE LAW FIRMS: President Trump believes that lawyers and law firms
that engage in conduct detrimental to critical American interests should not be
subsidized by American taxpayers or have access to our Nation’s secrets.
  •   WilmerHale has abandoned the legal profession’s highest ideals and abused its pro
      bono practice to engage in activities that undermine justice and the interests of
          Case 1:25-cv-00716-BAH      Document 39-4   Filed 04/02/25   Page 712 of 734
      the United States.

  •   WilmerHale pursues partisan goals, supports efforts to discriminate on the basis
      of race, and backs the obstruction of efforts to prevent illegal aliens from
      committing horrific crimes and trafficking deadly drugs within our borders.

  •   WilmerHale has furthered the degradation of the quality of American elections by
      supporting efforts designed to enable noncitizens to vote.

  •   WilmerHale has been accused of discriminating against its own employees on the
      basis of race and other categories prohibited by civil rights laws, including through
      the use of race-based “targets.”

  •   WilmerHale rewarded Robert Mueller and two of his colleagues by welcoming
      them to the firm after they wielded the power of the Federal government to lead a
      partisan “investigation” against the President and others. Mueller’s investigation
      epitomizes the weaponization of government.
A RETURN TO ACCOUNTABILITY: President Trump is delivering on his promise to end
the weaponization of government and protect the nation from partisan and bad faith
actors who exploit their influence.
  •   In addition to WilmerHale, President Trump has also taken action to hold other
      major law firms accountable.

  •   This Executive Order aligns with President Trump’s priority on refocusing
      government operations to serve the citizens of the United States.

  •   It builds on President Trump’s previous actions, such as signing an Executive Order
      on his first day in office to end the weaponization of the Federal government and
      ensure accountability for past misconduct.

  •   It follows his revocation of security clearances held by intelligence officials who
      falsely claimed Hunter Biden’s laptop was Russian disinformation during the 2020
      election.
        NEWS

A D M I N I S T R AT I O N

       I S S U ES

     C O N TACT

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                             Case 1:25-cv-00716-BAH




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      THE WHITE HOUSE

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  Washington, DC 20500
                             Page 713 of 734




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 714 of 734

                               Privacy

                             Style Guide
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 715 of 734




                  EXHIBIT 58
            Case 1:25-cv-00716-BAH     Document 39-4    Filed 04/02/25   Page 716 of 734

                                          The WHITE HOUSE
                                            FACT SHEETS

              Fact Sheet: President Donald J. Trump Addresses Risks from Jenner & Block


                                          The White House


                                           March 25, 2025




SUSPENDING SECURITY CLEARANCES TO PROTECT THE NATIONAL INTEREST:
Today, President Donald J. Trump signed an Executive Order to suspend security
clearances held by individuals at Jenner & Block LLP (Jenner) pending a review of
whether such clearances are consistent with the national interest.
  •   Security clearances held by Jenner employees will be immediately suspended,
      pending a review of whether their access to sensitive information is consistent
      with the national interest.
        0    The Federal Government will halt all material and services, including
             sensitive compartmented information facility (SCIF) access provided to
             Jenner and restrict its employees’ access to government buildings.
        0    Federal Agencies will also refrain from hiring Jenner employees unless
             specifically authorized.

  •   To ensure taxpayer dollars no longer go to contractors whose earnings subsidize
      activities not aligned with American interests, the Federal Government will
      terminate contracts that involve Jenner.

  •   The practices of Jenner will be reviewed under Title VII to ensure compliance with
      civil rights laws against racial bias.
ADDRESSING ROGUE LAW FIRMS: President Trump believes that lawyers and law firms
that engage in conduct detrimental to critical American interests should not be
subsidized by American taxpayers or have access to our Nation’s secrets.
  •   Jenner pursues partisan goals, supports attacks against women and children
      based on the denial of the biological reality of sex, and backs the obstruction of
            Case 1:25-cv-00716-BAH    Document 39-4   Filed 04/02/25   Page 717 of 734
      efforts to prevent illegal aliens from committing horrific crimes and trafficking
      deadly drugs within our borders.

  •   Jenner has been accused of discriminating against its own employees on the basis
      of race and other categories prohibited by civil rights laws, including through the
      use of race-based “targets.”

  •   Jenner was also “thrilled” to re-hire Andrew Weissmann, a prosecutor known for
      his unethical behavior, including his role in engaging in partisan prosecution as
      part of Robert Mueller’s entirely unjustified investigation.
        0    Weissmann’s career has been rooted in weaponized government and abuse
             of power, including devastating tens of thousands of American families who
             worked for the now defunct Arthur Andersen LLP, only to have his unlawfully
             aggressive prosecution overturned by the Supreme Court.
        0    The numerous reports of Weissman’s dishonesty, including pursuit of
             nonexistent crimes, bribery to foreign nationals, and overt demand that the
             federal government pursue a political agenda against President Trump, is a
             concerning indictment of Jenner’s values and priorities.
A RETURN TO ACCOUNTABILITY: President Trump is delivering on his promise to end
the weaponization of government and protect the nation from partisan and bad faith
actors who exploit their influence.
  •   This Executive Order aligns with President Trump’s priority on refocusing
      government operations to serve the citizens of the United States.

  •   It builds on President Trump’s previous actions, such as signing an Executive Order
      on his first day in office to end the weaponization of the Federal government and
      ensure accountability for past misconduct.

  •   It follows his revocation of security clearances held by intelligence officials who
      falsely claimed Hunter Biden’s laptop was Russian disinformation during the 2020
      election.

  •   In addition to Jenner, President Trump has also taken action to hold other major
      law firms accountable.
        NEWS

A D M I N I S T R AT I O N

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                             Filed 04/02/25




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                             Page 718 of 734




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 719 of 734

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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 720 of 734




                  EXHIBIT 59
           Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 721 of 734


                                        ·rRUTH.

    Truth Details                                                        Trending V    •••

    437 replies


       Donald J. Trump 0
       @realDonaldTrump

Today, President Donald J. Trump and Willkie Farr & Gallagher LLP (“Willkie”)
announce the following agreement regarding a series of actions to be taken by
Willkie:

1. Willkie will provide a total of at least $100 Million Dollars in pro bono Legal
Services, during the Trump Administration, and beyond, to causes that President
Trump and Willkie both support, in relation to the following areas: Assisting
Veterans and other Public Servants including, among others, members of the
Military, Gold Star families, Law Enforcement, and First Responders; Ensuring
fairness in our Justice System; and Combatting Antisemitism. Willkie’s pro bono
Committee will ensure that new pro bono matters are consistent with these
objectives, and that pro bono activities represent the full political spectrum,
including Conservative ideals.

2. Willkie affirms its commitment to Merit-Based Hiring, Promotion, and Retention.
Accordingly, the Firm will not engage in illegal DEI discrimination and preferences.
Willkie affirms that it is Willkie’s policy to give Fair and Equal consideration to Job
Candidates, irrespective of their political beliefs, including Candidates who have
served in the Trump Administration, and any other Republican or Democrat
Administration. Willkie will engage independent outside counsel to advise the Firm
in confirming that employment practices are fully compliant with Law, including, but
not limited to, anti-discrimination Laws.

3. Willkie affirms that it will not deny representation to clients, such as members of
politically disenfranchised groups and Government Officials, employees, and
advisors, who have not historically received Legal representation from major
National Law Firms, including in pro bono matters and in support of non-profits,
because    of the personal political views of individual lawyers.
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               Case 1:25-cv-00716-BAH        Document 39-4   Filed 04/02/25   Page 722 of 734
Statement from the White House: “Willkie Farr & Gallagher LLP proactively reached
out to President Trump and his Administration, offering their decisive commitment
to ending the Weaponization of the Justice System and the Legal Profession. The
President is delivering on his promises of eradicating Partisan Lawfare in America,
and restoring Liberty and Justice FOR ALL.”

Statement from Thomas M. Cerabino, Chairman of Willkie Farr & Gallagher LLP:
"We reached an agreement with President Trump and his Administration on matters
of great importance to our Firm. The substance of that agreement is consistent
with our Firm’s views on access to Legal representation by clients, including pro
bono clients, our commitment to complying with the Law as it relates to our
employment practices, and our history of working with clients across a wide
spectrum of political viewpoints. The Firm looks forward to having a constructive
relationship with the Trump Administration, and remains committed to serving the
needs of our clients, our employees, and the communities of which we are a part.”
2.14k ReTruths 8.4k Likes                                                         Apr 01, 2025, 4:47 PM


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              Robertus Trump
              @SilverKnight57 · 2h

              Replying to @realDonaldTrump




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 723 of 734




                  EXHIBIT 60
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                                           UNITED STATES DISTRICT COURT

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            UNITED STATES OF AMERICA
                                                                             JUDGMENT OF ACQUITTAL
                                   v.
                  MICHAEL A. SUSSMANN

                                                                             CASE NUMBER: 21-CR-582 (CRC)




       The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,
and any bond exonerated.




Christopher R. Cooper                                  U.S. District Judge
Name of Judge                                          Title of Judge


                 A~                     Date
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 725 of 734




                  EXHIBIT 61
        Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 726 of 734


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   Truth Details                                                      Trending V    •••

   1167 replies


      Donald J. Trump 0
      @realDonaldTrump

Today, President Donald J. Trump agreed to withdraw his March 14, 2025
Executive Order regarding the Paul, Weiss, Rifkind, Wharton & Garrison LLP law
firm (“Paul, Weiss”), which has entered into the following agreement with the
President:


1. Paul, Weiss agrees that the bedrock principle of American Justice is that it must
be fair and nonpartisan for all. Our Justice System is betrayed when it is misused to
achieve political ends.

Lawyers and law firms play a vital role in ensuring that we live up to that standard
as a Nation. Law firms should not favor any political party when it comes to
choosing their clients. Firms also should not make decisions on whom to hire based
on a person’s political affiliation. To do otherwise is to deny some Americans an
equal opportunity for our services while favoring others.

Lawyers abandon the profession’s highest ideals when they engage in partisan
decision-making, and betray the ethical obligation to represent those who are
unpopular or disfavored in a particular environment.

2. Paul, Weiss affirms its unwavering commitment to these core ideals and
principles, and will not deny representation to clients, including in pro bono matters
and in support of non-profits, because of the personal political views of individual
lawyers.

3. Paul, Weiss will take on a wide range of pro bono matters that represent the full
spectrum of political viewpoints of our society, whether “conservative” or “liberal.”

4. Paul, Weiss affirms its commitment to merit-based hiring, promotion, and
retention, and will not adopt, use, or pursue any DEI policies. As part
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              Case 1:25-cv-00716-BAH        Document 39-4   Filed 04/02/25   Page 727 of 734
of its commitment, it will engage experts, to be mutually agreed upon within 14
days, to conduct a comprehensive audit of all of its employment practices.

5. Paul, Weiss will dedicate the equivalent of $40 million in pro bono legal services
over the course of President Trump’s term to support the
Administration’s initiatives, including: assisting our Nation’s veterans, fairness in the
Justice System, the President’s Task Force to Combat Antisemitism, and other
mutually agreed projects.

Statement from the White House: “The President is agreeing to this action in light
of a meeting with Paul, Weiss Chairman, Brad Karp, during which Mr. Karp
acknowledged the wrongdoing of former Paul, Weiss partner, Mark Pomerantz, the
grave dangers of Weaponization, and the vital need to restore our System of
Justice.”

In response to the President’s announcement, Paul, Weiss’s Chairman Brad Karp
said: “We are gratified that the President has agreed to withdraw the Executive
Order concerning Paul, Weiss. We look forward to an engaged and constructive
relationship with the President and his Administration.”
4.77k ReTruths 19k Likes                                                         Mar 20, 2025, 6:10 PM


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             🎀WomenForTrump💕🔥🗽🇺🇸
             @IStandWithTrump47 · Mar 20

             Replying to @realDonaldTrump




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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 728 of 734




                  EXHIBIT 62
    Case 1:25-cv-00716-BAH                    Document 39-4                Filed 04/02/25      Page 729 of 734
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        Dinesh D'Souza
                          •   @DineshDSouza · Mar 23
    Skadden Arps is the firm engaged in systematic lawfare against "2000
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Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 730 of 734




                  EXHIBIT 63
 Case 1:25-cv-00716-BAH    Document 39-4    Filed 04/02/25   Page 731 of 734




         DECLARATION OF CHRISTOPHER N. MANNING, ESQUIRE,
            IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                 MOTION FOR SUMMARY JUDGMENT




                               Exhibit 63

   March 26, 2025 video of President Donald J. Trump signing an
Executive Order titled “Addressing Risks from Jenner & Block LLP.”

                      The video is available here:
       https://youtu.be/7LsV-l0xWh4?si=7W5wjK2r_BxDnv7e


Pursuant to Local Civil Rule 5.4(e)(1), a digital file copy of this exhibit
 is being maintained by plaintiff’s counsel and will be provided to the
                   Court and defendants’ counsel.
Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 732 of 734




                  EXHIBIT 64
        Case 1:25-cv-00716-BAH    Document 39-4     Filed 04/02/25   Page 733 of 734


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    Truth Details                                                        Trending V    •••

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       Donald J. Trump 0
       @realDonaldTrump

Today, President Donald J. Trump and Skadden, Arps, Slate, Meagher & Flom LLP
announce the following agreement regarding a series of actions to be taken by
Skadden:

1. Skadden will provide a total of at least $100 Million Dollars in pro bono Legal
Services, during the Trump Administration and beyond, to causes that the
President and Skadden both support, in relation to the following areas: Assisting
Veterans and other Public Servants, including members of the Military, Law
Enforcement, First Responders, and Federal, State, and Local Government Officials;
ensuring fairness in our Justice System; and combatting Antisemitism. Skadden will
change its pro bono policy so that all pro bono moving forward will be done in the
Firm name. A pro bono Committee will be constituted to ensure that pro bono
matters are consistent with the objectives of the program, and that pro bono
activities represent the full political spectrum.

2. The Skadden Foundation will commit to the mission of providing pro bono Legal
Services to a wide variety of deserving organizations and individuals. Skadden is
committed to funding no fewer than five Skadden Fellows each year dedicated to
the following projects: Assisting Veterans; ensuring fairness in our Justice System;
combatting Antisemitism, and other similar types of projects. Law Graduates that
receive Skadden Fellowships will represent a wide range of political views,
including conservative ideals.

3. Skadden affirms its commitment to merit-based hiring, promotion, and retention.
Accordingly, the Firm will not engage in illegal DEI discrimination and preferences.
Skadden will engage independent outside counsel to advise the Firm to ensure
employment practices are fully compliant with Law, including, but not limited to,
anti-discrimination Laws.
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             Case 1:25-cv-00716-BAH   Document 39-4   Filed 04/02/25   Page 734 of 734
4. Skadden will not deny representation to clients, such as members of politically
disenfranchised groups, who have not historically received legal representation
from major National Law Firms, including in pro bono matters, and in support of
non-profits, because of the personal political views of individual lawyers.

Statement From the White House: “Skadden, Arps, Slate, Meagher & Flom LLP
approached President Trump and his Administration, and declared the Firm’s strong
commitment to ending the Weaponization of the Justice System and the Legal
Profession. The President will never stop fighting to deliver on his promises of
eradicating partisan Lawfare in America, and restoring Liberty & Justice for ALL.”

Statement From Skadden Executive Partner, Jeremy London: “Skadden is pleased
to have achieved a successful agreement with President Trump and his
Administration. We engaged proactively with the President and his team in working
together constructively to reach this agreement. The Firm looks forward to
continuing our productive relationship with President Trump and his Admin. We
firmly believe that this outcome is in the best interests of our clients, our people,
and our Firm.”
7.95k ReTruths 33.4k Likes                                                 Mar 28, 2025, 1:57 PM


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